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             EXHIBIT AA
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Deposition of GREGG ROMAN                                            Lisa Barbounis v. Middle Eastern Forum, et. al.


                            IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA



           LISA BARBOUNIS,                                 ) CIVIL ACTION - LAW
                                                           )
                               Plaintiff                   )
                                                           )
           -vs-                                            ) NO. 2:19-cv-05030
                                                           )
           THE MIDDLE EAST FORUM, et                       )
           al.,                                            )
                                                           )
                              Defendants                   )
           _________________________                       X




                                                  * * *



                            The recorded video deposition of GREGG ROMAN,


           taken remotely via Zoom, on Friday, November 20,


           2020, beginning at 11:28 a.m., before Carrie A.


           Kaufman, Registered Professional Reporter and Notary


           Public in and for the Commonwealth of Pennsylvania.

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                            Marc Fink (Via Zoom)
                            Lisa Reynolds Barbounis (Via Zoom)

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 1         THE VIDEO SPECIALIST: We are now             1 I gave, I'll just start by asking you to please state
 2    on the record. Today's date is Friday,            2 your full name for the record.
 3    November 20th, 2020, and the time is              3       A. Gregg, G-r-e-g-g, Eric, E-r-i-c, Roman,
 4    11:28 a.m. Eastern.                               4 R-o-m-a-n.
 5         This is the recorded video                   5       Q. Okay. And I think you said you have
 6    deposition of Gregg Romano in the matter          6 another name that you're known by. Do you want to
 7    of Lisa Barbounis versus Middle East              7 please say that name as well?
 8    Forum, et al., in the United States               8       A. Sure. It's my Israeli name, which is
 9    District Court, Eastern District of               9 -- I'll say it rather fast and I'll break it down for
10    Pennsylvania, Case Number 2:19-CV-05030-GAM.     10 you. Gavriel Yisrael Ben Ze'ev Halevi Vi'adal.
11         My name is Margaret Susuni, and             11 Okay? G-a-v-r-i-e-l, space, Y-i-s-r-a-e-l, space,
12    I'm with Everest Court Reporting, and            12 B-e-n, space, Ze'ev, Z-e-'-e-v, space, H-a-l-e-v-i,
13    I'm the video specialist. The court              13 space, Vi'adal, V-i-'-a-d-a-l. That's it.
14    reporter today is Carrie, also from              14       Q. Okay. And you said earlier you were
15    Everest Court Reporting.                         15 born in Lexington, Kentucky, on May 21st, 1985,
16         All counsel appearing today will            16 correct?
17    be noted on the stenographic record.             17       A. That's correct.
18         Will the court reporter please              18       Q. And your educational background, I
19    swear in the witness.                            19 think you said it began at Medill Bair High School in
20               ---                                   20 ninth grade; is that correct?
21         GREGG           ROMAN                       21       A. Well, it began when I was -- before
22     WAS CALLED AND HAVING BEEN DULY SWORN 22 then I -- the first place I ever studied wasn't
23    WAS EXAMINED AND TESTIFIED AS FOLLOWS: 23 Medill Bair. I mean, I had elementary school,
24               ---                                   24 kindergarten, middle school. But my secondary
25         MR. CARSON: So we're back on the            25 education started in ninth grade at Medill Bair High
                                                Page 5                                                         Page 7
 1    record and we had some technical                     1 School in the Pennsbury School District in Fairless
 2    difficulties so this is going to be the              2 Hills, Pennsylvania.
 3    beginning of a deposition transcript.                3      Q. And are you a graduate of Pennsbury
 4         One correction. The witness's                   4 High School?
 5    name, the party's name, is Gregg Roman,              5      A. No, I went to three high schools, so I
 6    R-o-m-a-n, so -- I think -- I think you              6 was getting into this, and this is sort of like, you
 7    said Romano before, so I just wanted to              7 know, a theme that's formative from education and
 8    let you know it's Roman.                             8 kind of connects later on, but -- so Medill Bair High
 9         And we started the deposition with              9 School wasn't until ninth grade. I was a pretty good
10    some instructions for today. I'm not                10 wrestler, folkstyle wrestler, in high school. So I
11    going to go through them all again                  11 went from Medill Bair to a private school in
12    because Mr. Roman has heard them, but I             12 Princeton, New Jersey, called the Hun School, H-u-n
13    will just ask, Mr. Roman, you are aware             13 School. I was there for tenth and eleventh grade.
14    that you're under oath and your                     14 And then as a result of recruiters from different
15    testimony today has the same force and              15 universities saying, look, you can try to do a prep
16    effect as if you were appearing at a --             16 school or you can try to go back in the public
17    you know, in a trial, at a courtroom,               17 school, I was already in the NJISAA, which is the
18    you're under oath, and so you have an               18 sort of New Jersey sports association, so I decided
19    obligation to tell the truth today; you             19 to go to a public school in Jersey, which was
20    understand that.                                    20 Hopewell Valley Regional High School, HVRSD, in
21         THE WITNESS: Yes.                              21 Mercer County, and from there I graduated. So I
22                ---                                     22 graduated from Hopewell Valley Regional School
23              EXAMINATION                               23 District in 2003. I guess -- do you want me to
24 BY MR. CARSON:                                         24 continue with college and stuff or what?
25    Q. So subject to the earlier instructions           25      Q. Sure. Sure. Go ahead. Tell me what
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 1 your educational background is after high school.        1 and that took place in July of 2010 I think, and then
 2      A. Sure. So I attended the American                 2 I got out of the army and went to the Ministry of
 3 University in Washington D.C. from I guess August of     3 Defense Reserves in October of 2010, I want to say,
 4 2003 to December of 2005, and during that time I had     4 and then I went back to the IDC Herzliya, which was
 5 about like four or five other educational programs.      5 the college that I was at prior to my army
 6 I was in Yeshiva, which is sort of like a Jewish         6 enlistment, and I stopped studying -- I was doing
 7 seminary, in Jerusalem, in December of 2004, I was in    7 political communications and national security
 8 -- sort of like a field school from the Jewish           8 studies there until May of 2012 and -- my daughter
 9 agency, which is a quasi-governmental organization in    9 was born then, and then I stopped studying then to
10 Israel, in Haifa and in Jerusalem, and I had all        10 take a job in Pittsburgh where I then continued my
11 these different experiences over there, so I decided    11 studies at the Katz Graduate School of Business at
12 to move from Washington to Israel, in the middle east   12 the University of Pittsburgh where I was a joint sort
13 Israel, in -- I guess the decision was reached in       13 of like lecturer and I audited classes. I have done
14 December of '05, and I made the move to study an        14 some continue education since there, but, Mr. Carson,
15 intensive Hebrew and Arabic program at Haifa            15 I never actually obtained my bachelor's degree, so I
16 University -- Haifa is H-a-i-f-a -- in July of 2006,    16 have about seven years of college under my belt but
17 but about two days after I moved there the Second       17 I'm missing those few credits to finish it. And so
18 Lebanon War broke out. So I went from Haifa             18 that's education but doesn't include the professional
19 University to learn academics and I actually became a   19 development. I just want to try to provide as clear
20 firefighter in Israel, and I attended the basically     20 a -- complete an answer as possible.
21 quickest fire academy, if you want to call it that,     21      Q. No, that was a thorough answer for
22 or rescue academy, for what's called Ichud Hatzalah,    22 sure. It sounds like you have a degree in the
23 which is the rescue service in Israel, where I was a    23 college of life to me, but -- sometimes worth more
24 member of the civil guard, and that civil guard --      24 than a bachelor's degree, but let me jump forward
25 and this is still educational, Mr. Carson, it's not     25 ahead and --
                                                  Page 9                                                        Page 11
 1 like -- you know, it's unconventional, okay, but it's    1      A. Sure.
 2 still -- I would categorize it as educational. So I      2      Q. -- just kind of talk about your -- talk
 3 was a member of the civil guard's education program      3 about your -- your work history. I see that you went
 4 from June of -- July of 2006 until about September of    4 to the University of Pittsburgh for a year?
 5 2006, and then there in parallel I resumed my            5      A. I didn't go to the University of
 6 university studies at a place called the                 6 Pittsburgh, I taught at the University of Pittsburgh
 7 Interdisciplinary Center, IDC, Herzliya,                 7 and audited classes, but that was like -- to really
 8 H-e-r-z-l-i-y-a, I did that for a year, and then I       8 understand that, you have to understand the
 9 actually got drafted -- I didn't volunteer, I got        9 educational -- so I've had like three professional
10 drafted, into the Israeli Army, so my university        10 lines here. Okay? One was government, the second
11 studies stopped there, and then I was first in a        11 was academic, and the third is private.
12 basic training in a place called Nitzan, N-i-t-z-a-n,   12      Q. Is it around the -- tell me when you
13 which is in the south of the country, and then I went   13 were teaching at the University of Pittsburgh,
14 to the school for government and -- this is all as      14 please.
15 part of the Israeli Defense Forces, a place called      15      A. So it was a class called scenario
16 Rishon Lezion, R-i-s-h-o-n L-e-z-i-o-n, and that was    16 planning, which is sort of like the combination of
17 in December and January, December of 2008 and January   17 politics and strategy and how it applies to business
18 of 2009, and then Operation Cast Lead broke out, so     18 decisions, and that was I want to say -- I want to
19 again a war interrupted with my studies, and I was on   19 say it was probably spring of 2013, and -- but then I
20 the frontlines in a place called Sderot, S-d-e-r-o-t,   20 had a course that I did through the Hillel Jewish
21 then the war ended, then I went back to the college     21 University Center, which was after that -- Hillel is
22 for government, part of the IDF, in February of 2009,   22 an online -- not online, it's a Jewish university --
23 I graduated from that, and then I went to the school    23 I mean -- how -- what's the best way to describe it.
24 for advanced Israeli and Judaic studies, which was      24 Jewish campus life. Right? So I had multiple years
25 part of the Israel Defense Forces' education corps,     25 of involvement with that, but at Katz specifically I

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 1 was there January -- it was either January 2013 or     1 totally different management structures.
 2 September 2013, it was either the spring semester or   2      Q. So can you please just quickly kind of
 3 that fall, but I had involvement with the school as    3 compare your experience with the JCRC with the Middle
 4 what they call an executive lecturer, guest lectures,  4 East Forum --
 5 doing programs. We had an incubator that we ran from   5      A. You want me to -- you want to compare
 6 the Pittsburgh Israel Business Council. So I was       6 the JCRC with the Middle East Forum so -- can you be
 7 involved with the school for about three years.        7 more specific?
 8 Okay? But as a functional lecturer there was           8      Q. Can you please compare your job with
 9 probably only one or two semesters. I judged           9 the JCRC with your position at the Middle East Forum?
10 competitions every semester, but, you know, the       10      A. Yeah, so first I would have to tell you
11 involvement -- let's just say this. It started when   11 what my job with the JCRC was. Is that fair?
12 I moved to Pittsburgh in the fall of 2012 and it went 12      Q. Go ahead. Yeah.
13 through September of 2015 when I ran my last external 13      A. Okay. So with the JCRC we had
14 lecture program through Hillel Jewish University      14 responsibility for about 18 to 19 different domestic
15 Center.                                               15 policy issues that were affecting the Jewish
16      Q. And it was around that time that you          16 community of western Pennsylvania, specifically
17 also began your employment with the Jewish Federation 17 Allegheny County, Butler County, Beaver County,
18 of Greater Pittsburgh?                                18 Ligonier County, all the way up to Erie, up and down,
19      A. Yeah, that was in parallel. So there          19 for population of about 48,000 Jews in western PA,
20 was a partnership between the Jewish Federation of    20 but, beyond that, it was about both building
21 Greater Pittsburgh and there is about four other      21 harmonious relationships within the Jewish community
22 units, there is the Jewish University -- excuse me,   22 and beyond the Jewish community, so if you're talking
23 the Jewish Community Relations Council, JCRC; there 23 about tax relief, nonprofit relief, if you're talking
24 was the Urban Affairs Foundation, UAF; there was the  24 about assistance to the elderly, neighborhood
25 corporate equity roundtable, which was part of the    25 inclusion zones, OBIDs, opportunity for business
                                                 Page 13                                                        Page 15
 1 diversity inclusion effort in Pittsburgh; and then       1 improvement districts, education, anything that
 2 Vibrant Pittsburgh, which was meant for leveling the     2 touched the Jewish community as part of a public
 3 playing field for minorities in the city and an area     3 policy interest both domestic within the Jewish
 4 called the Power of 32, which was the -- today you       4 community around the city of Pittsburgh and beyond
 5 would call it an economic opportunity zone, but it       5 the city of Pittsburgh; for instance, representation
 6 was western Maryland, West Virginia, eastern Ohio,       6 in Harrisburg, representation in Washington D.C.,
 7 and all of western Pennsylvania -- it's like west of     7 even international issues, antisemitism in Europe and
 8 Altoona would be the area.                               8 even going to Israel. We had about like three or
 9      Q. What was your position at the Jewish             9 four times a year that we found ourselves in Israel
10 Federation of Greater Pittsburgh?                       10 because of local Jewish community interests in
11      A. Well, the title was director of the             11 Pittsburgh that then sort of intersected with the
12 Jewish Community Relations Council, director of the     12 sister city of Karmiel Misgav, that's K-a-r-m-i-e-l
13 JCRC, but I had about nine other titles that was sort   13 M-i-s-g-a-v, in the north -- I guess northeast of
14 of like part of that title at the position.             14 Israel between like the Sea of Galilee and the Golan
15      Q. What was the work you did as director           15 Heights, and the main responsibility there was sort
16 of the JCRC similar to the work you're doing with the   16 of like an interface between the volunteers of the
17 Middle East Forum?                                      17 community and the interests of the federated Jewish
18      A. Can you rephrase the question? I                18 community, one being the laymen and the other being
19 didn't get it.                                          19 the professionals. So that was the second element of
20      Q. I guess I'm -- the title director of            20 this. You had all the public policy interest but
21 the JCRC is -- you were the director of the JCRC,       21 then you have the interest of all the groups. So we
22 today I believe you're the director of the Middle       22 were involved with the NAACP, with the urban league,
23 East Forum; is that correct?                            23 with the mainline protestant community, with the
24      A. Yes; however, two totally different             24 Anglican church, with the city of Pittsburgh
25 jobs with totally different responsibilities on two     25 including Mayor Bill Peduto, County Executive Rich

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 1 Fitzgerald. You know, going beyond that, different     1 director at the Jewish Federation of Greater
 2 congressmen, Senator Toomey and Senator Casey,         2 Pittsburgh, how many people worked there --
 3 Governor Wolf and before that Governor Corbett. So     3      A. I was never the director at the Jewish
 4 every day was really a different public policy         4 Federation of Greater Pittsburgh.
 5 challenge. Now, beyond that we also had to make sure   5      Q. Okay. Tell me what your job is at the
 6 that we did Jewish community policy, so, you know,     6 Middle East -- well, let me -- I guess let me set it
 7 you would go to the mayor and he's saying, hey, what   7 up first. When did you first start working at the
 8 does the Jewish community think about policy X. So     8 Middle East Forum?
 9 we did reproductive health, we did civic inclusion,    9      A. I think August of 2015 or September of
10 did what you might call affirmative action, we were   10 2015.
11 involved with racial disparities, equality, the       11      Q. And when you first were hired with the
12 necessity for social justice depending on the way you 12 Middle East Forum what was your first position?
13 look at it, but it could also be something like       13      A. I guess the title was director. Well,
14 vaccines or whatever. You know? If there was a        14 it was kind of a codirectorship, so director and
15 question to that, you would have to do it. But        15 director.
16 beyond telling the mayor about that, you also had the 16      Q. Was there another director who was
17 media relationships. So Pittsburgh Post-Gazette,      17 there at the time?
18 Pittsburgh Tribune, anything dealing with national    18      A. Yes.
19 media and -- so there is also, like, Jewish segmented 19      Q. Who was that?
20 media, so you have the Jewish Telegraphic Agency, you 20      A. Amy Shargel.
21 have the Jewish Exponent, you know, in Philadelphia   21      Q. Shargel?
22 but also the Pittsburgh Jewish Chronicle. So          22      A. Yeah.
23 anything that dealt with Jewish community interests   23      Q. Can you spell it?
24 in short is what was the job responsibilities for the 24      A. S-h-a-r-g-e-l or j-e-l. It was like
25 JCRC, but it was sort of just all within the section  25 five years ago.
                                                Page 17                                                        Page 19
 1 of public affairs. Now, there was a management         1      Q. At some point in time did Amy Shargel
 2 responsibility insofar as it dealt with community      2 leave the Middle East Forum and then you became the
 3 building and building capacity of external             3 director, is that how it happened?
 4 organizations, so there was --                         4      A. Well -- no, it's a little bit more
 5      Q. How many people did you manage?                5 complicated than that.
 6      A. One, internally.                               6      Q. You can explain it if you want.
 7      Q. That was like one direct report, is            7      A. Okay. So she retired but the job
 8 that how you called it?                                8 responsibilities that Amy Shargel were not the same
 9      A. I would say it wasn't -- it was like a         9 job responsibilities that I had. So when you talk
10 third of a direct report I guess because it was an    10 about director, it's just a name. Okay? It's not a,
11 individual who was shared across different -- it was 11 you know, one director does this, one director does
12 certainly not like what I had had in the army where I 12 that; there has been multiple directors of MEF.
13 had about like 30 direct reports.                     13      Q. Is it fair to say it's the name of the
14      Q. How many people were employed at the          14 position that is the second highest in the corporate
15 Jewish Community Center?                              15 structure?
16      A. Well, it's not the Jewish Community           16      A. No, I don't think that's fair.
17 Center. I don't know.                                 17      Q. Well, what would -- in a corporate
18      Q. Sorry.                                        18 structure, in a hierarchy, Daniel Pipes has the
19      A. It's the Jewish Federation.                   19 highest position; is that right?
20      Q. Yeah, the JCRC. Sorry about that.             20      A. No, he doesn't.
21      A. No one was employed at the JCRC.              21      Q. Who has the highest position?
22      Q. The Jewish Federation of Greater              22      A. Steve Levy, the chairman of the
23 Pittsburgh --                                         23 organization.
24      A. That's not the JCRC.                          24      Q. And then work down from there and kind
25      Q. Sorry about that. When you were the           25 of explain that hierarchy for me, please.
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 1      A. Well, it's not a hierarchy, you know,          1      Q. So which board were you talking about
 2 you're -- you're giving me a factual predicate that    2 when you said he's a member of the board?
 3 doesn't exist, so I can't really answer the question.  3      A. I'm not sure. He's I think member of
 4      Q. Okay. Well, underneath Steve Levy, if          4 the -- well, there is the board, there is the board
 5 he's the chairman, who would be like the next person   5 of governors, okay, but the board of governors is a
 6 who would be responsible for, like, policy at the      6 board that also exists in addition to the founders
 7 Middle East Forum?                                     7 board, and both boards don't have any executive
 8      A. Everyone is responsible for policy at          8 authority but he's still a member of them.
 9 the Middle East Forum.                                 9      Q. What is the board of governors, what is
10      Q. Interns are responsible for policy?           10 that?
11      A. Well, it depends what you mean by             11      A. It's a group of donors who give a
12 everyone.                                             12 minimum amount to the organization and is updated
13      Q. I guess --                                    13 every once in a while with Middle East Forum news.
14      A. And what policy you're talking about.         14      Q. In order to be a member of the board of
15      Q. For creating Middle East Forum                15 governors do you have to donate a certain amount of
16 policies.                                             16 money?
17      A. It depends on what you mean by Middle         17      A. No.
18 East Forum policy. I can't answer the question if     18      Q. Like, is the -- what is the minimum
19 you're not specific.                                  19 amount that you said that someone has to donate to be
20      Q. All right. Let me try to be more              20 on the board of governors?
21 specific. So if Steve Levy is the chairman, what      21      A. I said they may donate a minimum
22 would Daniel Pipes' position be?                      22 amount, but they may not as well.
23      A. Well, Daniel Pipes's position isn't           23      Q. What is that amount?
24 predicated on Steve Levy's position.                  24      A. Well, depends on the individual.
25      Q. What is his position?                         25      Q. Well, for instance, like, if I wanted
                                                 Page 21                                                        Page 23
 1      A. Daniel's position -- Daniel actually             1 to be on the board of governors, could I donate a
 2 has multiple positions, so you have to be specific of    2 certain amount of money and then I would be on the
 3 what position you're asking about.                       3 board of governors?
 4      Q. Well, what are they? What are the                4       A. No.
 5 multiple positions?                                      5       Q. Is there like an -- like, you know,
 6      A. Of Daniel Pipes?                                 6 hey, if -- anyone who donates 20,000 we'll give them
 7      Q. Yes.                                             7 the title of board of governors, does it work like
 8      A. He's the publisher of the Middle East            8 that?
 9 Quarterly. He is the editor-in-chief of the              9       A. No.
10 organization. He sits on multiple boards outside of     10       Q. Okay. How does it work? How does one
11 the Middle East Forum that sort of act as the liaison   11 become a member of the board of governors?
12 position he has. He is the -- I guess the titular       12       A. Each individual has a unique path that
13 name is president of the Middle East Forum, but he      13 they take to get to the board of governors.
14 has sort of like -- again, it fluctuates. He's the      14       Q. Okay. And -- since we got into that,
15 president but then he's also a member of the board,     15 let's just -- let me do it like this. Is there a
16 he's also a member of the executive committee, and      16 difference between -- strike that.
17 there's different people who have different             17            What are the officers -- on the website
18 intersecting roles within MEF. So, you know, he         18 there is a list of officers, and I'll represent to
19 might have a few more positions and titles that I       19 you it says president, Daniel Pipes; chairman, Steve
20 don't remember.                                         20 Levy; vice chairman, Joshua Katzen; treasurer,
21      Q. Fair enough. What is the board?                 21 Lawrence Hollin; secretary, Gregg Roman. What is
22      A. Which board?                                    22 that?
23      Q. You said he's also a member of the              23       A. They're the officers on the website.
24 board. What --                                          24       Q. But what is that -- what is the
25      A. Well, there is multiple boards.                 25 importance of being an officer? What is the

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 1 relevance of that? What does it mean to be an       1 after November of 2018.
 2 officer?                                            2      Q. But when did you -- when did you become
 3      A. Well, they're listed on the website, so     3 the secretary?
 4 that's the importance of it, that it's important    4      A. I became the secretary in -- I don't
 5 enough for us to put it on the website.             5 recall. I would have to check the records.
 6      Q. But do they have any other roles other      6      Q. Can you estimate? Was it in 2018?
 7 than being listed on the website? Is there any,     7 2017?
 8 like, responsibilities that come with those         8      A. No.
 9 positions?                                          9      Q. It wasn't in 2017?
10      A. Could you be more specific? There is       10      A. No.
11 no connection between --                           11      Q. Was it in 2018?
12      Q. Sure.                                      12      A. No.
13      A. -- the website and their jobs or           13      Q. Was it in 2019?
14 anything else.                                     14      A. No.
15      Q. Well, I guess, for instance, it says       15      Q. Was it in 2020?
16 secretary, Gregg Roman. What does that mean that 16        A. No.
17 you're the secretary of the -- what does that mean 17      Q. So then that leaves 2016 and '15 then,
18 that you're the secretary?                         18 right?
19      A. It's a honorific given by virtue of        19      A. Maybe '15 or '16.
20 being an officer of the organization.              20      Q. And how many times has there been a
21      Q. Do you have any responsibilities as the    21 meeting of the executive committee since 2016?
22 secretary?                                         22      A. From what I remember, probably
23      A. Yes.                                       23 annually.
24      Q. What are those responsibilities?           24      Q. And do you attend those annual
25      A. They are to keep the minutes from the      25 meetings?
                                                Page 25                                                        Page 27
 1 -- I guess you would call it the executive committee    1     A. Do I attend which annual meetings?
 2 meeting, and to transmit that to the executive          2     Q. The annual meetings of the executive
 3 committee.                                              3 committee.
 4       Q. And do you, in fact, do those                  4     A. Some I have and some I haven't.
 5 responsibilities?                                       5     Q. Are they ever held more than once a
 6       A. When?                                          6 year?
 7       Q. At the executive committee meetings?           7     A. Depends on the year.
 8       A. Can you be more specific? Because              8     Q. Well, has there ever been a year when
 9 there is multiple meetings.                             9 there's been more than one meeting of the executive
10       Q. Sure. When was the last executive             10 committee since you became --
11 committee meeting?                                     11     A. I can't --
12       A. When was the last executive committee         12     Q. -- secretary?
13 meeting for what?                                      13     A. Since I became secretary, yes.
14       Q. For anything. When is the last time           14     Q. Has there ever been a year since you
15 there was a meeting?                                   15 became secretary when there's been more than two
16       A. Well, the last time that there was a          16 meetings of the executive committee?
17 meeting I wouldn't remember because I wasn't the       17     A. Yes.
18 secretary. I can tell you this. I can represent to     18     Q. Has there ever been a year since you
19 you that the last meeting that I remember was in       19 became secretary when there's been more than three
20 March of 2018.                                         20 meetings?
21       Q. How long have you been secretary?             21     A. Yes.
22       A. Well, like I said, just like the              22     Q. What's -- I guess what's the most
23 position of director is just a name, secretary up      23 amount of meetings that you recall being in a single
24 until November 1st of 2018 was a position that had     24 year of the executive committee? Since --
25 certain authority and then that authority changed      25     A. I can't give you an accurate
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 1 representation because I don't remember.               1 there a way to do that?
 2      Q. Just to make it clear, if we're asking         2      A. Yeah, you -- I think the videographer
 3 questions today about your position as secretary, all  3 did it before.
 4 the questions will be relegated -- I'm not asking you  4           THE VIDEO SPECIALIST: Do you have
 5 to answer questions about times when you weren't on    5      an option up on top of the screen where
 6 the executive committee, so it's all relegated to      6      it gives you a set of names that you can
 7 that time between 2015 and the present when you were   7      share it with, and one of the names
 8 the secretary. Okay?                                   8      should be Mr. Roman.
 9      A. Well, no, because there is -- can I            9           MR. CARSON: It says you are
10 offer sort of a footnote here to what the reason why  10      screen sharing, and when I hover over
11 I'm not specific and not sure? Is that okay?          11      that it says participants?
12      Q. Uh-huh. Yeah.                                 12           THE VIDEO SPECIALIST: Yeah,
13      A. So the responsibilities that I had as         13      select one of the -- see if Mr. Roman is
14 secretary of the executive committee were of a        14      one of the participants.
15 certain amount from the time that I believe 2015 or   15           MR. CARSON: He is.
16 '16, I don't want to say that I know a hundred        16           THE VIDEO SPECIALIST: Okay.
17 percent, but to the best of my recollection in 2015,  17           MR. CARSON: When I click on it,
18 '16, is when I had that title added as one of my      18      nothing happens, though.
19 roles at MEF, and then that title in terms of the     19           THE VIDEO SPECIALIST: Nothing
20 name may have been on documents, but the authority    20      happens when you click on his name?
21 vested in that title was removed in I want to say     21           MR. CARSON: I hover over it, it
22 November -- I'm not going to give the exact date, but 22      says participants, 13 --
23 the authority vested as a officer of the organization 23           THE VIDEO SPECIALIST: Yeah,
24 was removed and has not been returned since early     24      Mr. Roman, see if you can take over the
25 November of 2018.                                     25      mouse.
                                                 Page 29                                                        Page 31
 1      Q. Who removed that authority?                      1           THE WITNESS: Here, I'm requesting
 2      A. Daniel Pipes.                                    2      remote control.
 3      Q. How did he tell you that that authority          3           THE VIDEO SPECIALIST: Yeah, see
 4 was going to be removed?                                 4      if you can take over.
 5      A. It was communicated to me in a letter I          5           MR. CARSON: Oh, approve.
 6 believe in November of 2018.                             6           THE WITNESS: I'm just
 7      Q. I'm going to show you an exhibit.                7      representing to you, Mr. Carson, that I
 8      A. Sure.                                            8      am reading this document. Is that okay?
 9      Q. I might have that letter. Okay. So it            9           MR. CARSON: Okay. Yeah. Thank
10 will be 51 -- hold on. So -- let me just do a screen    10      you. Take your time.
11 share. So I'm going to do a screen share and share a    11 BY MR. CARSON:
12 document that is -- so this document I'll represent     12      Q. My first question is, just when you're
13 to you is a document that was turned over, produced     13 done, is this the letter you're talking about.
14 by your lawyers during the course of discovery, and     14      A. Well, I'm not sure, because there is a
15 your lawyers put Bates stamps on these documents, and   15 note here that has a mistake. Effective November 5th
16 you can see the document I'm producing, which we'll     16 your job description has chanted. And I don't
17 call it Roman 1, Roman Exhibit 1, will be the           17 remember ever having a offer like this with a
18 document that's Bates stamped 000049, 50, 51, and 52.   18 spelling mistake. So I can't verify this is the
19 And -- so this letter is dated November 6th, 2018,      19 document that I'm talking about.
20 and just take a minute and look at it. If you want      20      Q. Well, I'll represent to you this
21 me to scroll down, let me know and I'll scroll down.    21 document came from you guys, so --
22      A. Would you mind giving me the ability to         22      A. That's fine that it came from us, but
23 scroll myself so I can read at my own time?             23 it doesn't have a log of the files, it doesn't have
24      Q. Yeah, I don't really know how to do             24 metadata associated with a file that may have been
25 that, but I don't have a problem doing that. Is         25 given to me.

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 1      Q. Well, did --                                   1      A. Yeah, I'm still the director today.
 2      A. I would request -- I would request that        2      Q. And you kept your title when you
 3 if there is such a document which is the changes of    3 received that letter in November of 2018?
 4 my employment and we do have it on our system that     4      A. Well, title as in the name or title as
 5 the counsel for MEF do provide this to Mr. Carson.     5 in the position?
 6           Is that fair, Jon?                           6      Q. Title as in the name. You kept -- you
 7           (Simultaneous speakers.)                     7 keep -- you keep the title of director is what I
 8 BY MR. CARSON:                                         8 believe he said to you, do you remember that?
 9      Q. Yeah, I mean do you remember receiving         9      A. Well, again, you're representing
10 a document like this around November 6th, 2018?       10 something that whether or not this is --
11      A. Well, there's receiving a document like       11      Q. I'm not asking you to confirm the
12 it and then there's receiving the document that I'm   12 document; I'm just asking you if you remember that he
13 talking about. So if you want me to be specific, and  13 -- you got to keep your title as director.
14 I would like to offer as much specificity as          14      A. Can the stenographer please read back
15 possible, I cannot say with a hundred percent         15 the question?
16 validity that this document is something -- this      16      Q. She doesn't have to read back the
17 document that you're representing to me as something  17 question. I'm not asking that question. I'm asking
18 that's been handed over by MEF's counsel is something 18 if you remember that you kept your title as
19 that I received.                                      19 director --
20      Q. So I'm just asking you do you remember        20      A. I kept the name director as it related
21 receiving a document like this, and by like this I    21 to the name but not the title. Title and name is two
22 just mean a document that you received from Daniel    22 different things.
23 Pipes around November 6th, 2018, where he changed     23      Q. Okay. I don't know -- what's the
24 your job responsibilities with the Middle East Forum. 24 difference between the title and the name in your
25      A. Again, "like this" is a comparable            25 mind?
                                                Page 33                                                        Page 35
 1 term. I did receive a document from Daniel Pipes in    1      A. Sure. So you could call me Mr. Roman,
 2 November of 2018 which changed the terms of my         2 but Mr. Roman might represent Mr. Roman me or
 3 employment. Whether or not it's this --                3 Mr. Roman being married, so if you want to say title
 4       Q. And --                                        4 of director, as it's represented in that document, I
 5       A. -- document, I cannot verify that this        5 would have to see the document, because I remember
 6 is the specific document that I received.              6 there was -- there was a debate that took place over
 7       Q. Well, let's kind of just go down the          7 what the exact title and responsibilities were to be
 8 list and see what's -- see if there is anything you    8 associated with that word director itself.
 9 remember different. So do you remember the document 9         Q. So you remember you kept the name
10 that you received you kept your title as director?    10 director; is that what your testimony --
11       A. Again, you're asking me to remember a        11      A. Yes, if you say director -- like, my --
12 document that I don't know whether or not it's in     12 in my signature block, Gregg Roman, director, Middle
13 front of me, so if you would like --                  13 East Forum, that was in the signature block of
14       Q. I'm asking you if you kept --                14 e-mails, yes, that's a fair representation.
15       A. -- if you would like to ask me about         15      Q. It never changed.
16 that document, the specific document, of my change of 16      A. To the best of my knowledge the name in
17 employment -- and I believe I had to sign it, so if   17 my signature block never changed.
18 that exists, then that's something that I'm sure that 18      Q. You were the director before November
19 we can refer to you, but --                           19 of 2018 and you've been the director since November
20       Q. Did -- do you --                             20 of 2018, correct?
21       A. -- in -- if you'll just --                   21      A. What do you mean director? Because,
22       Q. Mr. Roman, I'm just asking if you            22 like I said beforehand, the job director has changed
23 remember if you kept your title.                      23 at multiple times as I've been at MEF -- the name
24       A. If I kept my title of what?                  24 stayed the same but the responsibilities changed.
25       Q. Director.                                    25      Q. Okay. So we're -- I guess let's talk
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 1 about the name then. You were named director before      1 November of 2018?
 2 November 2018 and you've been named director since       2      A. Not in totality, no.
 3 November 2018; is that fair to say?                      3      Q. To some degree you did?
 4      A. The name, the position name director,            4      A. To some degree that's fair to say.
 5 has remained the same since I've been hired, yes,        5      Q. Did you do fundraising, in meetings, on
 6 that's correct.                                          6 the telephone, and in writing after November 2018?
 7      Q. Do you remember that your                        7      A. Yes.
 8 responsibilities were -- so if we read the               8      Q. Did you do media appearances on
 9 responsibilities section, you will have the following    9 Forum-related topics?
10 responsibilities, managing the Forum's external         10      A. When?
11 projects and initiatives, including all the directors   11      Q. After November of 2018. And we're
12 of the Forum's projects except the Middle East          12 talking about when your job responsibilities changed,
13 Quarterly editor; fundraising, in meetings, on the      13 right? So did you continue to do media appearances
14 telephone, and in writing; making media appearances     14 on Forum-related topics?
15 on Forum-related topics. Does that sound like a good    15      A. Yes and no.
16 description of your responsibilities pursuant to when   16      Q. Are these restrictions accurate after
17 you received the letter, whether it was this letter     17 your position -- after you received the letter --
18 or another letter, in November 2018?                    18 strike that.
19      A. No.                                             19           Did your -- after you received the
20      Q. What's different about this list versus         20 letter in November of 2018 -- and can we -- can we
21 what you did?                                           21 just kind of pin down the date? Is it fair to say
22      A. Well, this list has responsibilities            22 you received that letter at the beginning of November
23 that were inclusive but not wholly inclusive, so it     23 2018, if you don't know the exact date?
24 might say that I was supposed to do these things, but   24      A. Again, I don't know this specific
25 there were other responsibilities that were added       25 letter that you're showing me is something that I --
                                                 Page 37                                                        Page 39
 1 that I didn't have prior to November of 2018.            1   Q. No, we've established that.
 2      Q. So I think what you're saying, correct        2      A. -- received. Yeah.
 3 me if I'm wrong, is you did these three things but    3      Q. We're not -- so I'm not trying to make
 4 there is other things you did as well.                4 you say that -- I'm not trying to trick you. I'm
 5      A. No, that's not what I'm saying.               5 just trying to ask you if the letter you received
 6      Q. Okay. Correct me, please.                     6 was, say, between November 1st and November 10th,
 7      A. Correct you about the inclusive               7 2018.
 8 responsibilities listed in this document or direct    8      A. I don't know. I would have to see the
 9 you --                                                9 letter.
10      Q. Take it line by line. So managing the        10      Q. Do you remember it being -- do you
11 Forum's external projects and initiatives, including 11 remember whether there was a meeting around November
12 all the directors of the Forum's formal projects     12 5th, 2018?
13 except the Middle East Quarterly editor, that's --   13      A. Can you be more specific?
14      A. Right.                                       14      Q. Yeah.
15      Q. -- bullet point 1. Did you keep that         15      A. Your question was was there a meeting
16 responsibility after November of 2018?               16 around November 5th of 2018. I've been in a lot of
17      A. The specific managing the Forum's            17 meetings, Mr. Carson. I'm not sure what you're
18 external projects and initiatives, including all the 18 referring to.
19 directors of the Forum's formal projects except the  19      Q. Yeah. I guess you can interpret the
20 Middle East Quarterly editor, we would have to go    20 question to mean was there a meeting anywhere on the
21 project by project to tell you about what the        21 planet Earth in November, so let me be more specific.
22 responsibilities were prior to twenty -- November of 22           So around November 5th, 2018, it's my
23 2018 and then after, because that did change.        23 understanding that there was a meeting held at the
24      Q. Well, did you continue to manage the         24 Middle East Forum where the people who worked in the
25 Forum's external projects and initiatives after      25 Philadelphia office all attended. Do you recall

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 1 that?                                                   1     where he was told not to go. It relates
 2      A. I wasn't at any meeting.                        2     to the investigation. You guys are
 3      Q. But do you recall that that meeting was         3     clearly going to make a Faragher-Ellerth
 4 held?                                                   4     argument in this case where you're going
 5      A. Do I recall that a meeting was held on          5     to talk about the investigation, you're
 6 November 5th of 2018 of the Forum staff in              6     going to talk about the meeting, so it's
 7 Philadelphia that did not involve me? Yes, I            7     not privileged.
 8 remember hearing that there was a meeting that was      8          MR. GOLD: My directive stands, so
 9 supposed to take place, and I can't tell you whether    9     you're free to do as you please.
10 it took place because I wasn't there, but I heard      10          MR. CARSON: Okay.
11 that there was a meeting that took place on November   11          THE WITNESS: Mr. Carson --
12 5th, 2018, of the Forum staff in Philadelphia, but,    12 BY MR. CARSON:
13 again, wasn't there, so I can't tell you what          13     Q. Why didn't --
14 happened.                                              14     A. Can I just ask you a question for a
15      Q. And who told you about that meeting?           15 second? Are you okay if I get up and I adjust the
16      A. Well, multiple people told me about            16 window?
17 that meeting.                                          17     Q. Yeah.
18      Q. Who was the first person to tell you           18     A. Okay.
19 about it?                                              19     Q. Yeah. You don't have to ask me that.
20      A. I don't remember.                              20     A. I don't want to, like, ruin the
21      Q. Was Daniel Pipes one of the people who         21 stenographic record or whatever the video thing.
22 told you about it?                                     22          THE VIDEO SPECIALIST: We're off
23      A. About the meeting that took place on           23     the record.
24 November 5th, 2018?                                    24          THE WITNESS: Back on. Sorry
25      Q. Correct.                                       25     about that.
                                                Page 41                                                        Page 43
 1      A. I actually don't remember if Daniel             1          MR. CARSON: Take a break any time
 2 told me about it. I do remember that there was a        2      you need to today.
 3 memo that went out and then -- that memo said a         3          THE WITNESS: I'm good, I just
 4 meeting was going to be held, and then I was            4      wanted to -- got this light thing going
 5 specifically told not to attend.                        5      on here, so I don't want to mess up the
 6      Q. Who told you not to attend?                     6      video for you guys.
 7      A. That information is privileged.                 7 BY MR. CARSON:
 8      Q. It's not -- even if Marc Fink told you          8      Q. Why didn't you attend the meeting
 9 not to attend it's not privileged.                      9 pursuant to the memo on March 5th, 2018?
10      A. I'll rely on advice of counsel whether         10      A. That information is privileged.
11 I can answer that question or not.                     11      Q. Were you told not to?
12           MR. GOLD: Direct you not to                  12      A. What did you say?
13      answer the question.                              13      Q. Were you told not to?
14           MR. CARSON: Not privileged,                  14      A. I believe that my answer on the record
15      Mr. Gold.                                         15 stands.
16           MR. GOLD: Take it to the Court.              16      Q. Were you invited to the meeting
17           MR. CARSON: I mean, we can call              17 originally?
18      if you really want me to.                         18          MR. GOLD: Asked and answered.
19           MR. GOLD: Go ahead. Feel free to             19          THE WITNESS: I believe my answer
20      do so.                                            20      stands.
21           MR. CARSON: I mean, we have other            21 BY MR. CARSON:
22      issues to talk to the Court about anyway          22      Q. You can answer again. Asked and
23      today, but it's not privileged if Marc            23 answered isn't an instruction not to answer the
24      Fink told him. You guys included me on            24 question.
25      all the e-mails that Marc Fink was on             25      A. But I'm saying I believe that my answer
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 1 on the record stands.                                    1      Q. What was the meeting about?
 2     Q. We're not going to make the court                 2      A. I don't know, Mr. Carson.
 3 reporter read stuff back all day, so just answer         3      Q. You have no idea what that meeting was
 4 again, please. Were you originally invited --            4 about.
 5          MR. GOLD: Mr. Carson, I direct                  5      A. Mr. Carson, I can't --
 6     him not to answer. It's been asked and               6      Q. You understand you're under oath.
 7     answered.                                            7      A. Mr. Carson, I can't -- I can't tell you
 8          MR. CARSON: I'm going to call the               8 about a meeting that I did not attend.
 9     Court.                                               9      Q. But you understand you're under oath
10          MR. GOLD: Go ahead.                            10 today, right? So if you know what the meeting is
11          MR. CARSON: Give me a second.                  11 about and you say you don't know, that's a lie and
12          THE VIDEO SPECIALIST: We are off               12 that's perjury; you do get that, right?
13     the record --                                       13      A. Mr. Carson --
14          MR. CARSON: Could we go off the                14           MR. GOLD: Mr. Carson, please save
15     record, too?                                        15      your accusations when you get in front
16          THE VIDEO SPECIALIST: We're off                16      of a jury. I'm not going to allow you
17     the record. It's 12:21 p.m. Eastern.                17      to harass the witness or try to
18          (A discussion was held off the record.)        18      embarrass the witness. Just rephrase
19          MR. GOLD: You know what, in order              19      the question, let's move along.
20     to save time, just answer the question,             20           MR. CARSON: No.
21     Mr. Roman. Were you invited to the                  21 BY MR. CARSON:
22     meeting originally?                                 22      Q. You do understand what perjury is,
23          THE WITNESS: I believe that I                  23 right?
24     said on the record --                               24      A. Mr. Carson, I am aware what perjury is,
25          MR. CARSON: We're not on -- are                25 yes.
                                                Page 45                                                         Page 47
 1      we on the record right now?                         1      Q. Okay. So if you know something and you
 2           MR. GOLD: Yeah, back on the                    2 deny knowledge to it, that's perjury. You understand
 3      record. I'm going to allow him to                   3 that, right?
 4      answer that question whether he was                 4      A. Mr. Carson, I would appreciate it if
 5      originally invited to the meeting.                  5 the stenographer can read back the question that
 6           THE WITNESS: I'll repeat what I                6 you're asking me to reference in terms of whether I
 7      said beforehand. I received a memo that             7 know what perjury is or is not.
 8      there was going to be a meeting on                  8      Q. She -- my question to you is, if you
 9      November 5th, 2018, in the                          9 deny having knowledge of something that you have
10      Philadelphia's office.                             10 knowledge of, you understand that that's perjury,
11 BY MR. CARSON:                                          11 right?
12      Q. Did that memo instruct you to be at the         12      A. Yes, Mr. Carson.
13 meeting?                                                13      Q. Okay. So with that understanding, do
14      A. I did not construe that memo as an              14 you have any idea what the November 5th, 2018,
15 invitation; however, if you have a copy of the memo I   15 meeting was about?
16 would be happy to look at it and give you my            16      A. Mr. Carson, again, if you're asking
17 interpretation of it.                                   17 me --
18      Q. Have you ever read the memo since then?         18      Q. Yes or no --
19      A. No, I have not.                                 19      A. No, it's not a yes or no question
20           THE COURT REPORTER: I didn't hear             20 because there is an explanation here that has to --
21      that question, Mr. Carson. What was it?            21      Q. No, actually it is.
22 BY MR. CARSON:                                          22      A. No, there's not, Mr. Carson.
23      Q. Have you ever read the memo since that          23      Q. If you know what the meeting was about.
24 meeting?                                                24      A. If you'll please allow me to answer, I
25      A. No, I don't remember.                           25 would be happy to.

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 1      Q. I'll allow you to say whatever you             1 meeting was about.
 2 want, but begin your answer by saying whether you      2     A. Again to say that if I was at the
 3 knew what the meeting was about, yes or no.            3 meeting or if I wasn't at the meeting, my general
 4      A. Mr. Carson, I am aware that a memo went        4 understanding of what took place is is that there
 5 out prior to November 5th, 2018, that described a      5 were accusations that were made against me by members
 6 situation at the Middle East Forum, and to get to      6 of MEF staff and those accusations were discussed
 7 that specific situation we would have to see the memo  7 with MEF staff. That's the general character of what
 8 right now, and then that meeting was one that I did    8 I understood took place at the meeting.
 9 not attend, so if you're asking me that if I know      9     Q. What's your understanding of what those
10 exactly what happened at that meeting, I cannot give  10 accusations were?
11 you an honest answer because I wasn't there.          11     A. Whose accusations?
12      Q. That wasn't my question. Do you know          12     Q. The ones made at the meeting.
13 generally what that meeting was about?                13     A. Well, it depends because from what I
14      A. Well, generally --                            14 understand there were many accusations, so if you
15      Q. Sitting here today.                           15 want to ask me about a specific accusation, I can
16      A. Sitting here today I know that I have         16 give you my opinion.
17 reviewed a two and a half page document which was     17     Q. No, I'm asking you generally what
18 minutes and notes from that meeting, so if you're     18 accusations do you recall there being.
19 asking me about the minutes as they represented what 19      A. Generally there was discontent with my
20 happened at that meeting, I can comment on that if    20 management style and that's what was broached at the
21 you'll show me them, but if you're asking me what     21 meeting.
22 happened at the meeting, I was not there.             22     Q. Was those accusations limited to
23      Q. So I'm -- it's a very simple question.        23 discontent of your management style?
24 Do you know generally what the meeting was about? 24         A. You would have to ask the people at the
25      A. No, Mr. --                                    25 meeting  regarding the specifics, but based on the
                                                 Page 49                                                        Page 51
 1          MR. GOLD: Mr. Carson, he just                   1 memo that I saw, there was a wide range of issues
 2      answered that he had read the minutes               2 that were brought up regarding the general topic of
 3      and he now knows what the meeting was               3 discontent with my management style at that meeting,
 4      about.                                              4 but, again, Mr. Carson, I wasn't there so I can't
 5 BY MR. CARSON:                                           5 tell you.
 6      Q. He now knows.                                    6      Q. Well, did anyone ever talk to you about
 7      A. I would like to correct that record of           7 the meeting afterwards?
 8 your representation what you're saying I now know and    8      A. That is privileged information.
 9 also Mr. Gold's representation. I am aware -- I am       9      Q. It's only privileged if it comes from
10 aware --                                                10 your lawyer.
11      Q. Either you know or you don't.                   11      A. The only discussions I've had regarding
12      A. No, it's not yes or no, it's not black          12 that meeting has been with counsel.
13 and white, it's not a binary question.                  13      Q. Daniel Pipes never talked to you about
14      Q. Okay.                                           14 that meeting?
15      A. I know that there are minutes of a              15      A. Again, the only discussion that I've
16 meeting that took place on November 5th, 2018, that I   16 had has been in the presence of counsel.
17 have reviewed and I know what's in those minutes.       17      Q. So Daniel Pipes -- well, I'm asking you
18 That is what I'm representing to you.                   18 what Daniel Pipes said to you, not what your counsel
19      Q. What was it about? What was the                 19 said to you.
20 meeting about?                                          20      A. About what?
21      A. In those minutes that are raised I              21      Q. Did Daniel Pipes -- did Daniel Pipes
22 would be happy to review them and comment on that       22 ever talk to you about that meeting?
23 document, but it's not in front of me right now.        23      A. Daniel Pipes spoke to me about his
24      Q. I'm not putting it in front of you.             24 general discontent with my management style, but he
25 I'm asking you what your knowledge is about what the    25 never broached to me, beyond anything that was

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 1 written in a formal document that you may have in        1 Mr. Carson, and, again, I'm asking you please be
 2 your possession, what it was that was specifically       2 specific.
 3 brought up at that meeting.                              3      Q. And I'm responding to your request by
 4      Q. Daniel Pipes spoke to you generally              4 telling you that I am being specific in asking you
 5 about his discontent in your management style? Is        5 what he's talked to you about pursuant to that
 6 that what --                                             6 meeting. So I can back up and set up the question.
 7      A. Oh, yeah. He really laid into me.                7           There was a meeting on November 5th,
 8      Q. What did he say about discontent in              8 2018, and your testimony is that that meeting was
 9 your management style?                                   9 about your management style, correct?
10      A. Well, depends on what topic you're              10      A. That's what I believe the meeting was
11 talking about, finances, we're talking about travel,    11 about. I'm not testifying that it was about that.
12 or we're talking about policy, or talking about         12 I'm testifying to you that I saw a memo that went out
13 personnel matters. Please be more specific.             13 that described the results of that meeting and what
14      Q. No, I'm not going to be more specific.          14 was allegedly discussed that, but, again, I wasn't
15 I'm saying generally what did Daniel Pipes tell you     15 there, I can't comment on something that I wasn't at.
16 what his discontent in your management style. If you    16 I can comment about what I heard. I can comment
17 want to begin in a certain area, you're welcome to do   17 about what I heard. I can comment about what was
18 that, Mr. Roman.                                        18 conveyed to me. But I cannot tell you what happened
19      A. Yeah, well, he generally was not happy          19 at that meeting.
20 with my management style. That's the general answer.    20      Q. Well, you read the minutes of the
21      Q. Did he say anything else besides I'm            21 meeting, correct?
22 not happy with your management style?                   22      A. Yes, I did.
23      A. There was many things that he said.             23      Q. Okay. So based on everything you know
24      Q. What were those things?                         24 about the meeting, reading the --
25      A. Well, I've had -- I must have had               25      A. Okay.
                                                Page 53                                                         Page 55
 1 dozens of conversations, hundreds, thousands of          1   Q. -- reading the minutes, people talking
 2 conversations with Daniel since I started working at  2 to you about it, everything that you've ever heard
 3 the Middle East Forum, so, again, if you're asking    3 about that meeting on November 5th, 2018, that --
 4 about a specific conversation on a specific day, I    4      A. Sure.
 5 would be happy to answer it, but you got to give me   5      Q. -- occurred at the Philadelphia --
 6 more specificity, Mr. Carson.                         6 based on that, my question is did Daniel Pipes ever
 7      Q. I'm talking to you about the --               7 talk to you about that?
 8 Mr. Pipes -- is it your testimony that Mr. Pipes      8      A. Daniel Pipes discussed with me the
 9 spoke to you after the November 5th, 2018, meeting    9 issues of my management style that were brought up at
10 about the November 5th, 2018, meeting?               10 that meeting, yes, he did.
11      A. Has he spoken to me about the meeting?       11      Q. When did he do that?
12 I knew that there was a meeting taking place, but    12      A. I don't remember.
13 counsel informed me of that meeting, not Mr. Pipes. 13       Q. Was it -- it was obviously after the
14      Q. Did Mr. Pipes ever speak to you about        14 meeting, correct?
15 that meeting?                                        15      A. We've had many discussions about my
16      A. Mr. Pipes I think was in a conversation      16 management style that took place after that meeting.
17 with counsel that I was present at but I've been     17 In fact, we probably discussed an issue with my
18 instructed to not discuss the contents of that       18 management style only a few weeks ago. He is my
19 conversation that took place with counsel, it's      19 direct -- he is my direct supervisor. He talks about
20 legally privileged.                                  20 my management style all the time.
21      Q. So I'm asking you if -- what Mr. Pipes       21      Q. Well, what -- okay. So -- I mean, we
22 said to you. I'm not asking you what any lawyer said 22 can get to the one that you had a couple weeks ago.
23 to you. Anything that Mr. Pipes said to you is not   23      A. Sure.
24 privileged.                                          24      Q. But let's talk about the meeting first.
25      A. Mr. Pipes has said many things to me,        25 So when was the first time he came to you after the
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 1 meeting to talk to you about what happened at the      1 place both prior to my arrival to the organization
 2 meeting?                                               2 and after my arrival to the organization that take
 3      A. I believe that he conveyed a letter to         3 place regarding any sort of formal complaint filed
 4 me of the results of that meeting. There was no        4 against a staff member, and those --
 5 formal conversation or informal conversation that      5      Q. Well, we're going to --
 6 took place as a result. He had told me that -- he      6      A. -- those procedures --
 7 had told me in this letter that he had communicated    7      Q. We're going to deal with --
 8 to me that there had been an investigation, that he    8      A. I'm trying to provide some context for
 9 had determined what would be the future of my role in  9 the answer -- I can stop if you want me to.
10 the organization, and as a result of the future of    10      Q. Go ahead, finish. No, no, finish what
11 that role in the organization my job was to change.   11 you're saying.
12 So that's sort of the --                              12      A. Those procedures regarding complaints
13      Q. Other than --                                 13 are what the management staff of the organization
14      A. -- that's sort of the milieu of the           14 followed after, I think, both before, during, and
15 progression of events that took place.                15 after, the November 5th, 2018, meeting that took
16      Q. Other than that letter, was there any         16 place that I saw the minutes of. So if you're asking
17 other communications to you about what happened at    17 about six or seven different communications, there is
18 that meeting?                                         18 two ways we can do it. We can either show each
19      A. There was not any further                     19 communication or I can recall to the best of my
20 communications beyond the letter that I received.     20 recollection what took place, but I would like to be
21 There were communications subsequent to this letter   21 able to reserve the right to offer a more specific
22 which came up which further took away other           22 answer if you do ever produce something of a document
23 responsibilities that I had had at the Middle East    23 that I would be able to count on to correct the
24 Forum. There was actually -- there must have been     24 record. Is that fair?
25 six -- six or seven communications after November 6th 25      Q. Yes, so that's fair, but before -- so
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 1 of 2018 which either added new responsibilities or       1 before we get into looking at --
 2 removed responsibilities or benefits or renumeration     2      A. Sure.
 3 or pay. So this is not -- this letter that I             3      Q. -- documents, I just want to -- I want
 4 described previously, or the memo, contract, whatever    4 to isolate what we're talking about, so --
 5 you want to call it, was not the be all end all of       5      A. Sure.
 6 the entire results of what happened on November 5th.     6      Q. -- there is -- you're talking about --
 7 There was many many more things that happened after      7 what we're discussing right now all centers around
 8 that. That's why I'm trying to ask you to provide        8 this November 5th, 2018, meeting; is that fair to
 9 specifics, because I want to be able to answer the       9 say?
10 question in the most accurate truthful way possible,    10      A. Well, I don't know if it's necessarily
11 Mr. Carson.                                             11 fair to say because the November 5th, 2018, meeting
12      Q. We're going to get there. So the --             12 was a simulacrum of a bastion of different management
13      A. I'm trying to help you.                         13 complaints, so --
14      Q. -- the six or seven communications that         14      Q. A what?
15 you testified to just now that occurred after the       15      A. Okay. I'll try to rephrase that. The
16 November 5th, 2018, meeting, all those communications   16 --
17 were electronic communications?                         17      Q. Simulacrum?
18      A. Yes, we have never discussed any issues         18      A. Yeah, simulacrum, s-i-m-u-l-a-c-u-r-m.
19 that were of a nonlegal nature as they related to the   19 Okay? It was a collection --
20 series of events of November 5th in a venue that did    20      Q. Okay.
21 not have the presence of counsel, and, more than        21      A. -- or a medium --
22 that, any allegation that was ever communicated to me   22      Q. I'll look that one up when we're on a
23 which had a formal legal conclusion were protected by   23 break.
24 privilege. There is procedures in place, Mr. Carson,    24      A. All right. Whatever. It was a medium
25 at the Middle East Forum that have always been in       25 of different complaints about my management style,

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 1 and as a result of those complaints that I saw in      1 management issues.
 2 those memo -- that I saw in that memo, both counsel,   2      Q. Okay.
 3 management, and the leadership of the organization     3      A. And that's what filled the thing of the
 4 took steps to correct any alleged actions that were    4 -- the memo itself, if that's like a fair way
 5 raised at that meeting. I mean, this process was       5 to categorize it.
 6 exhaustive, and I think that the document record and   6      Q. If you want to characterize this --
 7 also the testimony that I give here today will         7 sorry. If you want to characterize them as
 8 reflect the exhaustive steps that Mr. Pipes, that      8 complaints about management issues, I'm fine -- as
 9 counsel, and that others, including your clients,      9 long as we're talking about the same thing, I don't
10 took to try to deal with whatever was said at that    10 care what we call them today. So --
11 meeting that I wasn't present at. So I can comment    11      A. What are you talking about, Mr. Carson.
12 on what happened after, but I can't comment on what   12      Q. We're talking about the allegations
13 took place there at the meeting.                      13 that some of these employees made in connection with
14      Q. Let's just slow down for a second. So         14 you that led to the November 5th, 2018, meeting.
15 --                                                    15 Okay? So just so we understand that we're talking
16      A. Sure.                                         16 about the same thing.
17      Q. -- what we're talking about has to do         17      A. I think we're maybe talking about two
18 with the meeting and these allegations, you've        18 different things.
19 characterized them as allegations about your          19      Q. Okay. So I'm talking about allegations
20 management style, but that -- those things all        20 that specifically three people made around November
21 occurred at the beginning of November and they led up 21 1st, 2018, Patricia McNulty, Lisa Barbounis, and
22 to the November 5th, 2018, meetings; is that what you 22 Marnie Meyer, and those -- these allegations that
23 recall?                                               23 these three people made culminated in a meeting on
24      A. No, I don't recall that. There was            24 November 5th, 2018. Is that what you understand?
25 actually other times that Mr. Pipes raised complaints 25      A. That's part of what culminated in a
                                                Page 61                                                        Page 63
 1 about my management style and took corrective action    1 meeting on November 5th, 2018. There were other
 2 against me prior.                                       2 issues that also from what I understand led to that
 3       Q. We're not talking --                           3 meeting taking place.
 4       A. No, but I'm saying -- like you're              4       Q. What are those issues? Can you just
 5 asking me in total is November 5th about that, and      5 name them like one at a time, just --
 6 it's not. Okay? Mr. Pipes --                            6       A. I'll try to recall to the best of my
 7       Q. Okay.                                          7 ability other things that may have led towards that.
 8       A. -- has what I would call a 360 degree          8       Q. Okay.
 9 review process as it relates to the people that         9       A. There was a --
10 report to him, and I'm not the only person that's a    10       Q. Give me --
11 direct report. There is people at the Middle East      11       A. Yeah, I'll go through them as best as I
12 Forum that do not report to me. Okay? Still to this    12 remember. Okay?
13 day --                                                 13       Q. Just because this way we can talk about
14       Q. So --                                         14 it and --
15       A. -- and even before November 5th there         15       A. Yeah, yeah, fine, fine, and then if you
16 was never a time where all individual staff members    16 can just kind of like signpost. Okay? I understand
17 at MEF reported to me. It is a complex organization.   17 that anything -- notes that I write in this will be
18       Q. I understand. But the meeting that was        18 made available to you because it's -- we're now under
19 in November 5th, 2018, was because certain people      19 oath, but are you okay with me just sort of listing
20 made these -- made some allegations against you; is    20 these so I also keep track of that? Is that fair?
21 that what you understand?                              21       Q. Let me list them and then you -- you
22       A. That's what I understand, yes, that           22 say them and I'll list them --
23 they made allegations that included -- I estimate --   23       A. Right, but I would rather have a record
24 if you look at the notes, this is just based on my     24 I can also look at so that if I write something --
25 memory of it, about 90 percent had to do with          25 I'll give you the notes afterwards, I'm not going to

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 1 refer to any documents that you don't have available        1 website by a company called Jump and then GoldenComm.
 2 --                                                          2 Jump is a company in Kentucky; GoldenComm is a
 3      Q. Well, just give me the -- just give me              3 company in California I want to say, Newport Beach or
 4 the first one first. Let's just -- just give me --          4 Manhattan Beach.
 5      A. Yeah.                                               5      Q. Okay. So that's five.
 6      Q. Other than the women's allegations,                 6      A. There was a complaint about Mr. Arthur
 7 you're -- I think the list that you're trying -- that       7 Stein, who was a donor to the Middle East Forum and
 8 you want to make is a list of other reasons why these       8 was the subject of a donation issue. There was a
 9 meetings happened other than these women's                  9 complaint that dealt with technology beyond that of
10 allegations; is that right?                                10 the website, and that specific technological
11      A. Sure. Sure. So it goes beyond that                 11 complaint dealt with a company called Hybros,
12 and I'm going to refer to the -- to what I remember        12 H-y-b-r-o-s. There was -- and this is all just based
13 here as what I think may have been the other reasons. 13 on the minutes, so -- I mean, I guess you'll see this
14      Q. All right. Just give me the first                  14 reflected, but if there is a disparity between what's
15 thing.                                                     15 in the minutes versus what I'm talking about, then I
16      A. Sure. A complaint that Lisa Barbounis              16 hope that you'll allow me to correct that. Is that
17 filed against Marnie Meyer on October 30th, 2018.          17 fair?
18      Q. Okay.                                              18      Q. Yeah, no one is going to hold you to
19      A. The second thing --                                19 anything -- you're doing this by memory, it's fine.
20      Q. Can you say that date again?                       20      A. I'm just doing this by memory, so I'm
21      A. A complaint that Lisa Barbounis filed              21 just trying to jog whatever came up from that memo
22 --                                                         22 that I saw.
23      Q. Filed against Marnie --                            23      Q. It's also -- it's not a test, so --
24      A. -- against Marnie Meyer on October                 24      A. No, not saying a test; I'm trying to
25 30th, 2018.                                                25 give you what I remember seeing from that memo.
                                                      Page 65                                                          Page 67
 1      Q. Okay. What's number two?                       1 Again, I'll reiterate, I wasn't there, so I can't --
 2      A. Number two is a complaint that Matthew         2 you know, this is all -- I don't know if it's hearsay
 3 Bennett filed against Marnie Meyer backing the         3 or whatever the legal term for it is, but I'm trying
 4 complaint of Lisa Barbounis on October 30th of 2018.   4 to give you what I recall from seeing from this memo.
 5      Q. All right. Number three.                       5 Okay?
 6      A. The third is is a complaint that Lisa          6      Q. Yeah. Is there -- so I have one, two,
 7 Barbounis raised against Stacey Roman on October --    7 three, four, five, six, seven other reasons other
 8 I'm going to say it's in October of 2018, but I also   8 than these women's allegations that led to the
 9 think that was a subject of that meeting as well.      9 meeting in -- in November 5th, 2018.
10      Q. Okay. Is there anything else?                 10      A. You're saying that those allegations
11      A. Yeah, a complaint that Daniel Pipes had       11 led to the meeting; what I'm saying is is that to
12 registered to me prior -- two times prior actually -- 12 this day I have never had the opportunity to directly
13 to November 5th, 2018. The first would have been a    13 address those allegations to those women. I mean, I
14 continuation of a conversation that took place in     14 guess I see -- I see Ms. Barbounis is on this call
15 2017 and the second was the continuation of a         15 right now, so this is actually probably the first
16 conversation that took place in 2018. I think         16 time that I've ever commented on this, at least one
17 probably November 5th, 2018, was the -- you know, the 17 on one to a public forum that's of a nonlegal venue,
18 final event of what Daniel Pipes would -- I would     18 but -- I guess it is a legal venue, right, though --
19 characterize, I don't know how Daniel Pipes would     19 because you're the -- you're the attorney who is
20 characterize it, two years of Daniel Pipes's          20 deposing me today, but, again, these issues were a
21 frustration with my management style.                 21 milieu -- there's also some characterizations of what
22      Q. All right. So that's four things that         22 Mr. Pipes --
23 we have. Is there any more?                           23      Q. Well, wait, let me just back you up.
24      A. Yeah, I think that there was a                24      A. Sure.
25 complaint that dealt with the construction of a       25      Q. Did Mr. Pipes ever talk to you about
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 1 the allegations that these women made? Did he ever       1      Q. What is your general understanding --
 2 sit down and have a conversation with you about it?      2      A. I was about to answer your general
 3      A. He had a conversation that I think he            3 question. Of a general question, she was unhappy at
 4 observed that was with counsel, yes.                     4 the Middle East Forum.
 5      Q. So I'm not talking about -- I'm not              5      Q. Well, did she make any specific
 6 talking about, you know, litigation strategy             6 allegations regarding you?
 7 sessions. I'm talking about --                           7      A. She's never made an allegation to me,
 8      A. I'm not talking about litigation. I'm            8 no.
 9 not talking about litigation. I'm saying --              9      Q. About you.
10      Q. What I'm trying to ask you about is --          10      A. She has, and those I believe are
11      A. Sure.                                           11 memorialized in a document that I saw after this
12      Q. -- did Daniel Pipes ever sit down with          12 litigation began that I think was sent in November of
13 you and just have a conversation with you about these   13 2018 but you would have to be able to bring a
14 allegations and what are we going to do about it type   14 document forward for me to accurately comment on.
15 of thing?                                               15      Q. Well, I'm asking you what's your
16      A. Which allegations, the one I just               16 understanding of the allegations that she made
17 enumerated or other allegations?                        17 regarding you.
18      Q. The allegations that Patricia McNulty,          18      A. Again, there was I believe more than
19 Marnie Meyer, and Lisa Barbounis made in November of    19 one allegation, so you would have to be specific
20 2018.                                                   20 showing me what they are so that I could give you the
21      A. You have to be specific about the               21 best answer with all of my honesty and truthfulness
22 allegations because I can't offer a answer in           22 regarding the specific nature of what it is that
23 totality unless you specifically get to the             23 you're trying to get me to comment on.
24 allegations that you're talking about.                  24      Q. Well, I want you to tell me everything
25      Q. That's fine.                                    25 that you think she said about you when she made
                                                 Page 69                                                        Page 71
 1           MR. CARSON: Can we -- do you guys            allegations regarding you in November of 2018.
                                                            1
 2     mind if we do like a little -- I need --         2      A. Everything that you want me to think
 3     I have like a lump in my throat that's           3 about,  there is many things. For instance --
 4     going crazy. I need to get like a cough          4      Q. Everything that you know, everything
 5     drop and go to the bathroom. Do you              5 that you remember, everything that you were told,
 6     guys mind if we do a ten-minute break?           6 any --
 7           THE VIDEO SPECIALIST: We are now 7                A. It's -- first of all, there's --
 8     off the record, it's --                          8      Q. -- based on any knowledge that you
 9           THE WITNESS: Sure.                         9 have.
10           THE VIDEO SPECIALIST: -- 12:47            10      A. -- there is many things that I remember
11     p.m.                                            11 about   Tricia McNulty. There is many things that I --
12           (A brief recess was taken.)               12      Q. Mr. Roman, I'm going to stop you. I'm
13           THE VIDEO SPECIALIST: We are now 13 not asking you to tell me everything that you
14     on the record. It is 1:02 p.m. Eastern.         14 remember about Patricia McNulty. Do you understand
15 BY MR. CARSON:                                      15 --
16     Q. Mr. Roman, what are your -- what's your 16                 MR. GOLD: Objection. That
17 understanding of the allegations that Patricia      17      question is way too broad. If you
18 McNulty made against you in November of 2018?       18      narrow it, we'll let him answer it.
19     A. The understanding of which allegations?      19      Everything he knows -- it's just
20     Q. Any of them. What's your understanding       20      outrageous. He's not going to answer
21 of what she said about you in November of 2018?     21      that question.
22     A. Well, you would have to be able to go        22            MR. CARSON: Sidney, you're not
23 over the factual predicate for each allegation in   23      even objecting to the question.
24 order for me to comment on it I think. Of a general 24            MR. GOLD: I am objecting to it.
25 nature --                                           25      It's a ridiculous question.
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 1          MR. CARSON: There wasn't a                     1 1st or around November 1st, 2018. Okay?
 2     question.                                           2      A. Well, there was -- you know, I've
 3          MR. GOLD: And from what --                     3 become aware after this litigation started of many
 4          MR. CARSON: There wasn't a                     4 things that she said both on and around November 1st
 5     question.                                           5 of 2018. There is something like 17,000 messages
 6          MR. GOLD: How about --                         6 that exist between -- that's maybe not an accurate
 7          MR. CARSON: You're objecting to                7 number, might be 16,000 --
 8     nothing right now.                                  8      Q. Not asking you about messages.
 9          THE COURT REPORTER: I can't hear               9      A. -- might be 18,000 -- I'm trying to
10     -- excuse me. I can't hear each of you             10 give you comment here to the best of my ability.
11     when you're both talking at the same               11      Q. My question is who -- your
12     time.                                              12 understanding who she made those allegations to, who
13          MR. GOLD: I'm going to object.                13 did she report that to.
14     The question lacks any modicum of                  14      A. Which allegations are you speaking
15     specificity with regard to --                      15 about, Mr. Carson? I have --
16          MR. CARSON: No one asked the                  16      Q. Any.
17     question you're objecting to.                      17      A. -- yet to see a document.
18          MR. GOLD: Yes, you did. You                   18      Q. Any of them.
19     asked a question and I'm directing him             19      A. Any of which allegations?
20     not to answer until you rephrase it.               20      Q. Well, how many --
21          MR. CARSON: Mr. Gold, you're                  21      A. For instance, I'll give you an
22     objecting to something that no one                 22 allegation that she --
23     asked. I didn't ask him tell me                    23      Q. Please stop.
24     everything you remember about Patricia             24      A. Sure.
25     McNulty --                                         25      Q. We're going to do this clean. Okay?
                                                Page 73                                                        Page 75
 1           (Simultaneous speakers.)                      1      A. Let's do it clean.
 2           MR. CARSON: What I said was I'm               2      Q. So around November 1st, 2018, do you
 3      not asking you about everything you said           3 understand that Ms. McNulty reported certain conduct
 4      about Patricia McNulty. So just listen,            4 related to you to Mr. Pipes?
 5      please.                                            5      A. I understand that -- actually did -- do
 6 BY MR. CARSON:                                          6 I understand if Ms. McNulty --
 7      Q. Anyway, what I'm asking you                     7      Q. It's a yes or no question.
 8 specifically is do you recall that around November      8      A. -- reported -- hold on. I'm trying to
 9 1st, 2018, Ms. McNulty made allegations about you,      9 frame it here so that I can give you the best answer
10 she reported something to Daniel Pipes about you, do   10 to the best of my ability, Mr. Carson. Do I
11 you recall that?                                       11 understand that around November 1st of 2018 Tricia
12      A. No.                                            12 McNulty made allegations to Daniel Pipes about my
13      Q. You don't recall that.                         13 conduct. You got to be more specific, in what
14      A. No, she never made allegations to me.          14 capacity. Because there is a few things that she
15 She made them to someone else. I can't comment on      15 said that I can give you the answer here to.
16 something --                                           16      Q. Give me the first thing that you
17      Q. Right.                                         17 remember.
18      A. -- she said to someone else. I wasn't          18      A. The first thing that I remember is a
19 there to comment on it.                                19 text message that Tricia McNulty sent to Lisa
20      Q. I'm not -- I'm asking you what's your          20 Barbounis saying what's your Gregg plan. That's one
21 understanding of -- who do you think she made the      21 thing I remember about her concocting allegations
22 allegations to?                                        22 about me that she said to Lisa Barbounis that I think
23      A. Made which allegations, Mr. Carson?            23 she then delivered to Lisa Barbounis -- to Lisa
24      Q. Any. Who did she make them to. We're           24 Barbounis and --
25 talking about the allegations she made on November     25      Q. Well, when did you see --
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 1      A. -- Daniel Pipes.                                 1 stories over the last two years and I'm trying to
 2      Q. -- that message?                                 2 figure out what story are you trying to refer to.
 3      A. That was in the two hundred thousand             3      Q. I'm asking you -- so you just said
 4 plus messages that you handed over to the Middle East    4 Daniel Pipes sent you an e-mail about these
 5 Forum on August 16th, 2020.                              5 allegations, correct?
 6      Q. Okay. So I'm -- I'm not talking about            6      A. The e-mail that you sent me a draft of
 7 what you saw on discovery.                               7 whether or not that was the specific e-mail that I
 8      A. So that's why I need you to be                   8 got, but you have to be able to show me the documents
 9 specific. You got to tell me what you're talking         9 for me to comment on it.
10 about.                                                  10      Q. No, I'm asking you a question,
11      Q. I am being specific. My question is             11 Mr. Roman, about -- you said that Daniel Pipes sent
12 did Daniel Pipes ever notify you that there was         12 you an e-mail where he notified you that certain
13 allegations made against you.                           13 allegations were being made.
14      A. Did Daniel Pipes ever notify me that            14      A. Right, that's -- I think you just
15 there were allegations made against me. We talked       15 showed me a draft of an e-mail that I received.
16 about the managerial allegations beforehand, so I       16      Q. Well, there was nothing about
17 think my record stand -- I think my answer stands on    17 allegations in that draft.
18 the record about what I recall --                       18      A. There definitely was, that said, in
19      Q. Talking about the allegations of                19 parentheses, if you go back to it, if we can refer to
20 Patricia McNulty.                                       20 that document -- can we refer to Roman 1 as the
21      A. What allegations --                             21 exhibit so I can give a comment on it for a second?
22      Q. It's a yes or no --                             22          Go up to the first paragraph. Interim
23      A. -- Mr. Carson?                                  23 because the office and I are reeling from the sudden
24      Q. Did Daniel Pipes ever tell you that she         24 changes this month. That seems like there has to be
25 made allegations in November -- around November 1st,    25 a predicate for changing this job and that looks like
                                                Page 77                                                         Page 79
 1 2018?                                                    1
                                                            that could be something dealing with changes in the
 2      A. Mr. Pipes --                                   2 office, and I took that to be that there was a change
 3      Q. Did she ever tell you that?                    3 that took place. Now, I know -- I know that there is
 4      A. Mr. Pipes --                                   4 another e-mail --
 5      Q. Did he ever tell you that?                     5      Q. Is there anything about Ms. McNulty's
 6      A. -- wrote me an e-mail that said certain        6 allegations in this document?
 7 individuals have said certain things about you and     7      A. No, but I think that what he's
 8 those certain things have led me to conclude that you  8 referring to is a second e-mail --
 9 are no longer in a position to handle the              9      Q. I wasn't asking you what he's referring
10 administration of the Middle East Forum anymore. In   10 to. So -- there is not. So my question --
11 terms of what Ms. McNulty said, I don't have a record 11      A. I think there is, though. I think
12 of a specific allegation made to me on November 1st,  12 there is.
13 2018, because this is information I became aware of   13      Q. Where? Show me where they're talking
14 in its totality after you filed -- not you, excuse    14 about --
15 me, that's incorrect. -- after your clients filed an  15      A. When he says "are reeling from the
16 Equal Employment Opportunity Commission complaint 16 sudden changes." Okay? So when he's --
17 against me --                                         17      Q. You're --
18      Q. Okay. But we're not talking about --          18      A. -- talking about sudden changes -- this
19      A. No, but I'm saying, because this is the       19 is just my interpretation --
20 thing, right? You're saying which allegations,        20      Q. Let me get a question out and then you
21 right? There is actually, from what I understand, at  21 answer the question. Okay?
22 least five different versions of allegations that may 22      A. Sure.
23 be of the same nature around the same alleged series  23      Q. So is it your testimony that that
24 of events which are of all different natures. That's  24 phrase in this document is referring to Ms. McNulty's
25 why it's so confusing. You've told five different     25 allegations?

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 1       A. No, it's not, not at all. What it is          1 possible --
 2 is is that the --                                      2      Q. You got to stop talking over me.
 3       Q. But my --                                     3      A. -- so the record reflects what
 4       A. -- sudden changes refer to the totality       4 happened.
 5 of what he said was --                                 5      Q. All right? You got to stop talking
 6       Q. Mr. Roman, I'm --                             6 over me. My question is simple. Sitting here today
 7       A. -- change that took place in the              7 do you ever recall an e-mail that you were ever sent
 8 office.                                                8 by Mr. Pipes specifically about Ms. McNulty's
 9       Q. You got to just let me get my questions       9 allegations?
10 in. You got to --                                     10      A. Which allegations are you talking
11       A. Well, you asked me a question. You           11 about, Mr. Carson?
12 said is it your testimony that this refers --         12      Q. Allegations she made November 1st,
13       Q. Right.                                       13 2018, or around that --
14       A. -- to Tricia McNulty's allegations --        14      A. You got to be specific. I just told
15       Q. You said no.                                 15 you one allegation where she said --
16       A. -- in quotation marks --                     16      Q. Do you recall any e-mail about her
17       Q. You answered the question.                   17 allegations, yes or no?
18       A. -- and -- I didn't say no. I said no I       18      A. Which --
19 think that it refers to the totality of what          19      Q. If you don't -- or I don't know.
20 Mr. Pipes described as sudden changes in the office   20      A. Mr. Carson --
21 that may or may not have included these whatever      21      Q. Yes, no, I don't know.
22 allegations that you haven't specified include.       22      A. -- the factual -- the factual predicate
23       Q. Okay. Is there another e-mail that           23 of the question that you're asking is not specific
24 Mr. Pipes sent you where he referred to Ms. McNulty's 24 enough to allow me to comment.
25 allegations?                                          25          MR. CARSON: All right. We're
                                                Page 81                                                        Page 83
 1      A. I don't know if he's referring to Ms.            1    going to stop and call the Court. Okay,
 2 McNulty, but I did get another e-mail from Mr. Pipes.    2    guys? This is getting ridiculous, so --
 3      Q. Did you ever get an e-mail from                  3    all right. Thank you.
 4 Mr. Pipes specifically about Ms. McNulty's               4          THE VIDEO SPECIALIST: We're off
 5 allegations?                                             5    the record. It's 1:15 p.m. Eastern.
 6      A. I don't know. You would have to give             6          MR. CAVALIER: I would defer to
 7 me the opportunity to read through all the discovery     7    Mr. Gold in this respect, but if we're
 8 that we handed over to you. I think we gave you like     8    going to do a call to the Court I would
 9 five or six thousand documents. So if you in             9    at least like to have a discussion about
10 preparation --                                          10    whether it should be on the record.
11      Q. Sitting here today.                             11          MR. CARSON: Well, I'm going to
12      A. -- for today's deposition be able to            12    start calling right now. You guys can
13 provide me that --                                      13    have that discussion if you want. I
14      Q. Mr. Roman --                                    14    don't care.
15      A. -- I could probably comment on it.              15          MR. CAVALIER: All right. Well,
16      Q. You can just say I don't know and then          16    if nobody has any opinion on it, then I
17 we can move on --                                       17    would ask that we stay on the record for
18      A. Well, Mr. Carson, I believe that as the         18    this call.
19 deponent in today's deposition I'm trying to provide    19          MR. GOLD: Correct.
20 you the best recollection of my knowledge as it         20          MR. CARSON: No. I have an
21 relates to the questions that you are offering          21    opinion. We're not on the record.
22 today --                                                22          THE COURT REPORTER: Are we on the
23      Q. Okay. Thank you.                                23    record or off the record, please?
24      A. -- and I would like to be able to do            24          MR. CARSON: Off the record.
25 that in the most -- with the most efficacy as           25    We're not wasting time with this. This
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 1     is ridiculous.                                  1 Patricia McNulty was making an allegation involving
 2          MR. CAVALIER: I disagree. As far           2 sexual harassment against you?
 3     as I'm concerned, we have to remain on          3      A. Patricia McNulty. I would have to say
 4     the record unless we all agree to go            4 without the specific day the beginning of November
 5     off.                                            5 2018.
 6          MR. CARSON: Well, you can't go on          6      Q. How did you find that out?
 7     the record -- we're already off the             7      A. It was communicated to me in an e-mail.
 8     record. You can't go on unless we agree         8      Q. Was that e-mail from Daniel Pipes?
 9     to go on.                                       9      A. I don't remember.
10          MR. CAVALIER: I didn't agree to           10      Q. What did the e-mail say?
11     go off the record, Seth.                       11      A. There was a -- like I said beforehand,
12          MR. GOLD: We're not going off the         12 a general e-mail saying that these people have said
13     record. Stay on the record.                    13 that you have done something and then you have said
14          MR. CARSON: We are off the record         14 that you did not do those things.
15     right now.                                     15      Q. Right, but that's not when you first
16          MR. CAVALIER: We're on the                16 found out about it because the e-mail that you're
17     record.                                        17 referencing talked about your response, right?
18          MR. CARSON: They already said off         18      A. Right, but what I'm saying is is is
19     the record. No, we're not.                     19 that there was an e-mail where I was told that there
20          MR. CAVALIER: You said off the            20 were issues that took place, I don't remember the
21     record. I didn't say it, Sid didn't say        21 specificity of the e-mail, I don't remember if it was
22     it; you can't unilaterally go off the          22 conversation that took place beforehand -- this is
23     record.                                        23 something that's, what, like two years ago, three
24          MR. CARSON: Well, we're not on            24 years ago -- so if you, you know, look at this --
25     the record right now. Sorry.                   25      Q. Is this the e-mail you're talking
                                            Page 85                                                        Page 87
 1         THE VIDEO SPECIALIST: I called it           1 about?
 2    off the record, gentlemen. I said we're          2       A. As you know, there have been several
 3    off the record.                                  3 allegations -- let me read the whole e-mail first.
 4         MR. CAVALIER: Well, then when we            4           Can you go down?
 5    get on the call with the Court, we're            5       Q. I believe that's it.
 6    going to raise this issue.                       6       A. Yes, as it relates to allegations of a
 7         THE COURT REPORTER: I can't go              7 nature as you describe regarding Patricia McNulty,
 8    off unless you all agree, so it's been           8 there was a conversation with counsel that I believe
 9    on.                                              9 I'm not supposed to talk about and then this is the
10         MR. CAVALIER: Good, because we             10 first time I received a formal notice of those
11    didn't all agree.                               11 allegations in an e-mail from Daniel Pipes to me on
12         (A call was placed to Judge Wolson.)       12 what looks like here is Friday, November 2nd, at
13         (A discussion was held with Judge          13 11:51 in the evening.
14          Wolson via speakerphone wherein           14       Q. You received this e-mail on 11/2/18,
15          it was agreed that the discussion         15 correct?
16          would be off the record.)                 16       A. Well, it says Friday, November 2nd,
17         THE WITNESS: Could I take two              17 2018, 11:51 p.m., that's UTC time, so that's, what,
18    minutes to use the restroom?                    18 like four hours ahead of Eastern time, so it's
19         MR. GOLD: Yeah, go ahead.                  19 probably 7, 8 p.m., something like that.
20         THE WITNESS: Thank you.                    20       Q. 7 or 8:00 on November 2nd?
21         (A brief recess was taken.)                21       A. Yeah, in the evening. That's what the
22         THE VIDEO SPECIALIST: We're back           22 time stamp says.
23    on the record. It is 1:48 p.m. Eastern.         23       Q. Okay. So the e-mail says there have
24 BY MR. CARSON:                                     24 been several allegations of improper conduct directed
25    Q. When did you first find out that             25 against you. The Middle East Forum takes these

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 1 allegations very seriously. Accordingly, I              1      question.
 2 investigated this matter yesterday, immediately upon    2           THE WITNESS: Sure. I've had many
 3 learning of it.                                         3      conversations with Mr. Pipes about the
 4          Did Daniel Pipes talk to you yesterday,        4      -- what I believe is where you're
 5 November 1st?                                           5      talking about, the several allegations
 6      A. Yesterday was November 19th, so you             6      of improper conduct that you mention
 7 mean --                                                 7      here. We've had conversations about it
 8      Q. No, yesterday --                                8      in November of 2018, we've had
 9      A. -- do you mean he spoke to me --                9      conversations about it many times.
10      Q. I'm talking about --                           10 BY MR. CARSON:
11      A. What do you mean?                              11      Q. Not talking about that. We're talking
12      Q. -- yesterday -- when I say yesterday, I        12 about this letter here. So it says you maintain you
13 mean quote/unquote yesterday. Did he talk to you on    13 never made such advances, so that -- you told
14 November 1st, 2018?                                    14 Mr. Pipes that?
15      A. I don't remember.                              15      A. I have maintained since the start of
16      Q. You don't -- when do you remember              16 this entire process that I have not -- what's the
17 talking to Daniel Pipes about this?                    17 best way to put it that will answer this the best
18      A. I've spoken about him many times since         18 way.
19 this e-mail was received.                              19      Q. My question is --
20      Q. When is the first time you remember            20      A. I'm telling -- I'm giving you my
21 talking to him about this?                             21 answer, Mr. Carson.
22      A. I don't remember. It would probably be         22      Q. It's did you tell Mr. Pipes that. That
23 sometime around November 2nd, 2018. It's the first     23 was my question.
24 time I have an e-mail communication from him about     24      A. I have told Mr. Pipes on many occasions
25 it.                                                    25 and I have told other individuals on many occasions
                                                Page 89                                                        Page 91
 1      Q. Well, it says that you maintain you             1
                                                           the same answer that I give to you now. I did --
 2 never made such advances, so who did you maintain     2      Q. I'm not asking you -- I'm not asking
 3 that to?                                              3 you --
 4      A. I believe that anything that I would          4      A. I'm telling you -- I'm telling you what
 5 have said would have been in the process of an        5 I told Mr. Pipes.
 6 investigation with counsel. Now, I'm going to ask my  6      Q. No, your -- your answer is
 7 attorney for a legal opinion whether or not I should  7 nonresponsive right now. I'm asking you about --
 8 answer that.                                          8      A. Mr. Carson, please let me make the
 9      Q. It's not privileged. It's in this             9 answer and I can give --
10 letter.                                              10      Q. No.
11      A. I'm not asking you, Mr. Carson. I'm          11      A. -- you an answer.
12 asking my counsel.                                   12      Q. No, no. I'm asking you specifically,
13           THE WITNESS: Counsel --                    13 when Mr. Pipes writes to you that you maintain you
14           MR. GOLD: Can you please read the          14 never made such advances, that's something you told
15      question back?                                  15 him? Yes or no.
16 BY MR. CARSON:                                       16      A. I have told --
17      Q. Who did you maintain that you never          17      Q. Yes or no.
18 made such advances to? Who did you tell that to?     18      A. I have --
19 You told that to Mr. Pipes?                          19      Q. Is that something you told Mr. Pipes?
20           THE WITNESS: Counsel, can I                20      A. Mr. Carson, if you'll let me please
21      answer this? Can I comment --                   21 answer, I would like to be able to give the answer to
22           I'm seeking a legal opinion,               22 you.
23      Mr. Carson.                                     23      Q. You got to start with yes or no then.
24           MR. GOLD: He asked you what you            24      A. Please don't instruct me on how to give
25      told Mr. Pipes. You can answer the              25 my answer.
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 1           (Simultaneous speakers.)                      1      Q. I'm not asking about Mr. Fink.
 2           THE COURT REPORTER: I can't hear              2      A. -- the -- Mr. Carson --
 3      anybody when you're all talking at the             3      Q. I'm not -- I said is that something you
 4      same time.                                         4 had --
 5           MR. GOLD: Mr. Carson, ask the                 5      A. Mr. Carson --
 6      question, let him answer; if you're not            6      Q. -- you talked to Mr. Pipes about.
 7      happy with the question, then, you know,           7      A. -- I'm trying to give you an answer.
 8      rephrase it or do whatever you need to             8      Q. I know. It's a yes or no question,
 9      do, but no argument, please, wasting               9 though. Is that something you talked to Mr. Pipes
10      time.                                             10 about.
11 BY MR. CARSON:                                         11      A. Mr. Carson, I do not recall if
12      Q. Mr. Roman, my question is about this           12 Mr. Pipes is the individual that I gave these answers
13 sentence here. Is this something that you told         13 to. What I'm trying to tell you is that I
14 Mr. Pipes, yes or no.                                  14 participated in an extensive interview with counsel
15      A. Again, Mr. Carson --                           15 about these allegations --
16      Q. I'm not asking you about every time you        16      Q. When?
17 told him. I know. You told him a lot of times you      17      A. -- and -- before, when they were made.
18 didn't do it. I get it. But I'm asking you --          18 I think --
19      A. I'm trying to get an answer out.               19      Q. When --
20      Q. -- about this letter.                          20      A. -- that I had -- I think that I had --
21      A. I'm trying to get an answer out.               21      Q. Well, when did you have this
22 You're interrupting me every time I give an answer.    22 conversation?
23      Q. All right. I'll rephrase the question.         23      A. -- a -- I think that I had a
24 When Mr. Pipes says you maintain you never made such   24 conversation with Mr. Fink sometime between October
25 advances, when did you maintain that? When did you     25 31st and the writing of this e-mail, so within that
                                                Page 93                                                        Page 95
 1 tell him that?                                          148-hour period there was an investigation that was
 2      A. Well, you're again asking that question        2 launched by in-house counsel and to these allegations
 3 that relies on a factual predicate that may or not be  3 as per the policy of the Middle East Forum and I
 4 true because I don't remember it. What I'm trying to   4 believe that the results of that investigation was
 5 tell you is --                                         5 conveyed to Mr. Pipes. That's my answer.
 6      Q. It might not be true --                        6      Q. So Mr. Pipes wasn't there when you said
 7      A. I'm --                                         7 that you acknowledge your intentions were not
 8      Q. It might not be true that you didn't           8 acceptable and put these employees in a difficult
 9 tell him that?                                         9 position.
10      A. I may have said to counsel something          10      A. I don't know because I was speaking to
11 that I don't know whether or not I'm allowed to do,   11 Marc Fink --
12 but in general, Mr. Carson, I have always maintained 12       Q. Was Mr. Pipes present?
13 to Mr. Pipes and to anyone else that all of these     13      A. -- okay -- I know that there was a
14 allegations are untrue.                               14 conversation with Marc Fink about this entire
15      Q. It says -- the next thing it says is          15 litany --
16 and that you -- and -- you maintain you never made    16      Q. Okay.
17 such advances and did not know they felt              17      A. -- of what came forward. Now, whether
18 uncomfortable. But you acknowledge that your          18 Mr. Pipes --
19 conduct, whatever your intentions were, were not      19      Q. I understand. I understand.
20 acceptable and put these employees in a difficult     20      A. Now, whether Mr. Pipes was present
21 position.                                             21 there or not, I don't know.
22           So that's something you had a               22      Q. Okay. Did you ever have a conversation
23 conversation with Mr. Pipes about, correct?           23 with Mr. Pipes where you made comments like this,
24      A. No, Mr. Carson, Mr. Fink                      24 where you said that you acknowledge that your
25 investigated --                                       25 intentions -- you acknowledge your conduct, whatever

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 1 your intentions were, were not acceptable and put        1     A. I don't remember.
 2 these employees in a difficult position, did you ever    2     Q. Well, how many conversations did you
 3 have a conversation with Mr. Pipes where you said        3 have with him back in 2018?
 4 that?                                                    4     A. I have had probably thousands of
 5       A. We have to break it down. First of              5 conversations with Mr. Pipes in 2018.
 6 all, about Mr. Pipes, I, again, don't know if he was     6     Q. No, I didn't ask you how many
 7 there or not. I did speak with in-house counsel.         7 conversations you had with Mr. Pipes in 2018. I
 8 Second, as it relates to conduct, which conduct are      8 asked you how many conversations have you had with
 9 we talking about?                                        9 Mr. Pipes about Patricia McNulty's allegations of
10       Q. Well, which conduct were you talking           10 sexual harassment in 2018.
11 about when you said that?                               11     A. I don't recall.
12       A. Well, I don't know if I said this --           12     Q. Was it more than one?
13 what I'm saying is is is that the conduct you're        13     A. I don't recall.
14 trying to get me to refer to in general was my          14     Q. Could it be zero?
15 managerial style that I think, and I'll try to offer    15     A. No.
16 you a little positive matter now so we get this         16     Q. So it's at least one.
17 moving a little bit forward, was one in which blended   17     A. Yes.
18 professional and personal relationships, personal of    18     Q. Is it at least five?
19 a friendly nature, not one of a sexual nature,          19     A. Well, again, you have to be specific
20 Mr. Carson.                                             20 about the allegations. I'll give you an example.
21       Q. So when you --                                 21     Q. Sexual harassment allegations.
22       A. So the mistake -- if I can finish. So          22     A. We -- no, about --
23 the mistake that I may be referring to in any conduct   23     Q. I don't need an example. I'm --
24 that allegedly took place prior to November 2nd,        24     A. Okay. Mr. Carson, you're asking me to
25 2018, 11:51 p.m., was one in which I thought that the   25 be as specific as possible.
                                                 Page 97                                                        Page 99
 1 people I worked with were my friends rather than just    1      Q. I know, I don't need you to give me --
 2 subordinates or employees. That would take the           2      A. I'm trying to be as specific as
 3 conduct of going to birthday parties, it would be        3 possible.
 4 going out to events like seeing movies, it would         4      Q. Okay. So just listen to my question
 5 be --                                                    5 and answer the question I'm asking you.
 6      Q. Going to Israel?                                 6      A. Okay.
 7      A. -- going -- in terms of going --                 7      Q. Okay? How many times did you talk to
 8 listen, to -- if you want to finish my answer, I'm       8 Mr. Pipes -- and I know you've already answered that
 9 trying to give you a little bit of explanation here.     9 you think it's -- it's at least one. My question is,
10      Q. Would it include going to Israel?               10 do you think it's at least five times that you've
11      A. No, not at all. Israel and any trips            11 talked to Mr. Pipes about sexual harassment
12 that would be overseas were of a purely professional    12 allegations from Ms. McNulty in 2018? Is it like
13 nature.                                                 13 five times?
14      Q. Okay. So my question is, have you ever          14      A. I don't know if it's five.
15 had a conversation with Mr. Pipes about Ms. McNulty's   15      Q. So is it fair to say it's probably
16 allegations of sexual harassment?                       16 between one and five? Can we put it --
17      A. Yes.                                            17      A. No, it's not fair to say because I
18      Q. When?                                           18 can't give you the exact number, but if you would
19      A. I've had many conversations with him            19 like me to tell you what I think I spoke to him
20 since she made those allegations.                       20 about --
21      Q. Okay. So let me be more specific. Did           21      Q. Yeah, let me ask the question then. So
22 you ever have a conversation in 2018 with Mr. Pipes     22 --
23 about Ms. McNulty's allegations of sexual harassment?   23      A. Sure.
24      A. Yes.                                            24      Q. -- the one time that -- the at least
25      Q. When?                                           25 one time that you can recall, can you describe where

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 1 -- can you say where you were when you had that        1       Q. We're looking at that e-mail right now.
 2 conversation?                                          2       A. I know, I'm saying this, I'm saying
 3      A. No, it's of a general nature.                  3 they say you made unwanted sexual advances toward
 4      Q. Well, do you know -- were you in the           4 them.
 5 Middle East Forum office? Was it over the phone? Do    5       Q. Okay.
 6 you know that?                                         6       A. That's the conversation with Pipes.
 7      A. No, I have not been in the Middle East         7 He's saying these people made allegations against
 8 Forum office at least between November -- was it even  8 you, they said you made advances towards them, and my
 9 beforehand because I was in Los Angeles when many of 9 response was no I didn't.
10 these things were taking place, I wasn't even in      10       Q. Okay. Did Mr. Pipes ever call you
11 Philadelphia until that weekend.                      11 again and get more specific with the allegations?
12      Q. So it was probably over the phone; is         12       A. Everything that I've been having with
13 that fair to say?                                     13 this was through counsel. Now, as it relates to the
14      A. Yeah. I have not been in the Middle           14 conversations that I had with Mr. Pipes, he would say
15 East Forum office. I was not in the Middle East       15 quite often to me, and this is why I can't tell you
16 Forum office during this entire time, maybe one time  16 if it was McNulty or if it was somebody else, Gregg,
17 to film a video and I was at Lisa Barbounis's         17 you're in this position because you were not a good
18 initiation.                                           18 manager, and then subsequent positions took place not
19      Q. When you say this entire time, what do        19 about sexual harassment but in the way in which he
20 you mean? From when to when?                          20 thought that I was too stern of a boss as it related
21      A. Between the time that these allegations       21 to the people who were under me until November 1st,
22 were made until now. I mean, I think I've been there  22 two -- or November 2nd here, 2018, when all
23 probably twice.                                       23 managerial authorities were removed from my remit as
24      Q. Okay. So it's fair to say that the at         24 director of the organization.
25 least one conversation you had with Mr. Pipes was     25       Q. Everything we're talking about right
                                               Page 101                                                       Page 103
 1 over the telephone.                                    1now, though, has to do with allegations that Patricia
 2      A. Yeah, probably, and there was actually        2 McNulty -- you asked for specificity. This is what
 3 probably ten weeks between this taking place and      3 --
 4 January of 2019 where I didn't even see him. I was    4      A. Yeah, I'm saying the specific
 5 completely removed from the office.                   5 allegations.
 6      Q. So we're just talking about                   6      Q. Mr. Roman, wait for the question. Just
 7 conversations with Daniel Pipes in connection with    7 wait for the question.
 8 Patricia McNulty's allegations of sexual harassment. 8       A. Sure.
 9      A. Right. But, again, Mr. Carson, there          9      Q. Everything that we're doing right now,
10 has to be specificity regarding these allegations    10 everything we're talking about right now, all the
11 because there are five different versions from my    11 questions I'm asking you right now, are regarding
12 account --                                           12 Patricia McNulty's allegations of sexual harassment
13      Q. But there weren't five versions --           13 that occurred in 2018, and every conversation I'm
14      A. -- of what these accusations --              14 asking you about right now I'm asking you to limit it
15      Q. Were there five versions in 2018?            15 to 2018, so we're only talking about that window from
16      A. There was multiple versions, yes.            16 about November 1st, 2018, to December 31st, 2018.
17      Q. All right. What are the versions you         17 That's all -- all right? So I haven't even asked a
18 remember there being in 2018?                        18 question, but I'm just -- that's what I'm asking --
19      A. Well, I don't remember the specific          19      A. Yeah.
20 versions. I remember --                              20      Q. All right.
21      Q. Well, how do you know --                     21      A. Frankly --
22      A. -- that there was an e-mail that I           22      Q. So my question is --
23 received which said that Lisa Barbounis, Tricia      23      A. Frankly, the specificity of what,
24 McNulty, and Marnie -- this is the words here, says 24 Mr. Carson, you're --
25 they say --                                          25      Q. All I've done is explain the time line
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 1 and the subject so I haven't asked a question.                 1      A. I don't --
 2      A. Okay. But I'm trying -- I thought you                  2      Q. Did you ever say this is what happened.
 3 asked a question right there.                                  3      A. I don't think I did that, no.
 4      Q. I haven't.                                             4      Q. All right. So you -- do you understand
 5      A. You said -- I thought you said you want                5 that Ms. McNulty's allegations, one of them, relates
 6 to ask about 2018, so --                                       6 to something that happened at the AIPAC conference?
 7      Q. I haven't asked anything yet.                          7      A. I understand that it's something that
 8      A. -- I was trying to clarify what you                    8 allegedly happened at the AIPAC conference, not
 9 said.                                                          9 something that happened. Please be specific.
10      Q. I have not asked a question yet.                      10      Q. Well, I think I'm being specific when I
11      A. Okay. Go ahead.                                       11 say that the allegation relates to something that
12      Q. Just wait for the question. All right.                12 happened -- I'm saying it's an allegation --
13 The question is, during that time frame and related           13      A. You're saying something happened at
14 to that one person, Patricia McNulty, and allegations         14 AIPAC. I'm saying something didn't happen at AIPAC.
15 of sexual harassment, the conversation that you               15      Q. Mr. Roman, I can say allegation twice
16 recall having with Daniel Pipes --                            16 in the same sentence if it helps you.
17      A. Correct.                                              17      A. Sure. Go ahead.
18      Q. -- is it your testimony that it only                  18      Q. The allegation relates to an allegation
19 related to what's said in this letter?                        19 at the AIPAC conference. Okay? So when did you find
20      A. My testimony is is that any                           20 that out -- when did you find that out?
21 conversations that I ever had with Daniel Pipes in            21      A. Regarding specific allegations about
22 2018 between November 2nd and December 31st regarding 22 what happened specifically at AIPAC, is that what
23 allegations that Tricia McNulty may have made were of         23 you're asking about?
24 a general nature where he said, Mr. Roman, the                24      Q. I'm asking for a date. What is the
25 results of the investigation that was carried out by          25 date or the approximate date that you learned that
                                                        Page 105                                                      Page 107
 1 in-house counsel are of the following. You have been 1 Ms. McNulty's allegations related to an allegation of
 2 accused by Ms. McNulty, and only limiting it to that   2 something that happened at the AIPAC conference?
 3 because that's the scope of the questions that you     3      A. I would probably say November 1st or
 4 want to ask, of unwanted sexual advances, you          4 November 2nd, whenever I spoke with counsel.
 5 maintain that you did not, and I still maintain to     5      Q. So you're telling me you found that out
 6 this day that I did not, make any advances towards     6 through information you got from counsel.
 7 Tricia McNulty of any nature, and he would say to me   7      A. Anything I found out about allegations
 8 we have to do the following actions. He was speaking   8 of any nature regarding a sexual nature that were
 9 to me about the results of his investigation which he  9 made against me as it relates to the people here,
10 still maintains to this day were inconclusive and he  10 Lisa Reynolds Barbounis, Tricia McNulty, and Marnie
11 took action because it was mitigating risk with the   11 O'Brien Meyer, all came through counsel.
12 organization rather than following up on the veracity 12      Q. Then -- so then this should be easy for
13 that we now know today is untrue of what she said.    13 you then. So Daniel Pipes never spoke to you
14 So that's the content of my conversations with Mr.    14 specifically about the allegations then.
15 Pipes about Ms. McNulty's accusations here of the     15      A. No, he did speak to me specifically
16 specific nature you'll have to ask if you would like  16 about the allegations but after November 2nd.
17 me to comment specifically.                           17      Q. In 2018 did he ever speak to you
18       Q. Did he ever -- did Daniel Pipes ever         18 specifically about the allegations?
19 ask you to provide a statement about what happened in 19      A. He spoke to me generally about the
20 connection with Ms. McNulty's allegations?            20 allegations.
21       A. Any statements that I made were made to      21      Q. So in 2018 you never had a conversation
22 counsel.                                              22 where Daniel Pipes said, hey, she's saying that this
23       Q. Did you ever write down what happened        23 and such and such happened at the AIPAC conference.
24 on a piece of paper? I'm not asking you to tell me    24 I understand since then you might have had
25 what you wrote; I'm asking whether you wrote it down. 25 conversations during the course and scope of this

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 1 litigation.                                            1 was?
 2      A. Yeah.                                          2      A. No, Mr. Carson, I had a very low
 3      Q. But in 2018 --                                 3 opinion of Laura Frank.
 4      A. I had many conversations about this            4      Q. Did you ever say where had you been all
 5 since the litigation began.                            5 my life?
 6      Q. I understand that. But, like -- and            6      A. No, Mr. Carson, I've never said that to
 7 I'm not -- that's not what I'm asking about. What      7 Laura Frank.
 8 I'm asking about is in 2018 did Daniel Pipes ever      8      Q. Did you ever tell her at approximately
 9 tell you that.                                         9 2 p.m. on April 22nd that -- that you -- you called
10      A. To the best of my recollection I cannot       10 her to discuss plans for the IVP outreach and after a
11 remember having a specific conversation with Daniel   11 minute or two you -- did you sigh and say I need to
12 Pipes without the presence of counsel, and I don't    12 be back in Puerto Rico, and when she said, yeah, I
13 think I ever addressed him directly, about anything   13 can imagine, did you reply next time I'm taking you
14 that Tricia McNulty alleges happened at the AIPAC     14 with me without your husband of course?
15 conference. I did have a conversation which was of    15      A. Who are you speaking about?
16 the nature Tricia McNulty says that you made unwanted 16      Q. Laura Frank.
17 sexual advances against her, what do you say, Mr.     17      A. No, I don't remember that.
18 Roman, and I said absolutely not, didn't happen.      18      Q. Is it possible that you said that?
19      Q. Well, how do you know it didn't happen        19      A. No. Well, you would have to ask --
20 if he didn't tell you what the allegations were?      20 what year are you speaking about?
21      A. Because I've never in my life made a          21      Q. April 22nd, 2016.
22 sexual advance towards Ms. McNulty. That's how I      22      A. No, I would not have said that because
23 know, Mr. Carson.                                     23 Laura Frank was never an employee of the Middle East
24      Q. Have you ever made a sexual advance to        24 Forum nor did I know Laura Frank on April 22nd, 2016.
25 any woman in your life?                               25      Q. Well, was it April 22nd, 2015, then?
                                                Page 109                                                       Page 111
 1      A. Mr. Carson, you have to be more                  1       A. No, I didn't work at the Middle East
 2 specific.                                                2 Forum on April 22nd, 2015, Mr. Carson.
 3      Q. That you work with.                              3       Q. Well, was she an employee in April
 4      A. If you want to -- if you're asking me            4 22nd, 2017?
 5 about my relations with my wife, I think that that's     5       A. Not that I remember, Mr. Carson.
 6 spousal privilege that I have. If you're asking me       6       Q. Well, when --
 7 about things that happened before I met my wife, that    7       A. She may have been.
 8 was a long time ago, sir, so I really can't comment      8       Q. When do you recall that she worked at
 9 on that.                                                 9 the Middle East Forum?
10      Q. Have you ever made a sexual advance to          10       A. You would have to check her personnel
11 any woman ever that you've ever worked with?            11 record. I remember when she left the Middle East
12      A. No, I have not.                                 12 Forum.
13      Q. Have you ever made a sexual advance to          13       Q. When was that?
14 -- let me ask you this. Have you ever said anything     14       A. When she was caught stealing
15 sexually inappropriate to anyone that you work with?    15 information from Daniel Pipes and the Middle East
16      A. Not that I remember, no.                        16 Forum's server, she went to the Derek Smith Law Firm,
17      Q. Have you ever told a woman that you             17 she got a --
18 worked with that they should make the desks             18       Q. No, I asked when she -- when she
19 see-through so you can see their legs underneath the    19 stopped working there.
20 desk?                                                   20       A. Like I said, the specific date I don't
21      A. No, Mr. Carson, I've never said that.           21 remember, but I remember the circumstances of how she
22      Q. Did you ever tell Laura Frank where             22 left the Middle East Forum.
23 have you -- how much you loved her?                     23       Q. I'll give you a chance to say it. Let
24      A. No, Mr. Carson, I've never said that.           24 me just keep going.
25      Q. Did you ever tell her how great she             25           Did you tell her that you really want
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 1 to take her out for dinner and drinks?                   1 Lara Szott, for instance, had volunteered with
 2       A. No, I never said that, Mr. Carson.              2 Palestinian refugee camps in Israel -- might have
 3       Q. Did you invite her to your hotel room?          3 been Sudan -- but, anyway, she had been involved when
 4       A. No, I never did, Mr. Carson.                    4 she was a masters student at American University in
 5       Q. Did you tell her you wouldn't mind              5 activism and advocacy for organizations that were
 6 getting a little crazy with her?                         6 anathema to the Middle East Forum's positions. For
 7       A. No, Mr. Carson, I didn't.                       7 instance, she would say I really think that you guys
 8       Q. The quote that she alleges is that you          8 have to recategorize what a Palestinian refugee is,
 9 said I don't -- I wouldn't mind -- I wouldn't mind       9 and put that in quotation marks in the record, and we
10 getting a little crazy with you. Is that --             10 would say, this at least being from the work that we
11       A. No, Mr. Carson, I never said that.             11 did regarding UNRWA, which is an agency that deals
12       Q. Did Laura Frank ever accuse you of             12 with Palestine refugees, Ms. Szott, we don't see it
13 sexual harassment during her employment?                13 that way, we consider these individuals to be fourth
14       A. No, Mr. Carson, she did not.                   14 or fifth generation descendents of individuals who
15       Q. Did you ever go on to her -- did you           15 may back in 1948 be refugees but today they're
16 ever review conversations she had with Lara Sciott?     16 individuals who are trying to take advantage of the
17 Do you remember Lara's last name? I don't pronounce     17 international refugee system. So what we did was we
18 it right.                                               18 would say we can't pursue that point of advocacy that
19       A. I don't know Lara Sciott, no. If               19 you want to be able to go along with. And then what
20 you're talking --                                       20 Ms. Szott did in response, and this was categorized
21       Q. S-c-i-o-t-t? How do you say --                 21 and I think memorialized in a letter that went to the
22       A. S-c-i-o-t-t, no, we've never had an            22 Lovitz Law Firm, L-o-v-i-t-z, if you're looking for
23 employee named Lara Sciott.                             23 the specific record, we have found that your client,
24       Q. S-z-o-t-t, Szott.                              24 and I'm not quoting this directly, but we can
25       A. Lara Szott.                                    25 probably get you the letter that we sent if you want
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 1      Q. I don't know how to pronounce it.                1 to see it, has engaged in the following activities
 2      A. Lara S-z-o-t-t, yeah, she worked at the          2 which were illegal when she was here at the Middle
 3 Middle East Forum.                                       3 East Forum. Abuse of the Computer Fraud and Abuse
 4      Q. When did she work at the Middle East             4 Act, stealing information from the Middle East Forum,
 5 Forum?                                                   5 taking donor lists -- and specifically what I
 6      A. The specific dates I don't remember,             6 remember is there is a website that is called
 7 but probably sometime around 2017.                       7 WeTransfer. What you can do is is you can take a
 8      Q. Were Lara and Laura, did they -- were            8 body of information, upload it to another site, and
 9 they friendly with each other when they worked at the    9 then transfer it to a private device, and this is
10 Middle East Forum?                                      10 what Lara and Laura had facilitated in doing so, very
11      A. Very much so.                                   11 much like what your client, Mr. Carson, did when she
12      Q. Did you ever review electronic messages         12 took information from MEF and basically took it into
13 they sent each other during your employment at the      13 her own possession without authorization from the
14 Middle East Forum?                                      14 organization. So what I also find was a common
15      A. Marnie Meyer and Matt Bennett I believe         15 thread between the two things is that they both went
16 initiated an investigation of Lara Szott and Laura      16 to the Derek Smith Law Firm, and that in and of
17 Frank which led to the conclusion, and this is also     17 itself was something that kind of raised alarms in my
18 involved counsel to a certain extent, that they had     18 head when we actually had received the complaint that
19 been stealing information from the Middle East Forum    19 I guess you helped facilitate with the EEOC back in
20 and were planning on using that information to push     20 June of 2019.
21 forward what they characterize as a diametric           21      Q. Did you ever tell Laura Frank that
22 political agenda to the Forum's goals.                  22 maybe if you dress better more men would be talking
23      Q. What does that mean like in layman's            23 to you and we would get better media hits?
24 terms?                                                  24      A. No, Mr. Carson.
25      A. So be more -- be more layman's terms.           25      Q. And then she told you that was
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 1 inappropriate and you said -- did you say --             1     Q. Did you review anything else related to
 2       A. No, Mr. Carson, that never took place.          2 Laura Frank --
 3       Q. Well, how do you know you didn't say it         3     A. I reviewed --
 4 if I didn't ask the question yet.                        4     Q. -- before today's deposition.
 5       A. Because the nature of the conversations         5     A. Yeah, like I said, I reviewed the
 6 which you are asking me quotes about never took place    6 complaints that you had of Laura Frank and then I
 7 with Ms. Frank nor have they ever taken place with       7 went back into our personnel records and looked at
 8 any female worker or male worker that I've ever          8 her history with her involvement with MEF that
 9 worked with.                                             9 covered a period of time that the Derek Smith Law
10       Q. So you don't need to hear what the             10 Firm was involved in conversations --
11 women allege; you know it didn't happen.                11     Q. Well, what documents --
12       A. No, because what I did do was before           12     A. -- with her.
13 the deposition today I went paragraph by paragraph      13     Q. -- did you review that related to Laura
14 over a few documents. First document that I reviewed    14 Frank other than the complaint?
15 --                                                      15     A. Well, that's it, I only reviewed the
16       Q. Well --                                        16 documents that related to her -- that related to what
17       A. -- was the complaint --                        17 you wrote about her in the complaint from Lisa
18       Q. -- I didn't ask you what documents you         18 Barbounis.
19 reviewed.                                               19     Q. So you're saying the only document you
20       A. No, you're saying how do I know, right?        20 reviewed before today that related to Laura Frank was
21 So I'm --                                               21 Lisa Barbounis's complaint?
22       Q. I didn't say that.                             22     A. That's not what I said.
23       A. -- telling you how I know.                     23     Q. Well, then what -- what other document
24       Q. I know. I didn't ask that question.            24 other than her complaint did you review?
25       A. What you did ask was how I knew that           25     A. You make allegations in Lisa
                                                Page 117                                                       Page 119
 1 whatever you're alleging right now wouldn't be           1 Barbounis's complaint that mention Laura Frank.
 2 true --                                                  2      Q. Right.
 3      Q. Well, did you review --                          3      A. Anything that related to any potential
 4      A. -- and I'm providing --                          4 allegation that Laura Frank's name was included in as
 5      Q. -- any documents --                              5 part of Lisa Barbounis's complaint --
 6      A. -- I'm providing you an answer.                  6      Q. So you --
 7      Q. Did you review any documents related to          7      A. -- I went back into Laura Frank's file
 8 Laura Frank before today's deposition?                   8 --
 9      A. In your complaint that you filed with            9      Q. Tell me the specific documents you
10 the Court, whether it was the first complaint or the    10 reviewed.
11 second amended complaint --                             11      A. I'm getting to that, Mr. Carson.
12      Q. Mr. Roman, I asked you --                       12      Q. Just give me -- Mr. Roman --
13      A. -- or the answer --                             13           (Simultaneous speakers.)
14      Q. -- a yes or no question. I said did             14           THE WITNESS: Mr. Carson, I'm
15 you review --                                           15      trying to be specific.
16      A. Mr. Carson --                                   16           THE COURT REPORTER: I can't hear
17      Q. -- any documents related to Laura               17      you when you're talking at the same
18 Frank.                                                  18      time.
19      A. -- I'm telling you about the documents          19 BY MR. CARSON:
20 that I reviewed.                                        20      Q. No, no, I'm -- just tell me the
21      Q. I know. I didn't ask you what                   21 documents you reviewed. Give me the names of them.
22 documents they were. I just said did you review any     22      A. Mr. Carson, I'm getting to that --
23 documents related to Laura Frank.                       23 there is no named documents.
24      A. I reviewed your complaints that had             24      Q. No, no, there's no getting to that.
25 Laura Frank's name in it.                               25 That's the question.

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 1       A. Mr. --                                       1 you would like to see them.
 2       Q. Tell me the documents you reviewed.          2      Q. Sure. Since you turned nothing over in
 3 There's the complaint. What else is there?            3 connection with Laura Frank, I ask that everything
 4       A. Mr. Carson, there are other documents        4 you just referenced that you reviewed before --
 5 pertaining to Laura Frank.                            5      A. I'm not -- I'm not trying to tell you
 6       Q. Well, tell me what they are.                 6 that we're willing or not willing to. You're asking
 7       A. There's Delaney Yonchek's complaint          7 for -- I'm instructing counsel of course with the
 8 that mentions Laura Frank. There is Tricia McNulty's  8 agreement of in-house counsel that the items related
 9 complaint that relates to Laura Frank.                9 to Laura Frank's theft of information from the Middle
10       Q. Okay.                                       10 East Forum, the circumstances for her departure,
11       A. There is Caitriona Brady's complaint        11 definitely be made available to you. They're very
12 that relates to Laura Frank. There is a contingency  12 similar to what your clients did.
13 agreement that Laura Frank stored on her computer    13      Q. So let's continue. So I don't even
14 from the Derek Smith Law Group. So if you would like 14 need to read anything to do with Laura Frank because
15 to --                                                15 you just -- you deny it all anyway, right? Is that
16       Q. Did you review that contingency             16 --
17 agreement before --                                  17      A. Hundred percent.
18       A. I did. I did review that, Mr. Carson.       18      Q. Okay.
19       Q. Did you review anything else besides        19      A. Well, let me be more specific, okay --
20 the three -- the four complaints --                  20      Q. Yeah, it doesn't matter what she --
21       A. I reviewed the --                           21      A. -- because --
22       Q. -- and the contingency agreement.           22      Q. -- said; you deny it.
23       A. I reviewed the letter that the Middle       23      A. No, it's -- if she said that I asked
24 East Forum sent to Laura Frank that related to her   24 her to develop a communication strategy for the
25 termination from the Middle East Forum.              25 Middle East Forum, that would be true, so I can't
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 1      Q. Did you review anything else besides           1 deny that, but if you're asking me about something of
 2 the contingency agreement, the letter, and the four    2 a sexual nature, there was nothing ever to be
 3 complaints?                                            3 speaking of.
 4      A. Any of the documents that were around          4      Q. Yeah, you deny every -- every
 5 that is what I reviewed, but nothing else that I can   5 allegation of sexual harassment that any woman ever
 6 remember I reviewed around Laura Frank -- I have       6 made in connection with you, correct?
 7 reviewed other documents between June of 2019 and      7      A. Yes, I have never sexually harassed a
 8 today that relates to Laura Frank, but the specifity   8 woman, Mr. Carson.
 9 of those documents I wouldn't be able to tell you      9      Q. You never said anything sexually
10 today.                                                10 inappropriate about a woman.
11      Q. I'm asking you specifically before            11      A. Your question is what? Have I ever
12 today's deposition, you named four, five -- you named 12 said anything sexually --
13 six documents, you named the four complaints,         13      Q. Have you ever said anything --
14 McNulty, Barbounis, Brady, Yonchek, you named the 14          A. -- inappropriate about a woman?
15 contingency agreement, and you named a letter.        15      Q. Have you ever said anything sexually
16      A. Not just a letter, the letter, anything       16 inappropriate about a woman who you work with?
17 surrounding the letter, so there was --               17      A. No, I have not.
18      Q. Well, what else surrounding the letter        18      Q. So all the allegations that Lisa
19 did you review?                                       19 Barbounis made, false.
20      A. There was attachments that were with          20      A. Hundred percent false, correct.
21 the letter --                                         21      Q. All the allegations that Patricia
22      Q. Did you review those before --                22 McNulty made, they're false.
23      A. -- I think that there was -- I don't          23      A. Of a sexual nature? False.
24 remember. This was months in the process of           24      Q. Yeah.
25 being able to go. We do have those attachments if     25      A. Yes.
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 1      Q. All the allegations that Leah Merville        1 Mr. Carson.
 2 made, they're false?                                  2       Q. Laura Frank and Lara Szott, everything
 3      A. I've never heard any allegations from         3 they said about you in regards to sexual misconduct
 4 Leah Merville.                                        4 or sexual questions or sexual comments, none of those
 5      Q. Said that you guys had a sexual               5 happened, correct?
 6 relationship. Is that false?                          6       A. Nothing happened, Mr. Carson.
 7      A. That is false, correct.                       7       Q. How about Tiffany Lee, is her entire
 8      Q. How about Alana Goodman, is everything 8 charge of sexual harassment involving you, that's all
 9 she said false?                                       9 false, too?
10      A. Alana Goodman, I heard a tape last --        10       A. Tiffany Lee is actually an interesting
11 when was it, on Wednesday --                         11 case.
12      Q. Yeah.                                        12       Q. Well, just answer the question. Is --
13      A. -- or Tuesday, they had provided, so if      13       A. I'm answering your question. She --
14 you would like to go over that tape again I can tell 14       Q. My question is is her charge of
15 you what I believe is true and what's false.         15 discrimination that she filed, are all those
16      Q. Did you take your penis out in front of      16 allegations false?
17 her at a bar?                                        17       A. Mr. Carson, yes, and -- it's not that
18      A. No, I never did.                             18 it's just false, it was fabricated by the Derek Smith
19      Q. Did you yell at her that she needed to       19 Law Firm.
20 come to your hotel room because you had a story      20       Q. Why do you think it was fabricated by
21 there?                                               21 Derek Smith Law Firm?
22      A. No. I have shared stories with Alana         22       A. You would have to refer to the response
23 Goodman, but I never invited her to a hotel room to 23 of the Cozen O'Connor law firm from 2016 where it was
24 give her a story.                                    24 proven that Ms. Lee fabricated text messages that
25      Q. You never invited Leah Merville to a         25 were sent to me and then didn't only just fabricate
                                               Page 125                                                       Page 127
 1 hotel room?                                            it but also misinterpreted the information. We
                                                          1
 2      A. No, I've never invited Leah Merville to      2 actually never received any --
 3 a hotel room.                                        3      Q. What do you think it has to do with
 4      Q. Did you ever invite Gabrielle Bloom to       4 Derek Smith Law Group, though?
 5 a hotel room?                                        5      A. Because Derek Smith Law Group wrote the
 6      A. No, I have never invited Gabrielle           6 complaint,  Mr. Carson. Actually, in fact, the
 7 Bloom to a hotel room.                               7 attorney who wrote that complaint, I just found this
 8      Q. Did you ever subject her to sexual           8 out about two weeks ago, has been working with you to
 9 harassment?                                          9 try to do the same thing that Tiffany Lee tried to do
10      A. No, I did not, Mr. Carson.                  10 to us four years ago. And if you want another piece
11      Q. How about Marnie Meyer, everything she      11 of information I found out yesterday when I was
12 said is false?                                      12 looking over the complaints that you filed against
13      A. Well, you have to tell me what she said     13 the Middle East Forum, myself, Daniel Pipes, and
14 and I can tell you what's true and false.           14 others, Caroline Miller is the woman I'm talking
15      Q. She said that she had to tell you that      15 about, who I actually went to legal advice for, which
16 she's never going to have sex with you, did she say 16 I cannot believe the unethical nature of what she's
17 that to you?                                        17 trying to do here, it just blows my mind, but, beyond
18      A. No, I never heard that from her, Mr.        18 that, her name --
19 Carson.                                             19      Q. What do you think --
20      Q. She's lying, correct?                       20      A. This is what I found out yesterday.
21      A. What is she lying about?                    21 This is what I found out yesterday. Caroline
22      Q. Well, she wrote a complaint, didn't         22 Miller's name --
23 she, where she made that allegation?                23      Q. Well, there's no question on the table
24      A. The complaint where Marnie Meyer wrote 24 about Caroline Miller.
25 anything that was of a sexual nature is incorrect,  25      A. I'm trying to get to -- you asked me
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 1 why I think --                                           1 advice for be involved in drafting complaints --
 2          THE COURT REPORTER: I can't hear                2      Q. Mr. Roman, I'm going to ask that you
 3     you when you're talking at the same                  3 just slow down and stop asking questions and let me
 4     time.                                                4 just --
 5          THE WITNESS: Excuse me, Ms.                     5      A. Sure. Sure. It's a hypothetical,
 6     Carrie.                                              6 Mr. Carson. You're used to this.
 7          You asked me why I think the Derek              7      Q. I'm getting -- I'm just -- I'm trying
 8     Smith Law Group was responsible for                  8 to give you an opportunity to explain what you're
 9     making those accusations. I'm giving                 9 talking about --
10     you the answer. Not only was it                     10      A. Sure.
11     Caroline Miller who I think was involved            11      Q. -- to this sort of nonissue, but, like,
12     in the administrative action which ended            12 when you talk about metadata, where are you seeing
13     up with a no cause and no lawsuit after             13 this metadata?
14     Tiffany Lee was involved, but upon                  14      A. Which metadata are you referring to?
15     further examination when I was preparing            15      Q. To metadata that you just referred to.
16     an affidavit yesterday for a separate               16      A. Well, the metadata that I was referring
17     case, I found out that Caroline Miller's            17 to was the evidence that was in files you provided to
18     name was in the metadata associated with            18 the Middle East Forum.
19     the complaints that you filed with the              19      Q. What files? Where are you seeing --
20     EEOC, and I don't know why an attorney              20      A. Mr. Carson, if you look at the record
21     in Miami as your coworkers --                       21 and you're following the record, you'll see this.
22 BY MR. CARSON:                                          22 EEOC complaints --
23     Q. What does that mean, the metadata?               23      Q. What record? Explain.
24     A. What it means, Mr. Carson, is is that            24      A. The record that the stenographer has
25 an attorney with an obvious conflict of interest --     25 been taking for the past seven minutes that we've
                                                Page 129                                                       Page 131
 1      Q. No --                                            1 been speaking about this. I'll try to do it again so
 2      A. -- assisted you --                               2 I break it down for you.
 3      Q. -- I'm not asking you --                         3      Q. Yeah, give it a try.
 4      A. -- assisted you --                               4      A. I'll give you -- if you'll allow me to
 5      Q. I'm not asking you about --                      5 give the whole --
 6      A. -- in again trying to drum up                    6      Q. No, I don't want you to give the whole
 7 complaints against the Middle East Forum.                7 -- I want you to say specifically where you saw the
 8      Q. I'm asking you --                                8 metadata. Let me help you. I sent an e-mail from me
 9      A. It's all there -- it's all there in the          9 to my paralegal. If you look at the metadata in that
10 record.                                                 10 e-mail, you'll see that it went from me to my
11      Q. Yeah, what metadata are you referring           11 paralegal.
12 to?                                                     12      A. That's not where the metadata is.
13      A. Okay. If you go to the EEOC complaint           13      Q. Identify where you saw the metadata.
14 that your clients filed against the Middle East Forum   14      A. In the author field of at least one of
15 and if you go to the complaint that was uploaded in     15 the complaints, whether they be the EEOC or the
16 PACER and also in -- I think it was in the e-mails      16 complaints that you filed with the Eastern District
17 you sent to Marc Fink, in-house counsel, and you open   17 of Pennsylvania against the Middle East Forum, Daniel
18 it up, the PDF file, and you look at -- that you have   18 Pipes, myself, and Matthew Bennett, that had the name
19 the time it's written, the subject, the file            19 Caroline Miller.
20 location, and you look at the author line, it says      20      Q. When a complaint is filed with the
21 Caroline Miller.                                        21 Eastern District of Pennsylvania it's filed on their
22      Q. The author line where?                          22 ECF system; do you understand that?
23      A. In the metadata of the PDF associated           23      A. What I'm saying is is that the
24 with your complaints. Why would someone I went to       24 complaint that you forwarded to Marc Fink -- if you
25 legal advice -- why would someone I went to legal       25 look back in the record, that's what I said, not that

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 1 was filed. The complaint can be filed multiple                1 from a complaint I forwarded to Marc Fink; is that
 2 places, you send it to Marc, you send it to our               2 what you said?
 3 counsel, Dave Walton, you send it to the ECF system,          3      A. Okay. This is what I said. There were
 4 but the original file in the original metadata of the         4 communications that took place between you and Marc
 5 draft complaint, whether it was the EEOC or of the            5 Fink in June of 2018.
 6 complaint of the employment nature before you filed           6      Q. Okay.
 7 the lawsuit, have Caroline Miller's name listed in            7      A. There also were communications that you
 8 the metadata. She assisted you with drafting these            8 had with Dave Walton and Cozen O'Connor, maybe Sidney
 9 complaints, Mr. Carson. She violated her -- the               9 Gold was involved in that, I'm not sure, I believe in
10 rules of professional responsibility associated with         10 August and September of 2018.
11 an attorney because I went to her for legal advice           11      Q. Okay.
12 before I knew any of you or the name of Derek Smith.         12      A. Excuse me. I have my dates wrong.
13 It's really amazing that I found this out in the past        13 June of 2019, and August, September, and October of
14 two weeks in preparation for this deposition today           14 2019 prior to your filing two complaints on October
15 and it's actually the subject of a motion for                15 27th, 2019, that was McNulty versus MEF and Barbounis
16 disqualification in another case. It's really really         16 versus MEF, and then I believe you filed Yonchek and
17 amazing what you guys have been able to do, you know, 17 Brady a few days later, at least -- whatever the date
18 and -- but now you've gotten caught and your                 18 is in PACER. In at least one, if not more, of those
19 colleagues are lying in affidavits that they file            19 complaints, whether it was a copy of the EEOC
20 with the Court. So you'll have to excuse me if I'm a         20 complaint that you sent to Marc Fink or a copy of a
21 little bit perturbed by this, but if it's news to            21 draft complaint before you filed it in the ECF system
22 you, I would be happy to explain more.                       22 of PACER and all of these documents were then put
23       Q. I have no clue what you're even talking             23 into a custodian and control system for discovery
24 about.                                                       24 review called Relativity, okay, so it's taken from
25       A. Okay. You're fine. Look, all you have               25 you sending it, it goes to counsel --
                                                       Page 133                                                        Page 135
 1 to do is follow what's going on in the cases.                 1       Q. Documents that I -- from -- that I
 2      Q. Well, why don't you just explain -- I                 2 e-mailed people are on Relativity?
 3 mean, you still haven't explained --                          3       A. Of course they are. They're evidence,
 4      A. I just explained it to you, Mr. Carson.               4 Mr. Carson.
 5      Q. You said it's in the metadata on the                  5       Q. Mr. Roman, there is nothing -- nothing
 6 document that I filed with the ECF system; is that            6 related to my e-mails ever been produced --
 7 what you said?                                                7       A. No, Mr. Carson, your complaints that
 8      A. No, that's not what I said. I said --                 8 you sent to Mr. Fink from the EEOC and your draft
 9      Q. Then you said it's in the metadata --                 9 complaints that you sent to our organization's
10      A. -- I said that the document --                       10 counsel prior to you filing them with the Eastern
11      Q. You got to -- Mr. Roman --                           11 District of Pennsylvania by way of the ECF system are
12      A. Okay. Let's break it down very simply.               12 in a system that, since you probably already had
13 Okay?                                                        13 possession of the documents, you would know this,
14      Q. Well, wait --                                        14 indicate that Caroline Miller was the author of one,
15      A. There is a few --                                    15 if not more, of those documents.
16      Q. Mr. Roman, remember, this is a                       16       Q. Yeah, that's -- what you're saying
17 question-answer. So you got to let me ask you the            17 is --
18 question and then you got to say the answer --               18       A. That's what I'm saying.
19      A. Ask your question, please.                           19       Q. It's just not --
20      Q. You can't jump --                                    20       A. And you know what, if we want to take
21      A. I'm sorry. I apologize for                           21 like a few minutes here so I can prove it to you, I
22 interrupting you. If you would like to get a glass           22 would love to do it on the record, it will help me
23 of water, please, we can do that, we can reset in 30         23 with my motion to disqualify your firm from the other
24 seconds if it's too confusing for you.                       24 case.
25      Q. I think you said it's in the metadata                25       Q. I would be happy to give you a minute
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 1 if you want to show me what you're talking about.       1            MR. GOLD: More than happy to do
 2      A. We can probably do that. I think it's           2       it. All right?
 3 probably lunchtime now, but --                          3            THE VIDEO SPECIALIST: We're off
 4      Q. Do you want to take a lunch break and           4       the record. It's 2:39 p.m.
 5 then --                                                 5            (A lunch recess was taken.)
 6      A. No, I'm fine talking to you about this,         6            THE VIDEO SPECIALIST: It is 3:30
 7 Mr. Carson. I'm just trying to tell you what's going    7       p.m., and we are back on the record.
 8 on, I'm trying to enlighten you with what's going on    8 BY MR. CARSON:
 9 at your own firm, which I thought you would know        9       Q. So did you find the documents you were
10 about.                                                 10 talking about with this metadata?
11      Q. I mean, listen, I feel like we just            11       A. I did, yes.
12 wasted 20 minutes, but that's okay I guess.            12       Q. Do you want to share the screen or put
13      A. Okay.                                          13 one up?
14      Q. But I would suggest to you that if             14       A. Is that okay? I mean, how do I -- do
15 there is information that you want me to look at       15 I -- Roman 3? Roman 5?
16 related to the, you know, information you just told    16       Q. I want to get through it quickly
17 me, I would be more than happy to look at it.          17 because we have a lot of other stuff to talk about,
18      A. That's great.                                  18 but --
19      Q. So do you want to take a break and get         19       A. Yeah, sure.
20 that or do you want to just move on? How do you want   20       Q. I mean, I'm obviously -- I can't
21 to -- it's up to you.                                  21 respond to it, but I guess I'll let you explain what
22      A. Mr. Carson, this is your deposition.           22 it is on the record if you want.
23 So you ask the questions, I'll give the answers.       23       A. Sure. So I'm going to share my screen.
24            MR. CARSON: Okay. Does anyone               24 Is this okay -- how do we do this? Do I, like,
25      want to take a lunch break so Mr. Roman           25 share, is it Roman 2, or do you label it, like --
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 1     can obtain these documents and everyone             1      Q. Yeah, you can label it Roman 2.
 2     can eat lunch?                                      2      A. Okay. So this is in PACER. Okay?
 3          THE WITNESS: Well, if I look for               3 This is in a filing that's in the Meyer O'Brien
 4     any of the documents, I'll probably do              4 versus MEF case, it's Exhibit --
 5     it while I'm on the record. If you want             5      Q. Yeah, I've --
 6     to submit an interrogatory or a request             6      A. It's Exhibit 2. Right? So the way I
 7     for production of documents, you can                7 came to know about this was, we have these documents,
 8     please give that to Mr. Cavalier or                 8 this is between you and Lisa, and she forwarded this
 9     Mr. Gold.                                           9 to Marnie, so I don't want to, like, to be said that
10          MR. CARSON: Okay.                             10 I'm, like, trying to breach privilege or anything.
11          MR. GOLD: I assume the court                  11 Okay? This is something that Lisa sent to Tricia and
12     reporter needs a break for lunch, is               12 Marnie prior to Marnie having an attorney. All
13     that what you want to take a break for             13 right? So I just want to make that clear. I'm not
14     lunch, is that it? Okay. So it's now               14 trying to do any, like, privilege funny business.
15     2:38. I mean, whatever time you need               15 Okay? And you say here, another interesting note,
16     just tell me and we'll take a break.               16 the attorney that used to run our Philly office runs
17          MR. CARSON: I mean, can you guys              17 our Miami office that's one person, that is Caroline
18     -- can Mr. Roman, like -- you know, can            18 Miller, who was listed as the attorney on the
19     you guys produce these documents that              19 administrative action from 2016 with Tiffany Miller
20     you're referring to?                               20 -- sorry, Tiffany Lee. Can I, like, say scratch it
21          MR. GOLD: We'll come back after               21 on the record? I think that's only something you can
22     lunch with the documents. All right?               22 say, Mr. Carson. Sorry about that. Tiffany Lee's
23          MR. CARSON: Yeah, I'm not sure it             23 attorney in the EEOC administrative matter from 2016.
24     matters, but I'm just curious what he's            24 Now, Caroline Miller is also somebody that I sought
25     talking about.                                     25 legal advice from on April 23rd, 2016, at 10:42 p.m.

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 1 in the evening, this is a picture from when I went     1 into this, you'll see that your letter has the name
 2 there, between then and sometime later that evening    2 in properties Derek Smith. Okay? This is the
 3 here in Bala Cynwyd, Pennsylvania. I signed an         3 metadata that I'm talking about. Tells us that you
 4 affidavit to that effect. There is a second            4 created the file on June 20th, tells you that you
 5 affidavit being attached to another filing which is a  5 saved it and modified it on June 20th, this is when
 6 reply to Derek Smith Law Group's response to motion 6 you converted your word file that I'm assuming you
 7 to disqualify, just to make sure everything is clean   7 wrote this on, turned it into a -- actually you call
 8 on the record. All right? I even pulled it up in       8 it research America Bernhardt. I don't know why you
 9 PACER if you want to go through this stuff. Okay?      9 would be calling us Bernhardt. Is that somebody else
10 So then I went back into the discovery database of    10 that you filed a complaint against.
11 the documents that had been provided either by the    11      Q. Because when we do stuff, Mr. Roman, we
12 EEOC -- like, you know that website you go into and 12 usually track --
13 you download the filing, upload it and then it        13      A. Okay. Well, anyway, there's --
14 becomes available to the person or the organization   14      Q. So what that might mean is that she --
15 you filed against and the person can download it or   15 nothing, just keep going.
16 counsel can download, right? So there's first -- I    16      A. Yeah, sure, I mean, whatever you --
17 just got to get to this. Shoot. I disconnected --     17 we'll be in court to talk about this probably, but
18           MR. CARSON: I would just put an             18 this is just my finding out that Caroline Miller was
19      objection on the record to the extent I          19 named on a document that was on MEF four years after,
20      think the witness just -- or the                 20 three years after, whatever. So she's here, says
21      defendant just showed text message               21 Derek Smith. All right. Derek Smith, name of the
22      communications between counsel and               22 firm, right, maybe Derek Smith wrote it, somebody
23      client.                                          23 else wrote -- but guess what, Derek Smith's name is
24 BY MR. CARSON:                                        24 there on Bernhardt but it's MEF, so you guys --
25      Q. But besides that, keep going,                 25 however your file management practices, whatever. So
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 1 Mr. Roman.                                               1 then when we go to the full EEOC filing, which is
 2      A. I wasn't trying to do that, Mr. -- I             2 downloaded from the EEOC --
 3 was --                                                   3      Q. Wait, what -- I don't understand.
 4      Q. I'm just preserving an objection.                4 Like, what did you just show us with the last
 5 That's all. You can continue.                            5 document?
 6      A. Okay. I'm sorry. I didn't -- did I do            6      A. What did I show you?
 7 something wrong?                                         7      Q. Yeah.
 8      Q. No, you did not.                                 8      A. So here Derek Smith was involved in the
 9      A. All right. I'm not trying to, like, do           9 drafting of this letter or at least --
10 any funny business. All right?                          10      Q. I'm sorry --
11      Q. Yeah, you're good.                              11      A. -- his metadata --
12      A. So then you sent an e-mail to Marc Fink         12      Q. -- I'm not looking at that -- you're
13 on June 20th, 2019, which I will call this Roman        13 saying that --
14 whatever -- shoot. Hold on. I'll call this Roman        14      A. The author's name, okay, if you want to
15 whatever. Okay? Whatever number you --                  15 find out who the author of a document is, the only
16      Q. Roman 3.                                        16 way to provide a forensic footprint of who did that
17      A. Roman 3. I just got to share my                 17 document is by showing who is in the metadata. So
18 screen. Sorry. Where is it. There you go. So this       18 the metadata indicates here that Derek Smith was
19 is Roman 3. This is a notice that you sent to Marc      19 involved in the drafting of the complaint, of the
20 Fink by way of e-mail on June 20th -- you sent a        20 letter --
21 letter and here is the complaint or people have         21      Q. Wait, wait, the complaint?
22 complained about you, whatever else. This is when       22      A. No, not the complaint, the letter that
23 you tell us that you're doing the EEOC thing. Right?    23 you sent to Marc Fink on June 20th. So maybe he
24 And then the full filing is obtained -- which is like   24 reviewed your work, maybe he made edits to it, maybe
25 the handwritten letter, everything else, so if you go   25 he put together the PDF, maybe he did a lot of

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 1 things. We don't know. Only you know, Mr. Carson.        1 correct?
 2 I don't know. But I know that Derek Smith was            2      A. Yes.
 3 forensically attached to this file. Okay? I'm just       3      Q. In 2018.
 4 telling you what I'm thinking here. We can get an        4      A. Spoke to me many times on the phone in
 5 expert -- I don't know, that's not me. I'm not the       5 2018.
 6 expert -- I'm just saying how I came to the              6      Q. Relating to the allegations of sexual
 7 conclusion that you asked me why I thought Caroline      7 harassment.
 8 Miller helped fabricate evidence against MEF. So         8      A. I think my answer on the record stands.
 9 then we get to the full EEOC filing. Okay? Call          9      Q. Can you -- it's at least once, correct?
10 this Roman 4. And this, if you're familiar with this    10      A. Yes. As I said, my record on the
11 document, is Lisa Barbounis's handwritten complaint     11 answer stands. My answer on the record stands.
12 against MEF, she signed it, it's got the thing here,    12      Q. I know, but you can't answer that. You
13 Commonwealth of Pennsylvania, and then it's your        13 have to just answer the questions. You can't just
14 letter from June 20th and the parties and statement     14 say my record stands.
15 of facts --                                             15      A. Well, Mr. Carson, I've answered the
16      Q. I know what it is. Keep going.                  16 question already. My answer on the record stands.
17      A. -- whatever else. So when we go to the          17      Q. I'm reviewing it. Okay? So at least
18 metadata from this, Caroline Miller's name shows up.    18 once, and that one time you said he didn't speak to
19 So why would a document you write that has Derek        19 you specifically about any specific allegations, he
20 Smith on it then be combined by a different user with   20 talked to you generally and you used the language --
21 two separate documents, handwritten, letter,            21      A. Is my screen off? I just want to make
22 statement to the EEOC, by anyone other than Seth        22 sure that I'm -- that I'm not sharing my screen
23 Carson. Maybe Caroline Miller was supervising you,      23 anymore, am I? I'm good?
24 maybe she was involved in the drafting of the           24      Q. I don't think so.
25 complaint, maybe as we relate to the personal           25      A. Okay. Thank you.
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 1 knowledge that you talked to your client about in a      1    Q. -- and you used the language in this
 2 text message you got advice from Caroline Miller on    2 letter as an example of the general conversation that
 3 how to file a complaint against MEF. Maybe you guys 3 you and Mr. Pipes had, you said he kind of -- he told
 4 worked together. I don't know. That's only between     4 you that there were allegations of misconduct
 5 the two of you. So that's how I came to that           5 directed against you, that three women, made unwanted
 6 conclusion, Mr. Carson. And I'm not here questioning   6 sexual advances, but that was -- that was about the
 7 you, you're here questioning me, but if there is       7 extent of the conversation that you had with
 8 anything else I can teach you about metadata, I would  8 Mr. Pipes in 2018, correct?
 9 love to -- there is a lot of metadata in this case.    9      A. No, that's incorrect.
10 I would be happy to speak about all of it at least to 10      Q. Okay. So what else did you talk about
11 the best of my ability. So that's why Caroline        11 in 2018 --
12 Miller should be disqualified from this case, at      12      A. It's not what else I spoke to about;
13 least screened, and that's why we have sought to      13 you have to bifurcate it. Okay?
14 disqualify your entire firm from involvement in the   14      Q. Just listen to the question.
15 Meyer matter, but I'm not the lawyer here; you are.   15      A. Sure.
16 You tell me about ethics.                             16      Q. What else did you speak to Mr. Pipes
17      Q. All right. So we're going to move on          17 about in 2018 in connection with these three women's
18 now. Thank you, Mr. Roman.                            18 allegations of sexual harassment?
19      A. Sure.                                         19      A. Okay. So if it's about sexual
20      Q. So -- all right. Let's get back to            20 harassment -- your previous question was about
21 something that is actually relevant to this case,     21 allegations, and you gave the --
22 which is the reports of discrimination and harassment 22      Q. Allegations of sexual harassment, so
23 in the workplace. So I think we were talking about    23 we're specifically talking about the conversations
24 instances in 2018 when Mr. Pipes spoke with you, you 24 that you had with Mr. Pipes in 2018 in connection
25 said he spoke to you on the phone at least once,      25 with these three women's allegations of sexual

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 1 harassment.                                              1      Q. Okay. So --
 2       A. Again, he generalized the                       2      A. And then what he did was --
 3 description --                                           3      Q. I understand. So did he ever have a
 4       Q. That wasn't the question.                       4 conversation with you where he specifically spoke to
 5       A. -- saying -- I'm giving an answer.              5 you about each woman's specific allegations in 2018?
 6       Q. Okay. I mean, I just said that and you          6      A. Not that I can -- I can recall a
 7 said that wasn't correct, but go ahead.                  7 privileged conversation I had with counsel, but I
 8       A. It wasn't correct because your previous         8 cannot recall discussing the specifics, and the
 9 question was what allegations. Now you're saying         9 specifics you're talking about -- you'll have to tell
10 sexual allegations, so I'm trying to really bifurcate   10 me which specific you're asking about to see if I
11 between management issues and then unproven             11 discussed it with Pipes, but I cannot recall
12 allegations of alleged unwanted sexual advances as      12 generally specific allegations beyond what I talked
13 it's quoted here in the letter.                         13 about with counsel.
14       Q. Okay.                                          14      Q. All right. So the conversation you had
15       A. So if it's about sex --                        15 with counsel, we're going to talk about that a little
16       Q. Okay. If you want to make the                  16 bit. We're going to figure out what happened there.
17 distinction --                                          17      A. Sure.
18       A. -- general; management, very different.        18      Q. So the conversation you had with
19       Q. We're not here today to talk about             19 counsel, you're talking about house counsel Marc
20 management. We're here today to talk about              20 Fink?
21 violations of specific statutes including Title 7,      21      A. I've also had conversations with my
22 including the Pennsylvania Human Relations Act,         22 personal counsel Mr. Sidney Gold.
23 including the Philadelphia Fair Practice Ordinance,     23      Q. In 2018?
24 so let's relegate our conversation today to             24      A. I did, yes. Mr. Gold has been my
25 allegations of sexual harassment. Please explain        25 attorney for four years.
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 1 what you spoke to Mr. Pipes about or was I right that    1    Q. I didn't ask you that. All right. So
 2 in connection with -- in connection with the           2 in 2018 did -- well, it says here that he finished
 3 conversation about sexual harassment and those         3 his investigation yesterday, and since sent it on
 4 allegations your conversation with Mr. Pipes was       4 11/2 we can assume the investigation happened on
 5 general and kind of relegated to what we're seeing     5 11/1, correct?
 6 here in this letter; is that correct?                  6      A. I don't know what happened with the
 7      A. No. I will --                                  7 investigation. I wasn't part of it.
 8      Q. Why isn't it correct? What else did            8      Q. So you didn't talk to anyone on 11/1?
 9 you talk about?                                        9      A. I don't know if I spoke to someone on
10      A. I'll try to explain this again.               10 11/1. I would have to see my phone records. I do
11      Q. What else did you talk about?                 11 remember that I spoke with counsel between October
12      A. What he said to me, from what I can           12 31st I believe, maybe it was 11/1 -- this is two
13 best recall, at least on one occasion between --      13 years ago, Mr. Carson, long time ago.
14      Q. That's all you can testify to is what         14      Q. Right.
15 you can best recall, Mr. Pipes. Mr. --                15      A. And with the -- by the time I got
16      A. Right, that's why I'm saying as best as       16 this -- I'll give you an example. Lisa Barbounis
17 I can recall so the written record reflects what I'm  17 called me.
18 saying. As best as I can recall, from November 2nd,   18      Q. I don't need an example.
19 2018, until the end of 2018 there was at least one    19      A. No, you're asking me if I talked with
20 discussion that Mr. Pipes and I had where he said in  20 anybody. I spoke with --
21 a general manner, Mr. Roman -- calls me Gregg,        21      Q. I'm asking you --
22 whatever you want to go by -- these women have made 22        A. -- Lisa Barbounis.
23 sexual -- accusations against you that you have made  23      Q. I'm not asking if you talked to anyone
24 unwanted sexual advances towards them and this is     24 in the world. I'm asking whether you talked to
25 what we are going to do about it.                     25 anyone related to the instant investigation whereas

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 1 -- so I'm asking if you had any conversations with     1 factual evidence speaks for itself.
 2 anyone where you gave your side of the story on        2      Q. Well, did you acknowledge that? Is
 3 11/1/2018.                                             3 that true?
 4      A. I don't know if it's 11/1, but maybe           4      A. Well, I didn't acknowledge that I had
 5 11/2.                                                  5 unacceptable conduct. What I acknowledged was that
 6      Q. Sorry?                                         6 Mr. Pipes was in a difficult position because of the
 7      A. I don't know on 11/1 or 11/2, but I did        7 allegations that were made against me.
 8 have a conversation with someone about these           8      Q. So this statement is not true then.
 9 allegations, general allegations, on 11/1 or 11/2.     9 You didn't do that.
10      Q. I'm asking you specifically, though,          10      A. Well, let's go over it again. But you
11 the -- so you understand --                           11 acknowledge that your conduct, whatever your
12      A. Specifically 11/1? I can't answer you,        12 intentions were, was not acceptable and put these
13 Mr. Carson. I don't remember.                         13 employees in a difficult position. No, again, my
14      Q. Is that Marc Fink that you spoke to?          14 conduct, according to the way that these three
15      A. I had a conversation with Marc Fink,          15 employees, Lisa Barbounis, Tricia McNulty, and Marnie
16 in-house counsel, between October 31st and November 16 Meyer O'Brien or O'Brien Meyer, whatever, said put
17 2nd. I don't know which exact day.                    17 Pipes in a difficult position, and if there was
18      Q. And did he talk to you about the              18 anything that they alleged I do -- if I smiled the
19 specific -- I don't want to know what he said, but is 19 wrong way, if I looked up, if I looked over, and they
20 that when you got into the specific allegations?      20 said that they thought it was unwelcoming and they
21      A. Well, I need to ask counsel if I can          21 went to him to complain, what am I going to say, I'm
22 answer that question.                                 22 the manager of the organization and, you know what --
23           MR. CARSON: Can he answer?                  23 hold on, you know what, it's a smile, it's something
24           MR. GOLD: Conversation with Marc            24 else -- I wasn't part of the investigation. If
25      Fink, yeah, direct you not to answer the         25 they're saying I did something and now the president
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 1      question.                                          1 of the organization is impacted by it, doesn't matter
 2           MR. CARSON: I'm not asking what               2 what I think. He's affected by it.
 3      he said, Mr. Gold. I'm just asking if              3      Q. Mr. Roman --
 4      that's -- if that was when he talked               4      A. That's the way that it works.
 5      more specifically about the case.                  5      Q. Mr. Roman, did you acknowledge that
 6           MR. GOLD: Can you read back the               6 your conduct was not acceptable?
 7      question?                                          7      A. No, I don't know what conduct you're
 8           (The following was read back by               8 talking about, Mr. Carson. It's a general question.
 9            the court reporter:                          9      Q. Then the letter is wrong then. Then
10           Question, "And did he talk to you            10 the letter is wrong, correct?
11            about the specific -- I don't               11      A. It's not that the letter is wrong.
12            want to know what he said. Is               12      Q. Well, it --
13            that when you got into the                  13      A. The characterization --
14            specific allegations?")                     14      Q. -- it says that you acknowledge that,
15           MR. GOLD: I don't understand the             15 right?
16      question.                                         16      A. No, what I'm saying is is that I
17           MR. CARSON: Okay. I'll rephrase              17 acknowledged in many conversations both then and
18      it.                                               18 afterwards that management practices that I was privy
19 BY MR. CARSON:                                         19 to and decisions that I made, not of a sexual nature,
20      Q. So you told -- so Mr. Pipes says that          20 but a general management nature, were wrong --
21 you told somebody that you felt -- that -- that you    21      Q. Okay. Did you ever --
22 acknowledge your conduct, whatever your intentions,    22      A. -- but I never had any --
23 was not acceptable and put these employees in a        23      Q. -- send a letter back to Daniel Pipes
24 difficult position, correct?                           24 and explain to him that --
25      A. That's what the letter -- I think the          25           THE COURT REPORTER: I can't hear
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 1      you. Start the question over, please.            1 sentence; is that fair to say?
 2 BY MR. CARSON:                                        2      A. No, it's not that I disagree with the
 3      Q. Did you respond to this letter and let        3 sentence. I disagree with your characterization of
 4 Mr. Pipes know that this -- that the wording is off,  4 the sentence.
 5 because the wording says that you're acknowledging 5         Q. Well, you think this sentence doesn't
 6 that -- I mean, look what it says. It says --         6 say that you put Lisa -- that you're acknowledging
 7      A. Yeah, yeah, I see, I see --                   7 that you put Lisa, Tricia, and Marnie in a difficult
 8      Q. It says you acknowledge that your --          8 position?
 9      A. -- what it says.                              9      A. May I ask you for the license to
10      Q. Let me finish the question. It says          10 explain the paragraph so that you have the context of
11 you acknowledge that your conduct, whatever your 11 the sentence.
12 intentions, was not acceptable. So I'm asking you,   12      Q. Well, let me just read it to you. Here
13 did you contact Mr. Pipes and tell him I don't agree 13 is what I found. This is Dr. Pipes -- this is what
14 with this letter?                                    14 Dr. Pipes is saying. He's "I", right?
15      A. No, I didn't contact Mr. Pipes and tell      15      A. Okay. Before --
16 him I disagree with the letter. I think that I had a 16      Q. The "I" is Dr. Pipes.
17 response --                                          17      A. Before we get to you reading --
18      Q. Did you -- did you --                        18      Q. Just let me finish the question. The
19      A. -- to the letter.                            19 "I" is Dr. Pipes.
20      Q. Did you -- do you agree with the second 20           A. I just want to ask you -- I want to ask
21 part, do you agree that your conduct put Lisa,       21 you for clarity on something from your previous
22 Tricia, and Marnie in a difficult position?          22 question.
23      A. No, because there wasn't any conduct to      23      Q. Well --
24 put them in a difficult position. Look, Mr. Carson,  24      A. You'll read the sentence, okay, and if
25 you're trying to explain --                          25 I can say, Mr. Carson, stop, and I'll explain what I
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 1     Q.     So you don't --                               1 see as my interpretation of Mr. Pipes's words. Is
 2     A.     I'm trying to give you --                     2 that fair?
 3     Q.     So you don't agree with this --               3      Q. Do you agree, Mr. Roman, that the "I"
 4     A.     I'm trying to give you --                     4 here is Mr. Pipes?
 5           THE COURT REPORTER: Excuse me.                 5      A. I do.
 6     Please.                                              6      Q. Okay. So here Dr. Pipes is saying here
 7 BY MR. CARSON:                                           7 is what I found. Three women who work for you, Lisa,
 8     Q. I know, but, Mr. Roman, just --                   8 Tricia, and Marnie, say that you made unwanted sexual
 9           THE COURT REPORTER: One at a                   9 advances toward them. You maintain that you never
10     time. Please.                                       10 made such advances and did not know they felt
11 BY MR. CARSON:                                          11 uncomfortable. But you acknowledge that your
12     Q. -- answer the questions that I'm asking          12 conduct, whatever your intentions were, was not
13 and let's just keep it moving so we can get out of      13 acceptable and put these employees in a difficult
14 here, man, it's Friday. So, like --                     14 position.
15     A. I've got all night, Mr. Carson.                  15           So I'm just asking, do you agree with
16     Q. Yeah, I do, too, but, you know what I            16 this paragraph or do you disagree with this
17 mean, we don't have to be here all night if we don't    17 paragraph?
18 need to be.                                             18      A. No, I disagree with this paragraph.
19     A. I'm trying to explain myself.                    19      Q. Okay. Would you like -- I'll give you
20     Q. Mr. Roman, I promise, I'll give you the          20 the opportunity because I told you to, would you like
21 opportunity to answer -- put whatever information you   21 to explain why?
22 want on the record before this is over, but --          22      A. Yeah. Sure. Thank you very much. All
23     A. Okay.                                            23 right. So we have to go back to the previous
24     Q. It says here -- so the whole sentence            24 paragraph to understand this paragraph.
25 you're -- you just -- you disagree with this            25      Q. Go ahead.
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 1      A. As you know, there have been several             1 your intentions were, was not acceptable and put
 2 allegations of improper conduct directed against you.    2 these employees in a difficult position. What he
 3 Right? So we said beforehand earlier in the              3 means by that sentence I'll never know, but my
 4 deposition several allegations. Some say there was       4 interpretation of that sentence is the fact that he
 5 sexual allegations, other are business professional      5 has said that I acted like a drill sergeant, he said
 6 management organizations. Okay? Allegations.             6 that I asked people to work too late, he said that I
 7          The Middle East Forum takes these               7 gave people too much work, he said that I should have
 8 allegations very seriously. Mr. Pipes is taking both     8 been nicer, and he never said that I wasn't nice to
 9 the allegations of a sexual nature and the               9 female employees and he never said that I made sexual
10 allegations of a nonsexual matter seriously.            10 advances beyond what's in this letter and there is
11          Accordingly, I investigated this matter        11 very very long documentation over three years where
12 yesterday, immediately upon learning of it. And we      12 he believes that I was too tough of a boss, that he
13 heard in Mr. Pipes's testimony that he said that he     13 thinks that I took the way that I was when I was a
14 spoke with each employee in each of their offices. I    14 commander in the Israel defense forces and then I
15 don't know what was said, I wasn't there, I was I       15 went back into civilian life and tried to be somewhat
16 think traveling back to Philadelphia or something,      16 of a -- I don't know what the word would be, more of
17 but he investigated with those employees. Okay?         17 like a disciplinarian than I would be someone a boss,
18          Then it says here is what I found.             18 and whatever it was, however I spoke to employees,
19 What he's saying is he found from his conversations     19 like I said, could have smiled, could have said
20 with those employees, maybe counsel was involved, I     20 hello, whatever it was, nothing was ever of a sexual
21 don't know, three women who work for you, da da da da   21 nature, Mr. Carson. It was always just because they
22 da, say they -- unwanted -- that's the first            22 probably thought that I was too tough. And if you
23 sentence. Second sentence, apologies. And what I am     23 look at the text messages and every other
24 saying is this. After these allegations both of a       24 communication from all of the clients you've
25 managerial and of a sexual nature were made against     25 represented, Ms. Shikunov's clients, and specifically
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 1 me, Marc Fink, in-house counsel, was charged with        the men who work and worked at the Middle East Forum,
                                                            1
 2 investigating somewhat as -- I guess you would call    2 all say that I was too hard, and I learned from that,
 3 it as the detective, as in-house counsel, corporate    3 I learned from that, I try to be a much nicer person
 4 counsel, whatever you want -- of taking the            4 these days, I've done a lot of work on trying to
 5 complaints that the women made to Mr. Pipes that then  5 improve my management style, and even today I'm still
 6 Pipes conveyed to Fink, and this is probably privy, I  6 bound by the restrictions that Mr. Pipes -- some of
 7 don't know about the conversations there, that's a     7 the restrictions that Mr. Pipes put on me in that
 8 privileged conversation, and Fink went ahead and       8 letter that you showed previously of what I'm allowed
 9 talked to me. The contents of that conversation I      9 and what I'm not allowed to do at the Middle East
10 understand are either privileged or work product, I   10 Forum. That's what I meant by that.
11 don't know the proper classification. I'll defer to   11       Q. What about the next sentence?
12 counsel on that. Then what Pipes is doing is just     12       A. What?
13 saying you maintain that you never made such advances 13       Q. What about the next sentence? You put
14 and did not know they felt uncomfortable. He's        14 this in the context of calling yourself a social
15 saying what I believe I conveyed to counsel in a      15 junkie. What did you mean by that?
16 privileged conversation. So whatever that conclusion  16       A. Well, I don't think I ever called
17 he's making there that he addresses to me, that's his 17 myself a social junkie. I don't remember saying
18 words, not mine. Okay? I never talked to Pipes        18 that.
19 about this directly with specifics. I talked to       19       Q. So you didn't say that you were a
20 counsel, didn't talk to Pipes. So I can't comment on  20 social junkie who seeks constant social interaction?
21 what Daniel Pipes is thinking. I'm not Daniel Pipes.  21       A. I don't remember ever saying that, and
22           Then the concluding sentence here,          22 if I did say it, I don't know how he's taking it
23 which goes back to the first sentence where he says   23 because I didn't talk to him about it, I talked to
24 several allegations, both professional and sexual, he 24 Mr. Fink.
25 says but you acknowledge that your conduct, whatever  25       Q. Well, you did receive this letter,
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 1 though, right?                                                   1 it might be hard to do that?
 2      A. It looks like I received it. It's                        2      A. Do what?
 3 addressed to me, it's copied to Marc Fink.                       3      Q. For a woman to report information that
 4      Q. And you read it in November 2nd, 2018,                   4 has a personal sexual context to it.
 5 so why didn't you respond and correct Mr. Pipes?                 5      A. Mr. Carson, I can and I can relate to
 6      A. Mr. Carson, it was like an avalanche                     6 that on a personal level.
 7 coming down a mountain. Everyone who I considered to             7      Q. Going back to the AIPAC conference, can
 8 be my friend and my associate all of a sudden came               8 you please explain what that is, briefly?
 9 out overnight after months of interactions, birthday             9      A. What's what?
10 parties, going out with social events, travel,                  10      Q. What is the AIPAC conference? Is that
11 whatever else, not one complaint was ever registered            11 an annual conference held in Washington D.C.?
12 to me between the time any of your clients started              12      A. Well, there's a few AIPAC conferences
13 working with MEF about me -- it was all about each              13 that take place.
14 other and them. I had to mediate between Marnie and             14      Q. Well, in 2018 --
15 Lisa, Marnie and Tricia, between Delaney and Matt,              15      A. Some take place --
16 Matt and Tricia, there was all these interpersonal              16      Q. In 2018 the Middle East Forum attended
17 conflicts, and it's all reflected on the record, by             17 an AIPAC conference sometime around March; is that
18 the way, by all the discovery that you gave to the              18 correct?
19 Middle East Forum. I have so much more knowledge now            19      A. There was the American Israel Public
20 understanding the interpersonal dynamics of your                20 Affairs policy conference that took place between
21 clients and how they hated each other before November           21 March 3rd and March 6th or March 2nd and March 5th,
22 2nd, 2018. And then when all this is coming at you,             22 if that's what you're referring to, yes.
23 this wave of complaints that are addressing you, at             23      Q. Yeah, I'm going to try to get us
24 least the way I reacted was sort of fight or flight.            24 through this quickly. So the AIPAC conference in
25 Mr. Pipes, look, I just --                                      25 March of 2018, did you attend that along with Matt
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 1       Q. Did you --                                              1 Bennett and Patricia McNulty and Lisa Barbounis and
 2       A. -- want to -- hold on. Hold on. Hold                    2 Marnie Meyer?
 3 on. Mr. Pipes, look, I've got a job, I've got three              3      A. Yes, and there was other people who
 4 kids that I have to worry about, I have to pay my                4 attended with us as well.
 5 rent, I got to do things -- whatever you're saying,              5      Q. Understood. And you -- it's my
 6 there will be a time to address the veracity and the             6 understanding that you and Matt Bennett booked the
 7 truthfulness and the honesty of what these people are            7 Airbnb; is that right?
 8 saying about me, but right now I'm going to work with            8      A. I actually think it was Lisa that
 9 you to try to make this problem mitigate itself and              9 booked the Airbnb.
10 I'll do whatever you need me to do, and I even                  10      Q. For you and Matt Bennett, correct?
11 offered my resignation, Mr. Carson, if that's what              11      A. Yes, and she also booked her own hotel
12 you need me to do, and the conclusion at the end of             12 room for her and Tricia and for Marnie after Tricia
13 the day when all this was over is that I was to go              13 asked if Lisa and Marnie could go.
14 and start my own organization until Lisa Barbounis              14      Q. Okay. And I believe that you went to
15 went back on her word, reneged on her complaints, and           15 the AIPAC conference over the -- over a weekend in
16 said I should come back to work with her as if though           16 March; is that right?
17 nothing ever happened. That's what happened,                    17      A. Well, you would have to tell me when it
18 Mr. Carson.                                                     18 is, but usually it's Saturday -- or Friday to Tuesday
19       Q. Do you -- do you understand why women                  19 depending on the year.
20 might come -- not come forward and report sexual                20      Q. And that first Friday during that AIPAC
21 harassment the day it happens?                                  21 conference did the -- during that first AIPAC
22       A. Mr. Carson, I'm not those women, so I                  22 conference in March of 2018 did the Middle East Forum
23 can't comment on something that someone else might              23 hold an event?
24 think.                                                          24      A. No.
25       Q. Well, can you think of any reasons why                 25      Q. A dinner?
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 1      A. No.                                             1 not the others.
 2      Q. Is that Saturday?                               2      Q. Well, you were Lisa's and Patricia
 3      A. I don't think so, no.                           3 McNulty's, too --
 4      Q. Did the Middle East Forum sponsor or            4      A. Yeah, but my understanding is you were
 5 hold a dinner for donors during that conference?        5 asking about who managed Tricia McNulty, so I was
 6      A. Not at the conference; in parallel to           6 answering that question.
 7 the conference.                                         7      Q. Okay. So if we put it in a hierarchy,
 8      Q. Okay. Where was that dinner held, do            8 you and then Matt Bennett and then Ms. McNulty,
 9 you remember?                                           9 correct?
10      A. In Chinatown Gallery Place at a                10      A. Yeah, but, again, McNulty reported to
11 restaurant called Cuba Libre.                          11 other people besides me and Bennett.
12      Q. The -- that dinner, it was a dinner            12      Q. Okay. So the night that that dinner
13 that Ms. McNulty helped organize; is that correct?     13 was held, at the end of the night tell me where you
14      A. The donor dinner, yes, she organized it        14 guys went.
15 with Matt Bennett.                                     15      A. So Tricia McNulty had just been on a
16      Q. And that was part of her job as the --         16 cruise I think. She was on vacation -- yeah, it was
17 working with Matt Bennett who at the time Matt         17 really crazy because we had asked her to schedule the
18 Bennett was the director of development, correct?      18 entire dinner before she went on vacation, and there
19      A. Correct.                                       19 was an e-mail that went from Tricia to me, which I
20      Q. And Ms. McNulty was sort of -- reported        20 think was sent like February 23rd, February 24th, I
21 to Matt Bennett at that time; is that correct?         21 forget the exact date she was on vacation, but she
22      A. What do you mean reported to?                  22 sent me an e-mail before vacation and she said here
23      Q. He was her boss.                               23 is all the plans, here is everything else, and I said
24      A. Yeah, well, she really had sort of four        24 to her who is going to manage this, and she said,
25 people that she was involved with. She worked with     25 well, I will, but I need more people, and I said what
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 1 Daniel Pipes, she worked with Matt Bennett, she         1 more people do you need, and she said, well, what
 2 worked with Marnie Meyer -- well, actually five         2 about Marnie and Lisa, and I said, okay, you make the
 3 people. Marnie Meyer, myself. And then she also had     3 decision what's best for you. I really believed in
 4 the responsibility of liaising with the different       4 having people decide what's best for them,
 5 volunteers and the different hosts of events, so she    5 self-empowerment. And I said if it's just you, get a
 6 sort of like was a board liaison, too. So if you        6 hotel; if it's you and Marnie and Lisa, get an
 7 want to consider that a direct report, I don't know     7 Airbnb. Not my Airbnb; that was just me and Matt.
 8 about the management structure -- but it was pretty     8 Okay? And then she booked her hotel, I think -- I
 9 informal.                                               9 told her to stay at the Hilton, we had a good deal
10      Q. You were their -- all their boss,              10 there, so she had her own hotel, that was her
11 though, correct?                                       11 accommodations and lodging, she was supposed to stay
12      A. No, I was not.                                 12 with Marnie and Lisa, they had agreed to stay
13      Q. You were not Matt Bennett's boss?              13 together for some reason. I said if you need more
14      A. No, I was.                                     14 than one, go ahead. And then we arrived in D.C. -- I
15      Q. You were not Marnie Meyer's boss?              15 was in meetings all day. Can I ask you a question,
16      A. No, I was.                                     16 Mr. Carson, just about specifics? Has MEF provided
17      Q. In March of 2018.                              17 you or has my counsel provided you with the calendar
18      A. I was, yes.                                    18 from 2018?
19      Q. You were Lisa Barbounis's boss?                19      Q. I don't know. But --
20      A. Yes, but I didn't mention her.                 20      A. The reason it matters is because that
21      Q. By boss I mean supervisor, boss, same          21 calendar was arranged by Tricia McNulty.
22 thing.                                                 22      Q. Okay.
23      A. Yeah, but, like I said, I didn't               23      A. So I don't want to give you an answer
24 mention her, so you asked me if I was all of their     24 that is like, well, you know, we were supposed to go
25 bosses, and I was Marnie and I was Matt's boss but     25 here and then it turns out I was somewhere else. I'm

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 1 trying to give it to you best of my recollection.       1      Q. Okay.
 2      Q. Let me fast forward this a little bit.          2      A. But I do remember --
 3 At the end of the night did --                          3      Q. Is it possible --
 4      A. All this is important because it gives          4      A. -- that I had -- I don't know if it's
 5 context to what was planned.                            5 possible or not. I don't want to answer something
 6      Q. I understand. I understand. But let             6 that's not accurate.
 7 me just --                                              7      Q. Well, is it possible that you took the
 8      A. So --                                           8 same Uber or do you specifically recall that you
 9      Q. So at the end of the night did you and          9 didn't?
10 Matt Bennett and Ms. McNulty and Ms. Meyer and Ms.     10      A. No, I don't remember who I took an Uber
11 Barbounis return to the Airbnb that you and Matt had   11 with, Mr. Carson.
12 booked?                                                12      Q. Okay. So now you're all back at the
13      A. No, because there was other events             13 Airbnb. What time is it when you get there?
14 between the dinner and the end of the night.           14      A. I think the Uber records indicate --
15      Q. Yeah, I -- at the end of the night I           15 you have to see, but the bars -- see, what happened
16 said.                                                  16 -- that's why I wanted to mention beforehand, that --
17      A. Well, not at the end of the night. At          17 after the dinner and then after, Marnie Meyer and
18 the end of the night Tricia McNulty slept in the       18 Lisa and Tricia had booked our attendance at four or
19 Airbnb, but we didn't immediately go back to the       19 five events that took place after the dinner. I have
20 Airbnb.                                                20 an e-mail, and we can provide this if this is
21      Q. I know. I understand. I'm not worried          21 something that will help, Lisa Barbounis and Tricia
22 about where you guys went and had a couple drinks in   22 McNulty were exchanging e-mails with EJ Kimball, who
23 between dinner and Airbnb, I'm trying --               23 used to work for MEF, where Lisa asks EJ what's this
24      A. It wasn't a couple drinks, Mr. Carson.         24 event CAMERA, Committee for Accurate Middle East
25 Tricia McNulty was drunk beyond belief.                25 Reporting in America, and EJ says I don't know but
                                               Page 173                                                       Page 175
 1      Q. Okay. Now, at the end of the night              1they have top shelf liquor, I'll be there, and then
 2 when you allege that she was drunk beyond belief did 2 Lisa responds count me in. And there is another
 3 you all return to the Airbnb that you and Mr. Bennett  3 e-mail which talks about --
 4 had booked?                                            4      Q. Mr. Bennett, you can -- you and your
 5      A. No, Matt -- Matt and I had, I think, we        5 counsel can submit whatever documents you want and --
 6 went to get pizza, they were waiting outside the       6      A. I'm Mr. Roman, not Mr. Bennett.
 7 entrance, or we may have been in the same car, I'm     7      Q. Sorry. Mr. Roman. Thank you.
 8 not sure, I think probably Lisa has the Uber records   8      A. But the reason I'm saying all this is
 9 or they might be somewhere, but there was different    9 important is because the way in which they returned,
10 times that different people showed up to the Airbnb   10 some people were at the hotels and were at the bars,
11 because there was multiple rides.                     11 other people were at the Airbnb, and at the end there
12      Q. But you and Lisa --                           12 were so many people at the Airbnb I don't remember
13      A. So I -- I don't remember if I arrived         13 who was there and when they were there but I do
14 with those three and Bennett. I do remember that I    14 remember --
15 was with, like, seven other people who were there and 15      Q. I just want to know what time you got
16 they stayed -- few of them stayed there until the     16 back, what time --
17 next day, too. So it wasn't just the four of them.    17      A. I can't give you an accurate time.
18      Q. But then you guys all did go back to          18      Q. Approximately.
19 your place at the Airbnb, right?                      19      A. It was after the -- after that we were
20      A. At different times, staggered.                20 at three or four or five bars -- we were at some bars
21      Q. But you and Lisa and Mr. Bennett and          21 together, we were at some bars that we separated --
22 Ms. McNulty all took the same Uber back to it,        22      Q. Was it around 2 in the morning?
23 correct?                                              23      A. -- it was really mix.
24      A. I don't remember if we were in the same       24           THE COURT REPORTER: I can't hear
25 Uber.                                                 25      you when you're talking at the same
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 1     time. Please.                              1 you order some pizza into the room or did you go get
 2 BY MR. CARSON:                                 2 pizza on the way back there? How did that happen?
 3     Q. Was it around 2 in the morning?         3      A. Raheem Kassam ordered pizza.
 4     A. I don't know.                           4      Q. Okay. And were you sitting on the
 5     Q. Okay. Fine. So now you're back at the   5 couch next to Lisa Barbounis and Patricia McNulty?
 6 Airbnb. You're there, Matt Bennett is there,   6      A. When?
 7 correct?                                       7      Q. When you got back to the Airbnb.
 8     A. In addition to about eight other        8      A. No, I don't think so.
 9 people, yes.                                   9      Q. At no time did you sit on the couch
10     Q. Is Lisa Barbounis one of those eight   10 with them.
11 people?                                       11      A. I may have, but the exact time you're
12     A. Yeah, I believe she was there.         12 asking me if I did, I had conversations with the
13     Q. And Patricia McNulty is one of those   13 students, I played the game of Battleship with them
14 eight people?                                 14 -- we actually got this box of Battleship from one of
15     A. I believe she was there, yeah, she     15 the bars which was one of these board game bars,
16 slept there that night.                       16 brought it back to the condo, whatever it was, and I
17     Q. Marnie Meyer is one of those eight     17 remember that some people were taking pictures
18 people?                                       18 because the view was over Logan -- not Logan --
19     A. She also slept there.                  19 anyways, one of the circles on Massachusetts Avenue,
20     Q. Was there someone named Raheem Kassam? 20 and then we were playing a game of Battleship, you
21     A. Yeah, Raheem was there.                21 know, the board game Battleship, at the dining room
22     Q. Was there some people from Pinsker     22 table, and the entire room was this, like, purple
23 there?                                        23 couch that extended like this, like an oval. The TV
24     A. Can you be more specific?              24 was to the left. There was a table for chess that
25     Q. No. I don't know how to be. Were       25 came around. There was a dining room table which
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 1 there Pinsker people there?                              1 divided -- there was no walls, but it divided the
 2      A. Yes. Would you like the names of the             2 kitchen area from the living room, but everything was
 3 people who were there?                                   3 all together. So I had this very intense game of
 4      Q. If you know their names, you're welcome          4 Battleship against Elliot Miller, and -- I don't even
 5 to say them for the record.                              5 know where he is these days, but that's what I
 6      A. Sure. Elliot Miller, Jonathan Hunter,            6 remember. And then I also remember rolling
 7 a guy named Ryan, I don't remember his last name,        7 cigarettes because the Brits, they don't know how to
 8 Yosef or Yusef, guy named Steve Shimel [ph] was          8 roll cigarettes, they're -- I don't smoke anymore,
 9 there. I want to say -- there was two or three           9 but doesn't matter. And then I was rolling the
10 others, they go to Oxford and Cambridge, okay,          10 cigarettes and I would go outside to the balcony --
11 they're students, that are involved with this           11 it was cold, man. It was really cold. That's what I
12 organization called the Pinsker Centre, but there was   12 remember. And then there was a point where it was
13 -- must have been at least 14 or 15 people there.       13 getting late, I said everybody's got to go, we're
14      Q. And you started smoking marijuana?              14 going to sleep -- because at AIPAC I had a meeting at
15      A. No, I smoked cigarettes at that time.           15 8 a.m. the next day --
16      Q. Do you smoke marijuana?                         16      Q. Did you whisper that in Ms. McNulty's
17      A. Now, no.                                        17 ear?
18      Q. Knowing that there is nothing wrong             18      A. Did I whisper what -- I didn't whisper
19 with it because it just got legalized in New Jersey     19 anything. I don't whisper.
20 and legalized in 15 other states?                       20      Q. That everyone had to go?
21      A. No, you asked me if I smoke marijuana           21      A. I'm a pretty --
22 now. I said no.                                         22           THE COURT REPORTER: I can't hear
23      Q. At that time did you?                           23      you. I can't hear you. Can you repeat
24      A. I have smoked marijuana in the past.            24      that question?
25      Q. So now you're all back, I think -- did          25 BY MR. CARSON:

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 1          Q.   Did you whisper that in Ms. McNulty's       1 you saying they're lying about?
 2   ear?                                                    2           THE COURT REPORTER: I can't hear
 3      A. No, Mr. Carson, I don't whisper, I'm              3      your questions because you're talking at
 4 always told -- one of the complaints that Mr. Pipes       4      the same time that he is. Please repeat
 5 said is that I'm too loud.                                5      it.
 6      Q. So you --                                         6 BY MR. CARSON:
 7      A. So I don't -- I don't whisper into                7      Q. My question is, so are they both lying
 8 people's ears, no.                                        8 then?
 9      Q. Did you yell into her ear then?                   9      A. What are you talking about? What are
10      A. No, I -- that would not be nice if I             10 they -- what are you saying they're lying about?
11 yelled in someone's ear. I don't yell in people's        11      Q. Ms. Barbounis and Ms. McNulty have
12 ear.                                                     12 consistently alleged since November of 2018 that you
13      Q. Did you tell her that everyone should            13 were on the couch between them, that you put your arm
14 go, it should just be the two of you there?              14 around Ms. Barbounis, that you put your other arm
15      A. No, I never said that.                           15 around Ms. McNulty, you pulled them both toward you,
16      Q. Did you pick her up by her butt and put          16 that Ms. McNulty -- you picked her up by her butt and
17 her on your lap?                                         17 put her on your lap and started whispering in her ear
18      A. No, I've never touched Ms. McNulty in            18 that everyone should leave and it should just be the
19 such a fashion. I've actually never probably ever        19 two of you in the room. They both allege that. Are
20 touched Ms. McNulty, so that accusation is               20 they both lying?
21 outlandish.                                              21      A. Mr. Carson --
22      Q. Well, she made the accusation against            22      Q. Yes or no.
23 you. Is she lying?                                       23      A. -- first of all -- first of all, what
24      A. Mr. Carson, Tricia McNulty has made              24 you're alleging has been told in this case, in
25 seven different versions of an allegation of some        25 multiple cases, seven different ways.
                                                 Page 181                                                       Page 183
 1 nature which started one way when you sent the letter     1    Q. Okay.
 2 to us on June 20th and it morphed into this story on   2       A. So that's the first thing. So if you
 3 and on and on to this day that she -- not this day,    3 want to address each allegation how it's changed
 4 but that she gave another version some -- two weeks    4 seven times --
 5 ago she testified. Ms. McNulty is lying, there is no   5       Q. Yeah --
 6 other word to say it, when she says that I in one way  6       A. That's one thing.
 7 or another may have touched her on some couch that I 7         Q. -- I would be happy to do that, but can
 8 don't remember even sitting on. So, yes, she's         8 you just answer the question?
 9 lying.                                                 9       A. Sure. But the answer to those --
10      Q. Well, is Ms. Barbounis lying, too,            10       Q. Were they lying?
11 then?                                                 11       A. -- seven different stories is they
12      A. Ms. Barbounis is a whole other case of        12 lied, they lied, they lied, they lied, they lied,
13 lying. Ms. Barbounis --                               13 they lied, they lied, seven times. Yes, they lied.
14      Q. Well, she said --                             14       Q. So what -- so tell me these seven
15      A. -- according to --                            15 different stories. When did you hear the first one?
16      Q. -- that she saw you on the couch next         16       A. Well, it's not that I have to see them,
17 to Ms. McNulty and she said --                        17 it's we have to go through the complaints. You filed
18      A. Ms. Barbounis says a lot of things. I         18 four complaints, in Yonchek, in Brady, in Barbounis
19 can't testify to the veracity of what Ms. Barbounis   19 --
20 sees. She sees a lot of things that have already      20       Q. We're only here today to talk about one
21 been disproven, Mr. Carson, so, no --                 21 case.
22      Q. So they're --                                 22       A. No, but you're asking about the lies.
23      A. -- I don't --                                 23 You tell the story a different way in each of your
24      Q. So they're both lying.                        24 complaints. We have to address each lie if you would
25      A. Well, what are they lying -- what are         25 like to really get into the specificity of it.

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 1      Q. I think -- Mr. Roman --                          1      Q. So -- and you testified that that story
 2      A. So you say it one --                             2 has morphed and that there has been --
 3      Q. Just slow down --                                3      A. Oh yeah.
 4      A. I'm just trying to answer your                   4      Q. -- eight versions of the story, so --
 5 question, Mr. Carson. I'm sorry. I won't answer if       5      A. Seven versions, not eight. Seven.
 6 you don't want me to.                                    6      Q. Seven. And so the first -- and you
 7      Q. I'm going to give you an opportunity to          7 don't -- I'm not going to hold you to the number.
 8 explain yourself. Slow down for a second.                8      A. I think it's seven. It might be eight,
 9           You testified that -- from when until          9 it might be six.
10 when has the story morphed. Give me the first date      10      Q. Approximately. So --
11 of the -- the date of the first story and give me the   11      A. Sevenish or so.
12 date of the last story and then we'll fill in the       12      Q. -- the first -- the first one that
13 blanks once we have a date range that we can talk       13 you're aware of occurred around October of 2018; is
14 about. So please --                                     14 that right?
15      A. Sure.                                           15      A. No, I said when Lisa Barbounis revealed
16      Q. -- give me the date the first story was         16 that she had started an affair with Danny Tommo to
17 alleged.                                                17 Tricia McNulty, that's the first time.
18      A. So I wasn't there when the first story          18      Q. The first time --
19 was told, so I can't tell you the exact --              19      A. I think it was October --
20      Q. Approximate date.                               20      Q. -- that you heard the story.
21      A. -- date. So I think there was text              21      A. -- 23rd or 24th -- I didn't hear her
22 messages between Lisa and Tricia from around the time   22 story; that's after reviewing the litigation and all
23 that Lisa started her relationship with Danny Tommo,    23 of the discovery that you produced, that's when it
24 October 23rd, 2018, and they start talking about a      24 starts making sense of this lie.
25 Gregg plan, which Lisa Barbounis acknowledged in her    25      Q. That's not what I'm -- that's not what
                                               Page 185                                                        Page 187
 1 testimony given at her deposition last week --           1 I'm asking you. I'm -- you said that the story of
 2       Q. That's not what --                              2 how they described the incident has morphed seven
 3       A. -- or two weeks ago -- I'm getting to           3 times around.
 4 this. Because what they're doing is --                   4      A. Correct.
 5       Q. That's not what we're talking about.            5      Q. So I'm wondering when the first version
 6 I'm --                                                   6 of the story was told. Is that around --
 7       A. Mr. Carson, you're asking me when the           7      A. The first --
 8 lies started. I'm trying to give you the context.        8      Q. -- October 2018?
 9       Q. I'm asking -- I don't -- I don't want           9      A. The first version was told when Tricia
10 context. I just want a date so we -- and then --        10 McNulty concocted it in a text message to Lisa
11       A. I'm giving you the date, but I got to          11 Barbounis around October 23rd.
12 identify the specific thing so I don't --               12      Q. All right. Concocted it? Concocted?
13       Q. No, you don't.                                 13      A. Yeah.
14       A. -- mess it up.                                 14      Q. Okay. Give me a second. Let me write
15       Q. No, you don't, because I -- you're             15 it down. When Tricia concocted it in a text to Lisa
16 going to get there. All right? Just we got to take      16 Barbounis in October 2018. Okay.
17 it slowly so that the record is clear.                  17      A. Not October, like --
18       A. I'm going real slow, real slow.                18      Q. Around.
19       Q. So you're saying the date of the first         19      A. -- October twenty -- because if you're
20 story -- and we're specifically talking about AIPAC     20 saying October, there is other events that took place
21 right now and what happened on that couch, what did     21 in October --
22 or did not happen on that couch. Okay? That's what      22      Q. It's not a test.
23 we're talking about right now. And everything that      23      A. -- that was a different version of
24 we're discussing relates to that couch right now.       24 the story --
25       A. Right.                                         25      Q. You can say in or around.
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 1     A.      -- than from what they originally said.      1      Q. Mr. Roman, I need a date. I just need
 2           THE COURT REPORTER: One at a                   2 a date. I don't need to know what's around the date.
 3      time, please.                                       3 Just give me a date. Give me a date.
 4 BY MR. CARSON:                                           4      A. Like I said, I'm trying to tell you --
 5      Q. It's not a test. We're going to say in           5      Q. Just give me a date.
 6 or around. We have to be able to make -- we have to      6      A. -- that I think --
 7 be able to outline this, so --                           7      Q. The next words out of your mouth need
 8      A. I'm trying to outline this, Mr. Carson.          8 to be a month and a year.
 9 You're saying --                                         9      A. I think the affair started October 23rd
10      Q. No, no, no.                                     10 and I think that's when the text messages started.
11      A. -- in or around. I'm saying --                  11      Q. So then why did you say wrong when I
12      Q. Wait for a question.                            12 just said in or around October 2018?
13      A. -- October 23rd.                                13      A. Because it's not specific enough. We
14      Q. You got to wait for a question.                 14 have to be as specific as possible.
15      A. I'm waiting.                                    15      Q. No, we don't. We can be general. It's
16      Q. All right. The first version of this            16 easier.
17 concocted, quote/unquote, version, quote/unquote,       17      A. Mr. Carson, I don't want that -- I
18 allegation, whatever, it was when Tricia texted it to   18 don't want that to be my testimony.
19 Lisa Barbounis sometime around October 2018. Okay?      19      Q. Mr. Roman, stop --
20 Is that fair?                                           20      A. I want to have specific --
21      A. Well, there is multiple references to           21      Q. -- interrupting me.
22 conversations --                                        22      A. -- testimony.
23      Q. You got to just answer the question yes         23      Q. The court reporter can't take two
24 or no. Is it fair -- if it's not, then correct me.      24 people talking at the same time.
25      A. I'm correcting you. There's --                  25      A. Okay.
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 1      Q. I'm looking for a date. When?                    1      Q. October 23rd, 2018. Done.
 2      A. So I give you a date.                            2      A. I think. I think October 23rd.
 3      Q. Okay. When?                                      3      Q. When's the last one, the most recent
 4      A. I said that the first version that I'm           4 one. Give me a month and a year.
 5 aware of or that I remember was based on text            5      A. When -- either when Lisa or Tricia gave
 6 messages that I reviewed that you have produced          6 their testimony during their deposition, that's the
 7 between Tricia and Lisa around the time that Lisa        7 last time we heard a different version of the story.
 8 started having an affair with Danny Tommo --             8      Q. Okay. During the dep. Okay. And
 9      Q. That was in -- that was well into 2019,          9 you're saying in between those there were five more
10 so --                                                   10 about?
11      A. No, no, that --                                 11      A. I would say that there was two versions
12           THE COURT REPORTER: I can't hear              12 of the story, one told by Lisa and one told by
13      you. I can't hear you.                             13 Tricia, when they were examined by Dr. Barbara Ziv,
14           THE WITNESS: Mr. Carson, Lisa                 14 the forensic psychiatrist that examined both of them
15      Barbounis testified to starting an                 15 a few months ago. Lisa told one version of the
16      affair with Danny Tommo on October 23rd,           16 story, Tricia told another version of the story.
17      2018. You should recollect what your               17      Q. Of AIPAC.
18      own client said about her affairs.                 18      A. Of AIPAC, that's what we're talking
19 BY MR. CARSON:                                          19 about, this alleged --
20      Q. Sorry, I don't, but that's fine.                20      Q. Of the couch.
21      A. So -- well, how are we doing -- we got          21      A. -- couch incident that never happened.
22 to be accurate with these dates, so --                  22      Q. Of what happened on the couch or what
23      Q. Just give me a date.                            23 didn't happen on the couch at the AIPAC conference,
24      A. -- I'm trying to give you the accurate          24 correct?
25 --                                                      25      A. What didn't happen at the couch at the
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 1 AIPAC conference.                                        1 27th, 2019, in the Eastern District of Pennsylvania.
 2      Q. We're talking about the same thing,              2      Q. Okay. And I'll represent to you I
 3 Mr. Roman, so --                                         3 copied and pasted all the complaints, so regardless
 4      A. We're not, Mr. Carson. We're not                 4 of the fact that there is multiple complaints, it's
 5 talking about the same thing.                            5 all the same, it's all one big story.
 6      Q. Okay. We're not. We'll pretend like              6      A. Can you just clarify -- just to
 7 we're not. So -- so then you said another version is     7 understand.
 8 a version that Patricia provided to Dr. Ziv and          8      Q. Never changed a word of the complaint.
 9 another version is a version that Lisa provided to       9 Every time I file a new complaint I just copy and
10 Dr. Ziv?                                                10 paste --
11      A. Correct. Now we're at five.                     11      A. You took the same complaint in
12      Q. No, we're actually at four now, but             12 Barbounis, you put it in McNulty, you put it in
13 that's okay.                                            13 Yonchek, you put it in Brady?
14      A. Well, no, we have the text message, we          14      Q. No, that's not -- what I'm saying is
15 have --                                                 15 that Ms. McNulty's filed more than one complaint.
16      Q. Text message --                                 16 She's filed a complaint and an amended complaint,
17      A. -- one testimony from Lisa --                   17 another amended complaint. I'm saying all the
18      Q. Right.                                          18 accounts in those three complaints are the same.
19      A. -- we have another testimony from Lisa          19      A. Okay. Well --
20 -- excuse me, from Tricia, that's three. We have        20      Q. So we're going to say the complaint is
21 Tricia's story that she told Dr. Ziv. We have Lisa's    21 one more story.
22 story that she told Dr. Ziv. So that's five.            22      A. It's not -- it's not, though, because
23      Q. Okay. It would be easier if you just            23 what you wrote in your civil complaint is different
24 let me be -- you answer the questions and let me        24 from what is written in the handwritten complaint
25 organize it. Okay?                                      25 that either Barbounis or McNulty gave to the EEOC in
                                               Page 193                                                        Page 195
 1      A. I just want to make sure my testimony            1 or around June 5th of 2019.
 2 is accurate.                                             2       Q. That's called a charge.
 3      Q. The first one I have is from October             3       A. So the charge and the complaint -- so
 4 23rd, 2018, sometime around, in a text message. All      4 she files a complaint that has one version, she files
 5 right? The last one I have is when Lisa provided         5 a charge that has a different version, two different
 6 testimony at a deposition. In between those two I        6 versions within two weeks of each other. There is
 7 have Patricia providing testimony -- or not              7 more versions of her story than I knew about. This
 8 testimony. Patricia providing a statement to Dr. Ziv     8 is -- you're really enlightening here.
 9 and then I also have Lisa providing a statement to       9       Q. We're going to take a look at them and
10 Dr. Ziv, and I believe the last one, the sixth one      10 you're going to explain this. All right? I'm just
11 that you're testifying about, is Ms. McNulty            11 --
12 providing testimony at deposition, correct?             12       A. Well, I can't explain anything that
13      A. We're at five and now we have two more          13 didn't happen, Mr. Carson.
14 but there is actually probably five more now that       14       Q. Well, we're going to -- just -- let me
15 you're helping me jog my memory.                        15 just lead the way and I'll --
16      Q. So --                                           16       A. All right. Sorry. My apologies.
17      A. We're at about ten right now. So we're          17       Q. You're doing fine. Just keep going.
18 at five. I'm going to give you another five.            18 All right. So the EEOC charge is another version.
19      Q. We're at five. Just slow down.                  19 So we have one, two, three, four, five, six, this is
20      A. I'm sorry.                                      20 -- that's seven, the charge is number seven. Do you
21      Q. Just give me one more, just one more            21 -- are there any others you want to say -- can I
22 right now.                                              22 suggest one.
23      A. Okay. So the next one that I recall is          23       A. Well, I think there is a version that
24 Tricia McNulty's accounting of what she says happened   24 Ms. McNulty gave to Mr. Pipes.
25 at AIPAC in her complaint that was filed October        25       Q. That's the one I was about to suggest.
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 1     A. That's eight.                                     1 text messages in this case, so I don't know what she
 2     Q. So the letter -- the letter to                    2 said to Marnie. I have what we have produced by
 3 Mr. Pipes. Okay?                                         3 Marnie Meyer's counsel in Meyer versus MEF, but there
 4     A. No, no, I didn't say -- you're putting            4 has been no evidence or limited amount of evidence
 5 words in my mouth, Mr. Carson.                           5 produced by McNulty versus MEF. I think there is a
 6     Q. Well, I was about to -- it's this right           6 motion for contempt against Ms. McNulty that we're
 7 here. This is the letter to Mr. Pipes.                   7 waiting to see what Judge Brody is going to say, so I
 8     A. Not this. This would be another                   8 can't answer that right now.
 9 version.                                                 9           THE WITNESS: Can we take a break?
10     Q. Okay. So -- so you're going to --                10      I got to get some water. Is that okay?
11 well, let's just -- the letter to Mr. Pipes is one.     11           MR. CARSON: Absolutely.
12 Okay?                                                   12           THE WITNESS: Okay. All right.
13     A. There's three or four more versions.             13      Take five minutes?
14 We haven't gone over all the versions yet.              14           THE VIDEO SPECIALIST: We're off
15     Q. Is it fair to say the letter to                  15      the record. It's 4:31 p.m. Eastern.
16 Mr. Pipes is one of them; okay?                         16           THE WITNESS: Thank you,
17     A. One, but not the last one.                       17      Mr. Carson.
18     Q. Not the last one. Okay. The letter to            18           (A brief recess was taken.)
19 Mr. Pipes --                                            19           THE VIDEO SPECIALIST: We're back
20     A. There is a difference --                         20      on the record. It's 4:43 p.m. Eastern.
21     Q. I'll call him Dr. Pipes. And --                  21           THE WITNESS: Can you guys see me
22     A. He actually prefers Mr. Pipes. I mean,           22      okay?
23 I know he's got the doctor but --                       23           THE VIDEO SPECIALIST: Yes.
24     Q. I don't know. I deal with --                     24 BY MR. CARSON:
25     A. But this is not -- this is not the one           25      Q. All right. So, Mr. Roman, screen share
                                                Page 197                                                       Page 199
 1 between October 23rd and this -- it says November     1 -- all right. So do you see this right here,
 2 4th. I also understand that --                        2 Mr. Roman? See it?
 3      Q. There is a statement on 11/1.                 3      A. Yeah.
 4      A. On 11/1 and there is another version          4      Q. I'm going to represent to you this is
 5 that McNulty tells Meyer or Lisa, maybe she changed   5 the EEOC charge that was filed at the EEOC, it's been
 6 her version from --                                   6 turned over and marked LBEEOC docs. This is the dual
 7      Q. We don't have Ms. Meyer's statement           7 filing letter --
 8 here. Can we just --                                  8      A. Actually it looks like a -- looks like
 9      A. No, but you're asking me about every          9 a different document than the one we have from when
10 one that took place. What we do have is the text     10 you first sent it --
11 messages between Meyer and McNulty that was produced 11      Q. Yeah, it's not. It's the exact same --
12 by your coworker Erica Shikunov --                   12 I mean, I don't know what you have, but this is what
13      Q. I don't think she --                         13 was filed with the EEOC. This is the second charge
14      A. -- that has -- no, but -- I'm not            14 of discrimination. You can tell because of the date.
15 saying -- she has another story of how that went     15      A. Second charge.
16 through, so we must be at like 12 or 13 right now.   16      Q. What?
17      Q. Right now we're at one, two, three           17      A. So this is the second charge.
18 four, five, six, seven, eight, right now we're at    18      Q. This is the second charge for
19 nine.                                                19 retaliation because of the lawsuits you guys filed
20      A. Nine.                                        20 against her.
21      Q. I don't have -- I mean, if you want me       21      A. Yeah, I understand that, but what I was
22 to say the version she gave to Ms. -- to Ms. Meyer,  22 saying is that there -- the first charge was in June
23 is that what you want to say?                        23 -- you sent that -- there you go. That's June.
24      A. I don't know. Mr. Carson, McNulty            24 Okay.
25 hasn't turned over any discovery except for a few    25      Q. So let's just take a look at how it's
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 1 explained -- I mean, look, this is Lisa Barbounis's     1 assault is, okay, so it's part legal conclusion, part
 2 charge. Lisa Barbounis wrote in her charge in the       2 -- but I don't think it continues. There is no more
 3 material facts section Airbnb -- see AIPAC              3 description of the couch incident in this charge.
 4 conference?                                             4 Okay? Fair enough?
 5      A. It's spelled incorrectly.                       5      A. No, the alleged couch incident is how
 6      Q. Sorry. AI, right?                               6 it should be represented.
 7      A. Uh-huh.                                         7      Q. What?
 8      Q. So see it says respondent Gregg Roman           8      A. You're saying there was a couch
 9 sat on the couch between charging party Lisa            9 incident. I'm not acknowledging that there was a
10 Barbounis and coworker Patricia McNulty?               10 couch incident.
11      A. I can read -- yes, that's what it says.        11      Q. We know -- Mr. Roman, no one is trying
12      Q. All right. So --                               12 to trick you into acknowledging --
13      A. It's kind of hard to see with the blue.        13      A. You just said couch incident, so I
14      Q. What?                                          14 don't want to have the record be incorrect.
15      A. You highlighted it in blue and I               15      Q. Let me just -- I'm going to describe it
16 couldn't see the text when you highlighted it.         16 as the couch incident. The couch incident refers to
17      Q. It ends right here. Right? This is             17 what may or may never have happened on the couch. My
18 the part that explains the couch. It goes from 20 to   18 client alleges it happened, Mr. Roman alleges it
19 26. Okay? Do you see that?                             19 didn't happen. We know. This is what we call a
20      A. Go up a little bit. Yeah, okay.                20 material fact in dispute. We understand that. No
21      Q. 20 to 26.                                      21 one is trying to trick you into saying it happened.
22      A. Okay.                                          22 I'm just calling it the incident, just -- all right?
23      Q. Did you read that?                             23 That's what -- fair enough?
24      A. 27 has AIPAC in it, too.                       24      A. Not --
25      Q. 27 is just a legal conclusion.                 25      Q. When I say the incident I mean what --
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 1      A. I'm not -- I don't understand the law,          1what you allege didn't happen is fine. We can call
 2 but I can start from 20 and read down to twenty --     2 that the incident. Okay? When I say incident, I'm
 3      Q. I mean, I will suggest to you that this        3 alleging -- what I mean by that is what Mr. Roman
 4 is just my characterization of the facts that my       4 alleges did not happen on the couch that Ms. McNulty
 5 client alleged.                                        5 alleges did. That's what that --
 6      A. Exactly, Mr. Carson. Exactly.                  6      A. Correct, did not happen on the couch.
 7      Q. Right. I made a legal conclusion on            7      Q. Okay. So this is her characterization
 8 behalf of my client.                                   8 of what happened on the couch filed at the EEOC,
 9      A. No, but that's what I'm saying, it's           9 right? That's one of the times you said her story
10 your conclusion of one of at least 12 different       10 changed?
11 versions of what McNulty has said to private people 11        A. Well, actually, it doesn't start at 20;
12 on the public record in different areas. All of       12 it goes before 20. The whole story -- 18 -- is there
13 these different representations of what she says      13 something in 17?
14 happened that evening --                              14      Q. Let's just make it easy and just
15      Q. Right. So --                                  15 relegate it to the couch --
16      A. -- are just -- are just -- they really        16      A. Mr. Carson, you're showing me a
17 make what the allegations confusing -- first of all,  17 document that's 31 pages long --
18 I'm saying they didn't happen, but, beyond that, she  18      Q. This says -- this says exactly what you
19 said -- she tells so many different versions in so    19 already testified to. Respondent and Matt Bennett
20 many different forums --                              20 booked an Airbnb in D.C. Lisa Barbounis had a hotel
21      Q. Let me -- I understand. You said that         21 room. The other female employees including Barbounis
22 already. That's why we just made a list. So let --    22 also had a hotel room.
23 now we're going to look at what you're talking about. 23      A. Yeah, but the thing is is is that you
24 So I'll represent to you that this -- this part is    24 write in your first complaint against me that I
25 not a legal conclusion, the calling it a sexual       25 forced McNulty to go to Washington D.C. You said

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 1 that I trafficked her there. So, again, you have a       1 a handwritten complaint that I think -- I think she
 2 representation here that's different from a              2 maybe --
 3 representation that you made in October that's           3      Q. This? This?
 4 different from another representation that your          4      A. I don't know. I'm talking about
 5 client made two weeks ago.                               5 McNulty's complaint, not Barbounis's. There is a
 6      Q. Mr. Roman --                                     6 handwritten complaint that McNulty filled out -- am I
 7      A. So I don't know which one we're talking          7 allowed to ask counsel -- is that okay if I ask
 8 about here. If this is like -- if you're asking me       8 counsel something?
 9 to comment on this version --                            9      Q. No.
10      Q. Yeah, no --                                     10      A. Not to tell me something, but if we
11      A. -- okay, fine.                                  11 have a document that I'm referring to and I can say,
12      Q. That's what we're looking at. We're             12 hey, counsel, can you get that document, can he do
13 looking at a charge.                                    13 that?
14      A. Right.                                          14      Q. If they want to jump in and say what
15      Q. Right?                                          15 you're talking about, it's fine, I can pull it up.
16      A. But it's just there's so many different         16      A. Okay. So there is this document that I
17 versions of this, Mr. Carson.                           17 reviewed I think like a day or two ago and it was a
18      Q. But we've heard you say that --                 18 handwritten --
19      A. I don't know what you want.                     19      Q. Did it look like this? Did it say
20      Q. We've heard you say that. We actually           20 charge of discrimination?
21 listed the number of versions that you allege are out   21      A. There was a few. There is the McNulty
22 there and that you --                                   22 one and there's the Barbounis one. Okay? But this
23      A. I'm not alleging it. You have -- the            23 is specifically McNulty's recollection of the alleged
24 records have showed me. It's --                         24 couch imbroglio and it says something in there that's
25      Q. Right.                                          25 different --
                                                Page 205                                                       Page 207
 1      A. -- a material fact not in dispute.               1      Q. What does it say?
 2      Q. But what I'm going to show you is that           2      A. -- from this. Can I ask counsel to get
 3 they're all the same version, Mr. Roman, but, like,      3 that document so I can be specific?
 4 you know --                                              4      Q. What does it say that's different?
 5      A. You can show me whatever you want,               5      A. It says there -- let's go back -- let's
 6 Mr. Carson, but --                                       6 -- let me read 20 through 28 and I'll tell you what's
 7      Q. But this is --                                   7 different. And then I want to read the one that we
 8      A. -- I'm just telling you --                       8 were talking about. Can I just ask counsel to get
 9      Q. -- the version that you --                       9 that for me? Is that okay, Mr. Carson?
10      A. -- there's so many stories.                     10      Q. If they know what you're talking about,
11      Q. -- that you said that my client made,           11 they're welcome to jump in and say what it is.
12 which she did, to the EEOC on June --                   12      A. Okay. Can I do a -- without breaking
13      A. That's not what I'm talking about.              13 privilege I'm going to ask Mr. Gold --
14      Q. It's one of the ones you listed, Mr.            14           THE WITNESS: There is a document
15 Roman.                                                  15      that's a handwritten allegation,
16      A. One of them but not the one I was               16      Mr. Gold --
17 specifically referring to --                            17           MR. GOLD: Uh-huh.
18      Q. It's one of the -- it's one, two,               18           THE WITNESS: -- that I may have
19 three, four, five, six, seven, eight, nine, ten, it's   19      read and you were aware that I read
20 one of the ten that you came up with.                   20      yesterday, two days ago, you know what
21      A. One of ten.                                     21      I'm talking about, Mr. Gold?
22      Q. You said there is ten different                 22           MR. GOLD: Talking about the
23 versions. This is one of them.                          23      charge of discrimination that was filed
24      A. There is this -- the one -- the one in          24      with the commission?
25 this specific one that I'm talking about, is there is   25           THE WITNESS: The handwritten one.
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 1     There was one that Mr. Carson typed up           1      is a dual filing, this is the --
 2     and sent --                                      2            MR. GOLD: Keep going.
 3          MR. GOLD: Right.                            3            MR. CARSON: This is the entry of
 4          THE WITNESS: There's a                      4      appearance, this is the typed charge --
 5     handwritten one either from Barbounis or         5            MR. GOLD: Yeah, this looks like
 6     McNulty. Do you have that?                       6      it right here. Go ahead. Something
 7          MR. GOLD: Matt, can you pull that           7      about escaping -- go ahead, let's see
 8     up?                                              8      what we got here.
 9          THE WITNESS: Either Matt or Bill            9            MR. CARSON: I think I know what
10     Rieser, do you guys have that?                  10      you're talking about. Here -- I mean, I
11          (Simultaneous speakers.)                   11      just gave you a chance to read it, but
12          THE WITNESS: I can't hear you.             12      just take your time and read it slower.
13          THE COURT REPORTER: I can't hear           13            MR. GOLD: Why don't you read this
14     you at all.                                     14      document, Mr. Roman, see if this is the
15          MR. GOLD: It's the charge that             15      document you're referring to.
16     was filed -- can you hear me now?               16 BY MR. CARSON:
17          THE COURT REPORTER: Yes. Thank             17      Q. So number -- so I'm not starting at the
18     you.                                            18 dinner because I don't -- I mean, I think those facts
19          MR. GOLD: It's the charge that             19 are probably not as material as what happened on the
20     was filed with the EEOC back in June --         20 couch. So respondent proceeded to put his arm --
21     on June 7th, 2019.                              21      A. What allegedly happened on the couch.
22          THE WITNESS: Is that McNulty or            22      Q. The incident that may or may not have
23     Barbounis?                                      23 happened.
24          MR. GOLD: I think it's Barbounis.          24            Respondent Gregg Roman sat on the couch
25          THE WITNESS: So do we have that,           25 between charging party Lisa Barbounis and coworker
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 1     Mr. Carson?                                      1 Ms. McNulty. Respondent Gregg Roman proceeded to put
 2          (Simultaneous speakers.)                    2 his arms around both charging party Lisa Barbounis
 3          THE COURT REPORTER: Sorry.                  3 and coworker Patricia --
 4     Everyone is talking at the same time             4           THE COURT REPORTER: Please. You
 5     again.                                           5      have to slow down.
 6          (Simultaneous speakers.)                    6           MR. CARSON: Sorry.
 7          MR. GOLD: Mr. Carson typed up the           7 BY MR. CARSON:
 8     actual charge. Here it is right here.            8      Q. Respondent Gregg Roman grabbed coworker
 9     That's not -- this is it. Here is what           9 Patricia McNulty by her upper thigh and violently
10     you're talking about. Correct?                  10 yanked coworker Patricia McNulty onto his lap.
11          THE WITNESS: Yeah. So it's in,             11 Respondent Gregg Roman then began whispering
12     like, the little -- it's in the thing           12 inappropriate sexual advances in coworker Patricia
13     here, I think in the little sheet --            13 McNulty's ear. Charging party Lisa Barbounis was
14          MR. GOLD: Yeah, keep going down.           14 present and witnessed this violent and aggressive
15     You'll see -- then there's a letter from        15 sexual assault. Coworker Patricia McNulty tried to
16     Mr. Carson to the commission. Keep              16 pull away from respondent Gregg Roman who resisted
17     going. Keep going. Keep going. Keep             17 coworker McNulty -- McNulty's attempts to escape from
18     going.                                          18 respondent Gregg Roman's grip. Coworker McNulty had
19          THE WITNESS: There is nothing              19 to fight to get away. Once coworker McNulty was able
20     there.                                          20 to get away she left the room and entered the kitchen
21          MR. GOLD: Yeah, this is not the            21 area. Thereafter charging party witnessed respondent
22     -- this is not the charge. Looks like a         22 Roman leave the room and go upstairs. He did not
23     right to sue letter. Yeah, it's a right         23 return again -- downstairs again.
24     to sue letter, it's not the document.           24           MR. GOLD: Is that the document?
25          MR. CARSON: The dismissal, this            25           THE WITNESS: Well, that's one
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 1      version, yeah.                                    1           THE COURT REPORTER: I'm sorry --
 2           MR. CARSON: This document -- for             2           MR. CARSON: -- that are not
 3      the record, this document is EEO --               3      proper --
 4      LBEEOC Docs 1 through 31, and we'll make          4           THE COURT REPORTER: You guys have
 5      that Roman 4.                                     5      to -- I know Mr. Gold was saying
 6           THE WITNESS: Yeah.                           6      something but I couldn't hear him. You
 7           Mr. Carson, there is a very simple           7      have to talk one at a time, please.
 8      reason why this cannot be true.                   8           MR. CARSON: For the record,
 9 BY MR. CARSON:                                         9      Mr. Gold instructed the witness not to
10      Q. Okay.                                         10      answer the question --
11      A. The layout of the way Ms. McNulty --          11           MR. GOLD: Because it was a
12 I'm sorry, this is Ms. Barbounis alleging this, not   12      hypothetical question about African
13 McNulty --                                            13      Americans, but go ahead. And Mr. --
14      Q. Well --                                       14           THE WITNESS: Mr. Carson's sound
15      A. -- right?                                     15      got cut.
16      Q. -- yeah, I mean it's -- yeah.                 16           MR. GOLD: -- Mr. Carson told me
17      A. But I don't understand why you would          17      to add it to my list, which I will do.
18 include something that -- what McNulty said in        18           THE WITNESS: I can't hear Mr.
19 Barbounis's allegations. Is this Barbounis's          19      Carson.
20 representation of McNulty or McNulty's representation 20           THE COURT REPORTER: I can't hear
21 of Barbounis?                                         21      him either.
22      Q. Let me answer with a question. If you         22           THE WITNESS: Mr. Carson, your
23 were discriminating against black people and you      23      sound is off. Your microphone is off.
24 called one black person the N word in front of        24           MR. CARSON: Is it on now?
25 another black person, wouldn't that be discrimination 25           THE WITNESS: Yeah, yeah, now I
                                               Page 213                                                       Page 215
 1 against both of them?                                   1      can hear you.
 2     A. Mr. --                                           2 BY MR. CARSON:
 3           MR. GOLD: Hypothetical question,              3      Q. So when you subject a female -- if you
 4     Mr. Roman, I'm not going to let you                 4 subjected a female employee to sexual harassment in
 5     answer the question.                                5 front of another female employee, it's sexual
 6           THE COURT REPORTER: Sorry, Mr.                6 harassment of both of them; do you understand that?
 7     Gold, can you repeat that?                          7      A. Mr. Carson, I didn't subject anyone to
 8           MR. GOLD: Hypothetical question.              8 sexual harassment.
 9     I'm directing him not to answer the                 9      Q. But you understand that concept,
10     question.                                          10 correct?
11 BY MR. CARSON:                                         11      A. What concept?
12     Q. Mr. Roman, it would be discriminating           12      Q. That sexual harassment could be
13 against both of them, correct?                         13 witnessing another member of your protected class
14           MR. GOLD: Same objection. Direct             14 being subjected to discrimination based on their
15     him not to answer.                                 15 gender.
16           MR. CARSON: You can't -- first of            16           MR. CAVALIER: Object to form.
17     all, you can't tell someone not to                 17           THE WITNESS: Mr. Carson, I don't
18     answer based on the fact that it's a               18      understand the question.
19     hypothetical. That's not a reason to               19 BY MR. CARSON:
20     tell him not to answer. But if you --              20      Q. Well, you asked why there is an
21     look, I'm going to file a motion with              21 allegation involving McNulty in a charge for Lisa
22     Judge Wolson already because of this               22 Barbounis, and I'm trying to help you understand with
23     deposition. So if you want to add that             23 my questions. If Ms. Barbounis witnessed you
24     to my list of things that you're doing             24 sexually assault a coworker, that could be sexual
25     --                                                 25 harassment for both of them, that's -- do you

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 1 understand that?                                      1 away. She left the room and entered the kitchen
 2       A. No.                                          2 area. There is no two rooms. There is one room. We
 3            MR. CAVALIER: Object to form.              3 should get blueprints from this -- and I'm sure you
 4            MR. CARSON: Okay. That's fine.             4 can get it from Airbnb. There is no two rooms.
 5 BY MR. CARSON:                                        5 Okay?
 6       Q. But that's --                                6      Q. So --
 7            THE COURT REPORTER: Sorry. Who             7      A. One room.
 8       was objecting?                                  8      Q. -- does it say -- Mr. Roman --
 9            MR. CAVALIER: Cavalier.                    9      A. That's one.
10            MR. GOLD: No one is objecting,            10      Q. -- does it say she went into another
11       got right to the next question.                11 room?
12            Mr. Carson, maybe you should              12      A. It says she left the room, so if you're
13       consider teaching a course in employment       13 in a room and you leave it, there by logic has to be
14       discrimination next year at law school.        14 a second room. Okay?
15            MR. CARSON: Thank you. Maybe I            15      Q. Because of that you're saying it's
16       will.                                          16 impossible for this --
17 BY MR. CARSON:                                       17      A. No, I'm not saying that, I'm saying
18       Q. The --                                      18 that's one of five reasons why, besides my own
19       A. Your sound went off again. Your sound       19 personal knowledge that it didn't happen, this is
20 went off again.                                      20 incorrect.
21       Q. All right. So let's get back to it.         21      Q. Mr. Roman, let me ask you a question
22 So -- sorry, you guys are now watching a movie. This 22 real quick about that. Was there --
23 is --                                                23      A. I have four more, Mr. Carson.
24       A. What movie.                                 24      Q. Was there a kitchen in the Airbnb?
25       Q. I don't know. Dolly Parton apparently.      25      A. There might be a kitchen, I -- there
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 1 Let me get back to this -- here, let me stop so you    1was a kitchen area, yes, but wasn't in a separate
 2 guys don't need to see my calendar.                   2 room.
 3            All right. So, anyway, my -- look,         3      Q. There was a kitchen area?
 4 let's get -- let's get through this. So, look, the    4      A. There was a kitchen area which was part
 5 charge of discrimination which is Roman Exhibit 4,    5 of the living room area.
 6 which is EEOC Docs 1 through 31, you do see this      6      Q. Isn't that the language in the
 7 description which is between Paragraphs 20 and, say, 7 complaint, kitchen area?
 8 27, right, Mr. Roman? You see it. That's all I'm      8      A. No, it's not. It's was able to --
 9 asking.                                               9      Q. See what I highlighted?
10       A. Right, what I said was there is no way      10      A. -- get away -- it was able to get away,
11 at all it could be accurate because of the -- the    11 she left the room, so it's three parts, so what she's
12 facts that are alleged in the charge -- one of 12    12 alleging is there is this couch, she's getting up,
13 charges here, but this specific charge of 12, can't  13 she's leaving the couch, and then it says she left
14 be correct. There is no way --                       14 the room. So if the kitchen and living room are in
15       Q. Why?                                        15 the same room, sorry, but the way that it's written
16       A. -- at all, unless all of a sudden a         16 here, it couldn't have happened.
17 building in Washington D.C. has morphed magically 17         Q. Okay.
18 from one way to another, there is no way this could  18      A. No way that could have happened.
19 be true. There is at least five things I can point   19      Q. Okay. I mean, if you think that's
20 out to you that make this incorrect.                 20 relevant testimony, then it's now on the record for
21       Q. Just take one at a time and point them      21 you.
22 out.                                                 22      A. It's not what I think is relevant; I'm
23       A. Sure. Number one, the kitchen that's        23 just representing to you my recollection and the
24 mentioned here, what does it say? It says -- hold    24 blueprints of the place where I the individual with
25 on. Where is the kitchen. Here. Was able to get      25 Matt Bennett and Steve Shimel [ph] and Elliot Miller

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 1 and Jonathan Hunter and everyone else who was there 1          A. So what you're saying is is is that
 2 will testify if you call them to testify, I think      2 there's two -- I guess we can't really do a
 3 they're on our initial disclosures, I think we're      3 stenographic representation of where two people are,
 4 having them testify, if they come testify, they will   4 but the laws of physics -- and I'm not -- I might be,
 5 testify there was never a different room between a     5 like, you know, a former wrestler or whatever, but to
 6 kitchen and the living room. It was all one room.      6 lift somebody up to yank across the couch would mean
 7 So this statement, Number 26 --                        7 that there would have to be contact with someone
 8      Q. You said that one now. What's the              8 else, the actual positioning on the other side --
 9 other --                                               9 Mr. Carson, I'm not that able, I got a bad back, I
10      A. -- at least half of it is completely          10 got a bad other side. There is no way that I would
11 inaccurate. Number two --                             11 have the strength even to do what's being alleged
12      Q. Because it says left the room, it means       12 there. Okay? I don't have the --
13 that it couldn't have happened.                       13       Q. Okay.
14      A. Right. Number two --                          14       A. -- physical acumen to be able to do
15      Q. Okay.                                         15 such a thing. Now, beyond that, the third reason why
16      A. Let's look at Number 27. Okay? It             16 this didn't happen according to at least what's in
17 says that this individual is yanked across the couch. 17 this charge --
18 Okay?                                                 18       Q. Well, wait. Just to get it straight,
19      Q. Where does it say yanked across the           19 Mr. Roman, number one is because it says left the
20 couch.                                                20 room and number two is because you don't have the
21      A. Right there, right there, when he             21 physical acumen to yank someone --
22 violently yanked. That's what you allege. That's      22       A. No, not just that, it would be
23 what your client alleges. This is Lisa alleging it.   23 physically impossible -- the laws of physics would
24      Q. Can you -- can you talk about -- can          24 not allow one person be lifted from one side across
25 you say what you're talking about?                    25 the other side without contact going on someone else,
                                               Page 221                                                       Page 223
 1      A. Number 27. Okay? What it says there            1 and even if there was contact on someone else, the
 2 says -- this allegation, this incorrect allegation,    2 ability to have two hands cross sitting on a couch I
 3 is when he -- when he yanked across the couch. Okay? 3 don't see how it works. I'm not someone who deals
 4 So you have yanked across the couch. What you're       4 with anatomy, but to me that doesn't seem like it's
 5 saying is is that there is -- Barbounis you're saying  5 possible.
 6 is on one side, you're saying McNulty is on the other  6      Q. Okay.
 7 side, unless the implication is is that they're on     7      A. The third reason that I don't think
 8 the same side, okay -- what does it say there? It      8 that this is possible is because of -- if we go to --
 9 says Barbounis was present and witnesses this -- this  9 where is the upstairs part. Here, the second
10 thing, and this is -- this is where the problem       10 sentence after the kitchen. Thereafter, charging --
11 exists with the multiple representations. When she's  11 hold on. Up. Go up. Thereafter charging party
12 talking to Ziv, okay, she says that there is one      12 witnesses respondent Roman leave the room and go
13 person on the couch on one side and there is another  13 upstairs. Mr. Carson, there was no upstairs. It was
14 person on the couch on the other side.                14 a one level --
15      Q. Isn't that what it says here?                 15      Q. So because of that it didn't happen.
16      A. This -- this implies, if we can go up         16      A. No, I'm giving you my analysis of
17 to 20 --                                              17 multiple reasons why I think beyond my own personal
18      Q. Doesn't --                                    18 denial that anything happened --
19      A. -- was sitting on the couch --                19      Q. Do you have another reason?
20      Q. -- Number 20 say that --                      20      A. -- that this would be -- I do. I'm
21      A. -- between -- listen. Hold on a               21 just saying --
22 second.                                               22      Q. Go ahead. We got this one.
23      Q. Mr. Roman --                                  23      A. -- there was no -- there was no
24      A. -- between Barbounis and McNulty.             24 upstairs, so now we have three reasons why what she
25      Q. Right.                                        25 writes here is completely unplausible in my opinion.

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 1      Q. Can you -- can we --                             1 being specific enough before --
 2      A. Beyond my own personal denial. The               2      Q. Mr. Roman, let's go. What's number
 3 fourth reason --                                         3 five?
 4      Q. Mr. Roman --                                     4      A. -- and now I'm trying to be more
 5      A. Yes.                                             5 specific.
 6      Q. -- just slow down for a second. Okay?            6      Q. Okay. What's number five?
 7      A. Sure.                                            7      A. The fifth reason is because Ms.
 8      Q. You've listed three reasons so far.              8 McNulty, at least from what I remember Ms. McNulty
 9      A. Three reasons. I have two more to go.            9 being, had been engaging in intimate and I would say
10      Q. Tell us number four and just please be          10 deep conversations of -- she was pretty inebriated
11 brief and so we can get through this.                   11 that evening, with Raheem Kassam and Lisa Barbounis.
12      A. Mr. Carson, I'm trying to give you the          12 She had spent the evening trying to be with
13 most accurate representation of what I remember from    13 Mr. Kassam and even elected to stay at that apartment
14 that evening as it relates to everything else.          14 and slept there after you're alleging -- or she's
15      Q. Just give us number four. Let's go.             15 alleging that she was sexually assaulted. So this is
16      A. The fourth reason is because in terms           16 what I don't understand. She mischaracterizes --
17 of my own placement of where I was that evening --      17      Q. We got it. She was talking to -- she
18      Q. Right.                                          18 was talking to Kassam, so it couldn't have happened.
19      A. -- was sitting at the center of the             19      A. It's not just that she's talking to
20 table surrounded by all members of the Pinsker Centre   20 Kassam. This is my final analysis. She doesn't
21 for the entirety of the evening, there was never a      21 remember what the place looks like. She
22 time that I would have sat on a couch, and, if there    22 mischaracterizes the room. She doesn't remember how
23 was, it wouldn't be sitting next to Barbounis or        23 many people were there. And there is no other
24 McNulty. Could I have maybe been sitting next to        24 witnesses to what happened beyond Ms. Barbounis who
25 them? Maybe. It was a long -- it was two and a half     25 has her own reasons and motivation to say something
                                                Page 225                                                       Page 227
 1 years ago. But I specifically remember engaging in a     1
                                                            negative about me. She doesn't even remember what
 2 game of Battleship against Elliot Miller, the game     2 the layout of the actual people and who was there,
 3 which we had taken from the previous bar that we had 3 what was there, what was talked about. And, lastly,
 4 been from --                                           4 her condition itself is misrepresented 12 separate
 5      Q. What's number five?                            5 times in 12 different stories.
 6      A. That's four.                                   6      Q. What condition is that?
 7      Q. Right.                                         7      A. The condition that she alleges she was
 8      A. Not five.                                      8 in saying that she was assaulted, and that never
 9      Q. What's number five?                            9 happened, Mr. Carson.
10      A. That's four.                                  10      Q. Okay.
11      Q. I asked you what is number five.              11      A. That's why she's telling a lie, or
12      A. Well, I'm saying that that's the other        12 maybe she's just become so engrossed in this over the
13 reason, and also --                                   13 past year and a half, two years, three years,
14      Q. We got that one. Go ahead.                    14 whenever she concocted this, that she's eventually
15      A. Mr. Carson, I'm trying to give you a          15 become part of the tissue of lies that Ms. Barbounis
16 complete answer.                                      16 has spread to so many different people and has caused
17      Q. I know but we're just -- we got more to       17 so much damage to so many people through her own
18 go through, so, like, give us the fifth one so we can 18 self-proclivities and malingering behavior.
19 get -- I'm trying to give you an opportunity to give  19      Q. Or maybe you just sexually assaulted
20 us the reasons.                                       20 her at a party and screwed up because you were
21      A. I'm giving you the reasons and I'm            21 drinking and smoking weed, right?
22 trying to take my opportunity to tell you what the    22      A. No, Mr. Carson, that never happened,
23 reasons are.                                          23 and I do not appreciate the opportunity you've tried
24      Q. Go ahead.                                     24 to take to either oppress, harass, or annoy me as a
25      A. Okay? You had complained that I wasn't        25 deponent in today's deposition.

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 1      Q. Mr. Roman, what are you, just like the           1 about what Alana Goodman allegedly said --
 2 unluckiest person on the planet?                         2      Q. My question, Mr. Roman, was, is that
 3      A. Well, Mr. Carson, I would characterize           3 sexual harassment, that behavior?
 4 you as the unluckiest person on the planet because       4      A. No, Mr. Carson, because it didn't
 5 these are your clients, but I didn't choose that; you    5 happen. You have to be able to take into account the
 6 did.                                                     6 entirety of the story and the explanation I have to
 7      Q. Well, why -- so how many women have              7 give if you want to know what I think about it.
 8 accused you of sexual harassment in the last, say,       8      Q. Well, Alana Goodman described in detail
 9 ten years?                                               9 it happening, so was she lying?
10      A. Well, if we take your clients --                10      A. What -- my interpretation of what Alana
11      Q. Yeah, let's --                                  11 Goodman said is is that I found out that a friend of
12      A. -- and if we take --                            12 mine -- and you've never asked me what's the story
13      Q. -- let's start with them.                       13 that Alana Goodman was talking about and did Alana
14      A. -- and if we take -- well, I think the          14 Goodman ever get the story, did she ever continue
15 answer is is anyone who has been represented by the     15 communications with me afterwards, was there any
16 Derek Smith Law Group in an attempt to get over $30     16 conversations that I've had with her after your
17 million from the Middle East Forum, that's how many     17 client recorded her without her knowledge of her
18 people have represented --                              18 being recorded. Was --
19      Q. Leah -- Alana Goodman?                          19      Q. Does that matter?
20      A. I'm giving an answer.                           20      A. It all matters because maybe the tape
21          THE COURT REPORTER: I can't hear               21 that you played for Daniel Pipes on Wednesday, or on
22      you.                                               22 Tuesday, was not the full recording of the
23 BY MR. CARSON:                                          23 conversation between Ms. Goodman and Ms. Barbounis at
24      Q. Well, the answer is a number, right?            24 the Schuyler Arms Tavern [ph] on June 26th, 2019.
25 So give me the number of people.                        25 Maybe you should have done a little bit more
                                               Page 229                                                           Page 231
 1      A. There is no number. The number is              1 investigation into what actually happened there,
 2 however many clients you have. From what I             2 Mr. Carson.
 3 understand --                                          3      Q. Well, what do you think happened there?
 4      Q. Let's count --                                 4      A. This is what I think happened. I think
 5      A. -- Alana Goodman -- Alana Goodman --           5 Ms. Barbounis was right on the precipice of filing
 6      Q. Alana Goodman.                                 6 her EEOC complaint against me and my organization in
 7      A. -- has never accused me of sexual              7 Philadelphia with you as her attorney. She started
 8 harassment.                                            8 going out trying to misrepresent everything that ever
 9      Q. You don't call it an accusation of             9 happened when she was an employee of the Middle East
10 sexual harassment when she says that you whipped your 10 Forum up until that time and she told a story of lies
11 penis out in front of her at a bar and told her --    11 to Ms. Alana Goodman and Goodman herself said, you
12      A. No --                                         12 know what, maybe there is something that I'm going to
13      Q. -- that --                                    13 say happened when Roman wasn't even an employee of
14      A. -- what she said is --                        14 the Middle East Forum and had found out that the
15      Q. Let me finish my question, Mr. Roman.         15 White House advisor for counterterrorism had told him
16      A. I'm listening.                                16 that the man responsible for murdering his friend,
17      Q. -- and you told her that she needed to        17 beheading his friend, the day that his son was born
18 come -- that you needed to come to her hotel room in  18 -- maybe you didn't hear about this, Mr. Carson --
19 order to get a story and that you wanted to trade sex 19      Q. I'm waiting for a link.
20 for stories?                                          20      A. -- was not going to be assassinated --
21      A. No --                                         21 was not going to be assassinated by President Obama.
22      Q. That's not sexual harassment?                 22 Okay?
23      A. -- Mr. Carson, if you had done your           23      Q. Mr. Roman --
24 investigation and you had looked into the background  24      A. On --
25 of that, you would realize that there is four things  25      Q. -- I'm waiting for you to link this to
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 1 what she --                                              1 didn't get into my professional history, but I'm also
 2      A. I'm linking it to you, Mr. Carson,               2 an investigative journalist --
 3 because the conversations that I had with Ms. Goodman    3      Q. Mr. Roman --
 4 after this tape allegedly took place would show you      4      A. -- if you want to see my work --
 5 that I, first of all, don't even remember any of this    5      Q. -- I'm not asking questions about that
 6 happening, but even to the extent that someone may       6 right now.
 7 have, I don't know, you know, urinated on the side of    7      A. You're asking me -- you're asking me
 8 a building, the way it was characterized, it was a       8 how I may know that Alana Goodman represented --
 9 complete mischaracterization of everything. I cannot     9      Q. No --
10 wait until you bring Ms. Goodman forward as a witness   10      A. -- that what she said on tape wasn't
11 in this case --                                         11 the whole story --
12      Q. Me neither.                                     12      Q. Right. Who told you that?
13      A. -- so she can tell what happens.                13      A. -- or wasn't accurate story.
14      Q. Okay.                                           14          THE COURT REPORTER: One at a
15      A. That's what I'm waiting for,                    15      time.
16 Mr. Carson. Maybe you would like to depose her, too.    16 BY MR. CARSON:
17      Q. I would suggest to you that you'll have         17      Q. Who told you that the recording was
18 that opportunity. So --                                 18 made without her knowledge?
19      A. Beyond anything else, I would have to           19      A. Mr. Carson, I'm going to invoke
20 see why she's even relevant to this case due to the     20 Pennsylvania Shield Law and the journalist's
21 fact that any interactions that took place between me   21 privilege in terms of giving you that answer.
22 and her from August of 2015 until today have been one   22      Q. You can't.
23 of a professional nature --                             23      A. I just did.
24      Q. When is the last --                             24      Q. You can't -- I mean, you're giving me a
25      A. -- and not what Ms. Barbounis has on a          25 lot of good reasons to make -- to make it so we're
                                                Page 233                                                       Page 235
 1 tape that she surreptitiously made as she's done to      1 going to have to come back and do this all over
 2 so many other people.                                    2 again.
 3      Q. When is the last time you spoke to               3      A. Mr. Carson, I'm willing to talk to you
 4 Ms. Goodman?                                             4 all night.
 5      A. I actually printed out -- and I can              5           MR. CAVALIER: We can make it very
 6 volunteer to give this to you --                         6      simple. Lisa admitted during her
 7      Q. I just want a date.                              7      deposition that she didn't (indiscernible.)
 8      A. Probably at the end of 2019.                     8           MR. CARSON: Jon, you're not
 9      Q. Did you ask her about the recording?             9      testifying here today.
10      A. I didn't know about the recording at            10           THE COURT REPORTER: Sorry. Mr.
11 the time --                                             11      Cavalier, I didn't hear what you said.
12      Q. Have you ever spoken to her about the           12           MR. CARSON: He didn't say
13 recording?                                              13      anything.
14      A. No, I have not.                                 14 BY MR. CARSON:
15      Q. How do you know that it was made                15      Q. Mr. Roman --
16 without her knowledge?                                  16      A. Sure.
17      A. I can't comment on privileged matters,          17      Q. -- did you ever tell Ms. Goodman that
18 Mr. Carson.                                             18 you wanted to go -- form a relationship with her
19      Q. That's not privileged.                          19 where you would give her stories in exchange for sex?
20      A. No, I'm saying that there may or may            20      A. No, never.
21 not have been a conversation between counsel, but I'm   21      Q. Did you ever pull your penis out in
22 not a hundred percent sure. I do know, though, that     22 front of her?
23 a story that I've been investigating writing as it      23      A. No, never.
24 relates to Lisa Barbounis for the better part of the    24      Q. So she's lying then, right?
25 last year and a half -- one of the other jobs -- we     25      A. No, she's not lying. She's
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 1 mischaracterizing what she saw.                          1       A. That's subject to trade secrets. I'm
 2       Q. Okay. So --                                     2 open to discussing it under seal, if you're okay with
 3       A. Everything in your world is binary,             3 that, Mr. Carson.
 4 lie, not lie. No. I just told you what I think           4       Q. Yeah, I mean you can mark any documents
 5 happened.                                                5 confidential if you --
 6       Q. Has Daniel Pipes ever spoken to you             6       A. As Ms. -- can we mark this part as
 7 about Ms. Goodman?                                       7 sealed here or at least the subject of the
 8       A. No, he hasn't. Actually, no, that's             8 conversation being sealed?
 9 not true. He has spoken to me about Ms. Goodman.         9       Q. I will -- I promise you I will not file
10       Q. In connection with her claims that you         10 anything that you're about to say on the docket. If
11 were trying to trade sex for stories?                   11 I file it, I'll file it under seal.
12       A. No, he never spoke to me about that.           12       A. Okay.
13            MR. CAVALIER: I'm going to object            13       Q. Please let me know --
14       to the form on the use of the word                14             MR. CAVALIER: We'll take that
15       claims.                                           15       representation.
16            THE WITNESS: Okay, that's fair.              16             MR. CARSON: Jon, okay?
17 BY MR. CARSON:                                          17             MR. CAVALIER: Yeah, we'll accept
18       Q. All right. Let's continue. So --               18       that, Seth. Thank you.
19       A. Mr. Carson, if you'll just give me one         19             THE WITNESS: Am I -- Jon, can I
20 second, I'm going to put the light on here so it gets   20       talk about this?
21 better. Okay? Is that fair?                             21             MR. CAVALIER: Yes. So long as
22       Q. Yeah, go ahead.                                22       Mr. Gold is okay with it.
23            THE VIDEO SPECIALIST: We're off              23             THE WITNESS: Mr. Gold?
24       the record. It's 5:18 p.m.                        24             MR. GOLD: I'm fine.
25            MR. CARSON: We don't have to go              25             THE WITNESS: Okay.
                                                Page 237                                                       Page 239
 1      off the record.                                     1 BY MR. CARSON:
 2           THE WITNESS: Sorry about that.                 2      Q. Please let me know when you're -- when
 3      Is that better?                                     3 we're done because -- you know what I mean --
 4           MR. CARSON: Back on the record.                4      A. This part, Mr. Carson, covers the
 5           THE VIDEO SPECIALIST: We're back               5 activities of MEF from the end of December 2017 until
 6      on the record. It's 5:18 p.m.                       6 I would say like April 25th, 2018, not as it relates
 7 BY MR. CARSON:                                           7 --
 8      Q. Mr. Roman, did you take Lisa Barbounis           8      Q. But listen to my question. My question
 9 to Israel?                                               9 is why didn't you want Mr. Pipes to know -- Dr. Pipes
10      A. Yes.                                            10 to know --
11      Q. Did you tell Daniel Pipes that you were         11      A. Well, I'm sharing that with you.
12 going to take her to Israel?                            12      Q. Okay. That you're -- so, for the
13      A. When?                                           13 record, the question is why didn't you want Dr. Pipes
14      Q. When you took her to Israel.                    14 to know that you were going to bring Lisa to Israel.
15      A. I told Matt Bennett, I told Marnie              15      A. Well, I never said that I didn't want
16 Meyer, I told Tricia McNulty, I told EJ Kimball, I      16 him to know that I was bringing someone to Israel.
17 told --                                                 17 That's a mischaracterization of what I'm about to
18      Q. My question was --                              18 say. You're asking me why there was a general
19      A. -- most of the MEF staff, and I said to         19 nonannouncement of which staff were going to Israel.
20 Mr. Pipes that there was a staff trip to Israel, but    20 Is that fair characterization of my -- what my answer
21 I never told him which staff went. So in terms of       21 will be?
22 the general answer, yes, I said that she was going to   22      Q. No, Lisa Barbounis alleged that she was
23 Israel, but I never used her specific name.             23 told that -- not to say anything, that you instructed
24      Q. Why didn't you want Daniel Pipes to             24 her not to tell anyone that you were going to take
25 know that you were taking her?                          25 her.

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 1      A. That's correct.                                  1 staff, by the way, the story, too, about why we were
 2      Q. So why did you give her that                     2 taking these precautions. I was almost put into an
 3 instruction?                                             3 Egyptian jail. If you're familiar with Cairo's
 4      A. So in December of 2017 -- this part's            4 Scorpion prison, Mr. Carson, it's where ISIS, Al
 5 the part under seal. Okay? In December of 2017 I         5 Qaeda, Hezbollah, Muslim Brotherhood, all the bad
 6 was approached by an individual who works for a          6 guys are in. I was in a car about to be taken to the
 7 middle eastern government that the United States is      7 prison until an embassy official from this country we
 8 allied with asking us to put together a plan that        8 were dealing with said it's okay, he's fine, and then
 9 would take on Iran, the Islamic Republic of Iran, and    9 I went on my way to stay at the Four Seasons in Cairo
10 this involved seven different trips that took place     10 next to the Giza Zoo, G-i-z-a Zoo. There's a few
11 over five months starting with a trip to Italy and      11 Four Seasons there. Across from the Nile River. The
12 then a trip to Israel, which is right around when the   12 next day I got into a car with Mr. Dashti and we
13 Patriots were playing the Eagles in the Superbowl,      13 drove about two and a half hours out to a military
14 and -- by the way, at each of these trips that took     14 base, an Egyptian military base, between Alexandria
15 place we stayed at Airbnbs. We did not stay at          15 and Cairo --
16 hotels. Okay?                                           16      Q. When is this?
17      Q. Who is we?                                      17      A. -- where -- this is in January of 2018.
18      A. The people who went on these different          18      Q. Right. So we're about four months away
19 trips. Multiple staff members and multiple MEF          19 from where we're talking about.
20 contractors went on multiple trips regarding what we    20      A. You're six weeks away from what we're
21 call in the organization The Little Project. Okay?      21 talking about.
22      Q. I just want to relegate our                     22           So we went there and -- like I said, it
23 conversation to the one that --                         23 was around the time of the Superbowl, the Patriots
24      A. Well, I'm giving you the reason --              24 were playing the Eagles. We watched that game in
25      Q. -- one that --                                  25 Israel, went to Italy, went to Egypt, and we came
                                               Page 241                                                        Page 243
 1       A. -- why. So there was -- I'm sorry, the         back. There I have never been more afraid for my
                                                            1
 2 stenographer is shaking her -- did I not say          2 life besides the time that I was in the army because
 3 something?                                            3 of the work that MEF was doing. I recorded a video
 4            THE COURT REPORTER: No, you guys           4 with Matt Bennett which would be released in the
 5       are just talking all over each other. I         5 event of my demise. And the reason I say all of this
 6       know I keep saying it, but you guys keep        6 is because a man named Michael Levin who I was
 7       doing it, so please try to talk one at a        7 friends with died after being murdered by Hezbollah.
 8       time, I would appreciate it.                    8 A man named Steven Sotloff who was the second hostage
 9            THE WITNESS: Okay. My apologies.           9 killed by ISIS in September 2nd -- there is -- yeah,
10            Mr. Carson, can I continue?               10 September 2nd, 2014 -- I saw him beheaded,
11 BY MR. CARSON:                                       11 Mr. Carson. I went into a downward spiral for the
12       Q. Yeah, so -- but just -- just listen to      12 better part of a year between 2014 and 2015 because
13 the question. So --                                  13 this is the subject of the kind of work that we do.
14       A. Sure.                                       14 If we don't take security precautions like the ones
15       Q. -- why was it that you told Lisa not to     15 I'm laying out to you right now, people can die. I
16 tell anyone that you were taking her to Israel, just 16 am not exaggerating this. If you would like to speak
17 quick, quick answer. I don't need a whole backstory. 17 with anyone who is on our board or if you would like
18       A. Well, the whole backstory is the reason     18 to speak with other staff who are involved in this --
19 for the answer, Mr. Carson. So -- it is. So I        19 I've got a guy right now who has been rotting in a
20 started off in Italy, then went to Israel, then with 20 Turkish prison for the past three years because he
21 a man named Nir Dashti, N-i-r, space, D-a-s-h-t-i,   21 didn't take proper security measures. So if you're
22 Nir Dashti, I traveled back from Israel to Italy and 22 asking me -- if you're asking me why there was an
23 then from Italy I went to Cairo. I was held up at    23 instruction to compartmentalize information from a
24 the airport in Cairo from about 2 in the morning     24 relatively new employee who only been working with us
25 until about 5 in the morning, and I -- I told the    25 for five to six months -- by the way, that employee

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 1 was the third person who was asked to go on this         1      Q. Okay. Is this the -- is this -- can
 2 trip. First it was Bennett, a man who speaks Hebrew,     2 you see that? Hold on.
 3 then it was Meyer, someone who is 20 years my senior     3      A. I can't see anything.
 4 and has extensive experience who wanted to violate       4      Q. I don't know why my screen share isn't
 5 the security protocols that we had put in place so no    5 working. Start screen share. So -- here. Is that
 6 one would be hurt, and lastly --                         6 where you stayed?
 7      Q. How did she want --                              7      A. Yes.
 8      A. Excuse me?                                       8      Q. And how many bathrooms did it have?
 9      Q. How did she want to violate the                  9      A. We found out there was one but we
10 security protocols?                                     10 thought that there was two.
11      A. If you stay in a hotel, when you are            11      Q. Did you -- why did you think there was
12 doing the kind of work that we were doing -- think      12 two?
13 about it for a second. You have staff that are          13      A. Ms. Barbounis booked the Airbnb.
14 there. You have someone cleaning your room. You         14      Q. You didn't promise her that there would
15 have two people who are different. You have             15 be two bathrooms?
16 individuals that come and go. You have no ability to    16      A. No, what I said was --
17 have physical security over your own space. Now, if     17      Q. That each of you would have your own
18 you want to speak about the exact place where we        18 living space?
19 were, I actually got pictures of that apartment that    19      A. No, what I -- there was a living space.
20 I would be very happy to make available to you.         20 If you look at the curtain there behind the section,
21 Again, the architecture, the design, whatever else.     21 so if we look at this for a second -- can you zoom in
22 And also there is a list of 15 people that we met       22 on that? Go to the right. So this is the common
23 with between March -- I'll give you the exact date,     23 area where meetings were held. Okay? And if you go
24 March 11th and March 15th, March 11th and March 16th,   24 there, back there, in that room with the shades or
25 including representatives of Israel's intelligence      25 whatever you want to call it, that's where they were,
                                               Page 245                                                        Page 247
 1 agencies, one of the commanders from Israel's police     and if you go to the right, there is a kitchen --
                                                            1
 2 department, members of parliament, individuals who 2 again, it's like this combined kitchen/living room
 3 disagree with MEF, and we actually have affidavits     3 area like we were talking about beforehand. There
 4 that I know you asked about in Mr. Pipes' deposition, 4 was a bomb shelter, a restroom, and another bedroom.
 5 but also that -- can I talk to counsel for a second    5 So on the complete opposite ends of where people
 6 just to direct them to do something?                   6 were.
 7           Mr. Cavalier, Mr. Gold, if you have          7     Q. Is this a bedroom right here?
 8 those affidavits, please give them to Mr. Carson so    8     A. Yeah, back there, that's where she
 9 he has more context for this.                          9 chose to stay.
10           They will attest to not just the manner     10     Q. When you say she chose to stay there,
11 of why we had to keep this secret, but they will also 11 how many rooms were in -- how many bedrooms were
12 attest to the veracity of what I'm telling you right  12 there?
13 now in terms of the subject of this. In fact, it was  13     A. Three.
14 Lisa Barbounis who worked on the presentation that 14        Q. And was there -- where was the other
15 eventually was given to a senior minister in the      15 two bedrooms?
16 government of who I'm talking to, and that senior     16     A. So if you click there --
17 minister accepted the work that we were doing. So     17     Q. Oh, you know why? It's a screen shot.
18 any mischaracterization of why information security 18 That's why I can't -- it's not the website.
19 protocols and compartmentalizing personnel --         19     A. Actually, if you zoom in on those
20 personnel and personal security at that time never    20 screen shots --
21 told you the whole story, and if they did you would   21     Q. They're going to be --
22 know all this of what I'm saying to you right now.    22     A. That's -- you can't really see --
23      Q. So you did tell Marnie Meyer then that        23     Q. But, Mr. Roman, was it one of these two
24 she couldn't go if she wanted to get her hotel room.  24 couches that you were on when she alleges that you
25      A. Hundred percent.                              25 put your foot up her butt?

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 1      A. Mr. Carson, that never happened, so I         1      Q. Mr. Roman, are you attempting to invoke
 2 can't answer a question that's based on a factual     2 a protection under Israeli law right now?
 3 predicate that never happened.                        3      A. I am.
 4      Q. Well, did the two of you sit on one of        4      Q. Okay. All right. So my client alleges
 5 those two couches one night?                          5 that you came back to the room and began to describe
 6      A. Could you be more specific?                   6 in detail different sexual encounters with different
 7      Q. Yeah, did you come home drunk after           7 women. Did that happen?
 8 going out and come back and start talking about       8      A. No.
 9 inappropriate sexual things in front of Ms.           9      Q. My client alleges that you asked her
10 Barbounis?                                           10 for a blowjob when you got back to the room. Did
11      A. No, Mr. Carson, that never happened.         11 that happen?
12      Q. You didn't try to have sex with Leah         12      A. No, Mr. Carson, I find this offensive.
13 Merville while you were there?                       13      Q. It's important to -- for you to put
14      A. No, Mr. Carson, and just in terms of         14 your position on the record because these are
15 general questions of a nature which may regard any   15 certainly issues of material fact that are in
16 intimacy or alleged intimacy, I'm going to invoke my 16 dispute. So it's important that you dispute them. I
17 privacy privilege under Israel's basic law for human 17 think your counsel would probably agree with that.
18 dignity and liberty as amended in 1989.              18           My client alleges that during this trip
19      Q. That's not a privilege you can invoke        19 you asked her to engage in different sexual acts with
20 in this case.                                        20 her, primarily -- maybe even exclusively, oral sex.
21      A. Actually it is and I'm going to invoke       21 Did that ever happen?
22 that since the -- well, actually, if counsel has an  22      A. No.
23 answer to further give reason for that?              23      Q. And after this trip my client alleges
24      Q. I mean, look, you can do whatever you        24 that you started treating her differently because she
25 want, we'll just make a record of it and then we'll  25 said no. Do you agree with that?
                                                Page 249                                                       Page 251
 1 deal with it --                                          1       A. No, I disagree, and there would be two
 2      A. Sure.                                            2 specific instances that I can account that would
 3      Q. So Ms. Barbounis alleges that you sat            3 prove that disagreement. The first would be an
 4 down on the couch next to her and put your foot under    4 employee review that all new Middle East Forum
 5 her butt and put it up there and then said now that      5 employees receive between six to seven months into
 6 my foot is up your butt or in your butt or next to       6 their tenure that Ms. Barbounis had in May of 2018.
 7 your butt then I guess we can take our relationship      7 She had a full review, and that review included the
 8 to the next level or something of that nature. Did       8 opportunity to give feedback on me to Mr. Pipes
 9 that happen?                                             9 directly, which she did. And I'm sure if you don't
10      A. No.                                             10 have a copy of that review, you should get one. And
11      Q. Did you -- did you describe having              11 the second instance is my intention to promote Lisa
12 sexual intercourse with Leah Merville to my client?     12 Barbounis up until the time when she told gross lies
13      A. No.                                             13 about me on October 31st, 2018, in a note to
14      Q. Did you say to my client how nice her           14 Mr. Pipes. So there is really this dissonance
15 body was when you were having sex with her?             15 between what happened according to the textual record
16      A. No.                                             16 and the lies she's been telling since October of
17      Q. Did you try to have sex with anyone             17 2018, and it goes all the way throughout today, to
18 else while you were in Israel besides Leah Merville?    18 this very point.
19      A. Mr. Carson, again, that question is             19       Q. Why would she lie?
20 based on a factual predicate of an event that never     20       A. Ms. Barbounis as from at least what I
21 happened, and, beyond that, I am not going to answer    21 understand, according to a -- whatchamacallit, a
22 any questions that you ask that are related to a        22 supplemental report that was filed with Barbara Ziv
23 privacy privilege that I have as an Israeli citizen     23 is I think the best record of why Ms. Barbounis would
24 under Israel's basic law of human dignity and privacy   24 not just lie but would wrap herself in a shroud of
25 1989.                                                   25 dishonesty which has been going with her ever since

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 1 she was accused of having sexual relations with          1      A. Not Jazmin Bishop. The full name is
 2 Congressman Ryan Costello prior to working at the        2 Kalina Jazmin Bishop. Those are the first two.
 3 Middle East Forum. So this is something that             3 There is about ten people that I can think of of
 4 backdates before she even started for MEF.               4 where Ms. Barbounis has been like a hurricane
 5      Q. Your testimony is that she lied because          5 destroying entire villages. You know, she literally
 6 she had sex with somebody else? I don't                  6 lives in a Potemkin village.
 7 understand --                                            7      Q. All right. So let's just -- let's just
 8      A. No, that's not what I said. I said her           8 do the list. All right? So I just want to hear the
 9 shroud of lies predates her time of working with the     9 names of the people whose lives she ruined. Okay?
10 Middle East Forum. To ask me what I think Lisa          10      A. Sure.
11 Barbounis thinks is to ask me what, I don't know,       11      Q. And then I'll ask you about them, so
12 Vladimir Putin thinks. I'm not in the man's head but    12 you don't have to go into why --
13 I see his destruction. The same thing with Lisa, I'm    13      A. Sure. So I prepared this for you if
14 not in her head, but wow have I seen how much she has   14 you just want me to give this to you after we're done
15 ruined people's lives not just by -- hold on. Not       15 this right now.
16 just by what I have seen happen to me personally        16      Q. That's fine, but just Danny Thomas,
17 because of the wealth of dishonesty that is in her      17 Kalina Jazmin Bishop. Who else?
18 reserves of just self-destructive behavior but also     18      A. Caitriona Brady.
19 from what I've seen from other people. For instance,    19      Q. She ruined Caitriona Brady's life?
20 she ruined the lives of Danny Tommo and Jazmin          20      A. Yeah.
21 Bishop, two people -- I would categorize them as        21      Q. Why?
22 whistleblowers that came to the Middle East Forum,      22      A. Well, let's use Caitriona Brady's own
23 and then she employed a web of criminals -- she         23 words.
24 employed a web of criminals in the United Kingdom to    24      Q. Okay.
25 try to, A, tamper with their testimony; B, try to       25      A. Brady says she doesn't trust Lisa at
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 1 silence them as witnesses; C, obstruct the justice by    all. That's in MEF Bates numbered document 579, five
                                                            1
 2 try to prevent the turnover electronic devices to the  2 eight -- excuse me, the documents you provided to
 3 Middle East Forum, and even going so far as to take    3 MEF. MEF 579 to 580.
 4 over an enterprise to be able to try to silence them.  4      Q. So you think that --
 5 I mean --                                              5      A. She says --
 6       Q. What are you --                               6      Q. -- because she said that she doesn't --
 7       A. -- you have to see --                         7      A. No, I'm giving you the totality --
 8       Q. -- talking about, Mr. Roman?                  8      Q. So -- when you say that someone ruined
 9       A. She has -- she has been --                    9 --
10       Q. Mr. Roman --                                 10      A. Yeah, I mean, you want to have me
11       A. -- so beyond --                              11 answer   this I'll answer it why I give you this
12       Q. -- stop and let me ask the questions.        12 opinion.
13       A. Sure.                                        13           THE COURT REPORTER: One at a
14       Q. I'm going to ask you all about this          14      time. One at a time.
15 now. Okay?                                            15 BY MR. CARSON:
16       A. Sure.                                        16      Q. When you say that someone ruined
17       Q. So stop so we can get -- so we can put       17 someone's life, that has a pretty specific meaning,
18 it in order. Okay?                                    18 so --
19           So you started by saying she ruined         19      A. Yeah --
20 different people's lives, and two people you named    20      Q. -- why is Caitriona Brady's life ruined
21 are Dan -- Danny Thomas?                              21 today?
22       A. Daniel Thomas.                               22      A. So it's because of the following
23       Q. Daniel Thomas and --                         23 messages that I understand to be the totality of how
24       A. And Kalina [ph] --                           24 Ms. Barbounis has eventually led Brady to be in a
25       Q. -- Jazmin --                                 25 position that has really not done so well for her

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 1 life. I can continue, Mr. Carson, if you would like    1 allegation, but we can get there. So you write --
 2 me to.                                                 2      Q. Her complaint -- Mr. Roman, slow down.
 3      Q. Do you think Ms. Brady would say that          3 Her complaint alleges no sexual harassment
 4 she ruined her life?                                   4 whatsoever.
 5      A. I think that Ms. Brady speaks out of           5      A. Ms. Brady never alleged sexual
 6 one side of her mouth when she's in testimony and      6 harassment against me? That's news to me,
 7 perjures herself and then when she's actually          7 Mr. Carson.
 8 speaking with her friends like we see in her text      8      Q. Well, then you didn't read her
 9 exchanges with Delaney Yonchek, the truth comes out. 9 complaint, Mr. Roman.
10 And if you had reviewed the messages, and maybe you 10        A. What you're saying -- you just said
11 did, maybe you didn't, between Ms. Yonchek and        11 Caitriona Brady's complaint does not allege sexual
12 Ms. Brady, we would understand what they actually     12 harassment against me?
13 think about Lisa Barbounis and how they've had a      13      Q. That's correct.
14 negative detrimental effect on their life, and, more  14      A. Okay. That's news to me. Like, let's
15 than that, how Lisa introduced Ms. Brady to you,      15 go to the complaint and see what's going on with it.
16 Mr. Carson, and then led her to be in a legally       16 Let's go to the EEOC filing --
17 compromising position where she might get sued        17      Q. We're starting to have a conversation
18 because of your malpractice, but we can get into that 18 and not a question-answer --
19 if you really want to go into it. I mean, I don't     19      A. I'm just saying, you made a statement
20 think Brady would have met you without Lisa           20 and I saw it as the form of a question, and I'm
21 Barbounis, but correct me if I'm wrong.               21 trying to get to it.
22      Q. Why is Caitriona Brady going to get           22      Q. So we don't drive the court reporter
23 sued?                                                 23 crazy let's just try not to talk over each other.
24      A. Well, I'm not saying she's not -- she's       24      A. Sure.
25 in a legally compromising position that may lead her  25      Q. It's getting late and it's Friday. I'm
                                               Page 257                                                        Page 259
 1 to being sued, but that I guess is something --          1 sure everyone is tired.
 2      Q. Sued for what?                                   2            Here, I want to do this quickly, so I'm
 3      A. -- that calls for a legal conclusion.            3 just going to show it to you just to get -- so first
 4 That's something that I think -- well, if we actually    4 amended complaint, filed second amended complaint --
 5 go into the conclusion on everything, in that case,      5 all right.
 6 Mr. Carson, you --                                       6       A. Right. Mr. Carson, this is the second
 7      Q. Sued -- just sued for what?                      7 complaint. There's also a first complaint. We have
 8      A. I'm getting there in a second. I don't           8 to --
 9 know the legal term for it, but I'll give you the        9       Q. They're all the same, but --
10 general characterization.                               10       A. -- look at the complaints.
11      Q. What's the nonlegal term?                       11       Q. -- the -- the only difference in the --
12      A. You wrote in Ms. Brady's complaint that         12 do you see the first one, first -- this is the first
13 I allegedly sexually assaulted Caitriona Brady.         13 amended --
14      Q. That's just flat out not true.                  14       A. So let's go through this and then we
15      A. Mr. Carson, we can go to the complaint          15 can look at the second one.
16 if you would like to and I'll tell you what I'm         16       Q. This is all the legal stuff in the
17 talking about.                                          17 case, but --
18      Q. I mean, we -- look, it's a waste of             18       A. Seems like there's a lot of files to
19 time because I know exactly what I wrote. Would you     19 review.
20 like me to --                                           20       Q. Yeah. Just -- all the allegations in
21      A. Okay.                                           21 the amended complaint are in the first complaint.
22      Q. -- show it to you, though?                      22 There's -- the amended complaint has more, not less,
23      A. I would love to see it. It's in I               23 so --
24 believe the fourth charge that you offer on Brady,      24       A. Mr. Carson, I have an experience where
25 either in the first allegation or the second            25 you say --

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 1      Q. I want to -- look, every place where it          1 four minutes ago where you said Caitriona Brady never
 2 says sex it says discriminated based on her sex and      2 accused me of sexual harassment, then you showed me a
 3 gender, right? Discriminated based on her sex and        3 complaint where she accuses me of sexual harassment
 4 gender, sex and gender, sex and gender. It doesn't       4 and you're attributing it to a typo. Mr. Carson, the
 5 say sexual harassment anywhere in her complaint.         5 law does not allow for typos. You made my
 6      A. We have to go -- we have to go to her            6 organization spend hundreds of thousands of dollars
 7 deposition to see that --                                7 defending itself against a complaint which resulted
 8      Q. Her deposition doesn't allege that               8 in accusations against me of harassment because of
 9 either.                                                  9 your typo. That my dear Mr. Carson is something
10      A. It does allege that. We can go to the           10 where I find to be reprehensible and worthy and
11 history of the deposition that took place. Here we      11 meritorious of you being sued for vexatious conduct,
12 go. Gregg Roman's continuous campaign of sexual         12 for liability which comes out of an abuse of civil
13 harassment. What do you call that, Mr. Carson?          13 proceedings, perhaps under the Dragonetti Act, and
14      Q. Mr. Roman, read it all.                         14 more than that, more than that, you just acted in
15      A. Far beyond the 2018 statute of                  15 such a way where you found yourself in front of the
16 limitations that did not end until November 2018.       16 court to be sanctioned not once on July 6th but
17 Accordingly, plaintiff claims violations of the         17 twice.
18 continuing violations doctrine. You're claiming that    18      Q. Mr. Roman, you don't want to start
19 there is a continuing violation doctrine of sexual      19 talking about -- that's not going to help your case
20 harassment under sexual harassment laws. Mr. Carson,    20 to talk about.
21 you have to --                                          21      A. Mr. Carson, you paid my organization --
22      Q. It's a typo.                                    22      Q. Mr. Roman --
23      A. -- you have -- it's a typo.                     23      A. Or not paid. You reimbursed my
24 Mr. Carson, you just represented to me that Caitriona   24 organization --
25 Brady did not sexually harass --                        25      Q. -- it's not -- not going to help you --
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 1      Q. Mr. Roman --                                     1       A. -- over $5,000 in fees --
 2      A. Hold on. Hold on. Hold on. I'm                   2       Q. I'm trying to help you right now.
 3 telling you what I see here.                             3       A. Don't tell me what helps me, Mr.
 4      Q. I know you're getting excited,                   4 Carson --
 5 Mr. Roman.                                               5       Q. It's not going to --
 6      A. I am excited because you just told me            6       A. -- I'm trying to help you.
 7 that your client didn't accuse me of sexual              7            THE COURT REPORTER: Can't hear
 8 harassment and you just showed me a document that        8       either of you. Can't hear either of
 9 accuses me of sexual harassment.                         9       you.
10      Q. I know, but do you notice the                   10 BY MR. CARSON:
11 difference between her complaint and the others is      11       Q. You got to stop. I'm trying to --
12 that they all characterize it as discrimination based   12       A. Mr. Carson --
13 on sex and gender, sex and gender --                    13       Q. I'm actually trying to help you right
14      A. Mr. Carson, Mr. Carson, the way in              14 now.
15 which a lawyer speaks out of both sides of his mouth    15       A. You can help me as much as you would
16 is not something that I profess to be an expert in.     16 like.
17      Q. Her complaint --                                17       Q. It's not -- it's not going to --
18      A. What I can tell you --                          18       A. You can help me as -- you can help me
19      Q. Just slow --                                    19 as much --
20      A. -- is what you said -- what I can tell          20       Q. -- help you to sit here and --
21 you --                                                  21       A. -- you can help me as much as you would
22      Q. Slow down. Slow down.                           22 like, but, Mr. Carson, if you'll just go to paragraph
23      A. What I can tell you --                          23 --
24      Q. Her complaint --                                24       Q. Mr. Roman, I'm asking you --
25      A. -- is what you said to me approximately         25       A. Okay. I'm trying to just -- I'm trying
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 1 to get here.                                             1       A. -- admitted under oath didn't happen.
 2      Q. There's no question --                           2       Q. -- sexual assault, Mr. Roman?
 3      A. I'm sorry. I'm going to take a -- I'm            3       A. 364 and 366, second amended complaint
 4 going to take a breath. I'm going to take a breath.      4 and first amended complaint --
 5 Okay?                                                    5       Q. 364 of the what?
 6           THE COURT REPORTER: This is --                 6       A. 364 of the second amended complaint and
 7      okay. Stop. Please.                                 7 366 in the first amended complaint. Is that also a
 8           THE WITNESS: I'm going to breathe              8 typo?
 9      in. I'm going to drink some water. I'm              9       Q. 364 of the second amended complaint.
10      going to calm down. Okay?                          10       A. Correct.
11           MR. GOLD: Why don't we take a                 11       Q. Defendant Middle East Forum breached
12      five-minute break.                                 12 its duty of care and this directly caused the sexual
13           THE WITNESS: Do you want to take              13 assault of plaintiff Caitriona Brady, yes, yeah, it
14      a break? Take a break.                             14 is a typo actually.
15           THE VIDEO SPECIALIST: We're off               15       A. So you made a typo in your complaint
16      the record. It's 5:47 p.m. Eastern.                16 accusing me of sexual assault.
17           (A brief recess was taken.)                   17       Q. Your client -- your lawyer --
18           THE VIDEO SPECIALIST: It's 5:59               18       A. I don't have a client.
19      p.m. and we're back on the record.                 19       Q. Your lawyers understood the entire time
20           MR. CARSON: Yeah, for the record,             20 we've litigated this case that there was never a
21      Mr. Gold, when you give your -- when you           21 sexual assault --
22      tell your client what to say during a              22       A. Mr. Carson, this is what I understand.
23      deposition in the middle of a deposition           23 I understand that you filed a public document --
24      you should put yourself on mute.                   24       Q. I didn't ask -- I didn't ask a question
25      Everyone can hear you giving your client           25 yet.
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 1      advice.                                             1      A. Okay. You asked me where it says it, I
 2 BY MR. CARSON:                                           2 told you where you said it, you just read it, it says
 3      Q. But to continue the deposition,                  3 that you accused me of sexual assault --
 4 Mr. Roman, can you hear me?                              4      Q. There is no question on the record.
 5      A. Yes.                                             5 This isn't a conversation.
 6      Q. Do you understand sitting here today             6      A. I'm not saying --
 7 that neither Caitriona Brady nor Delaney Yonchek ever    7      Q. It's not a conversation.
 8 accused you of sexual assault or sexual harassment?      8      A. I took that as a question. I apologize
 9      A. I would point you to Paragraph 364 in            9 if I mischaracterized your statement.
10 the second amended complaint of Ms. Brady               10           MR. CAVALIER: I am going to state
11 allegations --                                          11      for the record that your categorization
12      Q. Yeah, did you read --                           12      of what Mr. Roman's lawyers understood
13      A. -- and Paragraph --                             13      throughout the entirety of this case is
14      Q. -- the rest of the complaint?                   14      inaccurate.
15      A. -- and Paragraph 366 of the first               15           MR. CARSON: It's not inaccurate
16 amended complaint, and if you would like me to be       16      at all. You guys didn't ask one
17 able to comment on that we can read the paragraphs --   17      question at her deposition about a
18      Q. No, I don't need you to comment. Do             18      sexual assault.
19 you understand that the rest of the complaint alleges   19           MR. CAVALIER: That's false.
20 sex and gender discrimination throughout?               20           MR. CARSON: No, it's not. I'm
21      A. I understand in part it alleges sex and         21      going to continue, though.
22 gender discrimination, but it also alleges sexual       22 BY MR. CARSON:
23 harassment and sexual assault, two things which your    23      Q. So to continue this -- this deposition,
24 client --                                               24 so after the AIPAC conference in -- strike that.
25      Q. Where does it allege --                         25           After the trip to Israel that you made
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 1 sure Daniel Pipes didn't know about, when did you get    1      Q. It was a yes or no question. Did you
 2 back to Philadelphia?                                    2 get back in April 2018?
 3     A. I don't remember the exact date, Mr.              3      A. Well, if I'm talking about the sexual
 4 Carson.                                                  4 harassment seminar that I participated in in April
 5     Q. And what was the month?                           5 2018 --
 6     A. Mr. Carson, I went on trips which took            6      Q. I'm not asking you about that.
 7 me overseas and outside of Philadelphia over a           7      A. -- that means that I was back.
 8 hundred days in 2018.                                    8      Q. Okay. So you participated -- yes or
 9     Q. Well, approximately what month.                   9 no, you participated in the sexual harassment seminar
10     A. I don't remember, Mr. Carson.                    10 in April 2018; is that correct?
11     Q. Well, when did you go to Israel with             11      A. That's correct.
12 Ms. Barbounis?                                          12      Q. Did you work in Philadelphia in May of
13     A. Well, I stayed in Israel after their             13 2018?
14 departure, so I don't remember when I came back.        14      A. There may have been days that I was in
15     Q. You didn't fly back with Ms. Barbounis?          15 the office, there may not have been.
16     A. No, Mr. Carson.                                  16      Q. Well, at that time you were permitted
17     Q. When did you fly back?                           17 to go to the office whenever you wanted, correct?
18     A. I don't remember, Mr. Carson.                    18      A. Right, but I don't know if I was in the
19     Q. Well, what month was it when you went?           19 office in May of 2018. I'm sure there was days that
20     A. March, Mr. Carson.                               20 I was there. It was actually when we had the
21     Q. It was March of what?                            21 planning discussions around Tommy Robinson and his
22     A. 2018, Mr. Carson.                                22 rally in late May of 2018, that's when I authorized
23     Q. Okay. So were you back in April?                 23 Lisa and Tricia to travel to London. So, yes, I was
24     A. I may have been back in Philadelphia             24 in Philadelphia at least once in May of 2018.
25 sometime between March and April of 2018 -- actually,   25      Q. You were in Philadelphia quite a bit in
                                                Page 269                                                       Page 271
 1 yes. Actually yes. In April of 2018 the Middle East      1 April and May of 2018, correct?
 2 Forum held a sexual harassment seminar that was led      2     A. I don't know about that
 3 by -- I specifically remember this. It was led by        3 characterization, Mr. Carson. I have to check my
 4 Marnie Meyer. She had brought in a New Jersey state      4 calendar.
 5 approved sexual harassment guide or whatever. I          5     Q. Where do you think you were?
 6 specifically remember Lisa Barbounis was there in the    6     A. Well, I traveled to -- when is this,
 7 conference room. Tricia McNulty was there in the         7 April of 2018? I think I was in Hawaii for three
 8 conference room. Brady, I don't know if she was          8 weeks. I think I was in California. I was in
 9 working for us yet. Yonchek I think may have been        9 Seattle.
10 working for us. And Marnie Meyer held the sexual        10     Q. When were you in Hawaii?
11 harassment seminar. All the staff invited from all      11     A. I was in Paris.
12 over the country was either participating in the        12     Q. Just -- you're going to have to take it
13 office in Philadelphia or via Skype for business, and   13 one by one. When were you in Hawaii?
14 there was an element there where I said members of      14     A. Would it be proper for me to consult my
15 MEF staff -- I'm paraphrasing this now to the best of   15 calendar so I give you the exact dates?
16 my recollection -- if there are any incidents of        16     Q. No, I mean, just --
17 sexual harassment that you are aware of or if you       17     A. I can give you the exact dates.
18 ever become aware of them, this is the following        18     Q. All right. Fine. Look at your
19 procedure of what you have to do, and this is also      19 calendar.
20 codified in our personnel manual.                       20     A. Okay. Give me a second. Just have to
21      Q. Mr. Roman, you do understand that the           21 go back two years. I hope it's here.
22 question I asked you is when did you get back and       22          THE WITNESS: Mr. Cavalier, do you
23 then I said did you get back in April.                  23     have that calendar?
24      A. Well, I'm saying what happened is when          24          MR. CARSON: Can't ask questions
25 I got back.                                             25     of your counsel.
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 1           THE WITNESS: Mr. Carson, do you                1      Q. Okay. How long were you in Israel?
 2      mind if I ask Mr. Cavalier to provide a             2      A. I was in -- I was in Israel for ten
 3      calendar if I can't find it?                        3 days in May of 2018, I was in California for eight
 4           MR. CARSON: If you can't find it               4 days in May of 2018 -- so for more than half the
 5      in your calendar for now, I'll just ask             5 month, at least from the calendar here, I was
 6      you to produce it.                                  6 traveling, Mr. Carson. So the statement that I was
 7           THE WITNESS: There we go. I left               7 in the office a lot in April and May of 2018 is
 8      for Hawaii --                                       8 incorrect. I was -- had a de minimis presence in the
 9 BY MR. CARSON:                                           9 office in April and May of 2018.
10      Q. Sometime around blank blank.                    10      Q. If you can prove that with records,
11      A. I left for Hawaii on March twenty --            11 we'll definitely look at the records, so I'll ask
12 well, that was Passover, so we had the seder, I         12 that you produce all -- any and all records for
13 didn't work at all, I was in D.C. then, so I was out    13 travel between March of 2018 and November of 2018.
14 of the office starting like March 25th, Hawaii was      14      A. Yeah, to the extent that I have them,
15 through -- I was in Paris with Daniel -- I was in the   15 Mr. Carson. I also think you should -- to the extent
16 office it looks like three times in April of 2018.      16 that I have it, Mr. Carson, and also to your own
17      Q. Three -- you were where?                        17 client's recollection of the travel that she booked
18      A. In Philadelphia, in the Philadelphia            18 for me during that time, I would be glad to provide
19 office, I have here three times in April of 2018.       19 that to you.
20 You characterized me as being in the office a lot. I    20      Q. Is it your deposition testimony today
21 wouldn't call three times a lot, Mr. Carson.            21 under oath that my client booked all your hotel rooms
22      Q. Well, do you have any proof that you            22 for your travel?
23 were away during these trips?                           23      A. No, it's not.
24      A. Yes, I probably have plane tickets, I           24      Q. So why would she know about your
25 probably have the hotel reservations that Lisa          25 vacations then?
                                               Page 273                                                        Page 275
 1 Barbounis booked for me, I probably have --              1    A. Well, she controlled my calendar,
 2       Q. It was a yes or no question.                  2 Mr. Carson. I would book the hotel, she would put it
 3       A. -- travel records.                            3 on the calendar.
 4       Q. It was a yes or no question.                  4      Q. Okay.
 5       A. Yes, and, by the way, Lisa's six month        5      A. She was my assistant or what we call
 6 review took place on April 19th, 2018.                 6 the executive liaison.
 7       Q. And you were in Philly for that?              7      Q. Okay. You mentioned that Lisa
 8       A. I was, and I was also in Philadelphia         8 Barbounis went to London around March of 2018? April
 9 for the sexual harassment seminar that took place on   9 --
10 -- it was 10 a.m. on April 17th, 2018.                10      A. No, Mr. Carson.
11       Q. Say that date again?                         11      Q. -- 2018?
12       A. 10 a.m., April 17th, 2018.                   12      A. No, Mr. Carson.
13       Q. How about in May 2018?                       13      Q. Where did she go?
14       A. May -- sorry, I have to correct myself,      14      A. When did she go where, Mr. Carson?
15 Mr. Carson. Ms. Barbounis's review was not on April 15        Q. Where did she go to London?
16 19th. It was on May 3rd, 2018. My apologies.          16      A. Where? She went to London. That's
17       Q. So you were in the office on May 3rd,        17 where she went.
18 2018, correct?                                        18      Q. Right. When did she go to London?
19       A. Yeah.                                        19 Sorry.
20       Q. What about June and July, you were in        20      A. She's been to London multiple times,
21 the office June and July, right?                      21 Mr. Carson.
22       A. No, I wasn't, Mr. Carson, not that           22      Q. Talking about in April of 2018.
23 much. I was traveling to Israel, to California. I     23      A. Ms. Barbounis to the best of my
24 actually spent -- I spent a good amount of my time in 24 knowledge was not in London in April of 2018,
25 May in Israel as well.                                25 Mr. Carson.

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 1      Q. Was she there in May of 2018?                    1      Q. Did she ever --
 2      A. No, Mr. Carson.                                  2      A. Marnie Meyer -- Marnie Meyer --
 3      Q. Was she there in June of 2018?                   3      Q. It's a yes or no question.
 4      A. I believe so, Mr. Carson.                        4      A. -- disagreed -- I'm answering your
 5      Q. Okay. Was that the first time she went           5 question, Mr. Carson.
 6 there?                                                   6      Q. My question is, did she ever work in
 7      A. I don't know, Mr. Carson, if she                 7 the role of deputy chief of staff in her life for the
 8 traveled to London before June of 2018.                  8 Middle East Forum?
 9      Q. Well, related to her work at the Middle          9      A. Her responsibilities --
10 East Forum is that the first time she went there?       10      Q. It's a yes or no question.
11      A. To the best of my knowledge, yes, Mr.           11      A. Mr. Carson, it's more complicated than
12 Carson.                                                 12 that.
13      Q. Okay. Why did she go there?                     13      Q. Was she ever the deputy chief of staff?
14      A. Why did she go to London?                       14 Why is that hard for you to answer?
15      Q. Yeah.                                           15      A. We talked about this -- we talked about
16      A. Well, there's a few ways to answer              16 this at the beginning of the deposition. Names,
17 that. Why did the organization send her or why did      17 titles, and responsibilities at MEF are all relative
18 she go? I can't answer the reasons why she              18 to the position that someone has according to the day
19 personally --                                           19 that they had that position.
20      Q. Best of your ability, okay, why did she         20      Q. Well, was she --
21 go to London in connection with her employment at the   21      A. She started off --
22 Middle East Forum?                                      22      Q. Mr. Roman --
23      A. So she went -- she went for two                 23           THE COURT REPORTER: I can't hear
24 reasons. The first reason of a personal nature was      24      you.
25 to start to be what I consider to be a year and a       25 BY MR. CARSON:
                                               Page 277                                                        Page 279
 1 half fraud she enacted against MEF, and the second       1   Q. -- I'm going to ask the question,
 2 reason is because she was charged with overseeing a  2 you're going to answer --
 3 tens of thousands of dollar grant that was given to  3       A. I'm answering your question.
 4 the convicted criminal Daniel Thomas that she had    4       Q. No, you're not. You're interrupting
 5 suggested we give that money to.                     5 and you're causing problems with the court reporter.
 6      Q. Who approved that -- who approved that       6 Okay? So what the question is is was she ever
 7 grant?                                               7 afforded the position, role, title, anything, deputy
 8      A. Based on the representations that Ms.        8 chief of staff?
 9 Barbounis gave to me, it was approved by me, Marnie 9        A. Yes.
10 Meyer, and Daniel Pipes, of which the fiduciary     10       Q. When?
11 responsibility fell on Ms. Barbounis's lap. She had 11       A. She was afforded the responsibilities
12 been asking for more responsibility. She got it and 12 that would have gone along with the title of deputy
13 then she abused it.                                 13 chief of staff had she not lied and subjected herself
14      Q. You said she was an executive liaison       14 --
15 at that time, a secretary basically, correct?       15       Q. When? The answer was -- the question
16      A. She was on her track to being promoted      16 was when.
17 to a deputy chief of staff position.                17       A. Mr. Carson, I'm answering your
18      Q. Had she been promoted to deputy chief       18 question.
19 of staff?                                           19       Q. No, you're not. You just said yes --
20      A. She was promoted after she made false       20 Mr. Roman --
21 allegations against me.                             21       A. I'm giving you my answer.
22      Q. She was demoted -- she was promoted to      22       Q. No, no, no, you're not. Because it was
23 deputy chief of staff?                              23 -- I asked you when. I asked for a date.
24      A. She was on her way to being promoted to     24       A. Mr. Carson --
25 deputy chief of staff.                              25       Q. Wait and let me ask the question for
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 1 the record and then the court reporter will type one     1 raise.
 2 person saying the question and then your attorney's      2      A. You would have to ask her, Mr. Carson.
 3 welcome to object, and then you're welcome to give       3 I was not part of administration of MEF.
 4 your answer, and the answer is a date. When did Ms.      4      Q. So you don't know --
 5 Barbounis assume the role deputy chief of staff?         5      A. She actually did -- she did receive a
 6      A. Mr. Carson, she did not assume the role          6 pay raise when she was at MEF, yes.
 7 of deputy chief of staff; she assumed the                7      Q. That wasn't my question. My question
 8 responsibilities of someone if they had proven           8 was did she ever get a pay raise to go along with
 9 themselves would eventually have been on the track to    9 these so-called responsibilities that she received
10 be promoted to deputy chief of staff.                   10 that made her have a deputy chief of staff title.
11      Q. And you think --                                11      A. She never had the title of deputy chief
12      A. The date would have been --                     12 of staff.
13      Q. And you think that's the same thing?            13      Q. Did she ever receive a pay raise in
14      A. The date would have been --                     14 connection with the responsibilities?
15      Q. You think that's a promotion?                   15      A. Yes, Mr. Carson.
16      A. Hundred percent, Mr. Carson, especially         16      Q. When? When did she get the pay raise?
17 if you look at the correspondence between myself and    17      A. After I was removed from the
18 Ms. Barbounis, which you should have.                   18 administration of the organization.
19      Q. Okay.                                           19      Q. How much was this pay raise?
20      A. On May 3rd, two thousand -- I'll stop           20      A. I don't know, Mr. Carson.
21 answering if you would like me to.                      21      Q. How do you know she got it then?
22      Q. Yeah, you should. I think --                    22      A. Because it's in the documents afforded
23      A. I should what, Mr. Carson?                      23 to the litigation. I can review it and give you a
24      Q. So give me the date when she was given          24 specific answer if you like.
25 the position of deputy chief of staff.                  25      Q. Well, aren't you talking about an
                                                Page 281                                                       Page 283
 1      A. She was never given the position of              1 amount of money that every single female employee at
 2 deputy chief of staff --                                 2 the Middle East Forum received?
 3      Q. Okay. So give me the date when she was           3      A. Mr. Carson, I wasn't part of that
 4 given the responsibilities of a deputy chief of          4 decision. I was out of the administration of the
 5 staff.                                                   5 Middle East Forum after Daniel Pipes removed me from
 6      A. It started when she was in Israel,               6 the responsibilities that were previously afforded to
 7 Mr. Carson.                                              7 the position of director in early November of 2018
 8      Q. So started in March of 2018?                     8 and I never assumed those responsibilities until
 9      A. Yes, and gradually she got more and              9 Marnie Meyer left the organization in February of
10 more responsibilities until there was a discussion in   10 2020, so I had a good 16-month period where I was not
11 early October of 2018 where Daniel Pipes informed me    11 involved in the formal administration of MEF as a
12 that I was going to be eventually promoted to           12 result of Lisa Barbounis's complaint.
13 president of the organization when he was planning on   13      Q. What was her position in April of 2018?
14 retiring, and the first person that I told was Lisa     14 She was an executive liaison, correct?
15 Barbounis.                                              15      A. No, her title was executive liaison,
16      Q. Okay. Was -- did Ms. Barbounis ever             16 but her responsibilities were incrementally given
17 receive a pay raise for this position or these          17 more and more as month and month went by. She made
18 responsibilities?                                       18 this very clear to us in communications in May of
19      A. She received a pay raise I believe in           19 2018.
20 November of 2018, but I wasn't part of that since all   20      Q. She was what?
21 of my administrative responsibilities were removed on   21      A. She made it very clear and known to the
22 November 6th, 7th, or 8th of that year. And, by the     22 management of the Middle East Forum in conversations
23 way, those responsibilities never came back while she   23 with Daniel Pipes and with myself that she wanted
24 was employed at Middle East Forum.                      24 more responsibilities beyond what was originally
25      Q. I asked you did she ever receive a pay          25 afforded to her in her job description when she was

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 1 hired in -- it was October, November of 2017. She        1         THE WITNESS: -- at the beginning
 2 assumed those responsibilities and were given more       2    of this deposition I'll give to you.
 3 portfolios. For instance, she was given --               3         MR. CARSON: -- explain to your
 4      Q. You don't have to give me a for                  4    client that he needs to put the document
 5 instance.                                                5    away?
 6      A. No, I'm just giving you an example so            6         MR. CAVALIER: You want him to
 7 you can --                                               7    have less information for the
 8      Q. It's not necessary.                              8    deposition?
 9      A. -- comparison.                                   9         MR. CARSON: Jon, I'm not going to
10      Q. It's really not --                              10    ask twice. It's totally inappropriate
11      A. She was given Tommy Robinson when she           11    for him to be pulling out documents from
12 asked for more responsibilities. She traveled           12    folders and reading them to me.
13 internationally, she handled foreign clients, she       13         THE WITNESS: Mr. Carson, these
14 handled members of congress, members of parliament,     14    are documents you gave to us.
15 but little did we know that she was abusing those new   15         MR. CARSON: Jon, are you going to
16 responsibilities that she got.                          16    direct your client to put the document
17      Q. How did she abuse them?                         17    away? Yes or no?
18      A. There was multiple ways.                        18         MR. GOLD: Unless you need to
19      Q. Give me one.                                    19    refer to a document to refresh your
20      A. She tried to hire hackers to get                20    memory.
21 information from the organization.                      21         MR. CARSON: You do not get to
22      Q. What hacker did she try to hire?                22    refer to documents unless -- unless
23      A. Well, if you look at her                        23    they're exhibits that I hand you.
24 correspondence --                                       24         MR. GOLD: You can post them if
25      Q. Mr. Roman, I'm not asking you to refer          25    you wish.
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 1 to documents. I asked you what hacker did she try to     1        THE WITNESS: Sure. I can put
 2 hire.                                                  2     them on the screen if you want.
 3       A. This is what I'm referring to.                3          MR. CARSON: No. No, no, no.
 4       Q. Yeah, you're not -- I need you to put         4     We're not looking at that document. Put
 5 that down. Okay? It's not --                           5     it away.
 6       A. Why?                                          6          THE WITNESS: Mr. Carson, you
 7       Q. -- an exhibit.                                7     asked me when I believe Mr. -- Ms.
 8       A. No, this is documents I brought to the        8     Barbounis hired a hacker to go after
 9 deposition.                                            9     Middle East Forum data.
10       Q. It's not an exhibit that you can -- you      10 BY MR. CARSON:
11 got to stop and you got to put it down.               11     Q. Answer the question. When did she hire
12       A. Well, Mr. Carson, you're asking me a         12 a hacker?
13 question --                                           13     A. She suggested hiring a hacker on
14       Q. It's not an exhibit. Yeah --                 14 November 15th, 2018, in a conversation with Tricia
15       A. I'm answering your question. You asked       15 McNulty. She then did it again on March 4th, 2019,
16 me -- I'm referring to a document I brought to answer 16 saying we have a hacker trying to get his data from
17 that.                                                 17 Facebook as a workaround. So she's talking about a
18       Q. You're not allowed --                        18 hacker. She does it twice, once in November of 2018,
19       A. Would you like me to do that?                19 once in March of 2019. I don't believe you've given
20       Q. -- to have documents surrounding you         20 us who that hacker is in your production for your
21 that you refer to during a deposition.                21 discovery, but I would love to know and I can offer
22       A. They're not surrounding me, Mr. Carson.      22 you a better answer.
23 I have a few exhibits that I said --                  23     Q. Do you even know what you're talking
24           MR. CARSON: Guys, can you please            24 about right now, Mr. Roman?
25       --                                              25     A. I'm talking about a hacker that I
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 1 believe Ms. Barbounis hired to try to sabotage the       1      A. -- she --
 2 Middle East Forum.                                       2      Q. Mr. Roman --
 3       Q. Mr. Roman, do you have a hard time              3      A. -- she -- she asked --
 4 keeping up with your lies?                               4      Q. I asked you a yes or no question. When
 5       A. Mr. Carson, I'm quoting -- first of             5 you're done saying yes or no, I'll ask another
 6 all, they're not lies. Second of all, I'm quoting        6 question. Okay?
 7 from documents that you provided to the Middle East      7      A. Well, Mr. Carson, that is not a yes or
 8 Forum in discovery. These are documents you gave to      8 no question.
 9 us to review. So I'm just quoting --                     9      Q. Did she go --
10       Q. My question was --                             10      A. It's more complicated than that.
11       A. -- from your documents.                        11      Q. -- as part of her responsibilities as
12       Q. -- do you have a hard time keeping             12 an executive liaison?
13 track of all your lies.                                 13      A. Yes and no.
14       A. Mr. Carson, you have to look at the            14      Q. Okay. Why do --
15 documentation, and this is I believe the ninth or       15      A. She went because she -- she volunteered
16 tenth time that you've accused me of lying throughout   16 to go. Okay? She asked for permission. And then
17 all these processions. I believe it's a violation of    17 what she did is she got a reimbursement from the
18 Rule 4 of the rules of professional responsibility      18 Middle East Forum and lied to our organization to
19 for you to make a misrepresentation on the record,      19 redirect $5,000 in a grant that went from us to
20 and I think it's abhorrent that you're being            20 Raheem Kassam and then was paid to her husband to
21 unethical --                                            21 cover travel that was unapproved. So she wanted to
22       Q. What question are you --                       22 go, but then she lied about covering the cost for
23       A. -- in your conduct of the procession.          23 that and then defrauded the organization out of
24       Q. -- answering right now? What question          24 $5,000. So that's really the totality of the answer
25 are you answering right now?                            25 I can provide to you. And there is text messages
                                               Page 289                                                        Page 291
 1       A. I'm answering the question that you             1 that you provided to us that proves that.
 2 asked are you --                                         2      Q. Yeah. It's funny that you think -- all
 3       Q. It's a yes or no question.                      3 right. Anywho, so -- so, Mr. Roman, when she went to
 4       A. -- are you aware -- are you keeping             4 Europe she went to witness a rally that -- that was
 5 track of the lies. That's what you said.                 5 put on because of a grant that the Middle East Forum
 6       Q. Right. Are you keeping --                       6 made to Danny Thomas and Tommy Robinson; is that
 7       A. And I'm saying --                               7 correct?
 8       Q. -- track of all your lies?                      8      A. That's incorrect.
 9       A. I'm saying that --                              9      Q. Why is it incorrect?
10       Q. Yes or no?                                     10      A. Because the grant wasn't made to Danny
11       A. -- number one, they are not lies --            11 Thomas and to Tommy Robinson.
12       Q. Right. I'm going to --                         12      Q. Who was it made to?
13       A. -- and, number two --                          13      A. The grant was made to a movement that
14       Q. -- withdraw the question. All right?           14 Ms. Barbounis said --
15 So we're going to move on now.                          15      Q. What's the name of the movement?
16       A. Okay.                                          16      A. Well, if you want to call it an
17       Q. Mr. Roman, you said that when Lisa             17 enterprise -- I wouldn't call it a movement per se; I
18 Barbounis went to -- you said that when Lisa            18 would call it an enterprise that constituted about 15
19 Barbounis went to Europe in June of 2018 it was at      19 to 20 different people.
20 your direction, correct?                                20      Q. Well, Mr. Roman, Lisa has nothing to do
21       A. She -- well, yes and no.                       21 with money at the Middle East Forum, correct?
22       Q. Yes or no, did you say that?                   22      A. She definitely has something to do with
23       A. Yes -- no, yes and no. What I'm saying         23 money at the Middle East Forum.
24 is --                                                   24      Q. She does?
25       Q. No, no --                                      25      A. Yeah.
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 1      Q. She -- so she sends wires out and she         1 those receipts to me afterwards and --
 2 makes sure that the books are straight --             2      Q. She provided what receipts to you
 3      A. Yes.                                          3 afterwards?
 4      Q. -- as part of her responsibility?             4      A. The receipts that Mr. Thomas allegedly
 5      A. Ms. Barbounis made a recommendation in 5 gave to Ms. Barbounis.
 6 early June of 2018 to transfer tens of thousands of   6      Q. Ms. -- Daniel Thomas gave Ms. Barbounis
 7 dollars to Mr. Daniel Thomas and then, as in --       7 receipts that she gave to you; is that your
 8 e-mails indicate, and you'll see this was a constant  8 testimony?
 9 pattern from June of 2018 until --                    9      A. Right, that -- what she did was she
10      Q. I'm not --                                   10 said that these were receipts, and that accounted for
11      A. -- her departure --                          11 a portion of the money, but the sum total of the
12      Q. -- asking you about a pattern; I'm           12 money -- if you take the total amount of money that
13 asking you --                                        13 came from what was given --
14      A. You're asking me if she was responsible      14      Q. Mr. Roman --
15 for money, and I'm giving you an answer.             15      A. I'm giving you an answer.
16      Q. I'm asking if she was responsible for        16      Q. No, you're not.
17 actually sending money out. Did she -- was she the 17        A. I'm giving you an answer. Yes, I am.
18 person who said, all right, I'm going to send this   18      Q. No, you're not. All right?
19 money now; is that part of her job?                  19      A. There is receipts --
20      A. What she said was --                         20      Q. Listen to the question before --
21      Q. Yes or no?                                   21           THE COURT REPORTER: One at a
22      A. -- we should send money -- what she          22      time.
23 said was -- I can't say yes or no to something that  23 BY MR. CARSON:
24 didn't happen.                                       24      Q. The question is, did Daniel Thomas give
25      Q. Right. Did -- was that one of her            25 receipts to Lisa that she then gave you; is that what
                                                Page 293                                                       Page 295
 1 responsibilities or did you have a bookkeeper at the     1 you're saying?
 2 time who did that?                                       2      A. He gave partial receipts, and then he
 3      A. No, she recommended the money be                 3 also gave an accounting --
 4 transferred. I approved --                               4      Q. What is a partial receipt?
 5      Q. Who did she make the recommendation to?          5      A. Okay. So I'll give you an example.
 6      A. I approved that recommendation based on          6 Let's say I give you a hundred dollars. Okay? And I
 7 her representations.                                     7 ask you to go buy a stack of books. All right? So
 8      Q. Who else approved --                             8 you go buy the books. They cost $80. And then on
 9      A. And then the money was sent by Marnie            9 your way back to the office you buy a Big Mac and you
10 Meyer.                                                  10 have a $6 Big Mac. And then you go buy a pack of gum
11      Q. Correct. Who else approved the                  11 and you get something else. So you spent $80 on the
12 recommendation? Daniel Pipes?                           12 books, that's what you have the receipt for, but you
13      A. Yeah, he would approve some                     13 bought yourself a Big Mac and a pack of gum but you
14 recommendations and others he wouldn't be involved      14 didn't give me those receipts. So you gave me
15 with.                                                   15 partial receipts for 80 percent of the total that you
16      Q. Was he involved in this one?                    16 were allocated and you represented that you spent the
17      A. I don't remember.                               17 rest of the money on a Big Mac and on bubble gum.
18      Q. Okay. When you approved it what did             18 Now, if you're working for an organization usually
19 you approve it based on?                                19 the --
20      A. I approved it based on quotes that              20      Q. So stop. I understand what you mean.
21 Daniel Thomas gave to Lisa Barbounis and then from      21      A. Hold on a second.
22 those quotes she said I believe that we should send X   22      Q. Let me ask you a question.
23 amount of money to Mr. Thomas, and I said are you       23      A. So what she did -- what he did --
24 going to be able to keep track of those receipts and    24      Q. How much money -- stop.
25 the spending, and she said yes, and then she provided   25           THE COURT REPORTER: I can't get
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 1      both of you.                                     1      A. You want to know how much. I'm trying
 2 BY MR. CARSON:                                        2 to give you the exact amount of how much it was.
 3      Q. How much money was granted to Danny -- 3             Q. Thank you. Was it 25,000? Is that
 4 who was the money granted to?                         4 your testimony?
 5      A. The money was granted in the grant            5      A. No, it's not.
 6 contract --                                           6      Q. Approximately 25,000?
 7      Q. Just a name. Danny Thomas, right?             7      A. It was between twenty -- about 25,000
 8      A. There's not a name, Mr. Carson.               8 pounds, but I don't know the dollar rate.
 9      Q. Well, who did -- how was the money            9      Q. I don't care what the dollar rate is.
10 sent?                                                10      A. Okay.
11      A. The money was wired to a --                  11      Q. Okay? It's not important. Okay.
12      Q. Where?                                       12 Thank you.
13      A. -- to a bank account that Lisa               13      A. Okay.
14 Barbounis provided to the Middle East Forum that she 14      Q. So 25,000 pounds. The intention was to
15 said came from Danny Thomas.                         15 transfer 25,000 pounds to Danny Thomas, correct?
16      Q. Okay. So the money was sent to Danny         16      A. No, that was not the intention. The
17 Thomas's bank account, correct?                      17 intention was to transfer the money to the -- the
18      A. I don't know if it was Danny Thomas's        18 individual that Lisa Barbounis represented was the
19 bank account. Ms. Barbounis said it was Danny        19 organizer of the event so that --
20 Thomas's bank account. And there was actually        20      Q. And who was that?
21 problems with the initial transfer. We sent the      21      A. -- so that vendors would be paid.
22 money overseas --                                    22      Q. Who was that?
23      Q. I didn't ask you any questions --            23      A. It was Danny Thomas.
24      A. -- and then --                               24      Q. So then what are you talking about?
25      Q. -- anything about a transfer, I didn't       25      A. It was Danny Thomas and Kevin Carroll,
                                                Page 297                                                       Page 299
 1 ask you any questions about that.                        1 it's another acquaintance of Ms. Barbounis, it was --
 2      A. Sure. Sure. I'm trying to answer your            2       Q. Did the money go to two -- Mr. Roman,
 3 questions.                                               3 did the money go to two people's accounts or one
 4      Q. No, you're not, but just -- just listen          4 account?
 5 to my questions. Okay? Because we're going to get        5       A. No, the account -- there was actually
 6 through this.                                            6 two accounts that were provided.
 7          So you're saying that the intention was         7       Q. Did the money -- was the money sent
 8 for the Middle East Forum to send how much money to      8 from -- to two accounts, 15 and 15, 20 and 15, or did
 9 Danny Thomas?                                            9 it all go to one account?
10      A. The exact amount I don't recall, but I          10       A. I would have to look at the books to be
11 would say it was probably around 25,000 pounds, which   11 able to tell you how many transfers were made, but I
12 I'm not sure of the conversion rate at the time. We     12 know that the initial transfer was problematic --
13 can look this up in the records. It was probably        13       Q. Who made the -- who made the transfers?
14 between --                                              14       A. You can ask Marnie Meyer about that.
15      Q. I don't care about the --                       15       Q. Marnie Meyer made those transfers,
16      A. -- 28 and --                                    16 correct?
17      Q. -- conversion rate. Just give me an             17       A. At the suggestion of Lisa Barbounis,
18 amount.                                                 18 correct.
19      A. Mr. Carson, I'm not trying to have a            19       Q. And you approved those transfers,
20 conversation; I'm trying to answer a question.          20 correct?
21      Q. Is it 25 -- it was an amount. I asked           21       A. After Ms. Barbounis represented to me
22 you for an amount. 25,000 pounds?                       22 that it was going to support the rally that she went
23      A. I'm trying to give you an exact amount.         23 to.
24      Q. I don't need an exact amount. I just            24       Q. Who told her to begin working on the
25 want to know how much. 25,000?                          25 Tommy Robinson campaign in the first place?

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 1      A. I think that there was a discussion              1 think that?
 2 where we saw that this guy --                            2      A. It's not that I think it; it's that the
 3      Q. I'm asking for the name of a person.             3 e-mails, text messages, and all of the communications
 4      A. I'm trying to remember. I'm trying to            4 from Lisa Barbounis that you provided to us in
 5 remember, Mr. Carson.                                    5 discovery prove that she was the center point for
 6      Q. Who told her to -- you don't have to             6 that rally.
 7 talk out loud. Think in your mind --                     7      Q. Well, we're going to find out if that's
 8      A. Okay.                                            8 true; aren't we, Mr. Roman? But why do you --
 9      Q. -- and give us the name of a person.             9      A. I already have, Mr. Carson. I've
10      A. Okay. So I'm thinking in my mind right          10 looked at the information --
11 now.                                                    11      Q. Mr. Roman --
12      Q. Okay.                                           12      A. -- you've provided to MEF.
13      A. And I'm thinking about Tommy Robinson.          13      Q. -- why do you think that? What -- you
14      Q. Who assigned Ms. Barbounis to work on           14 can't just say that's what the evidence proves. You
15 this rally?                                             15 sound like Donald Trump. Why? What evidence?
16      A. I believe Ms. Barbounis volunteered.            16      A. Mr. Carson, I take great exception with
17      Q. So Ms. Barbounis came to you out of             17 you trying to insult me at a deposition.
18 nowhere and said Tommy Robinson.                        18      Q. Why, Mr. Roman? What evidence are you
19      A. No, it wasn't out of nowhere. The               19 talking about? Be specific. What evidence proves
20 involvement with Tommy Robinson started years before    20 that she was intimately involved with managing the
21 when we provided legal assistance to the individual     21 rally?
22 when he was found involved with some contempt           22      A. Sure. So let's start with the text
23 proceeding or some free speech case. It might have      23 messages.
24 even been before I started working at MEF.              24      Q. Just give me one piece of evidence.
25      Q. After you approved the $25,000 and              25      A. E-mails --
                                               Page 301                                                        Page 303
 1 Marnie sent it to Danny Thomas, Lisa Barbounis went      1       Q. We don't have to start anywhere. One
 2 to London to oversee the rally that was put on with      2 piece of evidence.
 3 that money; is that correct?                             3       A. E-mails that were --
 4      A. No, it wasn't $25,000.                           4       Q. All right. Give me one e-mail and tell
 5      Q. Mr. Roman, I'm using the number you              5 me what it said.
 6 gave me.                                                 6           MR. GOLD: Excuse me, Mr. Carson.
 7      A. I said 25,000 pounds.                            7       I know it's getting late. Just let Mr.
 8      Q. Right. 25,000 pounds. Good. Is that              8       Roman finish his answer and then you can
 9 right then if we said pounds?                            9       ask another question. All right? Go
10      A. Yeah, but, like I said, I didn't know           10       ahead.
11 the dollar amount.                                      11 BY MR. CARSON:
12      Q. Okay. So after Marnie transferred               12       Q. One e-mail, what did it say? Tell me
13 25,000 pounds that you approved Lisa Barbounis went     13 one e-mail. Describe it.
14 to London to see the rally that was paid for with the   14       A. Sure. So --
15 Middle East Forum grant; is that correct?               15           MR. GOLD: One question at a time,
16      A. No. Ms. Barbounis went --                       16       Mr. Carson.
17      Q. She didn't go there to see the rally?           17 BY MR. CARSON:
18      A. No, she didn't go there to see the              18       Q. Go ahead.
19 rally; she went there to manage the rally.              19       A. Okay. So that was a compound question.
20      Q. To manage the rally?                            20 One e-mail --
21      A. Correct. Ms. Barbounis was intimately           21       Q. Go ahead. Describe one e-mail.
22 involved in the planning of all aspects related to      22       A. Sure. So an e-mail that Danny Thomas
23 the Middle East Forum's backing of that rally that      23 -- I think he was dannythomas@tesco.co.uk --
24 took place in London in June of 2018.                   24       Q. Right. Great.
25      Q. Why do you think that? Why do you               25       A. -- sent -- excuse me?
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 1      Q. Keep going.                                      1 time, correct?
 2      A. Okay. -- sent to Lisa Barbounis                  2      A. I don't know.
 3 involved the deployment of buses that were to go from    3      Q. Isn't it funny that you're accusing her
 4 the midlands of England, from the Scottish border,       4 of entering into a conspiracy with someone she didn't
 5 from Sheffield, from Manchester, I think Wales was       5 know?
 6 involved, and they were busing these people in from      6      A. No, Mr. Carson. She engaged in a
 7 these areas that were outside of London and coming       7 four-month at least intimate affair with Danny
 8 into London. Then what happened was --                   8 Thomas, and I think they knew parts of each other
 9      Q. I don't need to know what happened. I            9 that no one else probably knew about Danny Thomas or
10 said to describe an e-mail.                             10 Lisa Barbounis. This is the ultimate definition of
11      A. I'm giving you the e-mail description.          11 what I would consider to be not just a conspiracy but
12      Q. Right. Are you still talking about the          12 an enterprise designed to defraud the Middle East
13 e-mail or are you going to tell me what happened --     13 Forum.
14      A. Hundred percent I'm talking about the           14      Q. When did you find out that there might
15 e-mail.                                                 15 have been -- strike that.
16      Q. Okay. Go ahead.                                 16          Why do you think that Danny Thomas
17      A. And the e-mail that was between Ms.             17 didn't spend all the money on the rally?
18 Barbounis and Mr. Thomas were talking about the         18      A. I don't know. You would have to ask
19 intricate difficulties in trying to make sure that      19 Danny Thomas.
20 enough people attend, so what they discussed was that   20      Q. Well, why -- but you're alleging that,
21 there would be additional monies that Mr. Thomas        21 aren't you, that not all the money went to the rally?
22 suggested that Ms. Barbounis provide to what they       22      A. No, I'm not alleging that --
23 call the lift carrier, so she's talking about in this   23      Q. You just said partial receipts.
24 e-mail the money that -- or not even the money, the     24      A. I'm not alleging that, Mr. Carson.
25 quotes that the team she was working with in the UK     25 What I'm doing is is I'm taking the testimony that
                                                Page 305                                                       Page 307
 1 was getting from that team and then going down, but      1 Danny Thomas in part gave --
 2 in the end I don't think any money was paid directly     2      Q. Danny Thomas hasn't testified,
 3 to the bus companies --                                  3 Mr. Roman.
 4      Q. Why would you grant money to Danny               4      A. Okay, so the statement that Mr. Thomas
 5 Thomas if Ms. Barbounis was going to manage the whole    5 made in the presence of two attorneys registered with
 6 thing? Why wouldn't you just let her handle it?          6 the Pennsylvania Bar just like you are, Mr. Carson,
 7      A. Well, I did let her handle it and she            7 and said in a recording. I'm also talking about a
 8 recommended sending money to Danny Thomas. That's        8 statement that --
 9 where the entire conspiracy began.                       9      Q. I don't need you to pull up any
10      Q. Did she know Danny Thomas at the time?          10 statements. Seriously. You can put it down.
11      A. She recommended him and she said she --         11      A. -- you provided to -- okay. I'm just
12      Q. Did she know Danny Thomas at the time;          12 trying to refresh my memory based on the evidence
13 yes or no?                                              13 that you provided to us.
14      A. When -- what time are we talking about?         14      Q. Did you hear my question?
15      Q. What time are you talking about?                15      A. Yeah, you're saying -- can the
16      A. I'm talking about the time that Lisa            16 stenographer repeat the question, please?
17 Barbounis introduced me to Danny Thomas.                17      Q. I'll just say it again. I'm not going
18      Q. June 2018, right?                               18 to make her do that.
19      A. Yeah, I can't tell --                           19          So my question is -- at some point in
20      Q. Did she know him at that time; yes or           20 time did you learn that Danny Thomas might not have
21 no?                                                     21 spent the entire $25,000 on the rally?
22      A. I can't -- I can't represent what               22      A. Mr. Carson, again --
23 Ms. Barbounis's relationship was with Danny Thomas      23      Q. Yes or no question.
24 prior to when she introduced me to him.                 24      A. -- it wasn't $25,000.
25      Q. Right. She didn't know him at the               25      Q. 25,000 pounds. Thank you for helping
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 1 me with that. Thank you.                             1       Q. I don't need a list of the discovery in
 2      A. Sure.                                        2  this case. Thank you, though.
 3      Q. 25,000 pounds.                                3      A. There's also a lot of stuff you haven't
 4      A. What about it?                                4 given yet, and I look forward to reading that as
 5      Q. At some point in time did you discover        5 well.
 6 that maybe he didn't spend it all on the rally?       6      Q. Good luck with that.
 7      A. Yes, I discovered that, Mr. Carson.           7           Did you ever talk to Danny Thomas
 8      Q. Okay. How did you discover that?              8 before?
 9      A. When I believe Ms. Jazmin Bishop              9      A. Yes.
10 provided me and the Middle East Forum and our        10      Q. Did you offer to pay him money for his
11 attorneys with a record that constituted Ms.         11 -- for his testimony?
12 Barbounis's statements with Mr. Thomas from March    12      A. No.
13 7th, 2019.                                           13      Q. Why did he say you did?
14      Q. What are you talking about?                  14      A. I don't think you can ask a question
15      A. Talking about --                             15 which is based on a factual predicate on instances
16      Q. Talking about text messages?                 16 that did not exist, Mr. Carson.
17      A. No, not just the text messages;              17      Q. Well, why would he say that you offered
18 specific quote where Ms. --                          18 to give him a wink and a nod when this whole thing
19      Q. Are you reading from a text message?         19 ends?
20      A. No, I'm recollecting my memory from a        20      A. Mr. Carson, I am not Danny Thomas and I
21 piece of evidence that you gave to us.               21 can't answer that question.
22      Q. Is it a text message?                        22      Q. So he's lying when he says that, right?
23      A. It's a text message you gave to us,          23      A. About what, Mr. Carson?
24 yes.                                                 24      Q. He's lying when he says you offered to
25      Q. Why do you keep saying no then? I'm          25 pay for his testimony.
                                             Page 309                                                       Page 311
 1 asking you if it's a text message.                   1      A. Mr. Carson, I don't believe that Danny
 2      A. I didn't say no; I'm saying that it's a      2 Thomas has ever said that.
 3 --                                                   3      Q. I can play you the recording if you
 4      Q. You understand you're under oath, you        4 want.
 5 can't say no when the answer is yes.                 5      A. I appreciate to hear that, Mr. Carson.
 6      A. Well, Mr. Carson --                          6      Q. No problem. I would be happy to.
 7      Q. That's called a lie.                         7      A. Sure. Just as a point of information,
 8      A. Mr. Carson, I'm not lying. What I'm          8 do you have --
 9 saying is --                                         9      Q. You don't have to say -- there is no
10      Q. Stop perjuring yourself today.              10 question pending. No points of information are
11      A. I'm not reading from a text message;        11 required. Thank you, though.
12 I'm reading from a printout that came in discovery  12      A. -- a transcript that goes along with
13 that you gave to us. Now, this might be an e-mail,  13 the recording.
14 might be a text message --                          14      Q. I'm sure there is.
15      Q. You're holding a text message.              15           THE COURT REPORTER: Okay. I'm
16      A. This might be an e-mail, it might be a      16      going to go off the record for the
17 text message, and I'm quoting from it.              17      recording.
18      Q. Did it come from an electronic              18           MR. CARSON: No, we don't have to
19 communication?                                      19      go off the record. This can be on
20      A. It came from something that you             20      record.
21 provided to us in discovery, yes.                   21           THE COURT REPORTER: I mean when
22      Q. Okay.                                       22      you play it.
23      A. But there is all kind of things you         23           MR. GOLD: You would have no shot
24 gave to us. You gave to us WhatsApp, you gave to us 24      at stenographically recording this
25 text messages, you gave to us e-mails.              25      thing.
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 1          (Audio played.)                                1 Barbounis I believe he's credible, yes.
 2 BY MR. CARSON:                                          2     Q. You think he's a credible person,
 3     Q. He said I'm fuckin' testifying,                  3 period.
 4 brother, under oath. I'm taking her to fuckin' town.    4     A. I do. I also believe --
 5     A. Yeah.                                            5     Q. You do.
 6     Q. Does that sound like someone who is              6     A. -- that --
 7 credible?                                               7     Q. No, no, I don't need to know what else
 8     A. Yes, a hundred percent, especially               8 you believe. The question was about Daniel Thomas
 9 because if we go back to earlier question --            9 and your feelings on his credibility.
10     Q. You think Daniel Thomas is credible?            10     A. When Mr. Thomas is speaking about Lisa
11     A. Well, in --                                     11 Barbounis --
12     Q. I asked you a yes or no question.               12     Q. Mr. Roman, there is no question
13     A. -- in reference --                              13 pending. None.
14     Q. I don't need to know --                         14     A. You didn't let me finish because you
15     A. In reference --                                 15 cut me off on the last --
16          THE COURT REPORTER: Please one at             16     Q. I asked you a yes or no question.
17     a time.                                            17 There is nothing to finish.
18 BY MR. CARSON:                                         18     A. I would like to --
19     Q. Gregg, stop. Seriously. I'm asking              19     Q. Do you think he's credible.
20 you yes or no questions. That's it.                    20     A. -- just put -- I would like to --
21     A. No, Mr. Carson.                                 21     Q. I'm going to play the rest of the
22          MR. GOLD: Hold on. Ask the                    22 recording now.
23     question, let him answer, then you can             23     A. You just said do you think he's
24     follow with another question.                      24 credible --
25 BY MR. CARSON:                                         25     Q. Yeah, and you said I do.
                                               Page 313                                                       Page 315
 1     Q. Do you think Daniel Thomas is credible,          1     A. -- then you said -- then you said
 2 yes or no?                                              2 period, then I said --
 3     A. In what terms, Mr. Carson? He's                  3          (Audio played.)
 4 probably --                                             4          THE WITNESS: -- Mr. -- can I
 5     Q. Do you think he's a liar? You don't              5     finish my --
 6 know what credible means?                               6 BY MR. CARSON:
 7     A. Mr. Carson --                                    7     Q. No.
 8     Q. No, no, no, I -- do you know what                8     A. -- question?
 9 credible means?                                         9     Q. There is no question pending.
10     A. Mr. Carson --                                   10          (Audio played.)
11     Q. No, no.                                         11          THE WITNESS: Mr. Gold, can you
12     A. -- the answer is much more complicated          12     please --
13 than that.                                             13          (Audio played.)
14     Q. Mr. Roman, stop. I'm not asking you to          14 BY MR. CARSON:
15 give me a complicated response to a definition of a    15     Q. I'm taking her to fuckin' town, that's
16 word. I can read you the definition of the word        16 what he says, right?
17 credible if you would like me to. Do you want -- do    17     A. Then he says then she ruined my life.
18 you need me to do that?                                18 So, yeah, that's what he said.
19     A. So as many cases show in this, this             19          (Audio played.)
20 case is much more complicated than just a yes or no    20          THE WITNESS: Can we stop there
21 question affords to.                                   21     for a second?
22     Q. Do you think that Daniel Thomas is              22 BY MR. CARSON:
23 credible, yes or no?                                   23     Q. No.
24     A. When Danny Thomas is speaking about the         24     A. Okay. I can't comment if you won't let
25 pain inflicted upon him and what happened with Lisa    25 me give the piece by piece if I don't see any written

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 1 transcript in front of me.                           1          MR. GOLD: What are you doing?
 2      Q. Mr. Roman, there is no question              2      You're talking to yourself now, Carson?
 3 pending. You're just talking for no reason.          3      One question at a time and let him
 4      A. And you're playing a tape that I can't       4      answer the question.
 5 comment on.                                          5 BY MR. CARSON:
 6            MR. GOLD: (Indiscernible.)                6      Q. Yes or no?
 7            THE COURT REPORTER: I can't hear          7      A. Can you read back the question?
 8      you, Mr. Gold.                                  8      Q. Did you ever give him a little wink and
 9            MR. GOLD: What is he -- if there          9 tell him when this is all over we're going to thank
10      is no question pending, what is he             10 you?
11      doing?                                         11      A. Mr. Carson, that's a compound question.
12            MR. CARSON: Is everyone going to         12 One question at a time, please.
13      stop talking so I can play this? Thank         13      Q. No, it's not a compound question. Did
14      you.                                           14 you do that?
15            (Audio played.)                          15      A. Did you give him a wink, that's one
16 BY MR. CARSON:                                      16 question --
17      Q. He gave me a little wink and said when      17      Q. No, I'm not --
18 this is all over we'll thank you.                   18      A. -- and then did you do something else.
19      A. Yeah.                                       19      Q. I'm asking if you did that, yes or --
20      Q. What did he mean by that?                   20      A. Do what?
21      A. I don't know, Mr. Carson. I'm not           21      Q. -- no? Did you give him a little wink
22 Mr. Daniel Thomas. But I can tell you what he may 22 and did you tell him when this is all over we're
23 mean.                                               23 going to thank you. That's one question. Did you do
24      Q. Did you give him a little wink and tell     24 that?
25 him when this is all over we're going to thank you? 25      A. No, I had him meet a man named Matthew
                                               Page 317                                                       Page 319
 1       A. No, Mr. Carson, I never told him that.         1 Altass, who is the premier e-discovery expert in the
 2       Q. Okay. So he's lying then.                      2 United States -- sorry, not in the United States; in
 3       A. No, he may not be lying. What he may           3 the United Kingdom --
 4 be talking about is a man named Matthew Altass,         4      Q. Mr. Roman, I don't need to know --
 5 A-l-t-a-s-s.                                            5      A. Mr. Carson --
 6       Q. He said that -- he said I talked to            6           MR. GOLD: Let him finish his
 7 Gregg Roman, he gave me a little wink and told me --    7      answer.
 8       A. Yeah.                                          8 BY MR. CARSON:
 9       Q. -- when this is all over we're going to        9      Q. Go ahead.
10 thank you. Did you --                                  10      A. -- in order to assure the chain of
11       A. Exactly.                                      11 custody of Mr. Thomas's two electronic devices of
12       Q. -- do that? Did you do that?                  12 which a picture should have been provided to you in
13       A. No -- Mr. Carson, I'm answering your          13 discovery -- if they weren't, I'm asking Mr. Cavalier
14 question.                                              14 to please give that to him -- so that the purity of
15       Q. No. Mr. Roman --                              15 his testimony and the purity of his evidence wouldn't
16       A. A man --                                      16 be questioned such a way as doing right now.
17       Q. -- did you do that? Did you give him a        17 Immediately after Mr. Thomas agreed to testify at the
18 little wink and did you tell him when this is all      18 U.S. Embassy in London the following happened, which
19 over we're going to thank you.                         19 I think was an example of Lisa Barbounis taking part
20           MR. GOLD: One question at a time.            20 in witness tampering --
21       One question at a time. And let him              21      Q. I don't want to hear about your
22       answer the question.                             22 speculation about my client.
23 BY MR. CARSON:                                         23      A. It's not speculation, Mr. Carson. I
24       Q. You never did that, right? That's your        24 have sources that I'm willing to share with you right
25 testimony.                                             25 now. Would you like to hear that?

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 1     Q. I'm not interested.                             1       Roman?
 2     A. Okay.                                           2            THE WITNESS: No, I'm not,
 3     Q. Really not. Thank you, though.                   3      Mr. Gold.
 4     A. Okay. Well, then I can't --                      4           MR. CARSON: Yeah, you are.
 5     Q. When is the last --                              5           MR. GOLD: Finish your answer
 6     A. -- give you a complete answer on why I           6      then, Mr. Roman.
 7 think that --                                           7           MR. CARSON: It was a yes or no
 8     Q. You --                                           8      question and you answered it.
 9     A. -- his --                                        9 BY MR. CARSON:
10     Q. Through your lawyers you can make               10      Q. When is the last time -- when is the
11 whatever arguments you want. I'm not doing that with   11 last time you spoke to Daniel Thomas?
12 you right now.                                         12           MR. GOLD: Mr. -- let him answer
13     A. It's not an argument, Mr. Carson. It's          13      the previous question and then he'll
14 my belief on what he meant when he --                  14      give you the answer to that question.
15     Q. Mr. Roman, you got to stop.                     15      Go ahead.
16     A. -- said what you represented he said.           16           MR. CARSON: There is no question
17     Q. You got to stop. Seriously.                     17      pending.
18          MR. GOLD: Mr. Carson, you're not              18           MR. GOLD: There is a question
19     -- he's trying to complete his answer --           19      pending because there's an answer
20          MR. CARSON: There's no --                     20      pending. The answer is pending -- yeah,
21          MR. GOLD: -- you don't like --                21      there's no question, it's the answer
22          MR. CARSON: There's no question               22      that's pending.
23     pending.                                           23           MR. CARSON: There is no answer
24          MR. GOLD: -- the response, you're             24      pending.
25     trying to cut him off. Let him just                25           MR. GOLD: Let him finish his
                                               Page 321                                                       Page 323
 1      finish his answer --                              1      answer. Go ahead. Go ahead, Mr. Roman.
 2           MR. CARSON: There's absolutely no            2           THE WITNESS: Can the stenographer
 3      question pending right now.                        3     please read back the question?
 4           MR. GOLD: He's finishing his                  4          MR. CARSON: No, she's not going
 5      answer --                                          5     to read back the question. She's not
 6           MR. CARSON: No, he's not.                     6     doing that. You're not doing that to
 7           MR. GOLD: -- to your last                     7     the stenographer right now.
 8      question.                                          8          MR. GOLD: I think you were at the
 9 BY MR. CARSON:                                          9     part of talking about this electronic
10      Q. You can answer this question. When is          10     e-discovery expert in the UK, that's
11 the last time you spoke to Daniel Thomas?              11     where you were.
12           MR. GOLD: We're going to let                 12          THE WITNESS: Okay. So --
13      Mr. Roman finish the answer and then you          13 BY MR. CARSON:
14      can ask your next question.                       14     Q. Just do what you got to do.
15           MR. CARSON: Answer to what                   15     A. Okay. So you're talking about this
16      question?                                         16 wink and whatever. Okay? So what we did was --
17           MR. GOLD: The question about a               17     Q. All I asked you was did you do it.
18      wink of the eye, whatever you're going            18     A. No, Mr. Carson, I'm trying to finish my
19      after --                                          19 answer.
20           MR. CARSON: He already answered              20          MR. GOLD: Mr. Carson, take the
21      that question.                                    21     food out of your mouth if you're going
22           MR. GOLD: He's not done answering            22     to ask a question.
23      the question.                                     23          Go ahead, Mr. Roman.
24           MR. CARSON: He is.                           24          THE WITNESS: Okay. So when
25           MR. GOLD: Are you done, Mr.                  25     Mr. Thomas was engaged in conversations
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 1     with Tommy Robinson -- when Daniel                1 Roman. I said did you -- did you do that.
 2     Thomas was engaged in conversations with          2      A. So when Mr. --
 3     Tommy Robinson, I believe that's when             3      Q. So why are you telling me about drug
 4     you were able to actually get that                4 deals? What the hell are you doing?
 5     recording, he received five phone calls           5      A. I'm trying -- I'm trying to give the
 6     from an associate of his named Si, S-i.           6 answer, Mr. Carson.
 7     In August when Danny Tommy was present            7      Q. No. No, no, no, no. I'm putting a
 8     these calls all came from an American             8 stop --
 9     phone number. They called Si and Danny            9      A. So --
10     Tommo got the phone call. Then he                10      Q. -- to this right now. I'm putting a --
11     started receiving calls from a Qatari            11      A. Hold on.
12     registered number and a visit from the           12      Q. -- stop to it. We're not going to do
13     UK counterterrorism police in September          13 this. You're done. You're done that answer.
14     of 2020. This was all around the time            14      A. I'm done -- I'm done what? I'm not
15     that a man named Darren Perry, a former          15 done the answer, Mr. Carson.
16     British serviceman who had been with             16      Q. Yeah, you are.
17     Tommy Robinson in the English Defence            17      A. I'll finish with one sentence. Is that
18     League and was close to his crew,                18 fair?
19     started being around a drug deal that            19      Q. No.
20     went wrong where because of Mr. Thomas           20      A. Okay.
21     Perry lost a huge amount of money. As a          21      Q. I'm going to ask you the next question
22     result, the same threats that were made          22 now. The next question is --
23     against Mr. Jordan James, another woman          23      A. Sure.
24     named Ashley, and so on, ended up being          24      Q. -- when is the last time you spoke to
25     the same things that happened to                 25 Daniel Thomas?
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 1      Mr. Thomas. The people who were                  1          MR. GOLD: What's the next
 2      involved with the threats against him            2      question?
 3      include Steven Clark, Gary Paige, Andy           3 BY MR. CARSON:
 4      Harrison --                                      4      Q. When is the last time you spoke to
 5 BY MR. CARSON:                                        5 Daniel Thomas?
 6      Q. What question --                              6      A. The last time I spoke with Daniel
 7      A. -- Nick Walsh --                              7 Thomas was after Lisa Barbounis engineered the
 8      Q. -- are you answering right now? What          8 quieting of the witness by Tommy Robinson.
 9 are you telling me?                                   9      Q. When is the last time you spoke to
10      A. -- Jamie McClintock.                         10 Jazmin Bishop?
11      Q. What are you telling me?                     11      A. Last time I spoke with Jazmin Bishop
12      A. So when Mr. -- when Mr. Thomas --            12 was after Lisa Barbounis engineered the quieting of
13      Q. What question are you answering right        13 her as a witness.
14 now? What -- I don't even know what you're telling   14      Q. When is the last time, I'm sorry?
15 me.                                                  15      A. After Lisa Barbounis threatened to kill
16      A. The wink --                                  16 Jazmin Bishop and after she arranged the quieting of
17      Q. You're just blabbing.                        17 the witness through Tommy Robinson.
18      A. The wink -- the wink question, Mr.           18      Q. Have you ever asked for that money
19 Carson.                                              19 back? How much --
20      Q. The question was did you say that.           20      A. Yes, Mr. Carson.
21      A. So --                                        21      Q. -- money do you -- how much money do
22           THE COURT REPORTER: One at a               22 you think was stolen by Daniel Thomas?
23      time.                                           23      A. I believe that -- if you look at the
24 BY MR. CARSON:                                       24 contract that was signed --
25      Q. That was the question I asked you, Mr.       25      Q. I just need an amount. How much?
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 1     A. -- between -- the entirety of the money          1 a result of him --
 2 was defrauded from MEF so we will be demanding in a     2       Q. Mr. --
 3 future legal action the full amount of money -- and     3       A. -- defrauding us.
 4 actually it was actually conveyed from him.             4       Q. Mr. Roman, I didn't ask you how much
 5     Q. How much?                                        5 money you're trying to recover from my client in
 6     A. If you read -- if you read --                    6 litigation. I said how much money --
 7     Q. How much money?                                  7       A. I'm not talking about your client; I'm
 8     A. -- the complaint --                              8 talking about Daniel Thomas.
 9     Q. That's the question. How much?                   9       Q. Can I please finish the question?
10     A. Probably --                                     10       A. Sure.
11          THE COURT REPORTER: I can't take              11       Q. How much money are you alleging was
12     both of you at the same time. Please               12 stolen from the Middle East Forum?
13     one at a time.                                     13       A. From who?
14 BY MR. CARSON:                                         14       Q. Are you alleging that money was stolen
15     Q. Stop. I'm asking you a question. How            15 by the -- from the Middle East Forum?
16 much money?                                            16       A. I'm alleging --
17     A. Mr. Carson, if you'll just --                   17       Q. Yes or no? Are you alleging -- in the
18     Q. How much money are we talking about?            18 case -- in a counterclaim against Lisa Barbounis that
19     A. If you would let me finish my answer,           19 -- it's based on money that was stolen from the
20 please.                                                20 Middle East Forum, yes or no?
21          MR. GOLD: Lower the decibel here              21       A. Mr. Carson, I am alleging -- actually
22     -- I mean, you're like -- my -- there's            22 it's not me, it's the organization that's alleging,
23     no need to scream. We're really --                 23 that Ms. Barbounis both facilitated, she covered up,
24 BY MR. CARSON:                                         24 she defrauded, and then breached her duty of loyalty
25     Q. How much money are we talking about?            25 to the organization, because as I say what she quotes
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 1     A.    Mr. Carson, it would be --                    1 on Thursday, March 7th, 2018, she says "and now I
 2          MR. GOLD: Hold on, Mr. Roman.                  2 have proof about the money." She says you are a liar
 3     Please slow it down. The stenographer               3 and a thief.
 4     is not going to -- the record is going              4      Q. How much money are we talking about?
 5     to be lousy.                                        5      A. She says you will never change because
 6          THE COURT REPORTER: The record is              6 you are a horrible human.
 7     going to be a mess. The record is going             7      Q. How much money are we talking about?
 8     to be a mess.                                       8      A. Tens of thousands of pounds --
 9 BY MR. CARSON:                                          9      Q. How much exactly --
10     Q. How much money are we talking about?            10      A. -- that would be --
11 How much money --                                      11      Q. -- was taken?
12     A. Can I answer --                                 12      A. Exactly -- like I said beforehand in
13          MR. CARSON: Please type my -- I               13 the original answer, 25,000 pounds --
14     want every time I ask this question to             14      Q. Okay. Thank you.
15     be on the record.                                  15      A. -- plus interest --
16 BY MR. CARSON:                                         16      Q. I'm going to ask another question now.
17     Q. How much money are we talking about?            17 Thank you.
18     A. So, like I said before --                       18      A. I can't -- I want to finish --
19          MR. GOLD: Well, you've                        19      Q. 25,000 pounds.
20     interrupted him four times already, so             20      A. -- the answer, Mr. Carson.
21     go ahead.                                          21      Q. Can you give me a breakdown of why --
22 BY MR. CARSON:                                         22          MR. GOLD: What's the next
23     Q. How much money are we talking about?            23      question?
24     A. It would be 25,000 pounds plus interest         24 BY MR. CARSON:
25 plus whatever punitive damages that we would have as   25      Q. Why is it 25,000 pounds? Give me --
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 1 how much?                                              1 Bishop --
 2      A. As I said beforehand, the approximate          2      Q. Daniel Thomas is a witness in this
 3 amount would be the amount of money that we granted 3 case?
 4 to the individuals who organized the Tommy Robinson 4         A. He may be. I think we may have put him
 5 rally in June of 2018 plus interest --                 5 on the list of the initial Rule 26 disclosures. If
 6      Q. All that money was stolen.                     6 he's not there, he should be amended.
 7      A. Yes, as a result of breach of contract,        7      Q. You're going to fly him to the United
 8 we have a duty that's in that contract, you can        8 States?
 9 review the contract -- it's an exhibit that's part of  9           THE COURT REPORTER: What was
10 the counterclaim, that allows us to collect not just  10      that?
11 the money that was granted but also any damages that  11           THE WITNESS: I will do --
12 came as a result of our organization being defrauded  12           THE COURT REPORTER: What was
13 by Lisa Barbounis and Daniel Thomas.                  13      that?
14      Q. How much money exactly did they -- do         14           THE WITNESS: -- whatever is
15 you allege was used that didn't go toward putting on  15      necessary to make sure -- you know, so
16 the rally?                                            16      -- we got coronavirus we got to worry
17      A. Well, Mr. Carson, I believe that there        17      about, we have to worry about maybe the
18 is an accounting of that that came --                 18      guy's going to be --
19      Q. So how much is it?                            19 BY MR. CARSON:
20      A. I would say at least, if you look at          20      Q. I asked if you were going to fly him to
21 the contractual language, all of the money was        21 the United States. It's a yes or no question. I
22 misappropriated, and as soon as one pound is          22 don't need to hear about coronavirus.
23 misappropriated, all the money is misappropriated     23      A. I don't know. You know, there may be
24 according to the terms of the contract. It's very     24 the ability for us to conduct --
25 clear. It's very clear.                               25           MR. GOLD: We'll check with his
                                              Page 333                                                       Page 335
 1      Q. And you're alleging that Ms. Barbounis        1      travel agent.
 2 was involved in Daniel Thomas not spending all the    2           THE WITNESS: Yeah. Well, not
 3 money on the -- allegedly not spending all the money  3      just that --
 4 on the rally?                                         4           MR. CARSON: Thank you.
 5      A. As soon as she became aware of the            5           THE WITNESS: -- some judges now
 6 fraud she had a duty to the organization to report    6      are allowing for --
 7 it. As soon as she stopped and thought about it and   7           MR. CARSON: I heard your
 8 said it in multiple messages to other people, she     8      attorney's answer. Thank you.
 9 became part of the conspiracy. When she became part   9           THE WITNESS: Okay.
10 of the conspiracy of fraudulent -- aiding and        10 BY MR. CARSON:
11 abetting the fraudulent misrepresentation of funds   11      Q. So Daniel Thomas told you that he stole
12 which were granted to Danny Thomas, she breached her 12 money?
13 duty of loyalty to the organization, and that's why  13      A. Yes.
14 those three claims have been filed against Ms.       14      Q. Did you ask for it back?
15 Barbounis.                                           15      A. Yes.
16      Q. Can you prove any money was stolen?          16      Q. From Daniel Thomas.
17      A. Yes.                                         17      A. I did.
18      Q. How?                                         18      Q. In writing?
19      A. Based on the testimony of at least four      19      A. I think I did verbally and I also said
20 people involved and the text messages of             20 that we are considering pursuing litigation against
21 Ms. Barbounis and of Ms. McNulty and of Ms. Marnie   21 Mr. Thomas both in the United States and in the
22 Meyer. I have seven witnesses who will show that     22 United Kingdom. We --
23 that money was stolen.                               23      Q. Have you done anything? Have you
24      Q. Well, name one of them.                      24 started any litigation against Daniel Thomas?
25      A. I just did. Daniel Thomas, Kalina [ph]       25      A. Yes, there is two pending lawsuits that
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 1 we're about to file. The first is being filed by        1 ability to take a barrister or a solicitor to start
 2 Sidkoff, Pincus & Green. The attorney is Robert         2 pre-discovery before the filing of a lawsuit. The
 3 Davitch.                                                3 Middle East Forum has attained a lawyer in the United
 4      Q. I asked you a yes or no question. Have          4 Kingdom -- first we attained the firm Mishcon de
 5 you started any litigation against Daniel Thomas as     5 Reya, which was in March of 2020, and they were to
 6 of today. It's 11/20/2020. Can I go into a docket       6 interview Jazmin Bishop before Ms. Bishop was
 7 somewhere and see a case that you filed against him,    7 intimidated into no longer testifying and then --
 8 yes or no?                                              8           THE WITNESS: Mr. Gold, do you
 9      A. No, well -- Mr. Carson, as you know --          9      know the name of the firm -- or
10      Q. So you haven't --                              10      Mr. Rieser, do you know the --
11      A. -- the process --                              11 BY MR. CARSON:
12      Q. -- started litigation against Daniel           12      Q. You can't ask your lawyers questions in
13 Thomas today.                                          13 the middle of a deposition.
14      A. -- the process of starting                     14      A. Okay. Sorry. So there is a firm whose
15 litigation --                                          15 name I don't specifically remember right now but I
16      Q. So stop lying, Mr. Roman.                      16 know that there has been this whole mess over a
17           MR. GOLD: Hold on.                           17 passport photo, but there is a firm in the UK that's
18 BY MR. CARSON:                                         18 already been on Daniel Thomas for at least two months
19      Q. Stop saying yes when the answer is no.         19 and they are working in conjunction with Sidkoff
20           MR. GOLD: Mr. Carson, the word               20 Pinus & Green to file a RICO case against your
21      started means retaining a lawyer --               21 client, Ms. Lisa Barbounis, and I expect that
22           MR. CARSON: No, it doesn't. Mr.              22 complaint to either be given to you as a way in which
23      Gold -- no, it doesn't.                           23 to start settlement negotiations or to be filed in
24           MR. GOLD: (Indiscernible.)                   24 the Eastern District in the coming weeks.
25           MR. CARSON: Have you initiated               25      Q. Never have to give that to me to begin
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 1      any litigation I said.                             1 settlement negotiations.
 2           THE COURT REPORTER: Excuse me.                2      A. Well, I'm just saying, I don't know how
 3      Excuse me. I can't hear Mr. Gold. I                3 it works, but a letter was sent to you on September
 4      couldn't hear any of that conversation.            4 28th --
 5      Everybody is talking all over each                 5      Q. Okay. All right. There is no --
 6      other.                                             6      A. -- and --
 7 BY MR. CARSON:                                          7      Q. Mr. Roman, there is no question pending
 8      Q. Have you initiated any litigation. The          8 right now. We're not having a conversation with each
 9 answer is no, correct?                                  9 other.
10      A. No, that's incorrect. I have initiated         10          MR. GOLD: Next question.
11 litigation.                                            11          THE WITNESS: I'm just answering
12      Q. So there is a courthouse -- what court         12      your last question.
13 have you filed a case in?                              13          MR. GOLD: Next question.
14      A. So in the United Kingdom --                    14 BY MR. CARSON:
15      Q. What court have you filed a case in?           15      Q. Is there any other basis for the
16 Just give me the name of the court.                    16 counterclaim other than what you've already testified
17      A. Mr. Carson, I'm still answering the            17 to?
18 last question.                                         18      A. Yes, there is at least 12 charges we're
19      Q. No, you're not. What court have you            19 considering.
20 filed a case in?                                       20      Q. I'm -- Mr. Roman, I'm not asking you
21      A. Mr. Carson, if you're familiar with the        21 about things that aren't in the counterclaim that are
22 way in which common law works in the United            22 bouncing around in your brain.
23 Kingdom --                                             23      A. Not 12 legal charges.
24      Q. Can you give me the name of the court?         24      Q. I'm asking you about what is in the
25      A. -- there is the ability -- there is the        25 counterclaim that you filed. Do you understand the

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 1 difference?                                             1 the basis of the counterclaim?
 2           MR. GOLD: Mr. Carson, you're                  2           MR. CAVALIER: Same objection.
 3      getting abusive now. If it's getting               3 BY MR. CARSON:
 4      late for you, take a break and, you                4      Q. The factual basis is what I'm talking
 5      know, get a cup of coffee, but --                  5 about.
 6           MR. CARSON: No, Mr. Gold, why                 6      A. Sure. So we can start --
 7      don't you take a break and have a                  7           MR. CAVALIER: Same objection.
 8      conversation with your client.                     8           THE WITNESS: -- in June of
 9           MR. GOLD: You know what, why                  9      2018 --
10      don't we just take a five-minute break.           10 BY MR. CARSON:
11      We have a -- we're trying to get to the           11      Q. Do you understand what the basis means?
12      end of this thing. I just don't want              12      A. Yeah, yeah, I'm giving you the evidence
13      the record to be so replete with people           13 which --
14      jumping in and out. I respect the                 14      Q. Let me help you. Let me help.
15      stenographer. And I want the record to            15           MR. GOLD: Mr. Carson -- you're
16      be clean. So let's take a five-minute             16      getting abusive again, Mr. Carson.
17      break, everybody take a deep breath, and          17 BY MR. CARSON:
18      come back and --                                  18      Q. I'm going to help. The basis of the
19           MR. CARSON: I want him to answer             19 counterclaim begin -- so you're alleging that Lisa
20      the question that's pending. He has to            20 Barbounis and Daniel Thomas --
21      answer the question --                            21           MR. GOLD: (Indiscernible.)
22           MR. GOLD: What's the question?               22           MR. CARSON: Why are you
23 BY MR. CARSON:                                         23      interrupting me?
24      Q. The question that's pending, is there          24           THE COURT REPORTER: I can't hear
25 anything else that is in litigation now that the       25      you, Mr. Gold.
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 1 counterclaims are based on other than what you've       1          MR. GOLD: Mr. Carson, there is a
 2 already testified to?                                  2      counterclaim filed right now against
 3           MR. CAVALIER: Object to form.                3      your client.
 4           You can answer.                              4           MR. CARSON: Yeah, there is.
 5           THE WITNESS: Okay. So there's                5           MR. GOLD: You know what the basis
 6      Exhibit A to Exhibit HH which is replete          6      of it is. Just read it.
 7      with dozens of accusations that -- or             7           MR. CARSON: No. I'm asking your
 8      dozens of pieces of evidence that back            8      client about it.
 9      the three charges --                              9           MR. GOLD: Okay. He'll tell you
10 BY MR. CARSON:                                        10      what the basis of it is if that's what
11      Q. I want to know what -- I want to know         11      you want --
12 what the basis of the counterclaim is other than what 12           MR. CARSON: All right.
13 you've already testified to.                          13 BY MR. CARSON:
14      A. We'll have to go through each exhibit         14      Q. So the --
15 and I can give you the relevance to each part if you  15           MR. CARSON: Stop interrupting,
16 would like to do that.                                16      please.
17      Q. We're not going to take a break and let       17 BY MR. CARSON:
18 your lawyers tell you and then come back and tell me. 18      Q. The basis that you've already testified
19      A. You don't have to. I don't have to            19 to is money that was stolen with regard to this
20 take a break, Mr. Carson. I can go exhibit by         20 25,000 dollar -- pound grant. So what -- besides
21 exhibit right now without taking a break. Let's do    21 that grant, what else is the basis of your
22 it.                                                   22 counterclaim?
23      Q. No. I want to know from you what the          23           MR. CAVALIER: Object to form.
24 basis of the counterclaim is. I'm not going to show   24           You can answer.
25 you the complaint so you can read it to me. What is   25           THE WITNESS: So we start in June
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 1      of 2018. Ms. Barbounis gives the                 1     A. Well, you're asking me about the
 2      representation that Daniel Thomas is a           2 diagram.
 3      reliable agent from which we can use to          3     Q. No, I didn't. I said explain it.
 4      facilitate a rally in the United                 4 What's the first thing you would show me?
 5      Kingdom.                                         5     A. Well, to explain it I have to look at
 6 BY MR. CARSON:                                        6 it.
 7      Q. That's the one I just said.                   7     Q. No. Mr. Roman, I'm asking you a
 8      A. Huh?                                          8 question. You're refusing to answer it.
 9      Q. This is the one I just said, the 25,000       9     A. I'm not refusing. I'm trying --
10 pound.                                               10     Q. Then tell me what the basis is.
11      A. I'm getting there. You asked me what         11           MR. GOLD: Mr. Carson --
12 the basis --                                         12 BY MR. CARSON:
13      Q. I'm asking what the other ones are.          13     Q. What is the basis of the counterclaim?
14      A. Well, Mr. Carson, it starts --               14           THE COURT REPORTER: Excuse me.
15           MR. GOLD: Mr. Carson, let him              15     Every time -- I can see Mr. Gold is
16      finish the answer.                              16     trying to say something. I can't hear
17           MR. RIESER: Seth, I think the              17     anything when you're saying something.
18      court reporter really needs a break.            18     It's just not coming through.
19           MR. CARSON: I said other than              19 BY MR. CARSON:
20      what we've already testified to.                20     Q. What's the basis for the counterclaim?
21           THE COURT REPORTER: I can't hear           21           MR. GOLD: Mr. Carson, please stop
22      anybody. I can't hear anybody.                  22     --
23           MR. RIESER: Seth, the court                23 BY MR. CARSON:
24      reporter really needs a break.                  24     Q. Stop going on your computer and pulling
25           MR. CARSON: Well, he's going to            25 up a diagram.
                                             Page 345                                                       Page 347
 1      answer this question first.                      1           MR. GOLD: Mr. Carson, stop
 2            MR. CAVALIER: You realize the              2      interfering with the witness's --
 3      question is so incredibly broad that you         3           MR. CARSON: He can't go on his
 4      got to give him leeway to answer.                4      computer and read an answer from his
 5            MR. CARSON: No, I don't. I said            5      computer screen, which is exactly what
 6      other than -- other than the 25,000,             6      he's doing right now.
 7      other than him -- other than the                 7           MR. GOLD: You already made that
 8      relationship with Daniel Thomas, what            8      clear. He's not going into the
 9      else. Is there anything else.                    9      computer, he's not --
10            THE WITNESS: Yes.                         10           MR. CARSON: That's exactly what
11 BY MR. CARSON:                                       11      he's doing right now.
12      Q. What?                                        12           THE WITNESS: That's not what I'm
13      A. Would it be -- would it help you if I        13      doing, Mr. Carson.
14 showed you a diagram.                                14 BY MR. CARSON:
15      Q. No, it would help me if you just were        15      Q. All right. So then tell me what --
16 specific and testify to that.                        16 why is this so difficult? Just tell me the basis of
17      A. The diagram has all the specificity          17 the counterclaim.
18 that might provide --                                18           THE COURT REPORTER: I can't hear
19      Q. Just tell me.                                19      you.
20      A. -- the answers that you're looking for.      20 BY MR. CARSON:
21      Q. Can you -- explain the diagram. What's       21      Q. Why is this so difficult? What's the
22 the first thing you would show me?                   22 basis for the counterclaim?
23      A. Okay. So give me a second. I'll get          23           MR. CAVALIER: Object to form.
24 the diagram.                                         24 BY MR. CARSON:
25      Q. No.                                          25      Q. What we're talking about is other --
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 1 other than what we've already testified to.             1      Q. How did the money get funneled from
 2      A. This is like Abbott and Costello Who's          2 Raheem Kassam --
 3 On First.                                               3      A. So if you --
 4           MR. CAVALIER: It's also not his               4      Q. -- back to --
 5      counterclaim.                                      5      A. -- look at the -- if you look at the
 6           THE WITNESS: Yeah, so -- no, but              6 text messages and the PayPal transfers between
 7      I can answer, Mr. --                               7 Raheem, Lisa, Tricia, and Vasili -- and we would have
 8 BY MR. CARSON:                                          8 to go to the -- I have it ready if you want to see
 9      Q. You're the quarterback of it.                   9 it.
10           THE WITNESS: -- Cavalier.                    10      Q. No, no. I want you to testify about
11           Mr. Carson, I am not the                     11 it.
12      quarterback of anything.                          12      A. Okay. Well, I'm testifying about what
13 BY MR. CARSON:                                         13 I've seen. So there's the --
14      Q. Just answer the question.                      14      Q. That's right.
15      A. Okay. So starting in June of 2018 you          15      A. -- there's the text messages between
16 know about -- you know about --                        16 Raheem, Lisa, and Tricia, and then Lisa says, hey,
17      Q. Now you're going to -- you're going to         17 Raheem, I'm going to get you that money, and at the
18 talk about the $25,000?                                18 same time she's telling me that Raheem is not willing
19      A. No, you know about the grant already.          19 to help host the event if he's not paid. So she's
20      Q. Right. Thank you.                              20 saying to me representing Raheem needs the money to
21      A. Okay? And how Ms. Barbounis defrauded          21 be able to do the event. She's saying to Raheem,
22 the organization by covering it up.                    22 hey, take that money, make sure that my husband gets
23      Q. Right, I understand --                         23 paid, it's going to help me pay to go over there.
24      A. Breach of contract, all of that. Then          24 And the whole reason why -- and this is even based on
25 there was another action that Ms. Barbounis started    25 Tricia's conversations with Lisa, Raheem Kassam was
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 1 right at the outset, too, and that was when she         1 trying to sleep with Tricia McNulty. It started at
 2 misappropriated $5,000 which was granted to Raheem      2 AIPAC in March of 2018 and then they were flirting
 3 Kassam, then a fellow of the Middle East Forum, and     3 over text messages. We'll probably see more when you
 4 directed the money to be paid from MEF to Kassam to     4 produce Tricia McNulty's text messages in the McNulty
 5 her husband to cover her flights to the United          5 case, that's still outstanding discovery obligations
 6 Kingdom when the written agreement that she had with    6 that you and your client in that case have. But at
 7 MEF that it would only be $300.                         7 the outset, from what we can tell from the Barbounis
 8      Q. What flights to the United Kingdom?             8 text messages, is is that thousands of dollars were
 9      A. The flights that she took to fly to             9 misappropriated in a scheme started by Lisa Barbounis
10 London.                                                10 before she even knew about Danny Thomas taking the
11      Q. When? When did she fly to London with          11 money. So that's where it starts. Then the next
12 this money?                                            12 basis for her fraudulent -- I'm speaking too fast. I
13      A. For the rally we're talking about, June        13 apologize. I'll try to go a little bit slower.
14 of 2018, the one that you asked me about beforehand.   14      Q. Just keep going.
15      Q. So $5,000 you're saying that was given         15      A. I saw the look of despair on the
16 to Raheem?                                             16 stenographer's face. I'm really sorry. So -- I'll
17      A. And then the money was funneled back to        17 slow down.
18 Vasili Barbounis.                                      18          Okay. So then Ms. Barbounis became
19      Q. Who funneled the money to Vasili               19 aware of a trip involving Congressmen Paul Gosar,
20 Barbounis?                                             20 representative from Arizona, and the travel of
21      A. Lisa Barbounis and Raheem Kassam. And          21 Mr. Cliff Smith, the director of the Washington
22 also Tricia McNulty took part in it, too.              22 Project of the Middle East Forum, and she writes to
23      Q. How?                                           23 her husband back in June of 2018, wow, I would quit
24      A. I think we're considering adding her as        24 right now if I knew that Cliff was going instead of
25 a third party complaint.                               25 me. That doesn't necessarily go to the actions that

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 1 she took, but it goes to motive. That's what we'll       1 to assist Mr. Robinson with his rally or release, but
 2 include in our arguments as it's associated with         2 it actually, even according to her testimony, was the
 3 that. She goes in July of 2018 to the UK which I         3 beginning of a love affair that took place between
 4 think is for another rally or maybe the release from     4 her and Mr. Thomas. She then defrauded MEF by
 5 jail for Tommy Robinson. And then she starts getting     5 alleging that I committed sexual harassment against
 6 involved with Danny Tommo in a more -- this was          6 her in March of 2018 with the intent of what she
 7 before they started their sexual relationship, but       7 calls the Gregg plan to get me fired. That caused
 8 she gets more involved with Danny Tommo and Tommy        8 unenumerated damages to the Middle East Forum with us
 9 Robinson saying to her mother, oh, I would like to go    9 losing donations, that cost us leading productive
10 work for Tommy Robinson, I would like to be the PA to   10 time, our relationships with congress -- our
11 Tommy Robinson, I would like to be able to meet him     11 organization was debilitated and handicapped because
12 after he gets out of jail. So then she travels to       12 of Ms. Barbounis's fraud. Now we get into December
13 the UK with her mother -- I think we already have       13 of 2018 and that is when some of the worst examples
14 testimony about this --                                 14 happen. She started to act as an agent for
15       Q. You're starting to go off -- you're            15 Mr. Robinson to try to get him a Visa to the United
16 starting to go rogue again. We need -- we're just       16 States, an act originally supported by Daniel Pipes,
17 talking about the basis of the counterclaim.            17 but a specific message was given to Ms. Barbounis
18       A. Yeah, this is the basis of the                 18 saying the organization's policy was it's better for
19 complaint, Mr. Carson.                                  19 Mr. Robinson to be in the UK where he can have his
20       Q. So you did a good job when you said the        20 activism rather than using company resources to try
21 5,000 with Raheem, you -- I'm just looking for the --   21 to facilitate what I think Ms. Barbounis considered
22 what was -- what the damages are, that's all.           22 asylum from the United Kingdom. Then in January and
23       A. Yeah. So the damages I would argue --          23 February of 2019 Ms. Barbounis started identifying
24       Q. I don't need to hear about her mother          24 herself as the director of communications for
25 and the relationship.                                   25 TR.news. TR.news is a for-profit corporation in the
                                                Page 353                                                       Page 355
 1      A. Well, no, but the mother and the                 1 United Kingdom which was originally organized in
 2 relationship have everything to do with it.              2 participation with a website called Politici [ph]
 3      Q. But just -- I don't need the whole               3 which was meant for Ms. Barbounis during that time --
 4 backstory, Mr. Roman. I know it. I've been working       4 there is recordings that you provided to us, I can
 5 on this for two years. I just want to know the           5 play those recordings if you want to hear them, where
 6 damages, what the basis is.                              6 she was trying to arrange a second job in the United
 7      A. So the damages I guess if we want to             7 Kingdom while at the same time representing through
 8 add something else -- and, by the way, just for the      8 MEF systems that she was our director of
 9 record, I stopped in July of 2018. There is a whole      9 communications. So it was basically like a virus
10 story to tell until even today --                       10 that took over the systems of an organization. She
11      Q. I don't need to hear --                         11 step by step started co-opting the levers of power in
12      A. -- where the conspiracy continues.              12 the organization to use MEF money, MEF time. She
13      Q. -- the whole stories, but go, what's            13 misappropriated --
14 the basis.                                              14      Q. How much MEF money has she used?
15      A. So the damages would also be the                15      A. I would say that the damages that she's
16 after-acquired evidence that we've had from the time    16 directly and --
17 that Lisa Barbounis started defrauding our              17      Q. How much MEF -- I don't want to know
18 organization, so I guess we would be seeking her to     18 the total damages. I want to know how much money she
19 pay her entire salary to us that we paid to her while   19 used that was MEF's money for any of this stuff that
20 she was defrauding us from June of --                   20 you're saying she did.
21      Q. Is there any other examples of her              21      A. So -- it depends on --
22 defrauding you than what you've said now --             22      Q. Like if a plane ticket was 500, the
23      A. Yes, many. So in October of 2018 she            23 answer is 500.
24 misrepresented the reason why she wanted to go to the   24      A. No. So it's not 500. If we're going
25 United Kingdom. She said it was because she wanted      25 to do a damage assessment and calculate the damages

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 1   --                                                   1that Gary was back, also that Marnie had made another
 2     Q. Just give me a ballpark number, man.            2allegation against Gregg which Gregg was very upset
 3 Come on.                                              3 about because he didn't know what the allegation was.
 4     A. -- she's responsible for at least $4           4 They were apparently concerned that Marnie may have
 5 million in damages done to the Middle East Forum.     5 gone out to find an old intern of MEF by the name of
 6     Q. How much?                                      6 Gabrielle Bloom.
 7     A. $4 million is the minimum amount of            7           So when another allegation came about
 8 what she's responsible in her damages to the Middle   8 you, why did you think it was Gabrielle Bloom they
 9 East Forum.                                           9 were talking about?
10     Q. You're not understanding my question.         10      A. Well, first of all, I don't think there
11          MR. CARSON: All right. We can               11 was another allegation against me. I think that
12     take that break now.                             12 there was a misrepresentation of a phone call to
13          MR. GOLD: Thank you.                        13 Daniel Pipes by Tricia McNulty where McNulty revealed
14          (A discussion was held off the record.)     14 to Matt Bennett that there was a rumor that Lisa
15          THE VIDEO SPECIALIST: We are off            15 Barbounis started about me, and thereby I said to
16     the record. It is 7:16 p.m. Eastern.             16 Mr. Bennett they're trying to get everyone against
17          (A brief recess was taken.)                 17 me, and by everyone I meant people who may have ever
18          THE VIDEO SPECIALIST: It is 7:32            18 been employed by MEF, and I don't think this is the
19     p.m. Eastern and we are now on the               19 only name I said, I said Grayson Levy, I said Gary
20     record at 7:32 p.m. Eastern.                     20 Gambill, who had just been rehired at that time by
21 BY MR. CARSON:                                       21 the Middle East Forum, I spoke about Bennett himself,
22     Q. Who is Gabrielle Bloom, Mr. Roman?            22 and the reason why I was speaking to Bennett was
23     A. Well, I know a few Gabrielle -- I             23 because he was helping me with a story that I was
24 actually know two. I believe the one you're speaking 24 writing, and I actually believe it was he who
25 about was an intern at the Middle East Forum.        25 initiated phone calls with me rather than I who
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 1       Q. Did you guys pay her money?                   1 initiated phone calls with him.
 2       A. You guys, the Middle East Forum.              2      Q. The other claim against you was a claim
 3       Q. Sure.                                         3 that Marnie Meyer made where she said that you were
 4       A. At the direction of Lara Szott and the        4 spreading rumors about her and Caitriona Brady's
 5 suggestion of Marnie Meyer she received a agreement 5 father. Do you recall that?
 6 for four projects of extra work in the summer of 2016  6      A. No, I never spoke with Meyer or Brady
 7 or '17. Of how much she accomplished, you have to      7 about that, but the e-mails that I've seen since this
 8 ask Lara since she was her supervisor.                 8 litigation began show that Lisa Barbounis started
 9       Q. So do you recall a telephone call             9 that rumor, not Marnie Meyer.
10 between you and Matthew Bennett --                    10      Q. What e-mail have you seen that shows
11       A. Matt Bennett and I have had countless        11 that Lisa Barbounis started that rumor?
12 phone calls. Which one are you referring to?          12      A. There was a communication between
13       Q. I wasn't done the question.                  13 Daniel Pipes and Lisa Barbounis where Daniel asks I
14           So -- I'm going to put a document in        14 believe it was either Marnie or Lisa where did you
15 front of you.                                         15 hear this rumor, Marnie says Lisa, and then the
16       A. Okay.                                        16 question is was that before or after November 2018,
17       Q. So it's way up -- past it. All right.        17 and Lisa says before.
18 So I'm going to put a document in front of you and    18      Q. Weren't they talking about when you
19 it's going to look like this. So Tricia McNulty sent  19 spread the rumor?
20 an e-mail to Gregg Roman like this. She sent -- and   20      A. That's a question based on a factual
21 she talks about this phone call. I received a phone   21 predicate that didn't exist, Mr. Carson. I never
22 call from Matt Bennett last night. He started the     22 spread any rumor --
23 conversation with pleasantries but then began to      23      Q. But --
24 discuss current MEF internal operations. He is        24      A. -- or started --
25 apparently speaking to Gregg every two days, knew     25      Q. -- that's what they were referring to,
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 1 right?                                                   1 Daniel Pipes?
 2      A. I don't know what they were referring            2      A. Whenever the top of the time stamp has
 3 to. I think that they were actually referring to the     3 the e-mail addressed to it. I don't remember the
 4 groundwork they were laying to prepare for litigation    4 exact day, Mr. Carson --
 5 against the Middle East Forum.                           5      Q. What did you say in the e-mail?
 6      Q. In April of 2019 that's what your                6      A. I don't remember what I said,
 7 testimony is, that they were laying groundwork for       7 Mr. Carson.
 8 litigation?                                              8      Q. Did Mr. Pipes ever talk to you about it
 9      A. My testimony is that after this                  9 in person?
10 litigation began I had the opportunity to review        10      A. Not that I remember -- well, yes, he
11 thousands of messages between Meyer and McNulty and     11 did, Mr. Carson.
12 Brady and Barbounis and Yonchek and also the messages   12      Q. Did he talk to you about it in person
13 between Barbounis and dozens of other individuals in    13 back in the middle of 2019?
14 the United Kingdom and also Belgium and Canada and      14      A. No, Mr. Carson. The only time I was
15 Texas --                                                15 with Daniel Pipes in the middle of 2019 was twice,
16      Q. Mr. Roman --                                    16 once to record videos that were for MEF's 2019 --
17      A. -- and Washington D.C. --                       17      Q. When I say talk to you in person --
18      Q. -- I asked you --                               18 when I say talk in person, that includes phone calls.
19      A. I'm answering your question.                    19      A. No, I don't remember speaking to him
20      Q. It has nothing to do with text messages         20 over the phone about --
21 in the United Kingdom.                                  21           THE COURT REPORTER: Sorry.
22      A. It has everything to do with it, Mr.            22      Repeat that, Mr. Carson.
23 Carson.                                                 23 BY MR. CARSON:
24      Q. I asked you if they were referring to           24      Q. When I say talk in person, I don't mean
25 something that happened before November of 2018,        25 face to face, I mean have a conversation that's not
                                                Page 361                                                       Page 363
 1 isn't that what they were talking about.                 1 electronic, phone calls included. Okay? That's what
 2      A. No, and I answered that, I said that             2 I mean.
 3 question was based on a factual predicate that           3       A. Right. No, what I remember is is that
 4 doesn't exist, thereby there was no rumor.               4 whenever there was an allegation that was of a legal
 5      Q. The allegation was is that you said              5 nature or anything dealing with anything that was
 6 that the only reason Marnie Meyer got her job was        6 innuendo or sexual or anything of a personal nature
 7 because she was trading sex with Caitriona Brady's       7 it was always either done with counsel or it was done
 8 father, right?                                           8 electronically so there was a record that would be
 9      A. No, you then asked me what was the               9 established in the case of eventual litigation like
10 groundwork for that allegation --                       10 this.
11      Q. Wasn't that the allegation?                     11       Q. Well, so have you ever sat down and
12      A. No, I don't know what the allegation            12 talked to Mr. Pipes by phone, in person, any way, by
13 was because I never heard the allegation, Mr. Carson,   13 Facebook, voice messenger, by -- you know, any time
14 nor do I know what rumor you're talking about.          14 where you and Mr. Pipes had a conversation with each
15      Q. Mr. Pipes never talked to you about it?         15 other, did you guys ever sit down and have a
16      A. If you'll let me finish my answer, I            16 conversation about these allegations that Marnie
17 said I never heard the allegation or the rumor from     17 Meyer made in April 2019?
18 any of those involved. I received an e-mail --          18       A. No.
19      Q. Did you hear it from Mr. Pipes?                 19       Q. Did you ever have a conversation of
20      A. I received an e-mail from Daniel Pipes          20 that nature about any of the allegations that Lisa or
21 which laid out what these other people had              21 Marnie or Patricia made?
22 misrepresented and had lied about, and then I had to    22       A. With counsel?
23 answer that e-mail, and I think you probably have a     23       Q. No, with Dr. Pipes.
24 copy of the answer that I gave.                         24       A. Just with him alone.
25      Q. Well, when did you get the e-mail from          25       Q. Where you and Dr. Pipes had a
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 1 conversation about -- where you talked about it,      1      Q. That's what I'm asking you about. Have
 2 where you guys had a discussion.                      2 you ever had a conversation --
 3      A. No, we've only communicated about this 3             A. And I'm -- I'm trying to finish this,
 4 in the presence of counsel and not with each other    4 Mr. Carson. For at least the first year from
 5 but just with our attorneys.                          5 November of 2018 until October or November of 2019
 6      Q. I don't understand what you mean by           6 there was no one-on-one discussions besides ones in
 7 that, so --                                           7 which he would say -- and it depends on the
 8      A. So I'm in a room, okay, and there is an       8 allegation that we're talking about, but the general
 9 attorney there, and the attorney is saying,           9 gist of it was there are a plethora of things that
10 Mr. Roman, A, B, C, privilege, privilege, privilege, 10 have been said about you, we have to mitigate risk to
11 and I respond, Mr. Attorney, X, Y, Z. Never did I    11 the organization, and that's why you're no longer in
12 have a direct conversation with Daniel Pipes about 12 administration, and we only started talking about
13 any of the allegations that was not in the presence  13 litigation strategy, really talking about litigation
14 of counsel.                                          14 strategy, after your clients filed their lawsuits in
15      Q. Well, how many --                            15 late October of 2019.
16      A. Meaning, we have a -- we have a policy 16            Q. So before that how many times did you
17 in place that whenever there is anything of a legal  17 and Mr. Pipes have an in-person conversation, that
18 nature we make sure that we follow the proper        18 includes telephone calls, how many times before that
19 channels, policies, and procedures, to do three      19 did you guys have in-person conversation about the
20 things. Number one, to make sure --                  20 allegations made by Lisa, by Patricia, or by Marnie?
21      Q. I don't need to know -- I don't need to      21      A. Well, there was the one time that he
22 know your -- the policies. I just am --              22 told me that I was removed and he had suggested that
23      A. Okay.                                        23 this was because -- just on a dialogue that we had
24      Q. -- questioning about the conversation.       24 gone on beforehand a few hours ago, Mr. Roman,
25 So how many --                                       25 accusations have been made against you, in response I
                                               Page 365                                                        Page 367
 1      A. Which conversation?                              1 am taking you out of administration of the
 2      Q. -- of these conversations did you have           2 organization.
 3 where counsel was there, how many of these types of      3      Q. Okay.
 4 conversations did you have?                              4      A. And then the next conversation which
 5      A. About which, about sexual --                     5 was of a direct relation to this nature counsel was
 6      Q. About any of the allegations in this             6 present but just the two of us. Mr. Roman, they have
 7 case or with Patricia McNulty.                           7 been EEOC complaints filed against the organization,
 8      A. There have been countless conversations          8 you're going to have to work with counsel to be able
 9 with counsel since November 1st, 2018, in multiple       9 to address this, and that was both in-house and
10 stages, but they really started picking up after you    10 outside counsel, and then the last time that we --
11 filed your EEOC complaint. Sorry, not -- they're not    11 before litigation was filed was when you were sending
12 yours. After --                                         12 demand letters for millions of dollars to the Middle
13      Q. I'm not -- so I'm talking about in              13 East Forum and we were determining the strategy of --
14 connection with your employment, so I'm not talking     14 well, that's a strategy question, so I really --
15 about litigation strategy sessions, I'm talking about   15 can't really comment on that, but we discussed in
16 did Mr. Pipes ever have a conversation with you,        16 general how we thought that this was un -- I don't
17 whether counsel was there or not, about any of these    17 want to say that -- or strike that. We were
18 allegations in person where it was a discussion about   18 discussing in general how -- I'm trying to find the
19 just the allegations and how you were going to handle   19 best words to represent the sense of sorrow that I
20 it and, like, you know, where he was telling you,       20 felt about your clients related to that they had been
21 like, these allegations are serious, did that ever      21 wrapped into this web of lies that you were then
22 happen?                                                 22 allowing them to try to litigate against us. And
23      A. When I have spoken with him about these         23 after that, October 26th, 27th, there were many
24 allegations it has always been in the presence of       24 discussions, not one-on-one, but with counsel, of
25 counsel and for at least the first --                   25 what I remember, what Dr. Pipes remembers, of what

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 1 staff did, interviews, and that's when we really         1       Q. I'm talking about the legal definition.
 2 started getting into it of unraveling everything.        2 If you don't know --
 3      Q. In March, April, and May did Mr. Pipes           3       A. No, no, but I'm just trying to say this
 4 ever talk to you about retaliation in person?            4 is -- you're asking me my perspective, right?
 5      A. March, April, and May of when?                   5       Q. No, I'm asking if you know what the
 6      Q. 2019.                                            6 legal definition of retaliation is.
 7      A. What do you mean retaliation?                    7       A. So I'm --
 8      Q. Did he ever talk to you about                    8       Q. If you don't, I will tell you. Just
 9 retaliation?                                             9 say, no, I don't know, and I'll tell you.
10      A. You have to be more specific.                   10       A. Mr. Carson, you have filed multiple
11      Q. No, I'm being specific.                         11 retaliation --
12           MR. CAVALIER: Object to form.                 12       Q. I'm not asking you about what I filed.
13 BY MR. CARSON:                                          13 I'm asking you if you understand what retaliation is.
14      Q. Retaliation. Did he ever come -- did            14       A. Mr. Carson, I believe -- I believe my
15 he ever call you on the phone, did he ever have a       15 understanding of retaliation is different from your
16 conversation with you, did you guys ever have a         16 understanding of retaliation.
17 conversation about retaliation?                         17       Q. Okay. It sounds like you don't know,
18           MR. CAVALIER: Object to form.                 18 so let me explain. Retaliation specifically refers
19           THE WITNESS: I really don't know              19 to acts that are taken adverse to an employer's --
20      what you're talking about, Mr. Carson.             20 employee's interest because they reported
21 BY MR. CARSON:                                          21 discrimination or harassment in the workplace.
22      Q. Do you know what retaliation is?                22 That's the legal definition.
23      A. Well, you can retaliate against a               23            MR. GOLD: That's not quite
24 quarterback, you can retaliate against a hit to your    24       accurate, but -- it's adverse actions
25 team --                                                 25       are taken against one who voices
                                                Page 369                                                       Page 371
 1      Q. Do you know what retaliation is with             1     opposition to discrimination or sexual
 2 respect to the types of claims that we're dealing        2     harassment --
 3 with?                                                    3          MR. CARSON: Mr. Gold --
 4            MR. CAVALIER: Object to form.                 4          MR. GOLD: -- not just adverse --
 5            THE WITNESS: Well, one of the                 5     adverse actions. Go ahead.
 6      things that you categorize as                       6          MR. CARSON: Mr. Gold's been doing
 7      retaliation in your EEOC complaint from             7     this a lot longer --
 8      December of 2019 --                                 8 BY MR. CARSON:
 9 BY MR. CARSON:                                           9     Q. So with that understanding I'm asking
10      Q. Just --                                         10 did Mr. Pipes ever talk to you about retaliation,
11      A. I'm talking about that. I'm talking             11 whether -- like, did he ever say to you, Mr. Roman,
12 about that.                                             12 you have to be careful not to do anything that could
13      Q. I'm asking you -- just say yes or no.           13 be conceived as retaliation?
14 If you don't know, I'll help you understand it. Do      14          MR. CAVALIER: Object to form and
15 you know what retaliation is with respect to the EEOC   15     also I'll ask the witness to be aware of
16 and with respect to Title 7 and the Pennsylvania --     16     the fact that if such communications
17      A. Well, Mr. Carson --                             17     occurred they may have occurred in the
18            MR. GOLD: Objection. Calls for a             18     presence of counsel --
19      legal conclusion. Why don't you explain            19          MR. CARSON: That doesn't matter
20      it to him first and then ask the                   20     if Dr. Pipes said it. It doesn't --
21      question.                                          21     there is no privilege if -- no matter
22 BY MR. CARSON:                                          22     where it's said.
23      Q. Do you know what that is?                       23          THE WITNESS: What -- I'm lost
24      A. Well, there's what you in your                  24     here. Who asked me what?
25 profession as a lawyer consider to be retaliation --    25          MR. GOLD: I also -- if there's a
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 1      conversation that occurs with Mr. Pipes                   1      Q. Well, you understand that it wouldn't
 2      present and Mr. Fink is offering counsel                  2 matter whether you called them that if they -- if the
 3      to both --                                                3 allegation's made it would be reasonable to have a
 4           MR. CARSON: I'm not talking about                    4 discussion with you about it, correct?
 5      Marc Fink. I'm asking the question                        5           MR. CAVALIER: Object --
 6      about Mr. Pipes.                                          6           THE WITNESS: All allegations
 7 BY MR. CARSON:                                                 7      which were made against anyone at the
 8      Q. Did Mr. Pipes ever talk to you about                   8      Middle East Forum was done through
 9 retaliation -- I don't know why this is such a hard            9      counsel. Mr. Pipes never directly said
10 question to answer. It's not a hard question. Did             10      to me without the presence of counsel
11 -- and it's -- I'm -- the question specifically               11      this, this, and this was said, this,
12 refers to March, April, May 2019. During those                12      this, and this is how you respond. He
13 months did Mr. Pipes ever talk to you about                   13      has sent me e-mails which may have had
14 retaliation?                                                  14      complaints of a nonsexual variety that
15      A. In what context? It's pretty broad.                   15      did not relate to any other items that
16      Q. In the context of the reports of                      16      you are addressing right now which may
17 discrimination or harassment that were made by Marnie         17      have said why are you asking about the
18 Meyer, Patricia Barbounis, and -- I'm sorry, Lisa             18      audit, why are you asking about
19 Barbounis and Patricia McNulty.                               19      fundraising, but those are all
20      A. Not that I can remember, no.                          20      operational questions that the head of
21      Q. So did he ever talk to you about it in                21      an organization can ask people who work
22 a specific context due to any e-mails that he                 22      for him. So, no, he never did that in
23 received from Ms. McNulty or Ms. Barbounis?                   23      the context of a sexual harassment or a
24      A. No, not that I remember.                              24      retaliation as you had defined it or Mr.
25      Q. Did he ever tell you that he received                 25      Gold defined it earlier nature.
                                                      Page 373                                                       Page 375
 1 e-mails from Ms. McNulty or Ms. Barbounis where they           1 BY MR. CARSON:
 2 alleged that they were being retaliated against?               2      Q. Did you call Raquel Swazetti [ph], who
 3      A. No -- I don't remember if he ever said                 3 I think is better known as Eman Patel, did you call
 4 anything to me. He may have forwarded me e-mails               4 her a walking lawsuit?
 5 from McNulty and from Meyer asking me to answer them.          5      A. No, I did not.
 6      Q. So did he ever tell you that they made                 6      Q. Did you say that she's a walking
 7 the allegation that you had called them usurpers?              7 lawsuit because she is a woman, she's gay, and she's
 8      A. Oh, that's another thing. That's a                     8 Muslim?
 9 great story.                                                   9      A. No, Mr. Carson, that question is based
10          THE COURT REPORTER: Called them                      10 on a factual predicate that did not happen. I never
11      what?                                                    11 called Ms. Saraswati or Eman Patel a walking lawsuit.
12          MR. CARSON: Usurpers.                                12 In fact, I celebrated her diversity and I was so
13          THE WITNESS: U-s-u-r-p-e-r-s.                        13 proud when I presided over a -- I can preside over
14 BY MR. CARSON:                                                14 weddings, I have a license to preside over common law
15      Q. So --                                                 15 marriages from the Universal Life Church which grants
16      A. That's one -- Mr. Carson, that's one of               16 this ability. When I presided over the wedding of my
17 my taglines from the radio.                                   17 best friend Ryan who lives in Los Angeles now and his
18      Q. Okay. So the question is, though, did                 18 husband Joe in Brooklyn of May of 2016 I think, and
19 Mr. Pipes ever talk to you about an allegation that           19 the first person I told when they asked me to
20 you had called these women usurpers?                          20 officiate the wedding was Eman Patel. I'm so happy
21      A. No, I never called them usurpers.                     21 that she got to move on from the Middle East Forum to
22      Q. But did he -- whether you called them                 22 work in the capacity of -- I think diversity
23 that or not, did he ever talk to you about it?                23 coordinator for an LGBT resource center in
24      A. I don't think so, because I never                     24 Philadelphia. She's really somebody I admire. So,
25 called them that.                                             25 no, I would never call her a walking lawsuit --

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 1     Q. Well, you --                                    1     A. No one named --
 2     A. -- and I would never criticize -- what          2     Q. She was asked to transition to a
 3 did you say?                                           3 position as your assistant?
 4     Q. You forced her out of the Forum, right?         4     A. No one named Rosie ever worked for the
 5     A. I never forced her out of any                   5 Middle East Forum.
 6 organization. She left MEF, and when she left MEF I    6     Q. She said I'll be dead before I work for
 7 remember communicating with her saying is this really 7 Gregg Roman?
 8 what you want to do, and she said I want to take a     8     A. Mr. Carson, again, that is a question
 9 break, I'm looking for something more in my lane,      9 based on a factual predicate that never happened, so
10 which was associated with diversity, and I think MEF  10 you're misrepresenting anything that you're talking
11 gave her severance bonus of salary several times of   11 about.
12 what she had had, and I actually have the note that   12     Q. Did you ever rub your --
13 she wrote to me when she left the organization        13     A. Beyond that --
14 thanking me for the work that we had done together,   14     Q. -- body against a female employee?
15 and I'm sure that we can get you that correspondence. 15     A. Beyond that --
16     Q. Do you know --                                 16          THE COURT REPORTER: I can't hear
17     A. There never any there ill will --              17     you, Mr. Carson.
18     Q. Do you know who Rosie is?                      18 BY MR. CARSON:
19     A. Hold on. There was never any ill will          19     Q. Did you ever rub your body against a
20 between myself and Eman Patel. I honor her, I         20 female employee --
21 cherish her, and I think the world of her.            21     A. Mr. Carson, I'm not done the question
22     Q. Are you sure that she doesn't have ill         22 about --
23 will?                                                 23          THE COURT REPORTER: I still can't
24     A. She may, but --                                24     hear you.
25          THE COURT REPORTER: I didn't hear            25 BY MR. CARSON:
                                               Page 377                                                        Page 379
 1      the question. I didn't hear the                     1      Q. I said did you ever rub your body
 2      question.                                           2 against a female employee while you were working with
 3 BY MR. CARSON:                                           3 them?
 4      Q. I said are you sure she doesn't have             4      A. No, I did not.
 5 ill will.                                                5      Q. Ever force a female employee to sit
 6      A. She may, but the last time I spoke with          6 next to you behind your desk and watch the computer
 7 her was in probably September or October of 2019 when    7 screen with you?
 8 I was asking how she was doing.                          8      A. No, I did not.
 9      Q. Are you sure she doesn't feel like she           9      Q. Ever call female employees at
10 was constructively discharged?                          10 inappropriate hours after -- you know, at the end of
11      A. I don't know what you mean by that, Mr.         11 the day, at nighttime?
12 Carson.                                                 12      A. Your characterization of that question
13      Q. Her work -- her work life was made so           13 of what an inappropriate hour requires clarification.
14 miserable that she quit and any reasonable person in    14 Can you please be more specific?
15 her shoes would have quit under those same              15      Q. Well, they're on their own private time
16 conditions.                                             16 at the end of the day, when they're not working.
17      A. No, I don't think she felt that way,            17      A. Mr. Carson, we have two kinds of
18 and if she did I wish that she would talk to me about   18 employees at the Middle East Forum. We have
19 it because we could have an honest conversation why     19 administrative employees who work from 9 to 5 and
20 she felt that way.                                      20 they're sometimes asked to work in off-hours, and we
21      Q. Well, did you -- what about Rosie,              21 also have professional employees who are expected to
22 Rose, do you know her?                                  22 be on the clock at any given time. For instance, if
23      A. Who is Rosie?                                   23 I'm in Israel and it's 12 p.m., there's a seven-hour
24      Q. She was an employee of the Middle East          24 time difference with our employees in the United
25 Forum --                                                25 States, so it would be 5 a.m., so it would not be

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 1 beyond the pale of comprehension that we would ask an    1 BY MR. CARSON:
 2 employee who was a professional exempt employee, I'm     2      Q. Don't you find that a coincidence, like
 3 sure you're familiar with that term, to work at hours    3 there's -- every -- you respond to every single
 4 which may not have been regular according to a 9 to 5    4 allegation of sexual harassment the same way --
 5 schedule. So if you're asking did I ever communicate     5           (Simultaneous speakers.)
 6 with someone from MEF outside of the 9 to 5 work         6           THE COURT REPORTER: I can't hear.
 7 time, yes, of course I did. If you're asking if I        7      I can't hear the question. Please
 8 ever did it inappropriately, no, it was always           8      repeat it.
 9 appropriate and relevant to the task at hand.            9           (Simultaneous speakers.)
10      Q. Lisa Barbounis was a 9 to 5, though,            10           THE COURT REPORTER: I didn't hear
11 wasn't she?                                             11      the question or anything after it.
12      A. No, she was not. She was a                      12 BY MR. CARSON:
13 professional exempt employee.                           13      Q. You respond to every single allegation
14      Q. She's a executive assistant.                    14 of sexual harassment by the plethora of women who
15      A. No, she wasn't. She was an executive            15 have made them in the last five years the exact same
16 liaison -- she specifically requested to be an exempt   16 way. They're all liars, aren't they?
17 employee when she started working for MEF because she   17      A. No, Mr. Carson.
18 did not want to be equated with an assistant. She       18           MR. CAVALIER: Object to form.
19 asked for that title. It's in an e-mail actually        19           MR. GOLD: Argumentative. Assumes
20 that she sent to us when she was negotiating with us.   20      facts not in evidence. Predicate of the
21 She got higher pay, she got more money for health       21      question is absolutely false. I'm going
22 insurance. She was a very good negotiator.              22      to ask you to rephrase the question.
23      Q. You fired Tiffany Lee because she               23           MR. CAVALIER: I didn't hear a
24 reported sexual harassment?                             24      question; it's a statement you made.
25      A. No, I did not. I fired Tiffany Lee --           25 BY MR. CARSON:
                                                Page 381                                                       Page 383
 1 actually I didn't do it. Marnie Meyer was the one        1     Q. Is there a woman who has accused you of
 2 who fired Tiffany Lee, and that was done after           2 sexual harassment who is not a liar?
 3 Tiffany Lee was the subject of I think an improvement    3          MR. CAVALIER: Object to form.
 4 plan that was put together. She failed to attain the     4          THE WITNESS: Mr. Carson, you have
 5 goals of the improvement plan, she failed to go to an    5     to be more specific.
 6 event, and then she tried to defraud the organization    6 BY MR. CARSON:
 7 by demanding millions of dollars from us after Derek     7     Q. Well, is there one woman that has
 8 Smith Law Group misrepresented text messages that she    8 accused you of sexual harassment that you can name
 9 put forward, deconstructed those text messages, and      9 who is not a liar?
10 then we never heard from her again.                     10     A. No, Mr. --
11      Q. Isn't it interesting how every woman            11          MR. CAVALIER: Same objection.
12 who accuses you of sexual harassment defrauds the       12          THE WITNESS: -- Mr. Carson, I sat
13 Middle East Forum and owes you millions of dollars?     13     here this evening and I heard you say
14          (Simultaneous speakers.)                       14     that one woman didn't accuse me of
15          THE COURT REPORTER: I need you to              15     sexual harassment and then you said that
16      repeat the question and anything that              16     -- I'm sorry, I said that she did accuse
17      was said after it, please.                         17     me of sexual harassment, you then said
18 BY MR. CARSON:                                          18     that she did accuse me of sexual
19      Q. Why do you claim that every single              19     harassment. I said, Mr. Carson, look at
20 woman who has accused you of sexual harassment owes     20     your complaint. You went back to it and
21 the Forum millions of dollars?                          21     then you saw that, hold on, I actually
22          MR. CAVALIER: Object to form.                  22     did, it was a typo. So every time --
23          THE WITNESS: Mr. Carson -- sorry.              23     every time I've been accused of sexual
24          MR. CAVALIER: Object to form.                  24     harassment it has been by a client of
25          THE WITNESS: Can I answer?                     25     the Derek Smith --
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 1 BY MR. CARSON:                                          1     A.     Mr. Carson --
 2      Q. That's not true.                                2     Q.     -- Delaney Yonchek.
 3      A. -- Law Group.                                   3     A.     -- I will -- I will represent to you --
 4      Q. Is it?                                          4     Q.     Are they liars?
 5      A. No, Mr. Carson. Every time I have been          5           THE COURT REPORTER: One at a
 6 accused of sexual harassment it has been done by a      6      time.
 7 client of the Derek Smith Law Group.                    7 BY MR. CARSON:
 8      Q. You think that's evidence?                      8      Q. Just answer the question. Are they --
 9      A. No, I think what it is is a pattern             9      A. My answer is --
10 that speaks to the veracity of those claims, so it's   10           THE COURT REPORTER: I can't hear
11 not about --                                           11      the question.
12      Q. I'll repeat the question --                    12 BY MR. CARSON:
13      A. Sure.                                          13      Q. We're going to get through this list
14      Q. -- since you avoided answering it.             14 and then we're going to be done. Is Caitriona Brady
15           Is there a single woman who has accused      15 a liar?
16 you of sexual harassment who you haven't called a      16           MR. GOLD: You're going to be done
17 liar?                                                  17      in one more minute.
18           MR. CAVALIER: Object to form.                18 BY MR. CARSON:
19           THE WITNESS: Mr. Carson --                   19      Q. Is Caitriona Brady a liar?
20 BY MR. CARSON:                                         20      A. Yes.
21      Q. You respond to every single --                 21           MR. CARSON: We're done the first
22      A. -- you are --                                  22      deposition in one minute, not the second
23      Q. -- allegation --                               23      one.
24      A. -- you are saying that I categorized           24 BY MR. CARSON:
25 women as liars. Okay? I didn't say that in every       25      Q. Is Delaney Yonchek a liar?
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 1 claim. We went over a whole list of people today,       1      A. In what context?
 2 and I didn't call everyone a liar.                      2      Q. Her allegations that she made.
 3      Q. You called Lisa Barbounis a liar.               3      A. Yes, that's why she dismissed her
 4      A. She is.                                         4 complaint.
 5      Q. You called Patricia McNulty a liar.             5      Q. You think that's why she would say she
 6      A. She is.                                         6 dismissed her complaint, because it wasn't true?
 7      Q. You called Marnie Meyer a liar.                 7      A. I think that when she answered
 8      A. I didn't call her a liar; I called her          8 questions about the veracity of her complaint in her
 9 a fraud.                                                9 deposition that took place back in March when I was
10      Q. You called Caitriona Brady a liar.             10 there in person, the first and the last time I've
11      A. You said Caitriona Brady didn't accuse         11 seen you, was quite revealing, Mr. Carson. She was
12 me of sexual harassment, so I don't know how to        12 asked whether or not she had said something that was
13 answer you.                                            13 in her complaint, and she said no, and then when
14      Q. She accused you of discrimination and          14 Mr. Dave Walton asked her, well, you put it in your
15 harassment based on her sex.                           15 complaint, and she responded, oh, my lawyer did that.
16      A. But you said earlier she didn't accuse         16 So, no, Mr. Carson, I think that in some cases these
17 me of harassment.                                      17 women had been manipulated by you and your law firm
18      Q. No, I said she didn't accuse you of            18 into delusions of grandeur based on your ability to
19 sexual misconduct.                                     19 try to get 40 percent of the 30 plus million dollars
20           MR. GOLD: Exactly two minutes to             20 that you've been trying to acquire from our
21      go here. Let's go. Two minutes. Wrap              21 organization. So --
22      it up.                                            22      Q. So you're a victim.
23 BY MR. CARSON:                                         23      A. -- it's not so much that they're liars.
24      Q. She accused you of discrimination and          24 They have been duped and deceived by you and your
25 harassment based on her sex, and so does --            25 colleagues.

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 1        Q.   So you're a victim in all this; is that         1
                                                             organization and hiring these people who
 2   right?                                                    2
                                                             at the end of the day ended up trying to
 3           MR. GOLD: Let's go. Last                   3    go out on a mission to be able to ruin
 4      question.                                       4    all organization and to allow a law firm
 5           THE WITNESS: I can't hear you.             5    like yours to go so far as to cause
 6           THE COURT REPORTER: I can't hear           6    this. So if I take responsibility for
 7      anyone right now.                               7    this, Mr. Carson, the responsibility
 8 BY MR. CARSON:                                       8    that I take is is that I didn't see this
 9      Q. Are you the victim in all this?              9    coming earlier, and, had I, we wouldn't
10      A. The victim of what?                         10    be here right now. It's not about
11      Q. Are you a victim?                           11    allegations of harassment. What it's
12      A. Mr. Carson --                               12    about is a concerted effort to try to
13      Q. Do you have any responsibility at all,      13    destroy us. And that, Mr. Carson, is my
14 personal responsibility, for any of the allegations 14    final answer.
15 that have been made regarding you.                  15         (Simultaneous speakers.)
16           MR. GOLD: Objection --                    16 BY MR. CARSON:
17           (Simultaneous speakers.)                  17    Q. Which is why you are the victim, right?
18           THE COURT REPORTER: You're going 18 You're the victim.
19      to have to repeat the question.                19         THE COURT REPORTER: I can't hear
20           MR. CARSON: Guys, everyone keeps          20    anybody right now.
21      interrupting me. Like, stop.                   21         MR. GOLD: Game over.
22           MR. GOLD: No one is interrupting          22         MR. CARSON: Well, I -- it's --
23      you at all.                                    23    well, we can't go off the record until
24           MR. CARSON: Yeah, every time I            24    we all say yes, right?
25      ask a question I hear five different           25         MR. GOLD: Game over. Last
                                                   Page 389                                                      Page 391
 1      voices going and everyone has to stop                  1      question.
 2      talking.                                               2 BY MR. CARSON:
 3           MR. GOLD: There's only one person                 3      Q. So it's why -- that's why you're the
 4      here and it's my voice. Objection. It                  4 victim, right? Because of what you just said.
 5      is a compound question.                                5           MR. GOLD: No more questions, no
 6           MR. CARSON: No, it's not.                         6      more answers. We're done. Seven hours.
 7 BY MR. CARSON:                                              7      We're done.
 8      Q. The question is this. Do you take any               8           MR. CARSON: It hasn't been seven
 9 responsibility at all? It's my last question.               9      hours.
10           MR. GOLD: That's the last                        10           MR. GOLD: It has been seven
11      question.                                             11      hours. We agreed. It's now 8:07.
12 BY MR. CARSON:                                             12      We're done.
13      Q. Do you take any responsibility at all              13           MR. CARSON: All right. That's
14 for any of the allegations that any woman has ever         14      part one.
15 made against you for sexual harassment?                    15           MR. GOLD: Have as many parts as
16           MR. CAVALIER: Object to form.                    16      you need under the law.
17 BY MR. CARSON:                                             17           MR. CARSON: Thank you.
18      Q. Do you take any personal                           18      Appreciate it.
19 responsibility, yes or no?                                 19           (A discussion was held off the record.)
20           MR. CAVALIER: Same objection.                    20           THE VIDEO SPECIALIST: It is 8:08
21           THE WITNESS: Yes. The                            21      p.m. Eastern. We are off the record.
22      responsibility that I take is one that I              22                 ---
23      allowed individuals to deceive, defraud,              23           (The proceedings concluded at 8:08 p.m.)
24      and to cause countless hours, countless               24
25      days, countless years, of damage to this              25

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                                      C E R T I F I C A T E




                            I HEREBY CERTIFY that the proceedings and


           evidence are contained fully and accurately, to the


           best of my ability, in the notes of testimony taken by


           me in the proceedings of the above cause, and that the


           copy is a correct transcript of the same.




                                              _______________________________
                                              Carrie A. Kaufman
                                              Registered Professional Reporter
                                              Notary Public

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 $30 (1)                                               30 (3)                         8:00 (1)
 $300 (1)                   <2>                        30th (3)                       8:07 (1)
 $4 (2)                     2 (13)                     31 (3)                         8:08 (2)
 $5,000 (5)                 2:19-cv-05030 (1)          31st (6)                       80 (1)
 $6 (1)                     2:19-CV-05030-GAM          32 (1)                         8th (1)
 $80 (2)                     (1)                       360 (1)
                            2:38 (1)                   364 (5)                        <9>
 <0>                        2:39 (1)                   366 (3)                        9 (4)
 000049 (1)                 20 (16)                    391-4790 (1)                   90 (1)
 0001 (1)                   20,000 (1)                 3rd (4)
 05 (1)                     2003 (2)                                                  <A>
                            2004 (1)                   <4>                            a.m (6)
 <1>                        2005 (1)                   4 (5)                          Abbott (1)
 1 (18)                     2006 (3)                   4:31 (1)                       abetting (1)
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 17th (2)                   27 (5)                     665-2776 (1)                   accuse (8)
 18 (3)                     27th (3)                   6th (7)                        accused (16)
 18,000 (1)                 28 (2)                                                    accuses (3)
 1835 (2)                   2800 (1)                   <7>                            accusing (2)
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 acquaintance (1)           agree (13)                 answered (11)                  assaulted (4)
 acquire (1)                agreed (4)                 answering (18)                 assessment (1)
 act (6)                    agreement (8)              answers (4)                    assigned (1)
 acted (2)                  ahead (32)                 antisemitism (1)               assist (1)
 ACTION (8)                 AI (1)                     anybody (5)                    assistance (2)
 actions (5)                aiding (1)                 anymore (3)                    assistant (4)
 activism (2)               AIPAC (28)                 anyway (6)                     assisted (3)
 activities (2)             Airbnb (21)                anyways (1)                    associate (2)
 acts (2)                   Airbnbs (1)                Anywho (1)                     associated (7)
 actual (3)                 airport (1)                Apartment (3)                  ASSOCIATES (1)
 acumen (2)                 al (3)                     apologies (4)                  association (1)
 add (3)                    Alana (14)                 apologize (3)                  assume (4)
 added (3)                  alarms (1)                 apparently (3)                 assumed (3)
 adding (1)                 Alexandria (1)             appearance (1)                 Assumes (1)
 addition (2)               allegation (43)            appearances (3)                assuming (1)
 additional (1)             allegations (144)          appearing (2)                  assure (1)
 address (5)                allegation's (1)           applies (1)                    asylum (1)
 addressed (3)              allege (11)                appreciate (5)                 attached (2)
 addresses (1)              alleged (16)               approached (1)                 attachments (2)
 addressing (2)             allegedly (9)              appropriate (1)                attain (1)
 adjust (1)                 alleges (18)               approve (3)                    attained (2)
 administration (7)         Allegheny (1)              approved (13)                  attempt (1)
 administrative (5)         alleging (21)              approximate (3)                attempting (1)
 admire (1)                 allied (1)                 approximately (6)              attempts (1)
 admitted (2)               allocated (1)              April (35)                     attend (10)
 advance (4)                allow (10)                 Arabic (1)                     attendance (1)
 advanced (1)               allowed (6)                architecture (1)               attended (5)
 advances (19)              allowing (2)               area (13)                      attest (2)
 advantage (1)              allows (1)                 areas (2)                      attorney (16)
 adverse (4)                Altass (2)                 argue (1)                      attorneys (3)
 advice (8)                 A-l-t-a-s-s (1)            argument (3)                   attorney's (2)
 advisor (1)                Altoona (1)                Argumentative (1)              attributing (1)
 advocacy (2)               amazing (2)                arguments (2)                  Audio (6)
 affair (6)                 amended (17)               Arizona (1)                    audit (1)
 Affairs (4)                America (2)                arm (3)                        audited (2)
 affidavit (3)              American (4)               arms (2)                       August (7)
 affidavits (3)             Americans (1)              Army (5)                       author (5)
 affirmative (1)            amount (27)                arrange (1)                    authorities (1)
 afforded (5)               Amy (3)                    arranged (2)                   authority (7)
 affords (1)                analysis (2)               arrival (2)                    authorization (1)
 afraid (1)                 anathema (1)               arrived (2)                    authorized (1)
 African (1)                anatomy (1)                Arthur (1)                     author's (1)
 after-acquired (1)         Andy (1)                   Ashley (1)                     available (5)
 agencies (1)               Angeles (2)                Asked (66)                     avalanche (1)
 agency (3)                 Anglican (1)               asking (133)                   Avenue (1)
 agenda (1)                 annoy (1)                  asks (2)                       avoided (1)
 agent (3)                  annual (4)                 aspects (1)                    aware (16)
 aggressive (1)             annually (1)               assassinated (2)
 ago (19)                   answer (176)               assault (11)                   <B>


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 bachelor's (2)             Bernhardt (3)              brief (6)                      carried (1)
 back (93)                  best (30)                  briefly (1)                    carrier (1)
 backdates (1)              better (9)                 bring (3)                      Carroll (1)
 background (3)             beyond (28)                bringing (1)                   CARSON (571)
 backing (2)                bifurcate (2)              British (1)                    Carson's (1)
 backstory (3)              big (5)                    Brits (1)                      Case (37)
 bad (3)                    Bill (2)                   broached (2)                   cases (4)
 Bair (5)                   binary (2)                 broad (3)                      Casey (1)
 Bala (1)                   birthday (2)               Brody (1)                      Cast (1)
 balcony (1)                Bishop (11)                broke (2)                      categorization (1)
 ballpark (1)               bit (10)                   Brooklyn (1)                   categorize (4)
 bank (4)                   blabbing (1)               brother (1)                    categorized (2)
 bar (4)                    black (4)                  Brotherhood (1)                caught (2)
 Barbara (2)                blank (2)                  brought (7)                    cause (4)
 BARBOUNIS (166)            blanks (1)                 bubble (1)                     caused (3)
 Barbounis's (16)           blended (1)                building (5)                   causing (1)
 barrister (1)              block (3)                  bullet (1)                     CAVALIER (49)
 bars (7)                   Bloom (5)                  bus (1)                        celebrated (1)
 base (2)                   blowjob (1)                buses (1)                      Center (8)
 based (31)                 blows (1)                  Business (8)                   centers (1)
 basic (3)                  blue (2)                   busing (1)                     Centre (2)
 basically (4)              blueprints (2)             Butler (1)                     certain (12)
 basis (22)                 board (23)                 butt (7)                       certainly (2)
 bastion (1)                boards (3)                 buy (4)                        CERTIFY (1)
 Bates (3)                  body (5)                                                  Chain (2)
 bathroom (1)               bomb (1)                   <C>                            chairman (5)
 bathrooms (2)              bonus (1)                  Cairo (4)                      challenge (1)
 Battleship (6)             book (1)                   Cairo's (1)                    chance (2)
 Beach (2)                  booked (12)                Caitriona (18)                 change (6)
 Beaver (1)                 bookkeeper (1)             calculate (1)                  changed (12)
 bedroom (2)                books (5)                  calendar (12)                  changes (7)
 bedrooms (2)               border (1)                 California (4)                 changing (1)
 began (11)                 born (3)                   call (50)                      channels (1)
 beginning (8)              boss (11)                  CALLED (39)                    chanted (1)
 behalf (4)                 bosses (1)                 calling (5)                    character (1)
 behavior (3)               bought (1)                 calls (13)                     characterization (8)
 beheaded (1)               bouncing (1)               calm (1)                       characterizations (1)
 beheading (1)              bound (1)                  Cambridge (1)                  characterize (7)
 Belgium (1)                box (1)                    CAMERA (1)                     characterized (3)
 belief (3)                 Brady (28)                 campaign (2)                   Charge (31)
 believe (53)               Brady's (8)                camps (1)                      charged (2)
 believed (1)               brain (1)                  campus (1)                     charges (4)
 believes (1)               breach (3)                 Canada (1)                     charging (7)
 belt (1)                   breached (3)               capacity (3)                   check (4)
 Ben (1)                    break (28)                 car (3)                        cherish (1)
 B-e-n (1)                  breakdown (1)              care (5)                       chess (1)
 benefits (1)               breaking (1)               careful (1)                    chief (16)
 Bennett (32)               breath (3)                 Caroline (17)                  Chinatown (1)
 Bennett's (1)              breathe (1)                Carrie (4)                     choose (1)


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 chose (2)                  comment (30)               conference (24)                coordinator (1)
 Chronicle (1)              commented (1)              conferences (1)                copied (2)
 church (2)                 comments (2)               confidential (1)               copy (7)
 cigarettes (4)             Commission (3)             confirm (1)                    Corbett (1)
 circles (1)                committed (1)              conflict (1)                   coronavirus (2)
 circumstances (2)          committee (14)             conflicts (1)                  corporate (4)
 citizen (1)                common (4)                 confusing (3)                  corporation (1)
 city (5)                   Commonwealth (2)           congress (2)                   corps (1)
 civic (1)                  communicate (1)            Congressman (1)                correct (86)
 CIVIL (6)                  communicated (5)           congressmen (2)                correcting (1)
 civilian (1)               communicating (1)          conjunction (1)                correction (1)
 claim (4)                  communication (6)          connection (14)                corrective (1)
 claiming (1)               communications (18)        connects (1)                   correspondence (3)
 claims (6)                 Community (17)             consider (6)                   cost (3)
 clarification (1)          companies (1)              considered (2)                 Costello (2)
 clarify (2)                company (5)                considering (3)                couch (45)
 clarity (1)                comparable (1)             consistently (1)               couches (2)
 Clark (1)                  compare (3)                conspiracy (6)                 cough (1)
 class (2)                  comparison (1)             constant (2)                   Council (3)
 classes (2)                compartmentalize (1)       constituted (2)                counsel (84)
 classification (1)         compartmentalizing         construction (1)               count (3)
 clean (4)                   (1)                       constructively (1)             counterclaim (17)
 cleaning (1)               competitions (1)           construe (1)                   counterclaims (1)
 clear (9)                  complain (1)               consult (1)                    counterterrorism (2)
 clearly (1)                complained (2)             contact (5)                    countless (5)
 click (3)                  complaint (113)            contained (1)                  country (3)
 client (37)                complaints (37)            contempt (2)                   County (6)
 clients (14)               complete (6)               content (1)                    couple (3)
 client's (1)               completely (3)             contents (2)                   course (8)
 Cliff (2)                  complex (1)                context (13)                   COURT (93)
 clock (1)                  complicated (6)            contingency (5)                courthouse (1)
 close (1)                  compound (4)               continuation (2)               courtroom (1)
 clue (1)                   comprehension (1)          continue (13)                  cover (2)
 codified (1)               compromising (2)           continued (1)                  covered (2)
 codirectorship (1)         Computer (7)               continues (2)                  covering (2)
 coffee (1)                 conceived (1)              continuing (2)                 covers (1)
 coincidence (1)            concept (2)                continuous (1)                 coworker (12)
 cold (2)                   concerned (2)              contract (8)                   coworkers (1)
 colleagues (2)             concerted (1)              contractors (1)                COZEN (3)
 collect (1)                conclude (1)               contractual (1)                crazy (5)
 collection (1)             concluded (1)              control (2)                    created (1)
 college (5)                concluding (1)             controlled (1)                 creating (1)
 combination (1)            conclusion (14)            conversation (73)              credibility (1)
 combined (2)               concocted (6)              conversations (37)             credible (11)
 come (18)                  concocting (1)             conversion (2)                 credits (1)
 comes (3)                  condition (3)              converted (1)                  crew (1)
 coming (6)                 conditions (1)             conveyed (6)                   criminal (1)
 commander (1)              condo (1)                  convicted (1)                  criminals (2)
 commanders (1)             conduct (27)               co-opting (1)                  criticize (1)


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 cross (1)                  December (12)              desk (2)                       Discrimination (18)
 cruise (1)                 decibel (1)                desks (1)                      discuss (3)
 Cuba (1)                   decide (1)                 despair (1)                    discussed (8)
 culminated (2)             decided (2)                destroy (1)                    discussing (5)
 cup (1)                    decision (3)               destroying (1)                 discussion (14)
 curious (1)                decisions (2)              destruction (1)                discussions (5)
 current (1)                deconstructed (1)          detail (2)                     dishonesty (2)
 curtain (1)                deep (2)                   detective (1)                  dismissal (1)
 custodian (1)              Defence (1)                determined (1)                 dismissed (2)
 custody (1)                defendant (2)              determining (1)                disparities (1)
 cut (3)                    Defendants (2)             detrimental (1)                disparity (1)
 Cynwyd (1)                 defending (1)              develop (1)                    disproven (1)
                            Defense (4)                development (2)                dispute (4)
 <D>                        defer (2)                  device (1)                     disqualification (1)
 D.C (8)                    defined (2)                devices (2)                    disqualified (1)
 D.C. (1)                   definitely (4)             diagram (6)                    disqualify (3)
 da (5)                     definition (6)             dialogue (1)                   dissonance (1)
 damage (3)                 defraud (3)                diametric (1)                  distinction (1)
 damages (13)               defrauded (6)              die (1)                        DISTRICT (11)
 Dan (1)                    defrauding (4)             died (1)                       districts (1)
 Daniel (107)               defrauds (1)               difference (7)                 diversity (4)
 Daniel's (1)               degree (6)                 different (65)                 divided (2)
 Danny (44)                 Delaney (6)                differently (1)                docket (2)
 dannythomas@tesco.co       delivered (1)              difficult (14)                 docs (3)
 .uk (1)                    delusions (1)              difficulties (2)               doctor (1)
 Darren (1)                 demand (1)                 dignity (2)                    doctrine (2)
 Dashti (3)                 demanding (2)              dining (2)                     Document (73)
 D-a-s-h-t-i (1)            demise (1)                 dinner (14)                    documentation (2)
 data (2)                   demoted (1)                direct (16)                    documents (51)
 database (1)               denial (2)                 directed (4)                   doing (32)
 date (41)                  deny (6)                   directing (2)                  dollar (5)
 dated (1)                  dep (1)                    direction (2)                  dollars (9)
 dates (5)                  department (1)             directive (1)                  Dolly (1)
 daughter (1)               departure (3)              directly (9)                   domestic (2)
 Dave (3)                   depending (2)              director (42)                  Donald (1)
 Davitch (1)                depends (8)                directors (4)                  donate (4)
 day (24)                   deployment (1)             disagree (9)                   donates (1)
 days (12)                  Deponent (3)               disagreed (1)                  donation (1)
 de (2)                     depose (1)                 disagreement (1)               donations (1)
 dead (1)                   deposing (1)               discharged (1)                 donor (3)
 deal (6)                   deposition (39)            disciplinarian (1)             donors (2)
 dealing (5)                deputy (16)                disclosures (2)                download (3)
 deals (3)                  DEREK (25)                 disconnected (1)               downloaded (1)
 dealt (5)                  descendents (1)            discontent (7)                 downstairs (1)
 dear (1)                   describe (9)               discover (2)                   downward (1)
 debate (1)                 described (6)              discovered (1)                 dozens (4)
 debilitated (1)            description (7)            discovery (16)                 Dr (19)
 deceive (1)                design (1)                 discriminated (2)              draft (6)
 deceived (1)               designed (1)               discriminating (2)             drafted (2)


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 drafting (5)               either (21)                 E-r-i-c (1)                    explains (1)
 Dragonetti (1)             EJ (4)                      Erica (1)                      explanation (3)
 dress (1)                  elderly (1)                 Erie (1)                       Exponent (1)
 drill (1)                  elected (1)                 escape (1)                     extended (1)
 drink (1)                  electronic (7)              escaping (1)                   extensive (2)
 drinking (1)               electronically (1)          especially (2)                 extent (6)
 drinks (3)                 element (2)                 ESQ (4)                        external (6)
 drive (1)                  elementary (1)              established (2)                extra (1)
 drop (1)                   eleventh (1)                estimate (2)                   eye (1)
 drove (1)                  Elliot (4)                  et (2)
 drug (2)                   E-mail (62)                 ethics (1)                     <F>
 drum (1)                   e-mailed (1)                Europe (3)                     fabricate (2)
 drunk (3)                  e-mails (15)                evening (11)                   fabricated (3)
 dual (2)                   Eman (4)                    event (9)                      face (3)
 due (2)                    embarrass (1)               events (9)                     Facebook (2)
 DULY (1)                   embassy (2)                 eventual (1)                   facilitate (3)
 duped (1)                  employed (6)                eventually (5)                 facilitated (2)
 duty (5)                   employee (21)               Everest (3)                    fact (13)
 dynamics (1)               employees (21)              Everybody (2)                  facts (6)
                            employee's (1)              everybody's (1)                factual (14)
 <E>                        employer's (1)              evidence (21)                  failed (2)
 Eagles (2)                 employment (11)             exact (20)                     fair (32)
 ear (7)                    enacted (1)                 exactly (12)                   Fairless (1)
 earlier (7)                encounters (1)              exaggerating (1)               fall (2)
 early (4)                  ended (4)                   Examination (3)                false (17)
 ears (1)                   ends (3)                    EXAMINED (3)                   familiar (4)
 Earth (1)                  engage (1)                  example (8)                    far (5)
 easier (2)                 engaged (4)                 examples (2)                   Faragher-Ellerth (1)
 EAST (122)                 engaging (2)                exception (1)                  fashion (1)
 EASTERN (22)               engineered (2)              exchange (1)                   fast (3)
 easy (2)                   England (1)                 exchanges (1)                  father (2)
 eat (1)                    English (1)                 exchanging (1)                 February (5)
 ECF (5)                    engrossed (1)               excited (2)                    federated (1)
 economic (1)               enlighten (1)               exclusively (1)                Federation (7)
 e-discovery (2)            enlightening (1)            excuse (15)                    feedback (1)
 editor (3)                 enlistment (1)              executive (23)                 Feel (3)
 editor-in-chief (1)        entered (2)                 exempt (3)                     feelings (1)
 edits (1)                  entering (1)                exhaustive (2)                 fees (1)
 education (7)              enterprise (4)              exhibit (15)                   fell (1)
 educational (6)            entire (14)                 EXHIBITS (4)                   fellow (1)
 EEO (1)                    entirety (4)                exist (5)                      felt (7)
 EEOC (31)                  entrance (1)                exists (3)                     female (12)
 effect (3)                 entry (1)                   expect (1)                     fiduciary (1)
 Effective (1)              enumerated (1)              expected (1)                   field (3)
 efficacy (1)               Equal (1)                   experience (3)                 fifth (3)
 effort (2)                 equality (1)                experiences (1)                fight (2)
 Egypt (1)                  equated (1)                 expert (5)                     figure (2)
 Egyptian (2)               equity (1)                  explain (26)                   file (18)
 eight (12)                 Eric (1)                    explained (3)                  filed (52)


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 files (6)                  for-profit (1)              general (29)                   groups (1)
 filing (13)                FORUM (117)                 generalized (1)                Group's (1)
 fill (1)                   Forum-related (3)           generally (11)                 guard (2)
 filled (2)                 forums (1)                  generation (1)                 guard's (1)
 film (1)                   Forum's (11)                gentlemen (1)                  guess (28)
 final (3)                  forward (10)                getting (22)                   guest (1)
 finances (1)               forwarded (4)               gist (1)                       guide (1)
 find (16)                  found (20)                  give (133)                     gum (3)
 finding (1)                Foundation (1)              given (19)                     guy (4)
 fine (19)                  founders (1)                gives (3)                      guys (36)
 finish (25)                four (36)                   giving (21)                    guy's (1)
 finished (1)               four-month (1)              Giza (1)
 finishing (1)              fourth (4)                  G-i-z-a (1)                    <H>
 Fink (29)                  frame (2)                   glad (1)                       hacker (9)
 fire (1)                   Frank (29)                  glass (1)                      hackers (1)
 fired (4)                  Frankly (2)                 go (161)                       Haifa (4)
 firefighter (1)            Frank's (4)                 goals (2)                      H-a-i-f-a (1)
 Firm (17)                  Fraud (5)                   goes (9)                       Halevi (1)
 first (92)                 fraudulent (3)              going (192)                    H-a-l-e-v-i (1)
 Fitzgerald (1)             free (3)                    Golan (1)                      half (8)
 five (45)                  Friday (8)                  GOLD (150)                     hand (2)
 five-minute (3)            friend (5)                  GoldenComm (2)                 handed (3)
 flat (1)                   friendly (2)                Gold's (2)                     handicapped (1)
 flight (1)                 friends (3)                 good (15)                      handle (4)
 flights (3)                front (14)                  Goodman (22)                   handled (2)
 flirting (1)               frontlines (1)              Gosar (1)                      hands (1)
 fluctuates (1)             frustration (1)             gotten (1)                     handwritten (10)
 fly (6)                    fuckin (3)                  government (5)                 happen (28)
 folders (1)                full (8)                    Governor (2)                   happened (74)
 folkstyle (1)              fully (1)                   governors (10)                 happening (2)
 follow (3)                 functional (1)              grabbed (1)                    happens (4)
 followed (1)               fundraising (3)             grade (4)                      happy (16)
 following (10)             funds (1)                   gradually (1)                  harass (3)
 FOLLOWS (1)                funneled (3)                graduate (2)                   harassed (1)
 food (1)                   funny (4)                   graduated (3)                  harassment (78)
 foot (3)                   further (4)                 grandeur (1)                   hard (8)
 footnote (1)               future (3)                  grant (12)                     harmonious (1)
 footprint (1)                                          granted (7)                    Harrisburg (1)
 force (2)                  <G>                         grants (1)                     Harrison (1)
 forced (3)                 Gabrielle (6)               Grayson (1)                    hated (1)
 Forces (3)                 Galilee (1)                 great (5)                      Hatzalah (1)
 foreign (1)                Gallery (1)                 Greater (6)                    Hawaii (6)
 forensic (2)               Gambill (1)                 Green (2)                      head (4)
 forensically (1)           game (10)                   GREGG (28)                     health (2)
 forget (1)                 Gary (3)                    G-r-e-g-g (1)                  hear (63)
 form (18)                  Gavriel (1)                 grip (1)                       heard (18)
 formal (8)                 G-a-v-r-i-e-l (1)           gross (1)                      hearing (1)
 formative (1)              gay (1)                     groundwork (3)                 hearsay (1)
 former (2)                 gender (9)                  GROUP (10)                     Hebrew (2)


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 Heights (1)                Huh (1)                    incorrectly (1)                Interim (1)
 held (16)                  Human (4)                  incredibly (1)                 intern (2)
 hell (1)                   Hun (1)                    incrementally (1)              internal (1)
 he'll (2)                  H-u-n (1)                  incubator (1)                  internally (1)
 hello (1)                  hundred (12)               INDEX (2)                      international (2)
 help (23)                  hundreds (2)               indicate (3)                   internationally (1)
 helped (3)                 Hunter (2)                 indicates (1)                  Interns (1)
 helping (3)                hurricane (1)              indiscernible (4)              interpersonal (2)
 helps (2)                  hurt (1)                   individual (10)                interpret (1)
 Herzliya (2)               husband (6)                individuals (10)               interpretation (5)
 H-e-r-z-l-i-y-a (1)        HVRSD (1)                  inebriated (1)                 interrogatory (1)
 hey (6)                    Hybros (1)                 inflicted (1)                  interrupted (2)
 Hezbollah (2)              H-y-b-r-o-s (1)            informal (2)                   interrupting (8)
 HH (1)                     hypothetical (5)           information (25)               intersected (1)
 hierarchy (4)                                         informed (2)                   intersecting (1)
 High (8)                   <I>                        in-house (9)                   interview (2)
 higher (1)                 Ichud (1)                  initial (4)                    interviews (1)
 highest (3)                IDC (2)                    initiated (6)                  intimacy (2)
 highlighted (3)            idea (2)                   initiation (1)                 intimate (2)
 Hillel (3)                 Identify (2)               initiatives (4)                intimately (2)
 Hills (1)                  identifying (1)            innuendo (1)                   intimidated (1)
 Hilton (1)                 IDF (1)                    in-person (2)                  intricate (1)
 hire (4)                   ill (4)                    insofar (1)                    introduced (3)
 hired (5)                  illegal (1)                instance (12)                  investigated (4)
 hiring (2)                 imagine (1)                instances (3)                  investigating (2)
 history (4)                imbroglio (1)              instant (1)                    investigation (16)
 hit (1)                    immediately (4)            instruct (2)                   investigative (1)
 hits (1)                   impacted (1)               instructed (3)                 invitation (1)
 hold (26)                  implication (1)            instructing (1)                invite (2)
 holding (1)                implies (1)                instruction (3)                invited (9)
 Hollin (1)                 importance (2)             instructions (2)               invoke (5)
 home (1)                   important (6)              insult (1)                     involve (1)
 honest (2)                 impossible (2)             insurance (1)                  involved (32)
 honesty (2)                improper (3)               intelligence (1)               involvement (6)
 honor (1)                  improve (1)                intense (1)                    involving (4)
 honorific (1)              improvement (3)            intensive (1)                  Iran (2)
 hope (2)                   inaccurate (3)             intent (1)                     ISIS (2)
 Hopewell (2)               inappropriate (10)         intention (5)                  Islamic (1)
 horrible (1)               inappropriately (1)        intentions (9)                 isolate (1)
 host (1)                   incident (14)              interaction (1)                Israel (39)
 hostage (1)                incidents (1)              interactions (2)               Israeli (6)
 hosts (1)                  include (6)                intercourse (1)                Israel's (4)
 hotel (19)                 included (6)               Interdisciplinary (1)          issue (3)
 hotels (2)                 includes (2)               interest (8)                   issues (14)
 hour (1)                   including (10)             interested (1)                 Italy (5)
 hours (9)                  inclusion (3)              interesting (3)                items (2)
 house (2)                  inclusive (3)              interests (3)                  its (2)
 hover (2)                  inconclusive (1)           interface (1)                  IVP (1)
 huge (1)                   incorrect (11)             interfering (1)


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 <J>                        kept (9)                   learned (3)                    limiting (1)
 jail (3)                   Kevin (1)                  learning (2)                   line (5)
 James (1)                  kids (1)                   leave (5)                      lines (1)
 Jamie (1)                  kill (1)                   leaves (1)                     link (2)
 January (7)                killed (1)                 leaving (1)                    linking (1)
 Jazmin (10)                Kimball (2)                Lebanon (1)                    liquor (1)
 jcavalier@cozen.com        kind (15)                  lecture (1)                    LISA (141)
  (1)                       kindergarten (1)           lecturer (3)                   Lisa's (3)
 JCRC (14)                  kinds (1)                  lectures (1)                   list (17)
 j-e-l (1)                  Kingdom (15)               led (12)                       listed (8)
 Jersey (5)                 kitchen (16)               Lee (10)                       listen (10)
 Jerusalem (2)              knew (10)                  Lee's (1)                      listening (1)
 Jewish (32)                know (266)                 leeway (1)                     listing (1)
 Jews (1)                   Knowing (1)                left (16)                      lists (1)
 job (20)                   knowledge (15)             legal (26)                     litany (1)
 jobs (3)                   known (3)                  legalized (2)                  literally (1)
 Joe (1)                    knows (3)                  legally (3)                    litigate (1)
 jog (2)                                               legs (1)                       litigated (1)
 joint (1)                  <L>                        Letter (71)                    litigation (28)
 Jon (6)                    label (2)                  letters (1)                    little (23)
 JONATHAN (3)               lacks (1)                  level (3)                      lives (6)
 Jordan (1)                 laid (2)                   leveling (1)                   living (7)
 Joshua (1)                 lane (1)                   levers (1)                     local (1)
 journalist (1)             language (4)               Levin (1)                      location (1)
 journalist's (1)           lap (4)                    Levy (5)                       lodging (1)
 Judaic (1)                 Lara (12)                  Levy's (1)                     log (1)
 Judge (4)                  Lara's (1)                 Lexington (1)                  Logan (2)
 judged (1)                 lastly (2)                 Lezion (1)                     logic (1)
 judges (1)                 late (7)                   L-e-z-i-o-n (1)                London (18)
 July (8)                   launched (1)               LGBT (1)                       long (9)
 jump (6)                   Laura (34)                 liability (1)                  longer (4)
 jumping (1)                LAW (30)                   liaising (1)                   look (54)
 June (36)                  Lawrence (1)               liaison (8)                    looked (5)
 junkie (3)                 laws (3)                   liar (14)                      looking (12)
 jury (1)                   lawsuit (7)                liars (4)                      looks (9)
 justice (2)                lawsuits (3)               Liberty (2)                    Los (2)
                            lawyer (9)                 Libre (1)                      losing (1)
 <K>                        lawyers (7)                license (2)                    lost (2)
 Kalina (4)                 laying (3)                 lie (9)                        lot (15)
 Karmiel (1)                layman's (2)               lied (13)                      loud (2)
 K-a-r-m-i-e-l (1)          laymen (1)                 lies (14)                      lousy (1)
 Kassam (12)                layout (2)                 life (17)                      love (5)
 Katz (2)                   LBEEOC (2)                 lift (2)                       loved (1)
 Katzen (1)                 Lead (3)                   lifted (1)                     Lovitz (1)
 Kaufman (2)                leadership (1)             light (2)                      L-o-v-i-t-z (1)
 keep (25)                  leading (1)                Ligonier (1)                   low (1)
 keeping (4)                league (2)                 limit (1)                      Lower (1)
 keeps (1)                  Leah (8)                   limitations (1)                loyalty (2)
 Kentucky (2)               learn (2)                  limited (2)                    luck (1)


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 lump (1)                   Matthew (6)                million (4)                    moved (2)
 lunch (7)                  Matt's (1)                 millions (4)                   movement (3)
 lunchtime (1)              Mayor (3)                  mind (11)                      movie (2)
 lying (25)                 McClintock (1)             mine (2)                       movies (1)
                            McNulty (110)              minimis (1)                    moving (2)
 <M>                        McNulty's (27)             minimum (4)                    multiple (25)
 Mac (4)                    mean (71)                  minister (2)                   murdered (1)
 magically (1)              meaning (2)                Ministry (1)                   murdering (1)
 main (1)                   means (8)                  minorities (1)                 Muslim (2)
 Mainen (1)                 meant (5)                  minute (5)                     mute (1)
 mainline (1)               measures (1)               minutes (20)
 maintain (12)              media (7)                  misappropriated (6)            <N>
 maintained (2)             mediate (1)                mischaracterization            NAACP (1)
 maintains (1)              Medill (5)                 (3)                            name (56)
 making (5)                 medium (2)                 mischaracterized (1)           named (24)
 male (1)                   meet (2)                   mischaracterizes (2)           names (7)
 malingering (1)            meeting (99)               mischaracterizing (1)          narrow (1)
 malpractice (1)            meetings (15)              misconduct (3)                 national (2)
 man (12)                   MEF (57)                   miserable (1)                  nature (37)
 manage (6)                 MEF's (3)                  Misgav (1)                     natures (1)
 managed (1)                member (12)                M-i-s-g-a-v (1)                necessarily (2)
 management (35)            members (8)                Mishcon (1)                    necessary (2)
 manager (2)                memo (20)                  misinterpreted (1)             necessity (1)
 managerial (4)             memorialized (2)           misrepresent (1)               need (47)
 managing (4)               memory (7)                 misrepresentation (3)          needed (3)
 Manchester (1)             men (2)                    misrepresented (4)             needs (5)
 Manhattan (1)              mention (5)                misrepresenting (1)            negative (2)
 manipulated (1)            mentioned (2)              missing (1)                    negotiating (1)
 manner (2)                 mentions (1)               mission (1)                    negotiations (2)
 man's (1)                  Mercer (1)                 mistake (4)                    negotiator (1)
 manual (1)                 meritorious (1)            mitigate (2)                   neighborhood (1)
 Marc (22)                  Merville (7)               mitigating (1)                 neither (2)
 March (35)                 mess (5)                   mix (1)                        never (101)
 Margaret (2)               message (17)               modicum (1)                    New (9)
 marijuana (4)              Messages (32)              modified (1)                   Newport (1)
 mark (2)                   messenger (1)              money (89)                     news (4)
 marked (1)                 met (3)                    monies (1)                     nice (3)
 Market (3)                 metadata (27)              month (10)                     nicer (2)
 marks (2)                  Meyer (47)                 months (9)                     Nick (1)
 Marnie (62)                Meyer's (3)                morning (4)                    night (15)
 marriages (1)              Miami (2)                  morphed (5)                    nighttime (1)
 married (1)                Michael (1)                mother (4)                     Nile (1)
 Maryland (1)               microphone (1)             motion (5)                     nine (4)
 Massachusetts (1)          MIDDLE (128)               motivation (1)                 ninth (4)
 masters (1)                midlands (1)               motive (1)                     Nir (2)
 material (5)               milieu (2)                 mountain (1)                   N-i-r (1)
 Matt (28)                  military (2)               mouse (1)                      Nitzan (1)
 matter (14)                Miller (18)                mouth (5)                      N-i-t-z-a-n (1)
 matters (5)                Miller's (4)               move (8)                       NJISAA (1)


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 nod (1)                    officers (3)               <P>                            Peduto (1)
 nonannouncement (1)        offices (1)                P.C (1)                        pending (17)
 nonissue (1)               official (1)               p.m (24)                       penis (3)
 nonlegal (3)               officiate (1)              PA (5)                         Pennsbury (2)
 nonprofit (1)              Oh (7)                     PACER (5)                      Pennsylvania (16)
 nonresponsive (1)          Ohio (1)                   pack (2)                       people (78)
 nonsexual (2)              Okay (292)                 PAGE (2)                       people's (5)
 north (1)                  old (1)                    pages (1)                      percent (12)
 northeast (1)              once (12)                  paid (10)                      period (5)
 Notary (2)                 one-on-one (2)             Paige (1)                      perjures (1)
 note (4)                   ones (5)                   pain (1)                       perjuring (1)
 noted (1)                  online (2)                 pale (1)                       perjury (6)
 notes (5)                  open (2)                   Palestine (1)                  permission (1)
 notice (3)                 Operation (1)              Palestinian (2)                permitted (1)
 notified (1)               operational (1)            paper (1)                      Perry (2)
 notify (2)                 operations (1)             paragraph (13)                 person (34)
 November (115)             opinion (8)                Paragraphs (2)                 personal (14)
 NUMBER (39)                opportunity (15)           paralegal (2)                  personally (2)
 numbered (1)               opposite (1)               parallel (3)                   personnel (6)
                            opposition (1)             paraphrasing (1)               perspective (1)
 <O>                        oppress (1)                parentheses (1)                pertaining (1)
 oath (9)                   option (1)                 Paris (2)                      perturbed (1)
 Obama (1)                  oral (1)                   parliament (2)                 ph (7)
 OBIDs (1)                  order (7)                  part (40)                      Philadelphia (23)
 object (19)                ordered (1)                partial (4)                    Philadelphia's (1)
 objecting (7)              Ordinance (1)              participants (3)               Philly (2)
 Objection (11)             organization (54)          participated (4)               phone (19)
 obligation (1)             organizations (3)          participating (1)              photo (1)
 obligations (1)            organization's (2)         participation (1)              Photograph (1)
 O'Brien (4)                organize (2)               parties (3)                    phrase (1)
 observed (1)               organized (3)              partnership (1)                physical (3)
 obstruct (1)               organizer (1)              Parton (1)                     physically (1)
 obtain (1)                 original (3)               parts (3)                      physics (2)
 obtained (2)               originally (8)             part's (1)                     pick (1)
 obvious (1)                outlandish (1)             party (8)                      picked (1)
 obviously (2)              outline (2)                party's (1)                    picking (1)
 occasion (1)               outrageous (1)             Passover (1)                   picture (2)
 occasions (2)              outreach (1)               passport (1)                   pictures (2)
 occurred (7)               outset (2)                 paste (1)                      piece (7)
 occurs (1)                 outside (7)                pasted (1)                     pieces (1)
 O'CONNOR (3)               outstanding (1)            Patel (4)                      pin (1)
 October (41)               oval (1)                   path (1)                       Pincus (1)
 offensive (1)              overnight (1)              Patricia (35)                  Pinsker (4)
 offer (9)                  overseas (3)               Patriots (2)                   Pinus (1)
 offered (3)                oversee (1)                pattern (3)                    Pipes (192)
 offering (2)               overseeing (1)             Paul (1)                       Pipes's (4)
 off-hours (1)              owes (2)                   pay (16)                       Pittsburgh (23)
 office (26)                Oxford (1)                 PayPal (1)                     pizza (4)
 officer (4)                                           PDF (3)                        Place (66)


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 placed (1)                 pre-discovery (1)          profess (1)                    Qatari (1)
 placement (1)              prefers (1)                profession (1)                 quarterback (3)
 places (1)                 premier (1)                Professional (15)              Quarterly (4)
 Plaintiff (4)              prep (1)                   professionals (1)              quasi-governmental
 plan (6)                   preparation (2)            program (3)                    (1)
 plane (2)                  prepare (1)                programs (2)                   question (283)
 planet (3)                 prepared (1)               progression (1)                question-answer (2)
 planned (1)                preparing (1)              project (4)                    questioned (1)
 planning (5)               presence (10)              projects (8)                   questioning (3)
 plans (2)                  Present (11)               promise (3)                    questions (29)
 play (5)                   presentation (1)           promote (1)                    quick (3)
 played (8)                 preserving (1)             promoted (7)                   quickest (1)
 playing (5)                preside (2)                promotion (1)                  quickly (4)
 pleasantries (1)           presided (2)               pronounce (2)                  quieting (3)
 please (61)                president (6)              proof (2)                      quit (3)
 plethora (2)               pretend (1)                proper (5)                     quite (4)
 PLLC (1)                   pretty (6)                 properties (1)                 quotation (2)
 plus (6)                   prevent (1)                protected (2)                  quote (5)
 point (12)                 previous (6)               protection (1)                 quoted (1)
 points (1)                 previously (3)             protestant (1)                 quotes (5)
 police (2)                 primarily (1)              protocols (3)                  quoting (5)
 policies (3)               Princeton (1)              proud (1)
 policy (16)                printed (1)                prove (5)                      <R>
 political (2)              printout (1)               proven (2)                     racial (1)
 Politici (1)               prior (14)                 proves (3)                     radio (1)
 politics (1)               prison (3)                 provide (14)                   Raheem (17)
 population (1)             privacy (3)                provided (24)                  raise (9)
 portfolios (1)             private (5)                providing (6)                  raised (5)
 portion (1)                privilege (13)             psychiatrist (1)               rally (24)
 position (48)              privileged (17)            Public (12)                    ran (2)
 positioning (1)            privy (2)                  publisher (1)                  range (2)
 positions (6)              probably (42)              Puerto (1)                     Raquel (1)
 positive (1)               problem (4)                pull (5)                       rate (4)
 possession (4)             problematic (1)            pulled (2)                     reached (1)
 possible (13)              problems (2)               pulling (2)                    reacted (1)
 post (1)                   procedure (1)              punitive (1)                   read (43)
 Post-Gazette (1)           procedures (4)             purely (1)                     reading (9)
 Potemkin (1)               proceeded (2)              purity (2)                     ready (1)
 potential (1)              proceeding (1)             purple (1)                     real (3)
 pound (3)                  proceedings (4)            pursuant (3)                   realize (2)
 pounds (16)                process (7)                pursue (1)                     really (41)
 Power (2)                  procession (1)             pursuing (1)                   reason (24)
 Practice (1)               processions (1)            push (1)                       reasonable (2)
 practices (2)              produce (5)                put (61)                       reasons (16)
 precautions (2)            produced (7)               Putin (1)                      recall (35)
 precipice (1)              producing (1)              putting (5)                    recategorize (1)
 predates (1)               product (1)                                               receipt (2)
 predicate (13)             production (2)             <Q>                            receipts (12)
 predicated (1)             productive (1)             Qaeda (1)                      receive (7)


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 received (31)              Relations (5)              required (1)                   RIESER (5)
 receiving (5)              relationship (9)           requires (1)                   Right (232)
 recess (6)                 relationships (4)          rescue (2)                     Rishon (1)
 recollect (1)              relative (1)               research (1)                   R-i-s-h-o-n (1)
 recollecting (1)           relatively (1)             reservations (1)               risk (2)
 recollection (9)           Relativity (2)             reserve (1)                    River (1)
 recommendation (4)         release (2)                Reserves (2)                   Robert (1)
 recommendations (1)        released (1)               reset (1)                      Robinson (21)
 recommended (3)            relegate (3)               resignation (1)                rogue (1)
 record (117)               relegated (3)              resisted (1)                   role (6)
 recorded (5)               relevance (2)              resource (1)                   roles (3)
 recording (12)             relevant (5)               resources (1)                  roll (1)
 recordings (2)             reliable (1)               respect (5)                    rolling (2)
 records (11)               relief (2)                 respond (8)                    ROMAN (170)
 recover (1)                relies (1)                 responded (1)                  R-o-m-a-n (2)
 recruiters (1)             rely (1)                   respondent (11)                Romano (2)
 redirect (1)               remain (1)                 responding (1)                 Roman's (3)
 reeling (2)                remained (1)               responds (1)                   room (48)
 refer (13)                 remember (107)             response (9)                   rooms (4)
 reference (3)              remembers (1)              responsibilities (44)          Rose (1)
 referenced (1)             remit (1)                  responsibility (18)            Rosie (4)
 references (1)             remote (1)                 responsible (9)                rotting (1)
 referencing (1)            remotely (1)               rest (4)                       roundtable (1)
 referred (2)               removed (11)               restaurant (1)                 rub (3)
 referring (21)             reneged (1)                restrictions (3)               ruin (2)
 refers (5)                 rent (1)                   restroom (2)                   ruined (10)
 reflect (1)                renumeration (1)           result (9)                     Rule (2)
 reflected (2)              repeat (10)                resulted (1)                   rules (2)
 reflects (2)               rephrase (8)               results (6)                    rumor (9)
 refresh (2)                replete (2)                resumed (1)                    rumors (1)
 refugee (3)                reply (2)                  retaining (1)                  run (1)
 refugees (2)               report (11)                retaliate (2)                  runs (1)
 refusing (2)               reported (9)               retaliated (1)                 Ryan (3)
 regard (3)                 Reporter (75)              retaliation (22)
 regarding (18)             Reporting (4)              retired (1)                    <S>
 regardless (1)             reports (3)                retiring (1)                   sabotage (1)
 regards (1)                reprehensible (1)          return (3)                     salary (2)
 Regional (2)               represent (11)             returned (2)                   sanctioned (1)
 Registered (6)             representation (15)        revealed (2)                   Saraswati (1)
 regular (1)                representations (4)        revealing (1)                  sat (6)
 rehired (1)                representative (1)         review (29)                    Saturday (2)
 reimbursed (1)             representatives (1)        reviewed (23)                  save (2)
 reimbursement (1)          represented (12)           reviewing (2)                  saved (1)
 reiterate (1)              representing (7)           Reya (1)                       saw (17)
 relate (3)                 reproductive (1)           Reynolds (2)                   saying (111)
 related (25)               Republic (1)               Rich (1)                       says (71)
 relates (17)               request (4)                Rico (2)                       scenario (1)
 Relating (1)               requested (1)              rides (1)                      schedule (2)
 relation (1)               requesting (1)             ridiculous (3)                 scheme (1)


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 School (24)                sending (4)                shot (2)                       so-called (1)
 schools (1)                sends (1)                  shots (1)                      social (6)
 Schuyler (1)               senior (3)                 show (19)                      solicitor (1)
 Sciott (3)                 sense (2)                  showed (8)                     somebody (8)
 S-c-i-o-t-t (2)            sent (41)                  showing (4)                    someone's (2)
 scope (2)                  sentence (19)              shows (2)                      somewhat (2)
 Scorpion (1)               separate (4)               shroud (2)                     son (1)
 Scottish (1)               separated (1)              Si (2)                         soon (3)
 scratch (1)                September (11)             S-i (1)                        sorrow (1)
 scream (1)                 sergeant (1)               Sid (1)                        Sorry (42)
 screen (17)                series (2)                 side (12)                      sort (22)
 screened (1)               serious (1)                sides (1)                      Sotloff (1)
 screwed (1)                seriously (6)              Sidkoff (2)                    sought (2)
 scroll (3)                 server (1)                 SIDNEY (5)                     sound (7)
 Sderot (1)                 service (1)                sigh (1)                       sounds (2)
 S-d-e-r-o-t (1)            serviceman (1)             sign (1)                       sources (1)
 se (1)                     sessions (2)               signature (3)                  south (1)
 Sea (1)                    set (3)                    signed (3)                     space (9)
 seal (3)                   SETH (6)                   signpost (1)                   speak (10)
 sealed (2)                 seth@dereksmithlaw.c       silence (2)                    speakerphone (1)
 Seasons (2)                om (1)                     similar (2)                    speakers (12)
 Seattle (1)                settlement (2)             simple (4)                     speaking (15)
 Second (49)                seven (28)                 simply (1)                     speaks (5)
 secondary (1)              seven-hour (1)             simulacrum (3)                 Specialist (30)
 seconds (1)                Sevenish (1)               s-i-m-u-l-a-c-u-r-m (1)        specific (88)
 secret (1)                 severance (1)              Simultaneous (12)              specifically (36)
 secretary (18)             sex (22)                   single (7)                     specificity (9)
 secrets (1)                sexual (120)               sir (1)                        specifics (6)
 section (4)                sexually (10)              sister (1)                     specified (1)
 security (8)               sgold@discrimlaw.net       sit (7)                        specifity (1)
 seder (1)                   (1)                       site (1)                       speculation (2)
 see (71)                   shades (1)                 sits (1)                       speech (1)
 seeing (6)                 shaking (1)                Sitting (12)                   spell (1)
 seeking (2)                share (12)                 situation (2)                  spelled (1)
 seeks (1)                  shared (2)                 six (15)                       spelling (1)
 seen (7)                   Shargel (4)                sixth (1)                      spend (3)
 sees (2)                   S-h-a-r-g-e-l (1)          Skype (1)                      spending (3)
 see-through (1)            sharing (3)                sleep (2)                      spent (6)
 segmented (1)              sheet (1)                  slept (4)                      spiral (1)
 select (1)                 Sheffield (1)              slow (15)                      spoke (32)
 self-destructive (1)       shelf (1)                  slower (2)                     spoken (6)
 self-empowerment (1)       shelter (1)                slowly (1)                     sponsor (1)
 self-proclivities (1)      Shield (1)                 smile (1)                      sports (1)
 semester (2)               Shikunov (1)               smiled (2)                     spousal (1)
 semesters (1)              Shikunov's (1)             SMITH (25)                     spread (3)
 seminar (5)                Shimel (2)                 Smith's (1)                    spreading (1)
 seminary (1)               shoes (1)                  smoke (3)                      spring (2)
 Senator (2)                Shoot (2)                  smoked (2)                     Stacey (1)
 send (9)                   short (1)                  smoking (2)                    stack (1)


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 staff (34)                 study (1)                   tamper (1)                     thorough (1)
 stages (1)                 studying (2)                tampering (1)                  thought (11)
 staggered (1)              stuff (8)                   tape (7)                       thousand (3)
 stamp (2)                  style (20)                  task (1)                       thousands (8)
 stamped (1)                subject (14)                taught (1)                     thread (1)
 stamps (1)                 subjected (3)               Tavern (1)                     threatened (1)
 stand (1)                  submit (2)                  tax (1)                        threats (2)
 stands (10)                subordinates (1)            teach (1)                      three (45)
 start (21)                 subsequent (2)              teaching (2)                   throat (1)
 started (48)               Sudan (1)                   team (3)                       Thursday (1)
 starting (9)               sudden (7)                  technical (1)                  ticket (1)
 starts (4)                 sue (2)                     technological (1)              tickets (1)
 state (3)                  sued (7)                    technology (1)                 Tiffany (11)
 statement (15)             suggest (5)                 Telegraphic (1)                time (155)
 statements (3)             suggested (4)               telephone (5)                  times (28)
 STATES (11)                suggestion (2)              tell (105)                     tired (1)
 statute (1)                Suite (3)                   telling (20)                   tissue (1)
 statutes (1)               sum (1)                     Tells (4)                      title (31)
 stay (11)                  summer (1)                  ten (9)                        titles (3)
 stayed (6)                 Superbowl (2)               ten-minute (1)                 titular (1)
 stealing (3)               supervising (1)             tens (3)                       today (43)
 Stein (1)                  supervisor (3)              tenth (2)                      Today's (7)
 stenographer (9)           supplemental (1)            tenure (1)                     told (77)
 stenographer's (1)         support (1)                 term (5)                       Tommo (8)
 stenographic (3)           supported (1)               termination (1)                Tommy (19)
 stenographically (1)       supposed (5)                terms (14)                     Toomey (1)
 step (2)                   Sure (95)                   test (4)                       top (3)
 steps (2)                  surreptitiously (1)         TESTIFIED (14)                 topic (2)
 stern (1)                  surrounded (1)              testify (10)                   topics (3)
 Steve (7)                  surrounding (4)             testifying (7)                 total (5)
 Steven (2)                 Susuni (2)                  testimony (39)                 totality (8)
 stole (1)                  Swazetti (1)                Texas (1)                      totally (4)
 stolen (8)                 swear (1)                   Text (41)                      touched (4)
 stop (36)                  SWORN (1)                   texted (1)                     tough (2)
 stopped (6)                system (9)                  textual (1)                    town (2)
 stored (1)                 systems (2)                 Thank (33)                     TR.news (2)
 stories (10)               Szott (8)                   thanking (1)                   track (8)
 story (44)                 S-z-o-t-t (2)               theft (1)                      trade (3)
 straight (2)                                           theme (1)                      trading (1)
 strategy (8)               <T>                         thief (1)                      trafficked (1)
 Street (3)                 table (5)                   thigh (1)                      training (1)
 strength (1)               taglines (1)                thing (35)                     transcript (4)
 strike (5)                 take (76)                   things (38)                    transfer (7)
 structure (3)              taken (15)                  think (186)                    transferred (2)
 structures (1)             takes (2)                   thinking (4)                   transfers (5)
 student (1)                talk (59)                   thinks (3)                     transition (1)
 students (2)               talked (25)                 third (7)                      transmit (1)
 studied (1)                talking (168)               Thomas (78)                    travel (10)
 studies (6)                talks (3)                   Thomas's (4)                   traveled (4)


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 traveling (3)              understanding (18)         version (26)                   wasting (2)
 travels (1)                understood (4)             versions (20)                  watch (1)
 treasurer (1)              unenumerated (1)           versus (8)                     watched (1)
 treating (1)               unethical (2)              vested (2)                     watching (1)
 trial (1)                  unhappy (1)                vexatious (1)                  water (3)
 Tribune (1)                unilaterally (1)           Vi'adal (2)                    wave (1)
 Tricia (51)                unique (1)                 V-i-'-a-d-a-l (1)              way (58)
 Tricia's (2)               UNITED (25)                Vibrant (1)                    ways (4)
 trick (3)                  units (1)                  vice (1)                       wealth (1)
 tried (6)                  Universal (1)              victim (8)                     web (3)
 trip (8)                   universities (1)           video (36)                     website (12)
 trips (7)                  University (15)            videographer (1)               wedding (2)
 true (16)                  unluckiest (2)             videos (1)                     weddings (1)
 Trump (1)                  unplausible (1)            view (1)                       Wednesday (2)
 trust (1)                  unproven (1)               village (1)                    weed (1)
 truth (2)                  unquote (3)                villages (1)                   week (1)
 truthful (1)               unraveling (1)             violate (2)                    weekend (2)
 truthfulness (2)           UNRWA (1)                  violated (1)                   weeks (12)
 try (33)                   untrue (2)                 violation (2)                  welcome (5)
 trying (99)                unwanted (8)               violations (3)                 well (226)
 Tuesday (3)                unwelcoming (1)            violent (1)                    went (75)
 Turkish (1)                updated (1)                violently (2)                  we're (130)
 turned (5)                 upload (2)                 Virginia (1)                   West (2)
 turnover (1)               uploaded (1)               virtue (1)                     western (4)
 turns (1)                  upper (1)                  virus (1)                      WeTransfer (1)
 TV (1)                     upset (1)                  Visa (1)                       we've (13)
 twenty (5)                 upstairs (5)               visit (1)                      whatchamacallit (1)
 twice (6)                  Urban (2)                  Vladimir (1)                   WhatsApp (1)
 two (88)                   urinated (1)               voice (2)                      whatsoever (1)
 type (3)                   use (5)                    voices (2)                     When's (1)
 typed (3)                  user (1)                   volunteer (2)                  whipped (1)
 types (2)                  usually (3)                volunteered (3)                whisper (7)
 typo (8)                   usurpers (4)               volunteers (2)                 whispering (2)
 typos (1)                  U-s-u-r-p-e-r-s (1)        vs (1)                         whistleblowers (1)
                            UTC (1)                                                   white (2)
 <U>                                                   <W>                            wholly (1)
 U.S (1)                    <V>                        wait (13)                      wide (1)
 UAF (1)                    vacation (4)               waiting (6)                    wife (2)
 Uber (6)                   vacations (1)              Wales (1)                      WILLIAM (1)
 Uh-huh (3)                 vaccines (1)               walking (4)                    willing (5)
 UK (7)                     validity (1)               walls (1)                      window (2)
 ultimate (1)               Valley (2)                 Walsh (1)                      wink (13)
 un (1)                     variety (1)                Walton (3)                     wired (1)
 unacceptable (1)           Vasili (3)                 want (143)                     wires (1)
 unapproved (1)             vendors (1)                wanted (13)                    wish (2)
 uncomfortable (3)          venue (3)                  War (3)                        withdraw (1)
 unconventional (1)         veracity (6)               Washington (8)                 WITNESS (103)
 underneath (2)             verbally (1)               waste (1)                      witnessed (3)
 understand (72)            verify (2)                 wasted (1)                     witnesses (5)


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 witnessing (1)             Yonchek's (1)
 witness's (2)              Yosef (1)
 Wolf (1)                   Yusef (1)
 Wolson (3)
 woman (19)                 <Z>
 woman's (1)                Ze'ev (2)
 women (16)                 Z-e-'-e-v (1)
 women's (5)                zero (1)
 wondering (1)              Ziv (9)
 word (11)                  zone (1)
 wording (2)                zones (1)
 words (7)                  Zoo (2)
 work (46)                  Zoom (12)
 workaround (1)
 worked (16)
 worker (2)
 working (21)
 workplace (2)
 works (5)
 world (3)
 worried (1)
 worry (3)
 worst (1)
 worth (1)
 worthy (1)
 wow (2)
 wrap (2)
 wrapped (1)
 wrestler (3)
 write (7)
 writes (3)
 writing (6)
 written (7)
 wrong (12)
 wrote (16)

 <Y>
 yank (2)
 yanked (6)
 Yeah (134)
 year (20)
 years (25)
 yell (3)
 yelled (1)
 Yeshiva (1)
 yesterday (14)
 Yisrael (1)
 Y-i-s-r-a-e-l (1)
 Yonchek (11)


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